Case: 2:20-cv-00024-WOB-CJS Doc #: 83-1 Filed: 05/23/22 Page: 1 of 545 - Page ID#:
                                    2296




        CONTAINS CONFIDENTIAL INFORMATION

Transcript of Nicholas Sandmann
                      Date: September 13-14, 2021
        Case: Sandmann, et al. -v- NBCUniversal Media, LLC, et al.




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              WORLDWIDE COURT REPORTING & LITIGATION TECHNOLOGY
                                    2297
Case: 2:20-cv-00024-WOB-CJS Doc #: 83-1 Filed: 05/23/22 Page: 2 of 545 - Page ID#:




                                                                                     1                UNITED STATES DISTRICT COURT
                                                                                                      EASTERN DISTRICT OF KENTUCKY
                                                                                     2               NORTHERN DIVISION AT COVINGTON
                                                                                     3      CONTAINS CONFIDENTIAL INFORMATION - FULL VERSION
                                                                                     4    -------------------------------X
                                                                                     5    NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     6    Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     7                    Plaintiff,      : Case No.
                                                                                                    V                       19-CV-00056-WOB-CJS
                                                                                     8                                    :
                                                                                          NBCUNIVERSAL MEDIA, LLC,
                                                                                     9                    Defendant.      :
                                                                                     10   -------------------------------X
                                                                                     11   NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     12   Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     13                   Plaintiff,      : Case No.
                                                                                                    V                       20-CV-00023-WOB-CJS
                                                                                     14                                   :
                                                                                          THE NEW YORK TIMES COMPANY
                                                                                     15   D/B/A THE NEW YORK TIMES,       :
                                                                                                          Defendant.
                                                                                     16
                                                                                          -------------------------------X
                                                                                     17
                                                                                          NICHOLAS SANDMANN, by and       :
                                                                                     18   Through his parents and natural
                                                                                          Guardians, TED SANDMANN and     :
                                                                                     19   JULIE SANDMANN,
                                                                                                          Plaintiff,      : Case No.
                                                                                     20             V                       20-CV-00024-WOB-CJS
                                                                                                                          :
                                                                                     21   CBS NEWS, INC., et al.,
                                                                                                          Defendants.     :
                                                                                     22
                                                                                          -------------------------------X
                                                                                     23   Job Nos.: 396015 and 396018
                                                                                     24   Pages 1 - 466
                                                                                     25   Reported by:    Dianna C. Kilgalen
                                                                                                     CONTAINS CONFIDENTIAL INFORMATION
                                                                                                         Transcript of Nicholas Sandmann
                                    2298
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                                                                                                        Conducted on 9/13/2021 & 9/14/2021          2

                                                                                     1    -------------------------------X
                                                                                     2    NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     3    Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     4                    Plaintiff,      : Case No.
                                                                                                    V                       2:20-CV-00025-WOB-CJS
                                                                                     5                                    :
                                                                                          ABC NEWS, INC., et al.,
                                                                                     6                    Defendants.     :
                                                                                     7    -------------------------------X
                                                                                     8    NICHOLAS SANDMANN, by and       :
                                                                                          Through his parents and natural
                                                                                     9    Guardians, TED SANDMANN and     :
                                                                                          JULIE SANDMANN,
                                                                                     10                   Plaintiff,      : Case No.
                                                                                                    V                       2:20-CV-00026-WOB-CJS
                                                                                     11                                   :
                                                                                          GANNETT CO.,INC. AND GANNETT
                                                                                     12   SATELLITE INFORMATION NETWORK, :
                                                                                          LLC,
                                                                                     13
                                                                                                          Defendants.    :
                                                                                     14
                                                                                          -------------------------------X
                                                                                     15
                                                                                          NICHOLAS SANDMANN, by and       :
                                                                                     16   Through his parents and natural
                                                                                          Guardians, TED SANDMANN and     :
                                                                                     17   JULIE SANDMANN,
                                                                                                          Plaintiff       : Case No.
                                                                                     18             V                       2:20-CV-00027-WOB-CJS
                                                                                                                          :
                                                                                     19   ROLLING STONE, LLC, et al.,
                                                                                                          Defendants.     :
                                                                                     20
                                                                                          -------------------------------X
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                                    2299
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                                                                                                        Conducted on 9/13/2021 & 9/14/2021   3

                                                                                     1    Deposition of NICHOLAS SANDMANN
                                                                                     2          Conducted Virtually
                                                                                     3       Monday September 13, 2021
                                                                                     4               9:16 a.m.
                                                                                     5                  and
                                                                                     6      Tuesday, September 14, 2021
                                                                                     7               9:16 a.m.
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                                    2300
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                                                                                                          Conducted on 9/13/2021 & 9/14/2021   4

                                                                                     1                Deposition of NICHOLAS SANDMANN,
                                                                                     2    conducted virtually.
                                                                                     3
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                                                                                     8
                                                                                     9                Pursuant to Notice, before Dianna C.
                                                                                     10   Kilgalen, Notary Public for the State of
                                                                                     11   Maryland.
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                                    2301
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                                                                                                          Conducted on 9/13/2021 & 9/14/2021   5

                                                                                     1                    A P P E A R A N C E S
                                                                                     2    Monday, September 13, 2021:
                                                                                     3    ON BEHALF OF THE PLAINTIFF:
                                                                                     4                TODD V. McMURTRY, ESQUIRE
                                                                                     5                WILL HUBER, ESQUIRE
                                                                                     6                HEMMER DEFRANK WESSELS, PLLA
                                                                                     7                250 Grandview Drive, Suite 500
                                                                                     8                Ft. Mitchell, Kentucky 41017
                                                                                     9                859.344.1188
                                                                                     10   ON BEHALF OF THE DEFENDANTS ABC NEWS, INC., ABC
                                                                                     11   NEWS INTERACTIVE, INC. AND THE WALT DISNEY
                                                                                     12   COMPANY:
                                                                                     13              NATHAN SIEGEL, ESQUIRE
                                                                                     14              MEENAKSHI KRISHNAN, ESQUIRE
                                                                                     15              DAVIS WRIGHT TREMAINE, LLP
                                                                                     16              1301 K Street, Northwest, Suite 500
                                                                                     17              Washington, DC 20005
                                                                                     18              202.973.4499
                                                                                     19   ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
                                                                                     20   VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
                                                                                     21               JESSICA LAURIN MEEK, ESQUIRE
                                                                                     22               DENTONS BINGHAM GREENBAUM, LLP
                                                                                     23               10 West Market Street, Suite 2700
                                                                                     24               Indianapolis, Indiana 46204
                                                                                     25               317.635.8900


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                                                                                                        Conducted on 9/13/2021 & 9/14/2021    6

                                                                                     1         A P P E A R A N C E S    C O N T I N U E D
                                                                                     2    Monday, September 13, 2021:
                                                                                     3    ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
                                                                                     4    VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
                                                                                     5              NATALIE J. SPEARS, ESQUIRE
                                                                                     6              DENTONS US, LLP
                                                                                     7              233 South Wacker Drive
                                                                                     8              Suite 5900
                                                                                     9              Chicago, Illinois 60606
                                                                                     10             312.876.8000
                                                                                     11   ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC AND
                                                                                     12   PENSKE MEDIA CORPORATION:
                                                                                     13             KEVIN T. SHOOK, ESQUIRE
                                                                                     14             FROST BROWN TODD, LLC
                                                                                     15             10 West Broad Street
                                                                                     16             Columbus, Ohio 43215
                                                                                     17             615.565.1222
                                                                                     18   ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
                                                                                     19   GANNETT SATELLITE INFORMATION NETWORK, LLC:
                                                                                     20             MICHAEL P. ABATE, ESQUIRE
                                                                                     21             KAPLAN JOHNSON ABATE & BIRD, LLP
                                                                                     22             710 West Main Street
                                                                                     23             4th Floor
                                                                                     24             Louisville, Kentucky 40202
                                                                                     25             502.540.8280


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                                                                                                           Conducted on 9/13/2021 & 9/14/2021   7

                                                                                     1         A P P E A R A N C E S     C O N T I N U E D
                                                                                     2    Monday, September 13, 2021:
                                                                                     3    ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
                                                                                     4    GANNETT SATELLITE INFORMATION NETWORK, LLC:
                                                                                     5              MICHAEL J. GRYGIEL, ESQUIRE
                                                                                     6              GREENBERG TRAURIG, LLP
                                                                                     7              54 State Street
                                                                                     8              6th Floor
                                                                                     9              Albany, New York 12207
                                                                                     10             518.689.1400
                                                                                     11   ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA,
                                                                                     12   LLC AND THE NEW YORK TIMES COMPANY D/B/A THE NEW
                                                                                     13   YORK TIMES:
                                                                                     14             DARREN W. FORD, ESQUIRE
                                                                                     15             GRAYDON HEAD & RITCHEY, LLP
                                                                                     16             2400 Chamber Center Drive, Suite 300
                                                                                     17             Ft. Mitchell, Kentucky 41017
                                                                                     18             859.578.3071
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                                                                                                        Conducted on 9/13/2021 & 9/14/2021     8

                                                                                     1    Also present:
                                                                                     2         John Parkman, Videographer
                                                                                     3         Ted Sandmann
                                                                                     4         Justine Beyda
                                                                                     5         Marie Jones
                                                                                     6         Matthew Schafer
                                                                                     7         Daniel Kummer
                                                                                     8         Austin Costello, Planet Depos AV Technician
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                                                                                                           Conducted on 9/13/2021 & 9/14/2021   9

                                                                                      1                     A P P E A R A N C E S
                                                                                      2    Tuesday, September 14, 2021:
                                                                                      3    ON BEHALF OF THE PLAINTIFF:
                                                                                      4                TODD V. McMURTRY, ESQUIRE
                                                                                      5                WILL HUBER, ESQUIRE
                                                                                      6                HEMMER DEFRANK WESSELS, PLLA
                                                                                      7                250 Grandview Drive, Suite 500
                                                                                      8                Ft. Mitchell, Kentucky 41017
                                                                                      9                859.344.1188
                                                                                      10   ON BEHALF OF THE DEFENDANTS ABC NEWS, INC., ABC
                                                                                      11   NEWS INTERACTIVE, INC. AND THE WALT DISNEY
                                                                                      12   COMPANY:
                                                                                      13              NATHAN SIEGEL, ESQUIRE
                                                                                      14              MEENAKSHI KRISHNAN, ESQUIRE
                                                                                      15              DAVIS WRIGHT TREMAINE, LLP
                                                                                      16              1301 K Street, Northwest, Suite 500
                                                                                      17              Washington, DC 20005
                                                                                      18              202.973.4499
                                                                                      19                - and-
                                                                                      20              ROBERT B. CRAIG, ESQUIRE
                                                                                      21              TAFT STETTINIUS & HOLLISTER, LLP
                                                                                      22              50 East River Center Boulevard
                                                                                      23              Suite 850
                                                                                      24              Covington, Kentucky 41011-1683
                                                                                      25              859.547.4300


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                                                                                                         Conducted on 9/13/2021 & 9/14/2021    10

                                                                                      1         A P P E A R A N C E S     C O N T I N U E D
                                                                                      2    Tuesday, September 14, 2021:
                                                                                      3    ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
                                                                                      4    VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
                                                                                      5              JESSICA LAURIN MEEK, ESQUIRE
                                                                                      6              DENTONS BINGHAM GREENBAUM, LLP
                                                                                      7              10 West Market Street, Suite 2700
                                                                                      8              Indianapolis, Indiana 46204
                                                                                      9              317.635.8900
                                                                                      10   ON BEHALF OF THE DEFENDANTS CBS NEWS, INC.,
                                                                                      11   VIACOMCBS, INC., AND CBS INTERACTIVE, INC.:
                                                                                      12             NATALIE J. SPEARS, ESQUIRE
                                                                                      13             DENTONS US, LLP
                                                                                      14             233 South Wacker Drive
                                                                                      15             Suite 5900
                                                                                      16             Chicago, Illinois 60606
                                                                                      17             312.876.8000
                                                                                      18   ON BEHALF OF THE DEFENDANT ROLLING STONE, LLC AND
                                                                                      19   PENSKE MEDIA CORPORATION:
                                                                                      20             KEVIN T. SHOOK, ESQUIRE
                                                                                      21             FROST BROWN TODD, LLC
                                                                                      22             10 West Broad Street
                                                                                      23             Columbus, Ohio 43215
                                                                                      24             615.565.1222
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                                     2307
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                                                                                                            Conducted on 9/13/2021 & 9/14/2021   11

                                                                                      1         A P P E A R A N C E S     C O N T I N U E D
                                                                                      2    Tuesday, September 14, 2021:
                                                                                      3    ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
                                                                                      4    GANNETT SATELLITE INFORMATION NETWORK, LLC:
                                                                                      5              MICHAEL P. ABATE, ESQUIRE
                                                                                      6              KAPLAN JOHNSON ABATE & BIRD, LLP
                                                                                      7              710 West Main Street
                                                                                      8              4th Floor
                                                                                      9              Louisville, Kentucky 40202
                                                                                      10             502.540.8280
                                                                                      11   ON BEHALF OF THE DEFENDANTS GANNETT CO., INC. AND
                                                                                      12   GANNETT SATELLITE INFORMATION NETWORK, LLC:
                                                                                      13             MICHAEL J. GRYGIEL, ESQUIRE
                                                                                      14             GREENBERG TRAURIG, LLP
                                                                                      15             54 State Street, 6th Floor
                                                                                      16             Albany, New York 12207
                                                                                      17             518.689.1400
                                                                                      18   ON BEHALF OF THE DEFENDANTS NBCUNIVERSAL MEDIA,
                                                                                      19   LLC AND THE NEW YORK TIMES COMPANY D/B/A THE NEW
                                                                                      20   YORK TIMES:
                                                                                      21             DARREN W. FORD, ESQUIRE
                                                                                      22             GRAYDON HEAD & RITCHEY, LLP
                                                                                      23             2400 Chamber Center Drive, Suite 300
                                                                                      24             Ft. Mitchell, Kentucky 41017
                                                                                      25             859.578.3071


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                                                                                                         Conducted on 9/13/2021 & 9/14/2021     12

                                                                                      1    Also present:
                                                                                      2         John Parkman, Videographer
                                                                                      3         Ted Sandmann
                                                                                      4         Justine Beyda
                                                                                      5         Marie Jones
                                                                                      6         Matthew Schafer
                                                                                      7         Daniel Kummer
                                                                                      8         Sara Loiler, Planet Depos AV Technician
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                                                                                                         Conducted on 9/13/2021 & 9/14/2021      13

                                                                                      1                     C O N T E N T S
                                                                                      2    EXAMINATION OF NICHOLAS SANDMANN              PAGE
                                                                                      3    By MR. SIEGEL:                            16, 252
                                                                                      4
                                                                                      5
                                                                                      6                        E X H I B I T S
                                                                                      7               (Previously marked and submitted.)
                                                                                      8
                                                                                      9
                                                                                      10   Confidential portions:
                                                                                      11   Page 183, Line 12 to Page 187, Line 15
                                                                                      12   Page 195, Line 11 to Page 199, Line 17
                                                                                      13   Page 306, Line 2 to Page 307, Line 5
                                                                                      14   Page 308, Line 25 to Page 309, Line 13
                                                                                      15   Page 427, Line 19 to Page 463, Line 16
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                                                                                                          Conducted on 9/13/2021 & 9/14/2021     14

                                                                                      1              THE VIDEOGRAPHER:   This begins the              09:14:40
                                                                                      2    video-recorded deposition of Nicholas Sandmann in          09:14:45
                                                                                      3    the matter of Nicholas Sandmann, et al. versus             09:14:48
                                                                                      4    NBCUniversal Media, LLC, Case Number                       09:14:51
                                                                                      5    19-CV-00056-WOB-CJS, and Nicholas Sandmann versus          09:14:56
                                                                                      6    The New York Times Company, dba The New York               09:15:06
                                                                                      7    Times, Case Number 20-CV-00023-WOB-CJS, and                09:15:08
                                                                                      8    Nicholas Sandmann, et al. versus CBS News,                 09:15:19
                                                                                      9    Incorporated, et al., Case Number                          09:15:22
                                                                                      10   20-CV-00024-WOB-CJS, and Nicholas Sandmann, et             09:15:25
                                                                                      11   al. versus ABC News, Incorporated, et al., Case            09:15:33
                                                                                      12   Number 2:20-CV-00025-WOB-CJS, and Nicholas                 09:15:38
                                                                                      13   Sandmann, et al. versus Gannett Company,                   09:15:50
                                                                                      14   Incorporated, et al., Case Number                          09:15:53
                                                                                      15   2:20-CV-00026-WOB-CJS, and Nicholas Sandmann, et           09:15:55
                                                                                      16   al. versus Rolling Stone, LLC, et al., Case                09:16:05
                                                                                      17   Number 2:20-CV-00027-WOB-CJS, each case filed in           09:16:09
                                                                                      18   the United States District Court Eastern District          09:16:21
                                                                                      19   of Kentucky Northern Division at Covington.                09:16:24
                                                                                      20             Today's date is Monday September 13th,           09:16:28
                                                                                      21   2021.   The time on the video monitor is now               09:16:31
                                                                                      22   9:16 a.m. eastern daylight time.                           09:16:35
                                                                                      23             The videographer today is John Parkman           09:16:38
                                                                                      24   representing Planet Depos.    This video deposition        09:16:41
                                                                                      25   is taking place remotely via Zoom video                    09:16:43


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                                     2311
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                                                                                                            Conducted on 9/13/2021 & 9/14/2021          15

                                                                                      1    conference.                                                       09:16:44
                                                                                      2                Would counsel please voice identify                   09:16:45
                                                                                      3    themselves and state whom they represent?                         09:16:47
                                                                                      4                MR. SIEGEL:     This is Nathan Siegel.                09:16:51
                                                                                      5    Sorry.                                                            09:16:55
                                                                                      6                MR. McMURTRY:     Go ahead.                           09:16:55
                                                                                      7                MR. SIEGEL:     Nathan Siegel.     I represent        09:16:55
                                                                                      8    ABC News.                                                         09:16:56
                                                                                      9                MR. McMURTRY:     Todd McMurtry                       09:16:59
                                                                                      10   representing Nicholas Sandmann.                                   09:17:01
                                                                                      11               MS. MEEK:     Jessica Meek representing               09:17:05
                                                                                      12   CBS.                                                              09:17:08
                                                                                      13               MR. FORD:     Darren Ford representing                09:17:08
                                                                                      14   NCBUniversal, LLC and The New York Times Company.                 09:17:09
                                                                                      15               MS. KRISHNAN:     Meenu Krishnan                      09:17:11
                                                                                      16   representing ABC.                                                 09:17:14
                                                                                      17               MR. ABATE:     This is Michael Abate on               09:17:16
                                                                                      18   behalf of Gannett Company.                                        09:17:19
                                                                                      19               MR. GRYGIEL:     And also Michael Grygiel,            09:17:21
                                                                                      20   Greenberg Traurig, representing Gannett Company                   09:17:24
                                                                                      21   and Gannett Satellite Information Network.                        09:17:26
                                                                                      22               MS. SPEARS:     Natalie Spears representing           09:17:29
                                                                                      23   CBS News, Inc., Viacom, CBS, Inc. and CBS                         09:17:32
                                                                                      24   Interactive, Inc.                                                 09:17:38
                                                                                      25               MR. SHOOK:     Kevin Shook representing               09:17:42


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                                                                                      1    Rolling Stone.                                                  09:17:44
                                                                                      2                MR. HUBER:    Will Huber representing Nick          09:17:46
                                                                                      3    Sandmann.                                                       09:17:53
                                                                                      4                MR. SIEGEL:     I think that is everybody.          09:17:57
                                                                                      5                THE VIDEOGRAPHER:     All right.   The court        09:17:58
                                                                                      6    reporter today is Dianna Kilgalen also                          09:17:59
                                                                                      7    representing Planet Depos.                                      09:18:02
                                                                                      8                Will the reporter please swear in the               09:18:16
                                                                                      9    witness?                                                        09:18:19
                                                                                      10                       P R O C E E D I N G S                       09:18:22
                                                                                      11               NICHOLAS SANDMANN, having been duly                 09:18:22
                                                                                      12   sworn, testified as follows:                                    09:18:22
                                                                                      13               MR. SIEGEL:     Are we ready to begin?              09:18:22
                                                                                      14               MR. McMURTRY:     We are ready.                     09:18:28
                                                                                      15      EXAMINATION BY COUNSEL FOR THE DEFENDANTS                    09:18:29
                                                                                      16    ABC NEWS, INC., ABC NEWS INTERACTIVE, INC. AND                 09:18:29
                                                                                      17                  THE WALT DISNEY COMPANY                          09:18:29
                                                                                      18   BY MR. SIEGEL:                                                  09:18:29
                                                                                      19      Q.       Okay.    Good morning.   Nick, is it okay           09:18:29
                                                                                      20   if I call you Nick?                                             09:18:32
                                                                                      21      A.       Yes.                                                09:18:34
                                                                                      22      Q.       Okay.    Have you ever had a deposition             09:18:34
                                                                                      23   taken before?                                                   09:18:36
                                                                                      24      A.       No, I have not.                                     09:18:37
                                                                                      25      Q.       Okay.    So I'm sure you have been told, I          09:18:39


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                                                                                      1    will ask you a series of questions.        It's               09:18:45
                                                                                      2    possible other lawyers may question you after or              09:18:47
                                                                                      3    not.                                                          09:18:50
                                                                                      4                If any of my questions are unclear, just          09:18:57
                                                                                      5    let me know, and I will try to rephrase them to               09:19:00
                                                                                      6    make them more clear.                                         09:19:03
                                                                                      7                It is important to try to give -- I can           09:19:05
                                                                                      8    see you are already -- and it's normal to be                  09:19:09
                                                                                      9    shaking your head yes, no.        Try to give audible         09:19:13
                                                                                      10   answers because there is a court reporter who is              09:19:17
                                                                                      11   making a record of this and she takes down words,             09:19:20
                                                                                      12   you know, not gestures.       So if you can try to do         09:19:23
                                                                                      13   that, we would appreciate it.                                 09:19:28
                                                                                      14               If you need to take a break at any                09:19:29
                                                                                      15   point, just let us know.        Okay?                         09:19:31
                                                                                      16      A.       Okay.                                             09:19:33
                                                                                      17      Q.       Why don't you say just for the record,            09:19:34
                                                                                      18   what is your full name?                                       09:19:38
                                                                                      19      A.       My full name is Nicholas Joseph                   09:19:39
                                                                                      20   Sandmann.                                                     09:19:42
                                                                                      21      Q.       And how old are you?                              09:19:42
                                                                                      22      A.       I'm 19 years old.                                 09:19:43
                                                                                      23      Q.       And what's your birth date?                       09:19:45
                                                                                      24      A.       July 24th.                                        09:19:47
                                                                                      25      Q.       And who are your parents?                         09:19:49


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                                                                                      1       A.    My parents are Ted and Julie Sandmann.            09:19:53
                                                                                      2       Q.    Do you have any siblings?                         09:19:58
                                                                                      3       A.    I have two younger brothers.                      09:19:59
                                                                                      4       Q.    And what are their names?                         09:20:01
                                                                                      5       A.    Nathan and Nolan Sandmann.                        09:20:03
                                                                                      6       Q.    How old are they?                                 09:20:05
                                                                                      7       A.    Nate is now 16.     And Nolan is 11.              09:20:06
                                                                                      8       Q.    Okay.    And where are you currently              09:20:11
                                                                                      9    attending school?                                          09:20:15
                                                                                      10      A.    I go to Transylvania University.                  09:20:16
                                                                                      11      Q.    And what year are you in?                         09:20:21
                                                                                      12      A.    I'm a sophomore.                                  09:20:22
                                                                                      13      Q.    And where did you go to high school?              09:20:24
                                                                                      14      A.    Covington Catholic.                               09:20:26
                                                                                      15      Q.    And before I continue, have you declared          09:20:30
                                                                                      16   a major yet?                                               09:20:32
                                                                                      17      A.    I have not officially.                            09:20:33
                                                                                      18      Q.    Unofficially, do you have -- this isn't           09:20:36
                                                                                      19   going to bind you in anything.                             09:20:39
                                                                                      20            Unofficially, do you have a sense of              09:20:41
                                                                                      21   what you may want to major in?                             09:20:43
                                                                                      22      A.    Yes.                                              09:20:45
                                                                                      23      Q.    And what is that?                                 09:20:45
                                                                                      24      A.    PPE, which is politics, philosophy and            09:20:46
                                                                                      25   economics.                                                 09:20:51


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                                                                                      1       Q.       Okay.     And what -- what grade does               09:20:52
                                                                                      2    Covington Catholic start in?                                    09:20:57
                                                                                      3       A.       Freshman year.                                      09:20:58
                                                                                      4       Q.       So the ninth grade?                                 09:21:00
                                                                                      5       A.       Ninth grade, yes.                                   09:21:01
                                                                                      6       Q.       And so before you went to Covington,                09:21:04
                                                                                      7    where did you go to middle school?                              09:21:06
                                                                                      8       A.       I went to St. --                                    09:21:08
                                                                                      9                THE REPORTER:     I'm sorry.     This is the        09:21:13
                                                                                      10   reporter.     I'm getting feedback.        I didn't             09:21:18
                                                                                      11   understand his answer.                                          09:21:21
                                                                                      12               MR. SIEGEL:     Somebody may have a line on         09:21:22
                                                                                      13   or something.       Which answer did -- was it the              09:21:24
                                                                                      14   name of the middle school?                                      09:21:33
                                                                                      15               THE REPORTER:     Middle school.                    09:21:33
                                                                                      16      A.       I went to St. Pius for grade school.                09:21:34
                                                                                      17   BY MR. SIEGEL:                                                  09:21:39
                                                                                      18      Q.       Did that take you all the way through               09:21:39
                                                                                      19   eighth grade?                                                   09:21:41
                                                                                      20      A.       Yes.                                                09:21:42
                                                                                      21      Q.       I take it that is a private school?                 09:21:43
                                                                                      22      A.       Yes.                                                09:21:45
                                                                                      23      Q.       Okay.     Have you ever been employed?              09:21:50
                                                                                      24      A.       I have.                                             09:21:50
                                                                                      25      Q.       Where have you worked?                              09:21:54


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                                                                                      1       A.    I have worked in my counsel's law firm               09:21:56
                                                                                      2    and I have worked at a golf course this past                  09:21:58
                                                                                      3    summer and I have also worked for the then Senate             09:22:01
                                                                                      4    Majority Leader Mitch McConnell.                              09:22:06
                                                                                      5       Q.    Okay.    Let's do those one at a time.     So        09:22:09
                                                                                      6    what did you do in your counsel's office?                     09:22:11
                                                                                      7       A.    I mostly spend time organizing                       09:22:13
                                                                                      8    spreadsheets and cataloging information off                   09:22:16
                                                                                      9    Twitter as well as doing some research.                       09:22:20
                                                                                      10      Q.    Excuse me.     When did you do that?                 09:22:24
                                                                                      11      A.    I did that the summer going into my                  09:22:26
                                                                                      12   senior year of high school.                                   09:22:34
                                                                                      13      Q.    What did you do for Senator McConnell?               09:22:36
                                                                                      14      A.    I spent most of my time driving around               09:22:39
                                                                                      15   the state speaking to potential voters.     And then          09:22:41
                                                                                      16   I also spent time talking to college students on              09:22:45
                                                                                      17   Zoom.                                                         09:22:49
                                                                                      18      Q.    And when did you do that?                            09:22:49
                                                                                      19      A.    I did it during the -- his most recent               09:22:51
                                                                                      20   campaign, leading up to November 3rd.                         09:22:57
                                                                                      21      Q.    And how long did you do that for?                    09:23:00
                                                                                      22      A.    I think I did it for about two and a                 09:23:03
                                                                                      23   half to three months.     I can't recall exactly.             09:23:06
                                                                                      24      Q.    And was that a -- was that paid                      09:23:09
                                                                                      25   employment?                                                   09:23:12


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                                                                                      1       A.       It was paid.                                      09:23:12
                                                                                      2       Q.       And what did you do at the golf course?           09:23:13
                                                                                      3       A.       I cleaned golf carts and helped guests            09:23:19
                                                                                      4    out with whatever they needed.                                09:23:24
                                                                                      5       Q.       Is that like a summer job for --                  09:23:26
                                                                                      6       A.       Yes.                                              09:23:28
                                                                                      7       Q.       When?     Which summer?                           09:23:28
                                                                                      8       A.       This most recent summer.                          09:23:29
                                                                                      9       Q.       Okay.     What are your parents'                  09:23:32
                                                                                      10   occupations?                                                  09:23:37
                                                                                      11      A.       My dad is a salesman and my mom handles           09:23:38
                                                                                      12   relationships.        She's a relationship manager.           09:23:43
                                                                                      13      Q.       Is that a therapist or --                         09:23:47
                                                                                      14      A.       No.     She works in the financial --             09:23:49
                                                                                      15      Q.       Oh, okay, that kind of relationship.              09:23:53
                                                                                      16      A.       Yes.                                              09:23:56
                                                                                      17      Q.       Okay.     Just at the present, what are           09:23:57
                                                                                      18   your career aspirations?                                      09:24:07
                                                                                      19      A.       I would like to become a lawyer, and I            09:24:09
                                                                                      20   don't know after that.                                        09:24:11
                                                                                      21      Q.       There may never be an after, we can all           09:24:13
                                                                                      22   tell you.                                                     09:24:17
                                                                                      23               Why would you like to become a lawyer?            09:24:17
                                                                                      24      A.       I took -- or I did mock trial in high             09:24:20
                                                                                      25   school, and I realized about sophomore year                   09:24:22


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                                                                                      1    that -- excuse me -- that that was something that             09:24:26
                                                                                      2    I actually liked doing.                                       09:24:29
                                                                                      3       Q.      Is there anything particular that sort             09:24:31
                                                                                      4    of draws you to it?                                           09:24:33
                                                                                      5       A.      I like standing up in front of a                   09:24:35
                                                                                      6    courtroom and being able to argue for someone and             09:24:37
                                                                                      7    kind of putting facts together.                               09:24:41
                                                                                      8       Q.      Okay.    At the end of the deposition, I           09:24:43
                                                                                      9    think I'm going to ask you off the record whether             09:24:49
                                                                                      10   this experience makes you more or less likely.                09:24:51
                                                                                      11   You don't have to answer.      It will be off the             09:24:53
                                                                                      12   record.    But I'm curious anyway, if you still               09:24:55
                                                                                      13   want to do that.                                              09:24:59
                                                                                      14              What role does faith play in your life?            09:25:02
                                                                                      15      A.      I would say a rather large role.     I kind        09:25:06
                                                                                      16   of look at faith as it's not the answers to                   09:25:10
                                                                                      17   questions I have.      At least that's -- I know the          09:25:18
                                                                                      18   answer is there, and I might not understand what              09:25:20
                                                                                      19   it is.    So I would say a pretty large role.       It        09:25:22
                                                                                      20   definitely shapes my growing up, going through a              09:25:26
                                                                                      21   Catholic grade school and high school.                        09:25:31
                                                                                      22      Q.      And do you -- do you consider yourself a           09:25:35
                                                                                      23   conservative politically?                                     09:25:40
                                                                                      24      A.      I would say yes.                                   09:25:42
                                                                                      25      Q.      And what does that mean to you?                    09:25:43


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                                                                                      1       A.       To me, a conservative believes in small           09:25:46
                                                                                      2    government and a small and limited government                 09:25:51
                                                                                      3    that's able to protect the rights of its                      09:25:55
                                                                                      4    citizens.                                                     09:25:58
                                                                                      5       Q.       Up -- up to the time of the incident              09:26:07
                                                                                      6    that brings us all here today, have you taken any             09:26:08
                                                                                      7    classes about Native American history?                        09:26:11
                                                                                      8       A.       Yes.    Currently, I was taking advanced          09:26:13
                                                                                      9    placement U.S. history which covered Native                   09:26:17
                                                                                      10   Americans.                                                    09:26:22
                                                                                      11      Q.       So as -- were you a junior at the time?           09:26:23
                                                                                      12      A.       Yes.                                              09:26:26
                                                                                      13      Q.       So you were in AP U.S. history as a               09:26:26
                                                                                      14   junior?                                                       09:26:32
                                                                                      15      A.       Yes.                                              09:26:32
                                                                                      16      Q.       Did it have any particular focus on               09:26:32
                                                                                      17   Native Americans as the curriculum?                           09:26:35
                                                                                      18      A.       It -- whatever the curriculum was.     I          09:26:39
                                                                                      19   mean, they were definitely covered.                           09:26:42
                                                                                      20      Q.       Okay.    Have you ever taken any -- well,         09:26:44
                                                                                      21   up to the point of this incident, had you taken               09:26:47
                                                                                      22   any classes on Native American culture?                       09:26:49
                                                                                      23      A.       I had never taken a class specifically            09:26:52
                                                                                      24   focused on Native American culture.                           09:26:54
                                                                                      25      Q.       Since then, have you taken any classes            09:26:57


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                                                                                      1    that specifically focused on Native Americans in              09:27:00
                                                                                      2    any way?                                                      09:27:02
                                                                                      3       A.       No.                                               09:27:03
                                                                                      4       Q.       Have you just on your own done any                09:27:05
                                                                                      5    reading or studying about Native Americans                    09:27:09
                                                                                      6    specifically?                                                 09:27:13
                                                                                      7       A.       I would say yes.     The reason I took AP         09:27:13
                                                                                      8    U.S. history and then AP modern European history              09:27:18
                                                                                      9    the next year, is I like studying history and                 09:27:22
                                                                                      10   stuff.     So I like reading around and knew a ton            09:27:24
                                                                                      11   of topics, including Native Americans.                        09:27:29
                                                                                      12      Q.       So what -- do you recall anything in              09:27:33
                                                                                      13   particular that you have read relating                        09:27:35
                                                                                      14   specifically to Native Americans?                             09:27:37
                                                                                      15      A.       Not particularly.                                 09:27:40
                                                                                      16      Q.       Okay.     So just have you read any books         09:27:41
                                                                                      17   that were specifically about Native American                  09:27:45
                                                                                      18   history or culture?                                           09:27:49
                                                                                      19      A.       The only book relating to the Native              09:27:50
                                                                                      20   Americans that I can recall, I actually read back             09:27:52
                                                                                      21   in the seventh grade.        I read the Last of the           09:27:56
                                                                                      22   Mohicans.                                                     09:28:00
                                                                                      23      Q.       And I may have asked this, so I do                09:28:05
                                                                                      24   apologize.        But since this incident, have you           09:28:11
                                                                                      25   taken any classes on -- specific to Native                    09:28:14


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                                                                                      1    Americans?                                                       09:28:17
                                                                                      2          A.       No.                                               09:28:18
                                                                                      3          Q.       At the time of this incident, who did             09:28:19
                                                                                      4    you consider your five best friends?                             09:28:24
                                                                                      5          A.       I would say -- do you want me to                  09:28:29
                                                                                      6    identify them by first and last names?                           09:28:37
                                                                                      7                   MR. SIEGEL:     Yes, yes.                         09:28:39
                                                                                      8          A.       I would say Will Fike (phonetically               09:28:40
                                                                                      9    spelled), Will Fries, Steven Schaeper, Henry                     09:28:44
                                                                                      10   Bennett and Avery Logan.                                         09:28:47
                                                                                      11         Q.       Okay.     And are you still friendly with         09:28:53
                                                                                      12   all of them?                                                     09:28:55
                                                                                      13         A.       Yes.                                              09:28:56
                                                                                      14         Q.       Did you -- did you like going to                  09:29:04
                                                                                      15   Covington Catholic?                                              09:29:05
                                                                                      16         A.       I did.                                            09:29:09
                                                                                      17         Q.       Why?     What did you like about it?              09:29:09
                                                                                      18         A.       I kind of felt that I thrived more at an          09:29:12
                                                                                      19   all-male school because it allowed me just to                    09:29:16
                                                                                      20   kind of just focus on schoolwork.           And everyone         09:29:19
                                                                                      21   in my class was someone that I could easily talk                 09:29:22
                                                                                      22   to.        And I just felt really connected there.               09:29:25
                                                                                      23         Q.       Do you know about how many students the           09:29:28
                                                                                      24   school has?                                                      09:29:31
                                                                                      25         A.       I would say around 600, give or take.             09:29:32


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                                                                                      1       Q.      Now, I have heard that Covington                   09:29:36
                                                                                      2    students are sometimes referred to as the Colonel             09:29:43
                                                                                      3    Crazies?                                                      09:29:46
                                                                                      4       A.      That's correct.                                    09:29:47
                                                                                      5       Q.      Do you know where that comes from?                 09:29:48
                                                                                      6       A.      I think we were nationally recognized at           09:29:50
                                                                                      7    one point for our student cheering section.                   09:29:54
                                                                                      8       Q.      Do you know -- do you have any idea                09:29:57
                                                                                      9    whether that -- where that nickname in particular             09:29:59
                                                                                      10   comes from?                                                   09:30:03
                                                                                      11      A.      I do not.                                          09:30:03
                                                                                      12      Q.      Okay.     So what -- what is praising using        09:30:06
                                                                                      13   that nickname about Covington students?                       09:30:13
                                                                                      14      A.      I would say that, unlike most high                 09:30:17
                                                                                      15   schools, Cov Cath is pretty organized in like                 09:30:22
                                                                                      16   their cheering section and able to get loud very              09:30:26
                                                                                      17   effectively.       But also when we score a touchdown         09:30:30
                                                                                      18   in football or something, everyone would just go              09:30:34
                                                                                      19   completely wild and celebrate.                                09:30:38
                                                                                      20              We usually had a lot more attendance               09:30:40
                                                                                      21   than other high schools.                                      09:30:43
                                                                                      22      Q.      Did you -- did you attend sports games?            09:30:44
                                                                                      23      A.      Yes.                                               09:30:47
                                                                                      24      Q.      So football games, basketball games?               09:30:48
                                                                                      25      A.      Yes.                                               09:30:51


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                                                                                      1       Q.    Are you a sports fan?                             09:30:52
                                                                                      2       A.    I am.                                             09:30:54
                                                                                      3       Q.    So who do you root for?                           09:30:55
                                                                                      4       A.    If we are talking football, then                  09:31:01
                                                                                      5    Cincinnati.                                                09:31:03
                                                                                      6       Q.    The Bengals?                                      09:31:05
                                                                                      7       A.    Yes.    And then I like UK as well.               09:31:07
                                                                                      8       Q.    Do you have a baseball team?                      09:31:12
                                                                                      9       A.    I like the Reds, but --                           09:31:14
                                                                                      10      Q.    The Reds?                                         09:31:16
                                                                                      11      A.    They are here and there, so.                      09:31:18
                                                                                      12      Q.    Fair enough.    I'm an Orioles fan, so            09:31:20
                                                                                      13   they are just there.                                       09:31:23
                                                                                      14            Would it be fair to say that part of the          09:31:31
                                                                                      15   purpose of the cheers that you guys do is to make          09:31:33
                                                                                      16   Covington a tougher place for your opponents to            09:31:36
                                                                                      17   play, your sports opponents?                               09:31:39
                                                                                      18      A.    I would say so.                                   09:31:42
                                                                                      19      Q.    One cheer that you guys do is called the          09:31:43
                                                                                      20   sumo cheer?                                                09:31:47
                                                                                      21      A.    Yes.                                              09:31:49
                                                                                      22      Q.    When is that done?                                09:31:49
                                                                                      23      A.    Honestly, usually there's four senior             09:31:50
                                                                                      24   students that are directing the order of the               09:31:56
                                                                                      25   chants, and I was never involved in that.      So I        09:32:00


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                                                                                      1    have no idea when which ones come.     They kind of         09:32:03
                                                                                      2    just read them up to me and then you follow.                09:32:06
                                                                                      3       Q.    So they kind of call them out?                     09:32:09
                                                                                      4       A.    Yes.                                               09:32:11
                                                                                      5       Q.    And is that cheer usually led by someone           09:32:12
                                                                                      6    who takes off their shirt?                                  09:32:16
                                                                                      7       A.    Yes.                                               09:32:17
                                                                                      8       Q.    Like -- how is -- like how does the                09:32:18
                                                                                      9    shirtless guy get designated?     Like is -- is that        09:32:21
                                                                                      10   like a thing or --                                          09:32:24
                                                                                      11      A.    It's kind of just like someone with --             09:32:25
                                                                                      12   someone gets picked out of the crowd by the kids            09:32:27
                                                                                      13   around them, and then he goes down and does it.             09:32:30
                                                                                      14      Q.    Is it usually somebody -- is it somebody           09:32:33
                                                                                      15   different every time, or is it like a person each           09:32:37
                                                                                      16   class year or --                                            09:32:38
                                                                                      17      A.    There was like a group of people that              09:32:39
                                                                                      18   would always do it.     It wasn't the same person           09:32:41
                                                                                      19   every game.     But there was a certain group of            09:32:45
                                                                                      20   kids that usually got picked.                               09:32:48
                                                                                      21      Q.    And why is it called the sumo cheer?               09:32:50
                                                                                      22      A.    I think because they kind of act like              09:32:53
                                                                                      23   sumo wrestlers.                                             09:32:56
                                                                                      24      Q.    Are there -- are there any words that              09:32:58
                                                                                      25   are being articulated during that cheer?                    09:33:02


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                                                                                      1       A.      I don't think so.    I think it's just            09:33:04
                                                                                      2    yelling.                                                     09:33:07
                                                                                      3       Q.      Okay.    And at the end of the cheer, does        09:33:07
                                                                                      4    the leader usually turn around, face the field or            09:33:15
                                                                                      5    the court or whatever it would be?                           09:33:18
                                                                                      6       A.      Yes.                                              09:33:19
                                                                                      7       Q.      And why is that?    Do you know?                  09:33:20
                                                                                      8       A.      I think to kind of like show off our              09:33:21
                                                                                      9    strength towards the other team.                             09:33:26
                                                                                      10      Q.      Okay.    And I saw, actually you just did,        09:33:27
                                                                                      11   sometimes kids like at the end, you clench your              09:33:32
                                                                                      12   fists?                                                       09:33:34
                                                                                      13      A.      Yes.                                              09:33:35
                                                                                      14      Q.      And why?    For the same reason?                  09:33:35
                                                                                      15      A.      Just to like flex your muscles, I guess.          09:33:39
                                                                                      16      Q.      Okay.    Do you remember that a few days,         09:33:43
                                                                                      17   I think it was, after this incident, there was a             09:33:51
                                                                                      18   video circulating on social media showing cheers             09:33:55
                                                                                      19   of -- I think kind of a collage of different                 09:34:00
                                                                                      20   cheers from Covington in the past?                           09:34:03
                                                                                      21      A.      I think I recall it.                              09:34:04
                                                                                      22      Q.      Okay.    So I'm going to play a couple of         09:34:06
                                                                                      23   excerpts from it briefly.      You can tell me if            09:34:11
                                                                                      24   it's the one you recognize.       I will play the            09:34:14
                                                                                      25   first ten seconds to see if --                               09:34:17


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                                                                                      1               (Thereupon, a video recording of Exhibit            09:34:20
                                                                                      2    1 was played.)                                                 09:34:58
                                                                                      3               MR. SIEGEL:     Will you call out, Jessica,         09:34:59
                                                                                      4    for the record where you started and stopped?                  09:35:01
                                                                                      5               MS. MEEK:     I started at zero seconds and         09:35:04
                                                                                      6    ended at 10 seconds.                                           09:35:07
                                                                                      7    BY MR. SIEGEL:                                                 09:35:08
                                                                                      8       Q.      Okay.    And that is Exhibit 1.      So have        09:35:08
                                                                                      9    you seen that one before?                                      09:35:10
                                                                                      10      A.      I think so.                                         09:35:11
                                                                                      11              MR. SIEGEL:     Okay.     Let's jump to 45          09:35:12
                                                                                      12   seconds.                                                       09:35:14
                                                                                      13              (Thereupon, a video recording of Exhibit            09:35:29
                                                                                      14   1 was played.)                                                 09:35:31
                                                                                      15              MS. MEEK:     For the record, I stopped at          09:35:45
                                                                                      16   1 minute and 6 seconds in Exhibit 1.                           09:35:48
                                                                                      17              MR. McMURTRY:     Just a quick question.            09:35:52
                                                                                      18   Who put the writing on the video?                              09:35:53
                                                                                      19              MR. SIEGEL:     That is actually the                09:35:55
                                                                                      20   next -- literally the next frame of the video.                 09:35:56
                                                                                      21              MR. McMURTRY:     Yeah.     The one said            09:36:01
                                                                                      22   "sumo," and I was wondering who added the --                   09:36:02
                                                                                      23              MR. SIEGEL:     No one added it.                    09:36:05
                                                                                      24              MR. McMURTRY:     That was in there?                09:36:06
                                                                                      25              MR. SIEGEL:     That was in there, yeah.            09:36:06


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                                                                                      1    BY MR. SIEGEL:                                              09:36:07
                                                                                      2       Q.      So was that a sumo cheer at a Covington          09:36:07
                                                                                      3    basketball game?                                            09:36:11
                                                                                      4       A.      Yes.                                             09:36:12
                                                                                      5       Q.      Would you say that is typical of what it         09:36:12
                                                                                      6    looks like at a basketball game?                            09:36:15
                                                                                      7       A.      Yes.                                             09:36:17
                                                                                      8       Q.      The students were also -- it sounded             09:36:19
                                                                                      9    like there was like banging on the floor or the             09:36:22
                                                                                      10   benches.    Is that common?                                 09:36:25
                                                                                      11      A.      I think it's the sound that it makes             09:36:27
                                                                                      12   when you are jumping and --                                 09:36:30
                                                                                      13      Q.      Putting your shoes down.     Okay.               09:36:32
                                                                                      14              MR. SIEGEL:   We can take that down.             09:36:38
                                                                                      15   BY MR. SIEGEL:                                              09:36:46
                                                                                      16      Q.      When you were -- when you were attending         09:36:46
                                                                                      17   high school, were you ever told anything about              09:36:48
                                                                                      18   what to do if someone who is not a Covington                09:36:51
                                                                                      19   student enters your cheering section at a game?             09:36:54
                                                                                      20      A.      I think that we were told to grab one of         09:36:57
                                                                                      21   the administrators or teachers.       And it had            09:37:00
                                                                                      22   happened several times.       And they would usually        09:37:03
                                                                                      23   come up and ask them to leave.                              09:37:06
                                                                                      24      Q.      And before the teachers or -- before an          09:37:09
                                                                                      25   adult, you know, got there to ask them to leave,            09:37:13


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                                                                                      1    were you told anything about what you should do?                09:37:18
                                                                                      2       A.      No.                                                  09:37:21
                                                                                      3       Q.      Okay.    Were you ever told to like avoid            09:37:23
                                                                                      4    contact, you know, any physical contact with                    09:37:26
                                                                                      5    someone who was an outsider coming into your                    09:37:29
                                                                                      6    section?                                                        09:37:33
                                                                                      7       A.      Yes.    I mean, the general rule was, and            09:37:33
                                                                                      8    our principal used to always tell us, that at all               09:37:35
                                                                                      9    times, even at sports games or at church or                     09:37:39
                                                                                      10   wherever you are, that you might not be at Cov                  09:37:43
                                                                                      11   Cath but you are still representing Cov Cath.         So        09:37:45
                                                                                      12   I think that would apply.                                       09:37:52
                                                                                      13      Q.      Okay.    Have you ever heard of something            09:37:55
                                                                                      14   called a haka dance?                                            09:37:59
                                                                                      15      A.      I think.                                             09:38:01
                                                                                      16      Q.      Do you -- what do you know -- what do                09:38:02
                                                                                      17   you know about that?                                            09:38:04
                                                                                      18      A.      My general impression is that it's a                 09:38:06
                                                                                      19   tribal dance from -- I think from around New                    09:38:10
                                                                                      20   Zealand or in that oceanic area.                                09:38:15
                                                                                      21      Q.      Have you ever seen that done?                        09:38:20
                                                                                      22      A.      I think once or twice.                               09:38:22
                                                                                      23      Q.      Once or twice.    Do you think there are             09:38:23
                                                                                      24   any similarities to the sumo cheer?                             09:38:28
                                                                                      25      A.      I wouldn't say -- I don't know who                   09:38:31


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                                                                                      1    created the sumo and what they were going for.                       09:38:34
                                                                                      2    So it's . . .                                                        09:38:37
                                                                                      3          Q.       I don't mean that.     I don't mean                   09:38:38
                                                                                      4    intentional similarities, but I'm just asking the                    09:38:42
                                                                                      5    way it looks.                                                        09:38:45
                                                                                      6          A.       I can't completely recall what the haka               09:38:46
                                                                                      7    is.        So maybe.                                                 09:38:51
                                                                                      8          Q.       Okay.     Another cheer that you guys did             09:38:51
                                                                                      9    is called Victory is our Battle Cry.           Is that               09:38:53
                                                                                      10   right, or Victory?                                                   09:38:57
                                                                                      11         A.       Yes.                                                  09:39:00
                                                                                      12         Q.       And when is that done?                                09:39:01
                                                                                      13         A.       If I can remember, I think we did that                09:39:02
                                                                                      14   at halftime usually.           But it definitely could               09:39:05
                                                                                      15   have been done just throughout the game.                             09:39:08
                                                                                      16         Q.       And how does that go?                                 09:39:10
                                                                                      17         A.       The soph -- or the senior leaders call                09:39:14
                                                                                      18   out, they spell out victory and say that's our                       09:39:20
                                                                                      19   battle cry.           And then the freshmen stand up and             09:39:25
                                                                                      20   say victory, that's the freshman battle cry.              The        09:39:28
                                                                                      21   leaders then repeat.           Then the sophomores go --             09:39:31
                                                                                      22   they spell it out, and they go that's the                            09:39:34
                                                                                      23   sophomore battle cry.           They do it for the                   09:39:38
                                                                                      24   juniors, the seniors.           And then they do it one              09:39:40
                                                                                      25   last time.        We all stand up, spell it out and go               09:39:44


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                                                                                      1    that is the Colonel battle cry.                               09:39:47
                                                                                      2       Q.       And is there something that's called the          09:39:50
                                                                                      3    Braveheart March?                                             09:39:53
                                                                                      4       A.       Yes.                                              09:39:54
                                                                                      5       Q.       What is that?                                     09:39:54
                                                                                      6       A.       This occurs during the game against               09:39:55
                                                                                      7    Beechwood.     If it's at Beechwood, we will all get          09:40:01
                                                                                      8    dropped off somewhere and march to Beechwood.                 09:40:05
                                                                                      9    And if it's at Cov Cath, we usually march down                09:40:08
                                                                                      10   from the Notre Dame parking lot.       And you wear --        09:40:12
                                                                                      11   be it skirts or whatever, and you try to look                 09:40:19
                                                                                      12   like the cast of Braveheart.                                  09:40:22
                                                                                      13      Q.       And do you have any understanding, like,          09:40:23
                                                                                      14   well, why has that become a tradition?                        09:40:25
                                                                                      15      A.       I have no idea why.                               09:40:27
                                                                                      16      Q.       What does it symbolize to you or                  09:40:29
                                                                                      17   signify?                                                      09:40:32
                                                                                      18      A.       I know that Beechwood is a very big               09:40:32
                                                                                      19   rivalry.     And usually at once, on the day of the           09:40:35
                                                                                      20   game, they would play the speech that Mel Gibson              09:40:38
                                                                                      21   gives about we will never -- they may take our                09:40:44
                                                                                      22   lives, they will never take our freedom, or                   09:40:47
                                                                                      23   whatever.     I think it's a way to get people                09:40:51
                                                                                      24   really excited about playing Beechwood.                       09:40:53
                                                                                      25      Q.       Okay.    So now we will move on to the            09:40:58


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                                                                                      1    trip to the Lincoln Memorial in 2019.           What was        09:41:01
                                                                                      2    the purpose of that trip?                                       09:41:04
                                                                                      3          A.       So I had not gone on the trip.     And to        09:41:06
                                                                                      4    the best of my knowledge, it was a trip that was                09:41:11
                                                                                      5    taken every year, which was kind of advertised as               09:41:14
                                                                                      6    like a spiritual journey in defense of the unborn               09:41:20
                                                                                      7    but also halfway kind of a field trip.                          09:41:25
                                                                                      8          Q.       And how do you -- how did students sign          09:41:28
                                                                                      9    up for it?                                                      09:41:35
                                                                                      10         A.       If I can remember, they -- we just               09:41:36
                                                                                      11   signed a piece -- we got a piece of paper, and we               09:41:40
                                                                                      12   signed it and our parents signed it and just                    09:41:44
                                                                                      13   turned it in.                                                   09:41:46
                                                                                      14         Q.       So does everybody who -- anyone who              09:41:47
                                                                                      15   wants to go have the opportunity to go?                         09:41:51
                                                                                      16         A.       Yes.    I think there's a fee attached to        09:41:53
                                                                                      17   it.        But if you wanted to pay for it and go, you          09:41:56
                                                                                      18   could.                                                          09:42:00
                                                                                      19         Q.       I think you mentioned it was the first           09:42:01
                                                                                      20   time that you had gone on the trip?                             09:42:03
                                                                                      21         A.       Yes.                                             09:42:04
                                                                                      22         Q.       Was there any reason you didn't go as a          09:42:05
                                                                                      23   freshman or sophomore?                                          09:42:08
                                                                                      24         A.       No.    I just had never decided that, you        09:42:09
                                                                                      25   know, I should probably do it.          But this year, I        09:42:13


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                                                                                      1    really wanted to go.    I had heard things about,          09:42:17
                                                                                      2    you know, all the things they saw in DC and how            09:42:20
                                                                                      3    cool of an experience it was.                              09:42:24
                                                                                      4       Q.    In the 2019 trip, do you know about how           09:42:25
                                                                                      5    many students went?                                        09:42:31
                                                                                      6       A.    I would say over a hundred, but I don't           09:42:32
                                                                                      7    know.                                                      09:42:34
                                                                                      8       Q.    Okay.    And do you -- did you -- do you          09:42:34
                                                                                      9    go -- and you mentioned Notre Dame, right?       Is        09:42:41
                                                                                      10   Notre Dame a girls school?                                 09:42:46
                                                                                      11      A.    An all-girls school.                              09:42:48
                                                                                      12      Q.    An all-girls school.                              09:42:49
                                                                                      13            Do you go in coordination with any of             09:42:52
                                                                                      14   the other Catholic schools in the area?                    09:42:54
                                                                                      15      A.    It's mostly coordinated.    All of the            09:42:56
                                                                                      16   diocese schools are supposed to meet up for mass           09:42:59
                                                                                      17   led by the Bishop in DC, and then they all go out          09:43:04
                                                                                      18   and march.                                                 09:43:07
                                                                                      19      Q.    Okay.    Do you remember about how many           09:43:11
                                                                                      20   busses there were, just for Covington students?            09:43:15
                                                                                      21      A.    I think there were three.                         09:43:18
                                                                                      22      Q.    Okay.    Do you guys mix it up on the             09:43:19
                                                                                      23   busses in terms of the different schools going,            09:43:21
                                                                                      24   or is it all your school?                                  09:43:23
                                                                                      25      A.    Our school was the only one on our                09:43:25


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                                                                                      1    busses.                                                         09:43:28
                                                                                      2       Q.      Okay.    So let's just try to walk                   09:43:34
                                                                                      3    through.                                                        09:43:37
                                                                                      4               Up to the time that you arrived at the               09:43:37
                                                                                      5    Lincoln Memorial that Saturday afternoon,                       09:43:39
                                                                                      6    right -- Friday afternoon, January 18th that you                09:43:43
                                                                                      7    were there and you got to the Lincoln Memorial,                 09:43:50
                                                                                      8    just sort of walk us through what happened.         What        09:43:54
                                                                                      9    time did you leave?      And just kind describe the             09:44:00
                                                                                      10   trip up to that point.                                          09:44:01
                                                                                      11      A.      I think we left Cov Cath at like 7 or 8.             09:44:03
                                                                                      12   I know it was later at night.      And we started               09:44:09
                                                                                      13   driving.     And at some point, we stopped or                   09:44:13
                                                                                      14   whatever at a rest stop.      I can't remember how              09:44:18
                                                                                      15   many times.     But I know eventually around 3 or               09:44:21
                                                                                      16   3:30 in the morning, like our bus broke down.                   09:44:25
                                                                                      17   And I remember like the bus driver calling,                     09:44:29
                                                                                      18   trying to get AAA or someone to come out and                    09:44:34
                                                                                      19   repair it.                                                      09:44:39
                                                                                      20              And I was just sitting on the bus,                   09:44:40
                                                                                      21   trying to catch some sleep.      And we were kind of            09:44:42
                                                                                      22   stranded there for a couple hours, which made us                09:44:45
                                                                                      23   end up being late to get to the mass at the                     09:44:49
                                                                                      24   diocese.     And all the other schools had made it,             09:44:55
                                                                                      25   and we missed the mass.                                         09:44:59


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                                                                                      1                So we probably got into DC around 9:30              09:45:01
                                                                                      2    or 10 o'clock, somewhere early in the morning.                  09:45:05
                                                                                      3    And we parked outside the church just as all the                09:45:09
                                                                                      4    kids from the other schools were coming out.                    09:45:14
                                                                                      5       Q.       Did you sleep at all on the bus?                    09:45:18
                                                                                      6       A.       No, I did not sleep well at all.                    09:45:20
                                                                                      7       Q.       Okay.    So you all arrived in DC that              09:45:25
                                                                                      8    morning.                                                        09:45:28
                                                                                      9                What happens at that point?    You get off          09:45:32
                                                                                      10   the busses.     What happens?                                   09:45:35
                                                                                      11      A.       We get off the bus.    We go inside this            09:45:36
                                                                                      12   building.     And they kind of talk to us and                   09:45:39
                                                                                      13   whatever about what -- some -- like reiterating                 09:45:43
                                                                                      14   some of the expectations that they had told us                  09:45:48
                                                                                      15   before.     And then after that, we were kind of                09:45:50
                                                                                      16   just free to do whatever we wanted to.                          09:45:53
                                                                                      17      Q.       What expectations had they told you?                09:45:58
                                                                                      18      A.       There was like the previous expectations            09:46:01
                                                                                      19   about what to do if someone approaches you.          But        09:46:04
                                                                                      20   they also mentioned the story that a couple years               09:46:08
                                                                                      21   ago some kids had ended up in like Baltimore or                 09:46:14
                                                                                      22   something because they got screwed around on the                09:46:17
                                                                                      23   public transit or whatever and ended up in the                  09:46:21
                                                                                      24   complete wrong area.       And some kids ended up               09:46:25
                                                                                      25   going to Arlington.       So it was kind of like, you           09:46:29


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                                                                                      1    know, if you are going to like go out, like                 09:46:32
                                                                                      2    budget your time correctly to get back.                     09:46:34
                                                                                      3             So it was mostly that.     And they told us        09:46:37
                                                                                      4    we are meeting back at the Lincoln at 5.                    09:46:43
                                                                                      5       Q.    And what was the expectation about --              09:46:45
                                                                                      6    that was articulated about what to do if somebody           09:46:47
                                                                                      7    approaches you?                                             09:46:51
                                                                                      8       A.    It was that you don't say anything, you            09:46:52
                                                                                      9    walk away, you are always representing Cov Cath.            09:46:54
                                                                                      10      Q.    So you get off the busses.     When was the        09:47:02
                                                                                      11   march itself?                                               09:47:05
                                                                                      12      A.    I don't recall what time the actual                09:47:08
                                                                                      13   march started.     I know we got into the area where        09:47:11
                                                                                      14   people like speak from the stage.     And I think we        09:47:15
                                                                                      15   heard a couple people.     But all the main speakers        09:47:19
                                                                                      16   had already finished and packed up.                         09:47:22
                                                                                      17      Q.    Because you guys got there late?                   09:47:24
                                                                                      18      A.    Yes.                                               09:47:27
                                                                                      19      Q.    All right.     So just tell us what you            09:47:27
                                                                                      20   did.                                                        09:47:30
                                                                                      21            You got off the bus.     You mentioned that        09:47:30
                                                                                      22   you had that meeting and those things were --               09:47:33
                                                                                      23   were reiterated to you.     And then what -- what           09:47:37
                                                                                      24   did you do next?                                            09:47:40
                                                                                      25      A.    Well, I was with my group of friends.              09:47:41


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                                                                                      1    And we decided that since we had already kind of               09:47:43
                                                                                      2    missed the speeches or whatever, which is a big                09:47:47
                                                                                      3    part of it, we decided that we would kind of go                09:47:50
                                                                                      4    around DC and see some of the things we wanted to              09:47:54
                                                                                      5    see and then join the march after we had done                  09:47:58
                                                                                      6    some sightseeing.                                              09:48:02
                                                                                      7              We headed to the Washington Monument.                09:48:04
                                                                                      8    And then we went -- we kind of just walked around              09:48:10
                                                                                      9    the National Mall area for a little bit.      And              09:48:14
                                                                                      10   then we eventually got up to the White House.                  09:48:17
                                                                                      11      Q.     Who were -- who were the group of                    09:48:21
                                                                                      12   friends that you were with?                                    09:48:24
                                                                                      13      A.     I can remember I was with Will Fries,                09:48:25
                                                                                      14   Will Fike, Henry Bennett.     And I can't remember             09:48:29
                                                                                      15   exactly who else was there.     I think -- I'm                 09:48:36
                                                                                      16   almost positive Jerry Gallagher was there as                   09:48:38
                                                                                      17   well.   And some people stayed with us but then                09:48:45
                                                                                      18   kind of peeled off and went their own way.                     09:48:48
                                                                                      19      Q.     So and you had a girlfriend at the time?             09:48:59
                                                                                      20      A.     I did.                                               09:49:01
                                                                                      21      Q.     Did you meet up with her at any point?               09:49:02
                                                                                      22      A.     I saw her at the church when she had                 09:49:04
                                                                                      23   gotten out.    And then later in the day, I tried              09:49:07
                                                                                      24   to meet up with her, but I didn't see her.                     09:49:10
                                                                                      25      Q.     Okay.    So you did some sightseeing.     You        09:49:13


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                                                                                      1    said you went to the monument.        You went to the          09:49:19
                                                                                      2    White House.                                                   09:49:22
                                                                                      3       A.       Uh-huh.                                            09:49:22
                                                                                      4       Q.       What did you do after you went to the              09:49:23
                                                                                      5    White House?                                                   09:49:26
                                                                                      6       A.       We went over to the White House gift               09:49:26
                                                                                      7    shop and we bought Make America Great Again hats.              09:49:29
                                                                                      8       Q.       Okay.     And why did you do that?                 09:49:36
                                                                                      9       A.       Personally, I was looking for a                    09:49:37
                                                                                      10   souvenir.     I was -- I was deciding between the              09:49:42
                                                                                      11   hat or these White House golf balls that I wanted              09:49:44
                                                                                      12   to get.     But at the time, I decided, I'm probably           09:49:47
                                                                                      13   pretty bad at golf and I will lose these and I                 09:49:50
                                                                                      14   really don't just want to look at them, so I will              09:49:54
                                                                                      15   buy the hat because I can wear that.                           09:49:57
                                                                                      16      Q.       Did your golf game get better over the             09:49:59
                                                                                      17   summer?                                                        09:50:01
                                                                                      18      A.       It has gotten better.                              09:50:02
                                                                                      19      Q.       So other than you weren't confident                09:50:13
                                                                                      20   about your ability to retain the -- keep the golf              09:50:15
                                                                                      21   balls, is there any other reason you bought --                 09:50:18
                                                                                      22   why did you consider that a souvenir of your trip              09:50:20
                                                                                      23   that you wanted to bring back with you?                        09:50:26
                                                                                      24      A.       I think specifically because it came               09:50:28
                                                                                      25   from the White House gift shop.        Like I had never        09:50:30


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                                                                                      1    had the urge to go into any store in northern              09:50:33
                                                                                      2    Kentucky and buy a MAGA hat.     But the fact that         09:50:37
                                                                                      3    it came from the gift shop or whatever seemed to           09:50:43
                                                                                      4    me like that was souvenir worthy.                          09:50:46
                                                                                      5       Q.    Did the slogan Make America Great Again           09:50:49
                                                                                      6    speak to you in any way?                                   09:50:53
                                                                                      7       A.    I mean, I would agree with the                    09:50:55
                                                                                      8    statement.                                                 09:50:57
                                                                                      9       Q.    Okay.     And what would you -- what would        09:50:57
                                                                                      10   you agree about it?     What -- what do you agree          09:50:59
                                                                                      11   with?                                                      09:51:02
                                                                                      12      A.    I think -- well, first and foremost, was          09:51:02
                                                                                      13   President Trump's prolife stance, which is in              09:51:06
                                                                                      14   line with my belief and was kind of the most               09:51:10
                                                                                      15   driving factor in me getting it.     And I mean,           09:51:14
                                                                                      16   besides that, just as I mentioned earlier, my              09:51:21
                                                                                      17   more conservative views about limiting the                 09:51:24
                                                                                      18   government and protecting rights.                          09:51:27
                                                                                      19      Q.    Okay.     So the slogan is Make America           09:51:29
                                                                                      20   Great Again, right?                                        09:51:36
                                                                                      21      A.    Uh-huh.                                           09:51:39
                                                                                      22      Q.    Does that -- so, in your opinion, I'm             09:51:40
                                                                                      23   just asking you for your views, not what                   09:51:45
                                                                                      24   President Trump may mean or anything else,                 09:51:47
                                                                                      25   when -- when was America great that it needs to            09:51:52


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                                                                                      1    be made great again?                                           09:51:56
                                                                                      2          A.       I would say that America was the most           09:51:58
                                                                                      3    great I would say even during -- during World War              09:52:09
                                                                                      4    II.        Probably would be a prime example when the          09:52:13
                                                                                      5    country was unified and, you know, you didn't --               09:52:16
                                                                                      6    everyone kind of loved their neighbor and                      09:52:22
                                                                                      7    everyone pitched in together with the war effort               09:52:25
                                                                                      8    and things like that.                                          09:52:27
                                                                                      9                   That -- that to me is what America kind         09:52:29
                                                                                      10   of represents.        It's when you look at the person         09:52:32
                                                                                      11   next to you who you may not agree with but you                 09:52:35
                                                                                      12   still work together.                                           09:52:38
                                                                                      13         Q.       And you mentioned before that you               09:52:39
                                                                                      14   thought the -- the statement is in keeping with                09:52:40
                                                                                      15   your conservative values that you articulated.                 09:52:46
                                                                                      16                  Do you think that there was a time when         09:52:50
                                                                                      17   America functioned in a way that was more                      09:52:53
                                                                                      18   consistent with those values than it does now?                 09:52:57
                                                                                      19         A.       I mean, I would say that I don't know if        09:53:00
                                                                                      20   I could pick out a time that America ever fully                09:53:03
                                                                                      21   was perfect in a way that kind of Make America                 09:53:07
                                                                                      22   Great Again mirrors.                                           09:53:13
                                                                                      23                  I don't know if I could point to a              09:53:15
                                                                                      24   specific point in the country's history when                   09:53:18
                                                                                      25   everything was fine and that's the model of what               09:53:20


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                                                                                      1    I would like now because there have been bad                  09:53:23
                                                                                      2    parts about, you know, the country all the time.              09:53:26
                                                                                      3    So . . .                                                      09:53:29
                                                                                      4       Q.       Okay.    Fair enough.   But to say Make           09:53:32
                                                                                      5    America Great Again, is there a time when you                 09:53:36
                                                                                      6    feel like it was better?                                      09:53:41
                                                                                      7                MR. McMURTRY:    Objection.   You can go          09:53:44
                                                                                      8    ahead.     I think you have answered that question,           09:53:45
                                                                                      9    but --                                                        09:53:48
                                                                                      10   BY MR. SIEGEL:                                                09:53:49
                                                                                      11      Q.       In that it was more consistent with the           09:53:49
                                                                                      12   conservative values that you articulated?        Sorry        09:53:52
                                                                                      13   about that.                                                   09:53:56
                                                                                      14               MR. McMURTRY:    Objection.   Go ahead.           09:53:56
                                                                                      15      A.       I'm not sure I can point to a specific            09:53:57
                                                                                      16   time of -- I mean, just my example of -- I'm not              09:54:03
                                                                                      17   sure.                                                         09:54:10
                                                                                      18      Q.       Is there a time that you can point to             09:54:13
                                                                                      19   when you feel that America started to decline?                09:54:15
                                                                                      20      A.       I would say during the Jimmy Carter               09:54:19
                                                                                      21   Administration.                                               09:54:30
                                                                                      22      Q.       And how so in your opinion?                       09:54:31
                                                                                      23      A.       To me, he was a very weak president,              09:54:33
                                                                                      24   whatever, that failed in a lot of areas,                      09:54:37
                                                                                      25   especially his handling of the hostage crisis and             09:54:39


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                                                                                      1    things on global levels.                                   09:54:43
                                                                                      2       Q.    Okay.     And did that decline continue           09:54:45
                                                                                      3    after Jimmy Carter in your view?                           09:54:52
                                                                                      4       A.    I would say it was kind of revived with           09:54:54
                                                                                      5    Reagan, obviously.     But, I mean, you don't              09:55:03
                                                                                      6    have -- after that, you had Clinton or whatever,           09:55:05
                                                                                      7    and things haven't been the same.                          09:55:08
                                                                                      8       Q.    Ever since the --                                 09:55:12
                                                                                      9       A.    Yeah.                                             09:55:20
                                                                                      10      Q.    So going back to the trip, just if I              09:55:20
                                                                                      11   recall the timeline we were at.     You went to the        09:55:22
                                                                                      12   White House.     I think you said you then went to         09:55:24
                                                                                      13   the rally or whatever was left of the march?               09:55:28
                                                                                      14      A.    Correct.                                          09:55:32
                                                                                      15      Q.    And what did you do there?                        09:55:33
                                                                                      16      A.    We marched along the kind of finishing            09:55:34
                                                                                      17   stretch of the rally.     And that took us to kind         09:55:38
                                                                                      18   of like behind the Capitol building, in terms of           09:55:43
                                                                                      19   not the side facing the rest of the mall and the           09:55:48
                                                                                      20   Washington Monument.     And there was kind of like        09:55:52
                                                                                      21   where everyone gathered.     And that's kind of            09:55:57
                                                                                      22   where I lost my friends.     Because I was going to        09:56:00
                                                                                      23   try and find my girlfriend at that point.       And        09:56:02
                                                                                      24   was just a huge crowd.     I kind of lost them.            09:56:05
                                                                                      25      Q.    So -- and about -- do you recall about            09:56:09


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                                                                                      1    what time in the day this was?                                      09:56:13
                                                                                      2          A.       I would say this was somewhere around --             09:56:16
                                                                                      3    anywhere from 4 to 4:30.                                            09:56:19
                                                                                      4          Q.       Okay.    So you lost your friends.        You        09:56:21
                                                                                      5    couldn't find your girlfriend.          So what did you             09:56:23
                                                                                      6    do next?                                                            09:56:25
                                                                                      7          A.       So at that point, I went to kind of text             09:56:26
                                                                                      8    them and see if there was a spot we could meet                      09:56:32
                                                                                      9    up.        And at the time, I had -- my phone was an                09:56:35
                                                                                      10   iPhone 6, or whatever, that -- and I had a                          09:56:40
                                                                                      11   battery problem where it would be on 40 or 50                       09:56:43
                                                                                      12   percent and it would just die without warning.                      09:56:46
                                                                                      13                  And so when I went to text them, I                   09:56:49
                                                                                      14   turned it on and it instantly died.          And I                  09:56:51
                                                                                      15   didn't -- at that point, I hadn't checked the                       09:56:55
                                                                                      16   time.        So I thought it was closer to 5, or maybe              09:56:58
                                                                                      17   5.                                                                  09:57:03
                                                                                      18                  So I had a map with me, I think.          I          09:57:04
                                                                                      19   pulled it out and I found out where the Lincoln                     09:57:08
                                                                                      20   Memorial was.          And then I literally ran.     I              09:57:10
                                                                                      21   sprinted from the Capitol to the memorial because                   09:57:15
                                                                                      22   I thought that it could have been 5 before I got                    09:57:18
                                                                                      23   there and that I was going to get left in DC.                       09:57:22
                                                                                      24         Q.       That is a pretty good workout.                       09:57:25
                                                                                      25         A.       Yeah.                                                09:57:27


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                                                                                      1       Q.    So when you get -- when you get to the             09:57:27
                                                                                      2    Lincoln Memorial, did you at any time see that              09:57:35
                                                                                      3    there was a -- some kind of rally or gathering of           09:57:39
                                                                                      4    indigenous peoples?                                         09:57:46
                                                                                      5       A.    Yes.                                               09:57:48
                                                                                      6       Q.    So what did you see?                               09:57:48
                                                                                      7       A.    So when I got to the memorial, I went to           09:57:50
                                                                                      8    the bathroom.    And I went up and I looked at              09:57:53
                                                                                      9    Lincoln, and then I came down.    And the first             09:57:55
                                                                                      10   thing I noticed was Black Hebrew Israelites were            09:57:58
                                                                                      11   kind of set up with posters or whatever and                 09:58:03
                                                                                      12   stuff.                                                      09:58:06
                                                                                      13            And then I think after a while, I                  09:58:07
                                                                                      14   started to notice that there was another like               09:58:10
                                                                                      15   organized group there, which was the Native                 09:58:12
                                                                                      16   Americans who were congregating for --                      09:58:14
                                                                                      17      Q.    And -- and what were they doing?       What        09:58:21
                                                                                      18   did you see?                                                09:58:23
                                                                                      19      A.    I saw them -- they were all holding                09:58:24
                                                                                      20   hands in like a large circle and dancing around.            09:58:30
                                                                                      21            I wasn't paying too much attention to              09:58:32
                                                                                      22   them because there was a group way more                     09:58:34
                                                                                      23   aggressive kind of in front of us that took up              09:58:37
                                                                                      24   most of my focus.                                           09:58:40
                                                                                      25      Q.    Okay.    Was this your first time at               09:58:42


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                                                                                      1    the -- was this your first time in DC?                         09:58:52
                                                                                      2       A.       Yes.                                               09:58:55
                                                                                      3       Q.       And you said that you had -- you had               09:58:56
                                                                                      4    been told to meet up at 5 o'clock at the Lincoln               09:58:58
                                                                                      5    Memorial?                                                      09:59:01
                                                                                      6       A.       Uh-huh.                                            09:59:02
                                                                                      7       Q.       Were you told any particular area around           09:59:03
                                                                                      8    the memorial to meet up at?                                    09:59:06
                                                                                      9       A.       No.     It was just kind of like on the            09:59:08
                                                                                      10   steps in front of it.                                          09:59:11
                                                                                      11      Q.       Okay.     And do you recall, was there a           09:59:13
                                                                                      12   time that the busses were supposed to leave?                   09:59:17
                                                                                      13      A.       At 5, or around 5.                                 09:59:21
                                                                                      14      Q.       Okay.     So what was your understanding of        09:59:23
                                                                                      15   what you were supposed to do once you got there?               09:59:25
                                                                                      16      A.       My understanding was that we were all              09:59:28
                                                                                      17   going to meet there, wait, and then the                        09:59:31
                                                                                      18   chaperones or whatever were going to do                        09:59:35
                                                                                      19   attendance, count everyone, and then we were                   09:59:38
                                                                                      20   going to walk to them, get on and leave.                       09:59:41
                                                                                      21      Q.       And do you recall about how long before            09:59:46
                                                                                      22   the encounter with Nathan Phillips that you                    09:59:58
                                                                                      23   arrived at the Lincoln Memorial?                               10:00:01
                                                                                      24      A.       I would say that I arrived at the                  10:00:03
                                                                                      25   Lincoln Memorial at like 4:20 or 4:30, like                    10:00:11


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                                                                                      1    somewhere way before what I thought the actual                10:00:16
                                                                                      2    time was.     I didn't have my phone, really, to              10:00:18
                                                                                      3    gauge what time it was.                                       10:00:20
                                                                                      4       Q.       Okay.     Did you ever -- again, prior to         10:00:22
                                                                                      5    this incident, did you interact at all with any               10:00:28
                                                                                      6    of the Native Americans?                                      10:00:31
                                                                                      7       A.       No.                                               10:00:33
                                                                                      8       Q.       Did you see any other Covington students          10:00:33
                                                                                      9    interacting with any of the Native Americans?                 10:00:37
                                                                                      10      A.       No, I did not.                                    10:00:39
                                                                                      11      Q.       Now, you have mentioned before that you           10:00:40
                                                                                      12   saw the African American men who were set up                  10:00:44
                                                                                      13   there.                                                        10:00:50
                                                                                      14               Did you later come to know that they              10:00:53
                                                                                      15   called themselves the Black Hebrew Israelites?                10:00:57
                                                                                      16      A.       Yes.     I think -- I'm not sure if I knew        10:01:02
                                                                                      17   at the time.        They could have had something on          10:01:04
                                                                                      18   one of their signs.                                           10:01:06
                                                                                      19               MR. SIEGEL:     Okay.                             10:01:07
                                                                                      20      A.       I don't think I did, though.                      10:01:08
                                                                                      21      Q.       And what did you see and hear?                    10:01:11
                                                                                      22      A.       I saw and heard them berate a bunch of            10:01:15
                                                                                      23   my classmates.                                                10:01:20
                                                                                      24               Obviously, there was more than me                 10:01:23
                                                                                      25   that -- I was not the only one that had Donald                10:01:28


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                                                                                      1    Trump campaign attire on.      And so they said            10:01:32
                                                                                      2    negative things about the president that I really          10:01:36
                                                                                      3    can't repeat.     And they said things about one of        10:01:40
                                                                                      4    the freshmen who was on the trip who was an                10:01:45
                                                                                      5    African American and called him, you know, a               10:01:49
                                                                                      6    bunch of things I also won't repeat.       And they        10:01:52
                                                                                      7    just kind of, you know, said a bunch of things             10:01:57
                                                                                      8    that, you know, were not nice.                             10:02:01
                                                                                      9       Q.     And some of those things were directed           10:02:03
                                                                                      10   at the group of students.      Is that fair?               10:02:07
                                                                                      11      A.     I would say most of them were, yeah.             10:02:10
                                                                                      12      Q.     Most of them were.     Okay.   Including         10:02:12
                                                                                      13   when you were a part of that group?                        10:02:15
                                                                                      14      A.     Yes.                                             10:02:17
                                                                                      15      Q.     And what was your reaction to what they          10:02:18
                                                                                      16   were saying?                                               10:02:22
                                                                                      17      A.     I -- I was kind of uneasy or whatever.           10:02:24
                                                                                      18   And that was because I had seen protestors                 10:02:31
                                                                                      19   earlier throughout the day, especially around the          10:02:36
                                                                                      20   White House.     But mainly, they were all just            10:02:43
                                                                                      21   saying whatever they felt like or however they             10:02:47
                                                                                      22   felt, and I would have assumed that to kind of             10:02:51
                                                                                      23   get their attention you needed to do something to          10:02:55
                                                                                      24   them.   But we were kind of just standing there.           10:02:57
                                                                                      25   And then they locked onto us without us doing              10:03:00


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                                                                                      1    anything before that.      So it bothered me a little        10:03:06
                                                                                      2    bit that they were kind of targeting us for no               10:03:09
                                                                                      3    reason.                                                      10:03:14
                                                                                      4       Q.     Had you ever seen anything like this               10:03:18
                                                                                      5    before?                                                      10:03:22
                                                                                      6       A.     No.     No.                                        10:03:22
                                                                                      7       Q.     Okay.     Do you know or did you know              10:03:23
                                                                                      8    another Covington student named Robert McGrane,              10:03:25
                                                                                      9    is the name?                                                 10:03:31
                                                                                      10      A.     I don't think so.                                  10:03:41
                                                                                      11             MR. SIEGEL:     This is Exhibit 2, which is        10:03:41
                                                                                      12   an audio recording that was produced by GCI, the             10:03:42
                                                                                      13   investigative firm that did the investigation.               10:03:48
                                                                                      14   Number 218.     Is that right, Jessica?                      10:03:51
                                                                                      15             MS. MEEK:     Yes, that is right.                  10:03:55
                                                                                      16             MR. SIEGEL:     Okay.   I'm just going to          10:03:56
                                                                                      17   play you an excerpt of Mr. McGrane's recorded                10:03:58
                                                                                      18   interview.                                                   10:04:04
                                                                                      19             MS. MEEK:     For the record, I'm starting         10:04:21
                                                                                      20   Exhibit 2 at 5 minutes and 54 seconds.                       10:04:23
                                                                                      21             (Thereupon, an audio recording of                  10:04:27
                                                                                      22   Exhibit 2 was played.)                                       10:04:31
                                                                                      23             MS. MEEK:     I just stopped -- I just             10:05:03
                                                                                      24   stopped Exhibit 2 at 6 minutes and 30 seconds.               10:05:04
                                                                                      25   BY MR. SIEGEL:                                               10:05:08


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                                                                                      1       Q.     He called it a culture shock.       Do you --        10:05:08
                                                                                      2    did you feel that way?                                         10:05:13
                                                                                      3       A.     I would agree.     I would best describe DC          10:05:14
                                                                                      4    as kind of a war zone compared to what I was                   10:05:18
                                                                                      5    compared to -- or what I'm used to seeing.        Just         10:05:22
                                                                                      6    because there was almost a protest around every                10:05:25
                                                                                      7    corner, and it was -- it couldn't -- it wouldn't               10:05:28
                                                                                      8    have even been related to the March For Life.                  10:05:31
                                                                                      9    Everyone was just protesting something.                        10:05:38
                                                                                      10      Q.     Did the -- the African American men stay             10:05:41
                                                                                      11   in the same place the whole time you were there?               10:05:44
                                                                                      12      A.     For the most part, except when Nathan                10:05:48
                                                                                      13   Phillips moved in.     Then they kind of shifted               10:05:51
                                                                                      14   closer.                                                        10:05:57
                                                                                      15      Q.     Okay.    Did you hear any of them                    10:05:58
                                                                                      16   insulting any of the -- any Native Americans?                  10:06:02
                                                                                      17      A.     Not at the time.     I know they did now.            10:06:06
                                                                                      18      Q.     And you know that from seeing videos of              10:06:09
                                                                                      19   the event?                                                     10:06:13
                                                                                      20      A.     Yes.                                                 10:06:13
                                                                                      21      Q.     Okay.    So I take it at the time also you           10:06:14
                                                                                      22   didn't -- you didn't see how the Native Americans              10:06:18
                                                                                      23   responded to them?                                             10:06:23
                                                                                      24      A.     No.                                                  10:06:24
                                                                                      25      Q.     Okay.    Did you see them insulting any              10:06:24


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                                                                                      1    African Americans?                                              10:06:28
                                                                                      2       A.       I saw them insult the one a part of our             10:06:30
                                                                                      3    group.   I didn't see -- I don't ever recall                    10:06:34
                                                                                      4    seeing them insult another African American                     10:06:38
                                                                                      5    outside of our group.                                           10:06:42
                                                                                      6       Q.       Okay.     Did you see them insulting people         10:06:43
                                                                                      7    other than in your group?                                       10:06:46
                                                                                      8       A.       Yes.                                                10:06:47
                                                                                      9       Q.       From what you recall, what do you                   10:06:49
                                                                                      10   remember about that?                                            10:06:52
                                                                                      11      A.       I remember that there was one guy who               10:06:53
                                                                                      12   was on one of -- kind of like a motorized                       10:06:56
                                                                                      13   skateboard.        I don't know what it is.   And he had        10:07:01
                                                                                      14   like a ski helmet and goggles on.        He had like a          10:07:04
                                                                                      15   boom box or something.        And he kept riding around         10:07:09
                                                                                      16   them and playing music.                                         10:07:13
                                                                                      17      Q.       Okay.     Did they make any negative                10:07:17
                                                                                      18   remarks about other peoples or groups or police?                10:07:21
                                                                                      19      A.       I would assume that they did.      I just           10:07:26
                                                                                      20   can't -- I don't think I witnessed any of it.                   10:07:29
                                                                                      21      Q.       What about just, for example, those who             10:07:34
                                                                                      22   were gay?                                                       10:07:37
                                                                                      23      A.       I know that when they were insulting us,            10:07:37
                                                                                      24   they made -- they insulted gays.                                10:07:45
                                                                                      25               MR. SIEGEL:     Let's go to Exhibit 3,              10:07:57


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                                                                                      1    which I will state for the record is video 4 on             10:07:59
                                                                                      2    the stipulation, and I will just identify videos            10:08:01
                                                                                      3    that way because I think it will be easier for              10:08:05
                                                                                      4    the record.     That's the -- I think what your             10:08:07
                                                                                      5    Complaint calls the Banyamyan video.     And I will         10:08:13
                                                                                      6    show some excerpts from that.                               10:08:16
                                                                                      7             MS. MEEK:     I'm starting at Exhibit 3,           10:08:18
                                                                                      8    which is video 4, at 11 minutes and 19 seconds.             10:08:22
                                                                                      9             (Thereupon, a video recording from                 10:08:26
                                                                                      10   Exhibit 3 was played.)                                      10:08:31
                                                                                      11   BY MR. SIEGEL:                                              10:09:14
                                                                                      12      Q.    So do you see there was a group of                 10:09:14
                                                                                      13   students off to the side?     Did those -- do those         10:09:17
                                                                                      14   include some Covington students?                            10:09:22
                                                                                      15      A.    Yes.                                               10:09:25
                                                                                      16      Q.    Okay.     And do you know where the girls          10:09:25
                                                                                      17   were from?                                                  10:09:28
                                                                                      18      A.    I do not.     I would assume Notre Dame.           10:09:30
                                                                                      19      Q.    But did you see any of that at the time?           10:09:36
                                                                                      20      A.    I don't think I did.                               10:09:38
                                                                                      21      Q.    Okay.     You heard one of the Black Hebrew        10:09:40
                                                                                      22   Israelites who was talking, saying:     Don't stand         10:09:47
                                                                                      23   there and mock us?                                          10:09:49
                                                                                      24      A.    Yeah.                                              10:09:50
                                                                                      25      Q.    Do you think they were mocking them?               10:09:51


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                                                                                      1                MR. McMURTRY:       Objection.    During the         10:09:53
                                                                                      2    video clip?                                                      10:09:54
                                                                                      3                MR. SIEGEL:     Yes.                                 10:09:55
                                                                                      4                MR. McMURTRY:       Okay.    Go ahead and            10:09:56
                                                                                      5    answer.                                                          10:09:57
                                                                                      6                MR. SIEGEL:     Yes.    I will rephrase that         10:09:57
                                                                                      7    for the record.        Sorry.                                    10:09:59
                                                                                      8    BY MR. SIEGEL:                                                   10:10:00
                                                                                      9       Q.       On the video, did you hear one of the                10:10:00
                                                                                      10   Black Hebrew Israelites say:            Don't stand there        10:10:04
                                                                                      11   and mock us?                                                     10:10:10
                                                                                      12      A.       I heard it.                                          10:10:11
                                                                                      13      Q.       Okay.    Do you think the students were              10:10:12
                                                                                      14   mocking them?                                                    10:10:13
                                                                                      15      A.       I don't think so.       I mean, because at           10:10:14
                                                                                      16   the time that the video turns, the kids had their                10:10:16
                                                                                      17   backs to the -- to the Black Hebrew Israelites,                  10:10:20
                                                                                      18   and I can't even hear any of the kids saying                     10:10:23
                                                                                      19   anything.                                                        10:10:27
                                                                                      20      Q.       Okay.    And they are walking away, right?           10:10:27
                                                                                      21      A.       Correct.                                             10:10:30
                                                                                      22      Q.       Okay.    Would it be fair to say that is             10:10:30
                                                                                      23   your interpretation of what you are seeing from                  10:10:33
                                                                                      24   the video as to whether or not they seem to you                  10:10:35
                                                                                      25   to be mocking them?                                              10:10:37


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                                                                                      1       A.       I would say yes.                                  10:10:38
                                                                                      2       Q.       Okay.    Can you identify any of those            10:10:39
                                                                                      3    students?                                                     10:10:42
                                                                                      4       A.       I cannot.                                         10:10:42
                                                                                      5                MR. SIEGEL:     Let's jump to 38 minutes.         10:10:46
                                                                                      6                MS. MEEK:     For the record, a moment ago        10:10:49
                                                                                      7    I stopped Exhibit 3 at 12 minutes and 8 seconds.              10:10:50
                                                                                      8    Now I'm restarting at 38 minutes.                             10:10:54
                                                                                      9                (Thereupon, a video recording of Exhibit          10:10:58
                                                                                      10   3 was played.)                                                10:11:04
                                                                                      11   BY MR. SIEGEL:                                                10:11:36
                                                                                      12      Q.       The person in the blue coat, do you               10:11:36
                                                                                      13   recognize who that person is?                                 10:11:43
                                                                                      14      A.       I mean, I have a guess who he is, but             10:11:45
                                                                                      15   not really from that clip.                                    10:11:48
                                                                                      16      Q.       What is your best guess?                          10:11:50
                                                                                      17      A.       I think that is Billy Smith, but I have           10:11:52
                                                                                      18   no idea.                                                      10:11:55
                                                                                      19      Q.       Okay.    And do you recognize any of the          10:11:56
                                                                                      20   other students standing I guess to his left as                10:11:58
                                                                                      21   Covington students?                                           10:12:02
                                                                                      22      A.       I think the one on his -- from this               10:12:03
                                                                                      23   point of view, from our right, the next one is                10:12:06
                                                                                      24   Luke Keninso (phonetically spelled), but I                    10:12:09
                                                                                      25   don't -- I can't recognize him for sure.                      10:12:13


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                                                                                      1       Q.    Okay.    Did you see any of this at the               10:12:16
                                                                                      2    time?                                                          10:12:20
                                                                                      3       A.    I can't say for sure.       There were                10:12:22
                                                                                      4    several times when some of the students were                   10:12:26
                                                                                      5    standing somewhat close.     I can't say if I saw              10:12:29
                                                                                      6    this one for sure and not another one.                         10:12:34
                                                                                      7             MR. SIEGEL:     Okay.    Keep going.                  10:12:36
                                                                                      8             MS. MEEK:     For the record, a moment ago            10:12:41
                                                                                      9    I paused at 38 minutes and 25 seconds.          And now        10:12:42
                                                                                      10   I'm continuing on from that point in Exhibit 3.                10:12:46
                                                                                      11            (Thereupon, a video recording from                    10:12:50
                                                                                      12   Exhibit 3 was played.)                                         10:12:53
                                                                                      13            MS. MEEK:     I just paused at 38 minutes             10:12:58
                                                                                      14   and 33 seconds.                                                10:13:01
                                                                                      15   BY MR. SIEGEL:                                                 10:13:03
                                                                                      16      Q.    Do you know what the water bottle says?               10:13:03
                                                                                      17      A.    I can't remember.       It said something --          10:13:07
                                                                                      18   I think it might have said Voss or something, or               10:13:14
                                                                                      19   maybe it had -- like someone had removed the logo              10:13:18
                                                                                      20   and put something on it.     I don't remember what             10:13:22
                                                                                      21   the logo was.                                                  10:13:29
                                                                                      22      Q.    And do you think that the way he sort of              10:13:31
                                                                                      23   picked up the water bottle and smiles, is he                   10:13:36
                                                                                      24   mocking the Black Hebrew Israelites?                           10:13:41
                                                                                      25            MR. McMURTRY:     Objection.    Go ahead.             10:13:42


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                                                                                      1       A.       No.     I don't see any reason why he would        10:13:43
                                                                                      2    be or what kind of -- the smile and the water                  10:13:45
                                                                                      3    bottle mock, at least in my view of it.                        10:13:49
                                                                                      4                MR. SIEGEL:     Okay.   Play a few more            10:13:55
                                                                                      5    seconds.                                                       10:13:58
                                                                                      6                (Thereupon, a video recording of Exhibit           10:13:59
                                                                                      7    3 was played.)                                                 10:14:02
                                                                                      8                MS. MEEK:     I just paused at 38 minutes          10:14:04
                                                                                      9    and 36 seconds in Exhibit 3.                                   10:14:06
                                                                                      10   BY MR. SIEGEL:                                                 10:14:09
                                                                                      11      Q.       Do you think that looks like a -- do you           10:14:09
                                                                                      12   see him smiling?                                               10:14:10
                                                                                      13      A.       Yeah, I see him smiling.                           10:14:11
                                                                                      14      Q.       Does that look like a smirk to you?                10:14:13
                                                                                      15               MR. McMURTRY:     Objection.                       10:14:17
                                                                                      16      A.       No.     At this point, he hasn't even said         10:14:17
                                                                                      17   anything.     And the guy on this thing just called            10:14:20
                                                                                      18   him -- and whatever you want to call it, insulted              10:14:24
                                                                                      19   him.                                                           10:14:26
                                                                                      20   BY MR. SIEGEL:                                                 10:14:27
                                                                                      21      Q.       Okay.     Do you think someone else looking        10:14:27
                                                                                      22   at this video could disagree with you about                    10:14:30
                                                                                      23   whether he is smirking at them?                                10:14:34
                                                                                      24               MR. McMURTRY:     Objection.   Go ahead.           10:14:36
                                                                                      25      A.       If they wanted to, I guess they could,             10:14:37


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                                                                                      1    right.                                                        10:14:40
                                                                                      2    BY MR. SIEGEL:                                                10:14:40
                                                                                      3       Q.     Would you -- would you say that's an                10:14:40
                                                                                      4    honest opinion that they could have, to look at               10:14:48
                                                                                      5    that and say I think that -- what's his name                  10:14:50
                                                                                      6    again?                                                        10:14:54
                                                                                      7       A.     Charlie.                                            10:14:55
                                                                                      8       Q.     -- I think Charlie is smirking at him?              10:14:56
                                                                                      9       A.     I would -- I would -- I don't -- I                  10:14:59
                                                                                      10   wouldn't accuse them of being dishonest, but I                10:15:02
                                                                                      11   would certainly tell them that that's not the                 10:15:05
                                                                                      12   right opinion.                                                10:15:09
                                                                                      13             MR. McMURTRY:     We are at an hour.    I'm         10:15:13
                                                                                      14   going to want to stop at some point.                          10:15:15
                                                                                      15             MR. SIEGEL:     We can do that now.                 10:15:17
                                                                                      16             MR. McMURTRY:     Whatever is convenient.           10:15:19
                                                                                      17   Okay.                                                         10:15:21
                                                                                      18             MR. SIEGEL:     Sure.    Yes.                       10:15:21
                                                                                      19             THE VIDEOGRAPHER:       We are going off the        10:15:22
                                                                                      20   record.   The time is 10:15 a.m.                              10:15:23
                                                                                      21             (Thereupon, there was a recess taken at             10:15:28
                                                                                      22   10:15 a.m.)                                                   10:15:28
                                                                                      23             (Thereupon, the proceedings were resumed            10:26:42
                                                                                      24   at 10:26 a.m.)                                                10:26:42
                                                                                      25             THE VIDEOGRAPHER:       We are back on the          10:26:48


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                                                                                      1    record.   The time is 10:26 a.m.                             10:26:49
                                                                                      2    BY MR. SIEGEL:                                               10:26:53
                                                                                      3       Q.     Nick, one of the words that you hear the           10:26:53
                                                                                      4    Black Hebrew Israelite man saying was -- on                  10:27:03
                                                                                      5    approach to the students was cracker or crackers?            10:27:06
                                                                                      6       A.     Yeah.                                              10:27:09
                                                                                      7       Q.     Did you hear that?                                 10:27:10
                                                                                      8       A.     I did.                                             10:27:10
                                                                                      9       Q.     Is that something you also heard them              10:27:11
                                                                                      10   say when you were there?                                     10:27:14
                                                                                      11      A.     Yes.                                               10:27:15
                                                                                      12      Q.     What did -- did you know what that was             10:27:16
                                                                                      13   at the time?                                                 10:27:17
                                                                                      14      A.     I just knew it was an epithet used to              10:27:17
                                                                                      15   describe white people.                                       10:27:25
                                                                                      16             MR. SIEGEL:     Okay.   Let's go to -- on          10:27:29
                                                                                      17   Exhibit 3, 43 minutes and 56 seconds.                        10:27:31
                                                                                      18             (Thereupon, a video recording of Exhibit           10:27:36
                                                                                      19   3 was played.)                                               10:27:43
                                                                                      20             MS. MEEK:     I just paused Exhibit 3 at 44        10:28:57
                                                                                      21   minutes and 39 seconds.                                      10:29:00
                                                                                      22   BY MR. SIEGEL:                                               10:29:02
                                                                                      23      Q.     Okay.    So, again, the boys who are               10:29:02
                                                                                      24   standing to the right of the screen as we are                10:29:06
                                                                                      25   looking at it, are those Covington students?                 10:29:08


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                                                                                      1       A.       Yes.                                                10:29:12
                                                                                      2       Q.       And do you know who the student is                  10:29:12
                                                                                      3    holding the water bottle?                                       10:29:17
                                                                                      4       A.       I would assume that is Charlie still.               10:29:19
                                                                                      5       Q.       Still Charlie?     And it looks like that           10:29:23
                                                                                      6    water bottle was blue?                                          10:29:29
                                                                                      7       A.       Correct.                                            10:29:30
                                                                                      8       Q.       Do you know what it says?                           10:29:31
                                                                                      9       A.       I do not.                                           10:29:32
                                                                                      10      Q.       Does it say Trump on it?                            10:29:35
                                                                                      11      A.       I think that is my leading guess as to              10:29:39
                                                                                      12   what it said.      I honestly, though, can't                    10:29:42
                                                                                      13   remember.                                                       10:29:44
                                                                                      14               MR. SIEGEL:     Okay.   Can we just pull up         10:29:45
                                                                                      15   Exhibit 4 for a second?                                         10:29:47
                                                                                      16               MS. MEEK:     The paper copy or up there?           10:29:50
                                                                                      17               MR. SIEGEL:     We could put it up there,           10:29:53
                                                                                      18   actually, the front, the photo.                                 10:29:55
                                                                                      19   BY MR. SIEGEL:                                                  10:30:30
                                                                                      20      Q.       Nick, I will represent to you this is               10:30:30
                                                                                      21   just a photo I pulled off the Internet.         It's not        10:30:32
                                                                                      22   a photo of the event.        But do you think that that         10:30:35
                                                                                      23   is what that water bottle looked like?                          10:30:38
                                                                                      24               MR. McMURTRY:     Objection.   Go ahead.            10:30:41
                                                                                      25      A.       I would say it's very possible.      And I          10:30:42


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                                                                                      1    would assume that's probably what it is.                           10:30:44
                                                                                      2    BY MR. SIEGEL:                                                     10:30:48
                                                                                      3       Q.      Okay.    So let's go back.                              10:30:48
                                                                                      4               What do you think Billy was trying to                   10:30:51
                                                                                      5    communicate?                                                       10:30:54
                                                                                      6               Stop and pause.     And I will rephrase the             10:30:56
                                                                                      7    question when she gets the frame up so you can                     10:30:58
                                                                                      8    view it.                                                           10:31:00
                                                                                      9               What do you think Billy was trying to                   10:31:11
                                                                                      10   communicate to the Black Hebrew Israelites by                      10:31:14
                                                                                      11   holding the Trump water bottle up?                                 10:31:17
                                                                                      12              MR. McMURTRY:     Objection.   Go                       10:31:19
                                                                                      13   ahead if --                                                        10:31:22
                                                                                      14              MR. SIEGEL:     I will rephrase it.                     10:31:22
                                                                                      15   BY MR. SIEGEL:                                                     10:31:23
                                                                                      16      Q.      What do you think Billy was trying to                   10:31:23
                                                                                      17   communicate to the Black Hebrew Israelites by                      10:31:25
                                                                                      18   holding that water bottle up?                                      10:31:29
                                                                                      19              MR. McMURTRY:     Objection.   Go ahead.                10:31:30
                                                                                      20      A.      I think Charlie was already being mocked                10:31:32
                                                                                      21   for wearing the Make America Great Again hat.            So        10:31:35
                                                                                      22   he was also saying, hey, I have a water bottle,                    10:31:39
                                                                                      23   too, you know.      I don't know.   He was showing                 10:31:44
                                                                                      24   them that he had a water bottle, too.          I don't             10:31:51
                                                                                      25   know what he was trying to do with it.                             10:31:53


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                                                                                      1    BY MR. SIEGEL:                                              10:31:58
                                                                                      2       Q.    So you understand that he was being                10:31:58
                                                                                      3    mocked, or you are attesting that he was being              10:32:00
                                                                                      4    mocked by the Black Hebrew Israelites, right?     Do        10:32:04
                                                                                      5    you think he was mocking them --                            10:32:09
                                                                                      6       A.    No.                                                10:32:10
                                                                                      7       Q.    -- by doing that?                                  10:32:10
                                                                                      8       A.    No, not at all.                                    10:32:12
                                                                                      9       Q.    He was taunting them by doing that?                10:32:13
                                                                                      10      A.    I don't think so.                                  10:32:16
                                                                                      11      Q.    Why?                                               10:32:17
                                                                                      12      A.    Well, I think it's pretty clear to me              10:32:18
                                                                                      13   that they had already -- the Black Hebrew                   10:32:21
                                                                                      14   Israelites, you can clearly hear them already               10:32:22
                                                                                      15   label Charlie many insults and epithets.    I               10:32:31
                                                                                      16   don't -- I don't know how he would -- could be              10:32:34
                                                                                      17   mocking them when they are going after him.                 10:32:36
                                                                                      18      Q.    Well, is it possible that he was kind of           10:32:38
                                                                                      19   responding in kind?                                         10:32:46
                                                                                      20            MR. McMURTRY:     Objection.                       10:32:46
                                                                                      21      A.    I don't think so, because his reaction             10:32:47
                                                                                      22   is on a way more toned-down level than what he is           10:32:50
                                                                                      23   being presented with.                                       10:32:55
                                                                                      24   BY MR. SIEGEL:                                              10:32:56
                                                                                      25      Q.    Do you think somebody seeing this and              10:32:56


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                                                                                      1    seeing Charlie holding up a Trump water bottle to             10:32:58
                                                                                      2    the Black Hebrew Israelites, that he was mocking              10:33:02
                                                                                      3    them by doing that?                                           10:33:05
                                                                                      4             MR. McMURTRY:        Objection.   Go ahead.          10:33:06
                                                                                      5       A.    I guess they could.        To me, a water            10:33:08
                                                                                      6    bottle doesn't seem that provocative.        So if            10:33:11
                                                                                      7    someone wanted to -- wanted to look at it that                10:33:16
                                                                                      8    way, they could.                                              10:33:19
                                                                                      9             MR. SIEGEL:     Okay.     Let's go to 49             10:33:27
                                                                                      10   minutes and 29 seconds.                                       10:33:29
                                                                                      11            Did you say when you stopped that,                   10:33:31
                                                                                      12   Jessica, just for the record, before?                         10:33:34
                                                                                      13            MS. MEEK:     I stopped at 49 minutes and            10:33:36
                                                                                      14   39 seconds before.                                            10:33:39
                                                                                      15            (Thereupon, a video recording of Exhibit             10:33:42
                                                                                      16   3 was played.)                                                10:33:46
                                                                                      17            MR. SIEGEL:     Okay.                                10:33:47
                                                                                      18            MS. MEEK:     Did you say jumping to 49              10:33:47
                                                                                      19   minutes and 29 seconds now?                                   10:33:51
                                                                                      20            MR. SIEGEL:     Yes.     It was 44:39 before,        10:33:57
                                                                                      21   right?                                                        10:34:02
                                                                                      22            MS. MEEK:     Yes.                                   10:34:03
                                                                                      23            MR. SIEGEL:     Okay.     Actually, one last         10:34:04
                                                                                      24   question when we get there.                                   10:34:05
                                                                                      25   BY MR. SIEGEL:                                                10:34:08


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                                                                                      1       Q.     The -- that part with Billy Morrison,              10:34:08
                                                                                      2    did you see that at the time?                                10:34:12
                                                                                      3       A.     I might -- I may have.     I can't recall          10:34:14
                                                                                      4    fully.   I think so.                                         10:34:17
                                                                                      5              MR. SIEGEL:     Okay.                              10:34:19
                                                                                      6              MS. MEEK:     I'm starting Exhibit 3 at 49         10:34:21
                                                                                      7    minutes and 29 seconds.                                      10:34:23
                                                                                      8              (Thereupon, a video recording of Exhibit           10:34:26
                                                                                      9    3 was played.)                                               10:34:30
                                                                                      10             MS. MEEK:     I just paused Exhibit 3 at 49        10:34:47
                                                                                      11   minutes and 49 seconds.                                      10:34:50
                                                                                      12   BY MR. SIEGEL:                                               10:34:52
                                                                                      13      Q.     Okay.    So you heard the Black Hebrew             10:34:52
                                                                                      14   Israelites man saying -- calling someone an Uncle            10:34:57
                                                                                      15   Tom and Super Sambo.      Who did understand that to         10:35:01
                                                                                      16   be directed at?                                              10:35:05
                                                                                      17      A.     I mean, I can't really tell who.                   10:35:07
                                                                                      18      Q.     Did you understand it to be directed at            10:35:09
                                                                                      19   one or more persons who were African American?               10:35:11
                                                                                      20      A.     I really can't say.     I have no idea who         10:35:15
                                                                                      21   they are talking to, at least from this video.               10:35:19
                                                                                      22      Q.     Do you know what the phrase Uncle Tom              10:35:22
                                                                                      23   means?                                                       10:35:25
                                                                                      24      A.     I do.                                              10:35:25
                                                                                      25      Q.     What's your understanding of it?                   10:35:26


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                                                                                      1       A.       It's based on the book Uncle Tom's                  10:35:28
                                                                                      2    Cabin, which basically -- or my understanding is                10:35:32
                                                                                      3    African Americans view it as another African                    10:35:38
                                                                                      4    American selling out or whatever to rich white                  10:35:44
                                                                                      5    slave owners, however, you know, how the book                   10:35:49
                                                                                      6    goes.                                                           10:35:54
                                                                                      7       Q.       Okay.    And so when an African                     10:35:55
                                                                                      8    American -- what do you understand that term to                 10:36:02
                                                                                      9    mean when it's used today by an African American?               10:36:04
                                                                                      10      A.       I would say my understanding is that an             10:36:12
                                                                                      11   African American labels another African American                10:36:17
                                                                                      12   an Uncle Tom, that means that they are not                      10:36:22
                                                                                      13   authentically African American or not of the same               10:36:25
                                                                                      14   standard.     It's a designation that ends up                   10:36:30
                                                                                      15   meaning that you are lesser in some way.                        10:36:33
                                                                                      16      Q.       And he spoke the words Super Sambo.       Do        10:36:36
                                                                                      17   you have any understanding of what Sambo means?                 10:36:42
                                                                                      18      A.       I do not.                                           10:36:45
                                                                                      19      Q.       So based on what he was saying, does it             10:36:48
                                                                                      20   appear to you that he was yelling at some person                10:36:51
                                                                                      21   or persons who were African American?                           10:36:54
                                                                                      22      A.       I think that's possible.    But there's             10:36:57
                                                                                      23   also this skateboarder guy in the middle of the                 10:37:00
                                                                                      24   video who I -- if I recall correctly, was not                   10:37:05
                                                                                      25   African American.                                               10:37:10


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                                                                                      1          Q.   Okay.    Now, I know, and we are not going        10:37:11
                                                                                      2    to watch it all because we would be here for a               10:37:18
                                                                                      3    week, but you have reviewed this whole video, I              10:37:22
                                                                                      4    take it, the Banyamyan video?                                10:37:25
                                                                                      5          A.   I don't think I have watched every                10:37:31
                                                                                      6    single minute of it, no.                                     10:37:34
                                                                                      7          Q.   Okay.    Have you watched a fair amount of        10:37:36
                                                                                      8    it?                                                          10:37:39
                                                                                      9          A.   I can't say.                                      10:37:39
                                                                                      10         Q.   Okay.    Well, you mentioned before that,         10:37:40
                                                                                      11   once you reviewed the video, you saw that the                10:37:42
                                                                                      12   Black Hebrew Israelites had yelled insults at                10:37:46
                                                                                      13   Native Americans at different points?                        10:37:49
                                                                                      14         A.   Correct.                                          10:37:51
                                                                                      15         Q.   Okay.    Did you see either from the video        10:37:52
                                                                                      16   or at the time them making any negative                      10:37:57
                                                                                      17   references to Jews?                                          10:38:01
                                                                                      18         A.   Yes.                                              10:38:02
                                                                                      19         Q.   How about to Catholics?                           10:38:04
                                                                                      20         A.   Yes.                                              10:38:07
                                                                                      21         Q.   Okay.    And does it appear to you also to        10:38:07
                                                                                      22   some other African Americans?                                10:38:10
                                                                                      23         A.   Yes.                                              10:38:13
                                                                                      24         Q.   Would it be fair to say that they were            10:38:14
                                                                                      25   equal opportunity haters?                                    10:38:18


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                                                                                      1       A.      I would agree.                                     10:38:20
                                                                                      2               MR. SIEGEL:     All right.   Now, let's --         10:38:34
                                                                                      3    let's keep playing.                                           10:38:36
                                                                                      4               (Thereupon, a video recording from                 10:38:36
                                                                                      5    Exhibit 3 was played.)                                        10:38:40
                                                                                      6               MS. MEEK:     I just paused Exhibit 3 at 50        10:38:49
                                                                                      7    minutes and 2 seconds.                                        10:38:52
                                                                                      8               MR. SIEGEL:     Can you repeat that?               10:38:59
                                                                                      9               MS. MEEK:     Yes.   50 minutes and 3              10:39:02
                                                                                      10   seconds.                                                      10:39:04
                                                                                      11   BY MR. SIEGEL:                                                10:39:04
                                                                                      12      Q.      Okay.    So first you heard him use the            10:39:04
                                                                                      13   word pepper boys.      Do you have any understanding          10:39:06
                                                                                      14   of what that meant?                                           10:39:10
                                                                                      15      A.      I do not.                                          10:39:11
                                                                                      16      Q.      Do you have an understanding today of              10:39:11
                                                                                      17   what it is?                                                   10:39:13
                                                                                      18      A.      No.                                                10:39:14
                                                                                      19      Q.      Okay.    Given the context, do you have an         10:39:15
                                                                                      20   educated guess about what it is?                              10:39:17
                                                                                      21      A.      I mean, I will assume it's pretty                  10:39:20
                                                                                      22   derogatory, but I don't even know if I could                  10:39:25
                                                                                      23   guess what it means.                                          10:39:29
                                                                                      24      Q.      Okay.    So let's just go back.    I'm just        10:39:36
                                                                                      25   going to ask you, Nick, that those are some                   10:39:39


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                                                                                      1    Covington students, correct?                               10:39:42
                                                                                      2       A.    Correct.                                          10:39:44
                                                                                      3       Q.    So starting to sort of where we see the           10:39:46
                                                                                      4    boys, I'm just going to ask if you can identify            10:39:49
                                                                                      5    any of those people.    We're just going to sort of        10:39:53
                                                                                      6    go through it frame by frame to --                         10:39:56
                                                                                      7       A.    Okay.                                             10:40:00
                                                                                      8       Q.    We are now at 50 minutes and 2 seconds.           10:40:00
                                                                                      9       A.    On the -- on the left, looking at the             10:40:03
                                                                                      10   video on the left side, where the mouse is                 10:40:06
                                                                                      11   closest to, that looks like Patrick Kennedy.               10:40:08
                                                                                      12      Q.    So just so it's clear, he's -- it looks           10:40:13
                                                                                      13   like he is wearing a MAGA hat and he is wearing a          10:40:15
                                                                                      14   sweatshirt that sort of has a red stripe going             10:40:20
                                                                                      15   down the middle?                                           10:40:23
                                                                                      16      A.    Yes.                                              10:40:23
                                                                                      17            MR. SIEGEL:    Okay.                              10:40:24
                                                                                      18      A.    Behind him, also wearing a MAGA hat,              10:40:24
                                                                                      19   looks like Cammeron Martin.                                10:40:27
                                                                                      20            In front of him with the animal hat and           10:40:29
                                                                                      21   the March For Life shirt looks like Peter Rice.            10:40:32
                                                                                      22            And to the right of Peter in the brown            10:40:37
                                                                                      23   beanie looks like Liam Gray.                               10:40:41
                                                                                      24            And I -- those are the only ones I could          10:40:45
                                                                                      25   put names to.                                              10:40:51


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                                                                                      1       Q.    Okay.    We are just going to move it to             10:40:52
                                                                                      2    the right.                                                    10:40:55
                                                                                      3       A.    Okay.    To the right of Liam Gray with              10:40:55
                                                                                      4    the MAGA hat, or what looks like one on                       10:40:59
                                                                                      5    backwards, is -- his last name is Summe.       His            10:41:04
                                                                                      6    first name I'm blanking on right now.                         10:41:13
                                                                                      7       Q.    Is Sunny -- say that --                              10:41:17
                                                                                      8       A.    Summe.                                               10:41:18
                                                                                      9       Q.    Can you spell it?                                    10:41:19
                                                                                      10      A.    S-U-M-M-E.                                           10:41:20
                                                                                      11            MR. SIEGEL:     Okay.                                10:41:24
                                                                                      12      A.    And his older brother, too.     I don't              10:41:24
                                                                                      13   know his name, his older brother's name.       I think        10:41:26
                                                                                      14   it's his name.                                                10:41:31
                                                                                      15      Q.    Okay.    And the fellow in the blue                  10:41:31
                                                                                      16   sweatshirt, sort of pointing to his hat, I think?             10:41:39
                                                                                      17      A.    I think that is Charlie Regan                        10:41:42
                                                                                      18   (phonetically spelled), my best friend.     I do not          10:41:45
                                                                                      19   know who that person is.                                      10:42:04
                                                                                      20      Q.    You are talking about the person -- it               10:42:05
                                                                                      21   looks like a blue and white ski hat?                          10:42:09
                                                                                      22      A.    Yes.                                                 10:42:12
                                                                                      23      Q.    Okay.    Going to the right.                         10:42:13
                                                                                      24            MR. SIEGEL:     Can you frame it, Jessie?            10:42:16
                                                                                      25            MS. MEEK:     I think that might be the              10:42:18


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                                                                                      1    end.                                                         10:42:20
                                                                                      2             MR. SIEGEL:     Oh, you think -- well,              10:42:32
                                                                                      3    let's just go through it real quick.      Go a little        10:42:32
                                                                                      4    bit -- yeah, keep going.                                     10:42:34
                                                                                      5    BY MR. SIEGEL:                                               10:42:35
                                                                                      6       Q.    So the fellow on the bicycle, do you                10:42:35
                                                                                      7    recognize who that is?                                       10:42:37
                                                                                      8       A.    I can -- I do not know.                             10:42:38
                                                                                      9       Q.    You don't know if he's from Covington?              10:42:40
                                                                                      10      A.    No, I can't --                                      10:42:43
                                                                                      11            MR. SIEGEL:     Okay.   Let's go ahead.   Go        10:42:48
                                                                                      12   back to 50 minutes and 2 seconds and play a                  10:42:51
                                                                                      13   little bit more.                                             10:42:56
                                                                                      14            (Thereupon, a video recording of Exhibit            10:42:57
                                                                                      15   3 was played.)                                               10:43:03
                                                                                      16            MS. MEEK:     I just -- I just paused               10:43:13
                                                                                      17   Exhibit 3 at 50 minutes and 14 seconds.                      10:43:14
                                                                                      18   BY MR. SIEGEL:                                               10:43:17
                                                                                      19      Q.    So did you see any of this when you were            10:43:17
                                                                                      20   there?                                                       10:43:21
                                                                                      21      A.    I think I did.                                      10:43:22
                                                                                      22      Q.    Okay.     Did you hear someone in the               10:43:24
                                                                                      23   background that says build that wall?                        10:43:27
                                                                                      24      A.    Yes.                                                10:43:31
                                                                                      25      Q.    And then the Black Hebrew Israelite man             10:43:32


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                                                                                      1    who was speaking sort of talking about it?                       10:43:37
                                                                                      2          A.   I -- from my hearing, it seemed as if                 10:43:39
                                                                                      3    one of the Black Hebrew Israelite men was saying                 10:43:42
                                                                                      4    build that wall in kind of a mocking form.            I          10:43:46
                                                                                      5    don't -- I don't think that was one of us that                   10:43:51
                                                                                      6    said it.                                                         10:43:54
                                                                                      7          Q.   Okay.    Can you tell for sure who said               10:43:55
                                                                                      8    it?                                                              10:43:57
                                                                                      9          A.   Perhaps, if you replay it, I think I                  10:43:59
                                                                                      10   would be able to hear if that was a student or                   10:44:02
                                                                                      11   not, but --                                                      10:44:06
                                                                                      12              MR. SIEGEL:     Okay.     Go ahead.                   10:44:07
                                                                                      13              MS. MEEK:     Going back to 50 minutes and            10:44:18
                                                                                      14   2 seconds.                                                       10:44:21
                                                                                      15              (Thereupon, a video recording of Exhibit              10:44:23
                                                                                      16   3 was played.)                                                   10:44:26
                                                                                      17         A.   It sounds to me like I can hear one of                10:44:34
                                                                                      18   the Hebrew Israelites saying build that wall,                    10:44:37
                                                                                      19   question mark, why don't you build the damn wall,                10:44:45
                                                                                      20   question mark, is a snippet I catch from that at                 10:44:48
                                                                                      21   least.                                                           10:44:50
                                                                                      22              MR. SIEGEL:     Okay.     Let's go back again.        10:44:51
                                                                                      23   I will tell you when to stop it.          Okay?                  10:44:54
                                                                                      24              MS. MEEK:     Okay.     Going back to 50              10:44:57
                                                                                      25   minutes and 2 seconds on Exhibit 3.                              10:45:03


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                                                                                      1    BY MR. SIEGEL:                                                 10:45:14
                                                                                      2       Q.    So you hear somebody who says it, right?              10:45:14
                                                                                      3       A.    Right.                                                10:45:17
                                                                                      4       Q.    And then he continues to talk.                        10:45:17
                                                                                      5             So when it's said that first time, could              10:45:22
                                                                                      6    you tell who said it?                                          10:45:25
                                                                                      7       A.    There, I can't tell who said it.                      10:45:26
                                                                                      8             MR. SIEGEL:        Okay.   Let's continue to          10:45:37
                                                                                      9    play it through.                                               10:45:41
                                                                                      10            (Thereupon, a video recording from                    10:45:44
                                                                                      11   Exhibit 3 was played.)                                         10:45:48
                                                                                      12   BY MR. SIEGEL:                                                 10:46:28
                                                                                      13      Q.    So, after this sort of point, the                     10:46:28
                                                                                      14   students all walk away, right?                                 10:46:34
                                                                                      15      A.    Right.                                                10:46:36
                                                                                      16      Q.    If you did see this at the time, do you               10:46:38
                                                                                      17   remember where you were standing at this point?                10:46:43
                                                                                      18   Because I don't see you in the group.         Although,        10:46:46
                                                                                      19   that doesn't mean you weren't there.                           10:46:48
                                                                                      20      A.    I -- so from where they are facing                    10:46:51
                                                                                      21   outward, I would have been behind them and to the              10:46:54
                                                                                      22   right on the steps.        I wasn't in that group,             10:46:58
                                                                                      23   looking at them and their posters.         So . . .            10:47:03
                                                                                      24      Q.    Okay.     Okay.     So now we will jump to a          10:47:09
                                                                                      25   point where I think you do start to be visible.                10:47:13


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                                                                                      1             MS. MEEK:     For the record, a moment ago          10:47:17
                                                                                      2    I stopped Exhibit 3 at 50 minutes and 53 seconds.            10:47:19
                                                                                      3    Now I'm going to 53 minutes and 29 seconds.                  10:47:23
                                                                                      4             (Thereupon, a video recording of Exhibit            10:47:29
                                                                                      5    3 was played.)                                               10:47:32
                                                                                      6    BY MR. SIEGEL:                                               10:47:42
                                                                                      7       Q.    Okay.    So we have stopped at 53 minutes           10:47:42
                                                                                      8    and 34 seconds.                                              10:47:45
                                                                                      9             Is -- is that you in the kind of middle             10:47:47
                                                                                      10   of the screen?                                               10:47:51
                                                                                      11      A.    Off to the left.                                    10:47:53
                                                                                      12      Q.    Slightly off to the left?                           10:47:54
                                                                                      13      A.    Yeah, with the white shoes.      I think            10:47:56
                                                                                      14   that's me.                                                   10:47:59
                                                                                      15            MR. SIEGEL:     Okay.   Let's jump to 58:29.        10:48:16
                                                                                      16            (Thereupon, a video recording of Exhibit            10:48:24
                                                                                      17   3 was played.)                                               10:48:28
                                                                                      18            MS. MEEK:     I just paused Exhibit 3 at 59         10:49:02
                                                                                      19   minutes and 9 seconds.                                       10:49:05
                                                                                      20   BY MR. SIEGEL:                                               10:49:07
                                                                                      21      Q.    Okay.    Did you hear that at the time?             10:49:07
                                                                                      22      A.    I would have heard them yelling.      I             10:49:11
                                                                                      23   don't know if I heard it word for word.                      10:49:13
                                                                                      24      Q.    Okay.    Do you agree with anything he              10:49:15
                                                                                      25   said there about Bill Clinton?                               10:49:18


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                                                                                      1       A.       No.                                                   10:49:21
                                                                                      2       Q.       No?                                                   10:49:21
                                                                                      3       A.       No.                                                   10:49:22
                                                                                      4       Q.       Or democrats?                                         10:49:23
                                                                                      5       A.       No.                                                   10:49:24
                                                                                      6       Q.       What do you disagree with him about?                  10:49:25
                                                                                      7                MR. McMURTRY:     I'm sorry.     I lost track.        10:49:28
                                                                                      8    You said do you agree with anything he said, and                  10:49:30
                                                                                      9    then you said what do you disagree with him                       10:49:33
                                                                                      10   about.                                                            10:49:35
                                                                                      11               MR. SIEGEL:     No, no, no.                           10:49:35
                                                                                      12               MR. McMURTRY:     He hasn't said that he              10:49:36
                                                                                      13   did disagree with anything.           So I just lost              10:49:39
                                                                                      14   track.                                                            10:49:43
                                                                                      15               MR. SIEGEL:     All right.     Well, let's do         10:49:44
                                                                                      16   it again.                                                         10:49:44
                                                                                      17               MR. McMURTRY:     Okay.                               10:49:44
                                                                                      18               MR. SIEGEL:     Because my last question              10:49:44
                                                                                      19   was confusing.                                                    10:49:45
                                                                                      20   BY MR. SIEGEL:                                                    10:49:46
                                                                                      21      Q.       You heard him say something about Bill                10:49:46
                                                                                      22   Clinton, right?                                                   10:49:48
                                                                                      23      A.       Right.   I guess the people claim that he             10:49:50
                                                                                      24   was the first black president, is how they said.                  10:49:53
                                                                                      25      Q.       Yeah, but that's not what I'm asking you              10:49:56


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                                                                                      1    about.                                                      10:49:59
                                                                                      2             Let's go ahead and listen to it again.             10:49:59
                                                                                      3    Okay?                                                       10:50:02
                                                                                      4       A.    Okay.                                              10:50:02
                                                                                      5       Q.    And I want you to -- particularly the              10:50:02
                                                                                      6    point about -- when he talks about blacks and               10:50:05
                                                                                      7    Hispanics being locked up.                                  10:50:08
                                                                                      8       A.    Okay.                                              10:50:11
                                                                                      9             MS. MEEK:     I'm starting at 58 minutes           10:50:12
                                                                                      10   and 29 seconds in Exhibit 3.                                10:50:14
                                                                                      11            (Thereupon, a video recording from                 10:50:17
                                                                                      12   Exhibit 3 was played.)                                      10:50:19
                                                                                      13            MR. McMURTRY:     Okay.   I have a question        10:50:57
                                                                                      14   before you ask your question.      I just want to           10:50:58
                                                                                      15   make sure we are all dealing with the same                  10:51:01
                                                                                      16   terminology.                                                10:51:03
                                                                                      17            So he said that there were more blacks             10:51:04
                                                                                      18   and Hispanics locked up during the Clinton                  10:51:06
                                                                                      19   administration?                                             10:51:10
                                                                                      20            MR. SIEGEL:     Uh-huh.                            10:51:11
                                                                                      21            MR. McMURTRY:     Is that what -- okay.            10:51:12
                                                                                      22            MR. SIEGEL:     Yeah.                              10:51:13
                                                                                      23            MR. McMURTRY:     I could barely hear it.          10:51:13
                                                                                      24   So if we agree that that is what we heard, go               10:51:13
                                                                                      25   ahead.                                                      10:51:15


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                                                                                      1    BY MR. SIEGEL:                                                10:51:15
                                                                                      2       Q.       Yeah.    And -- so did you -- I will ask          10:51:15
                                                                                      3    you again.     Did you -- did you agree with                  10:51:19
                                                                                      4    anything that he said in reference to Bill                    10:51:21
                                                                                      5    Clinton?                                                      10:51:23
                                                                                      6       A.       I -- honestly, it's not my place to               10:51:25
                                                                                      7    agree or disagree.       I don't know the statistics,         10:51:28
                                                                                      8    data.     So he could be right.     He could be wrong.        10:51:33
                                                                                      9       Q.       Okay.    What do you understand him to be         10:51:37
                                                                                      10   criticizing --                                                10:51:43
                                                                                      11      A.       I think he's --                                   10:51:46
                                                                                      12      Q.       -- democrats for?                                 10:51:46
                                                                                      13      A.       He's criticizing democrats and other              10:51:46
                                                                                      14   African Americans for liking Bill Clinton.                    10:51:51
                                                                                      15   Because according to him, he's locked up more                 10:51:55
                                                                                      16   Hispanics and African American citizens than any              10:51:58
                                                                                      17   other president.                                              10:52:03
                                                                                      18      Q.       Okay.    And is that a criticism you -- of        10:52:04
                                                                                      19   Bill Clinton that you agree with?                             10:52:13
                                                                                      20               MR. McMURTRY:     Objection.   Go ahead.          10:52:15
                                                                                      21      A.       Again, I don't know whether he did or he          10:52:16
                                                                                      22   didn't.     So I don't know.                                  10:52:19
                                                                                      23   BY MR. SIEGEL:                                                10:52:22
                                                                                      24      Q.       Okay.    Would it be fair to say that the         10:52:22
                                                                                      25   Black Hebrew Israelite man, he didn't limit his               10:52:28


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                                                                                      1    invective to republicans?                                      10:52:31
                                                                                      2       A.      Correct.     I would say he mainly focused          10:52:34
                                                                                      3    on republicans.       But as the case here, not only           10:52:37
                                                                                      4    republicans.                                                   10:52:41
                                                                                      5               MR. SIEGEL:     Okay.   Let's go to the             10:52:45
                                                                                      6    next, 51 minutes and 21 seconds.                               10:52:47
                                                                                      7               (Thereupon, a video recording from                  10:52:54
                                                                                      8    Exhibit 3 was played.)                                         10:52:59
                                                                                      9               MR. SIEGEL:     I think you may just --             10:53:05
                                                                                      10   yeah, go forward a little bit.        Maybe the other          10:53:07
                                                                                      11   way.    Go back a little bit.                                  10:53:11
                                                                                      12   BY MR. SIEGEL:                                                 10:53:24
                                                                                      13      Q.      Okay.    So that -- pointing out the white          10:53:24
                                                                                      14   sneakers, that is a good reference point.          You         10:53:29
                                                                                      15   see where the cursor is pointing.        Is that you           10:53:32
                                                                                      16   standing on the stairs?                                        10:53:35
                                                                                      17      A.      I'm pretty sure that's me.                          10:53:36
                                                                                      18              MR. SIEGEL:     Okay.   Let's go to 1 minute        10:53:39
                                                                                      19   and 7 seconds -- I'm sorry -- 1 hour and 7                     10:53:43
                                                                                      20   minutes and 44 seconds.                                        10:53:49
                                                                                      21              MS. MEEK:     For the record, we just               10:53:50
                                                                                      22   paused at 1 minute and 23 seconds, where                       10:53:52
                                                                                      23   Mr. Sandmann pointed out where he was standing.                10:53:56
                                                                                      24              (Thereupon, a video recording from                  10:54:08
                                                                                      25   Exhibit 3 was played.)                                         10:54:12


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                                                                                      1               MS. MEEK:    We just paused 1 hour, 7             10:54:24
                                                                                      2    minutes and 57 seconds in Exhibit 3.                         10:54:28
                                                                                      3    BY MR. SIEGEL:                                               10:54:30
                                                                                      4          Q.   Okay.    So you heard in this he is               10:54:30
                                                                                      5    calling to the group and calling them incest                 10:54:32
                                                                                      6    babies?                                                      10:54:38
                                                                                      7          A.   Correct.                                          10:54:38
                                                                                      8          Q.   Trailer park babies?                              10:54:38
                                                                                      9          A.   Correct.                                          10:54:40
                                                                                      10         Q.   And without playing the whole video,              10:54:41
                                                                                      11   would it be fair to say that you already heard at            10:54:44
                                                                                      12   different points he called you crackers, pool                10:54:47
                                                                                      13   shooters, right?                                             10:54:50
                                                                                      14         A.   Right.                                            10:54:52
                                                                                      15         Q.   Okay.    How did the things that they were        10:54:55
                                                                                      16   saying make you feel?                                        10:55:00
                                                                                      17         A.   I mean, I was upset by it.    It -- I was         10:55:03
                                                                                      18   kind of -- I mean, I was just -- I was upset,                10:55:09
                                                                                      19   confused and a little worried at why they were               10:55:13
                                                                                      20   spending so much time and energy insulting us.               10:55:17
                                                                                      21   It didn't make a whole lot of sense.                         10:55:21
                                                                                      22              As you can see, we are kind of -- there           10:55:24
                                                                                      23   was like 20 feet of space now in between us and              10:55:27
                                                                                      24   them, and they are still focused on yelling at               10:55:30
                                                                                      25   us.                                                          10:55:33


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                                                                                      1          Q.    What were you a little worried about?              10:55:33
                                                                                      2          A.    Well, it didn't seem particularly                  10:55:36
                                                                                      3    friendly.     And talking about how Washington was a           10:55:39
                                                                                      4    culture shock, I had never seen a group of adults              10:55:45
                                                                                      5    get so angry at kids or whatever, which kind of                10:55:50
                                                                                      6    felt not -- not okay to me.         And that, you know,        10:55:56
                                                                                      7    this is something I hadn't experienced before.                 10:56:01
                                                                                      8          Q.    Okay.     I will show you later, but you           10:56:03
                                                                                      9    said to Savannah Guthrie that you felt                         10:56:14
                                                                                      10   threatened.        How so?   Is that -- is that right?         10:56:18
                                                                                      11         A.    Yes.     I felt threatened for the reason I        10:56:20
                                                                                      12   was describing, in that I had never seen adults                10:56:23
                                                                                      13   so angry at a group of kids, especially since I                10:56:26
                                                                                      14   hadn't -- really hadn't done anything to them.                 10:56:30
                                                                                      15         Q.    And I think you said in your statement             10:56:33
                                                                                      16   that they were taunting.         Did you feel like they        10:56:35
                                                                                      17   were taunting you?                                             10:56:39
                                                                                      18         A.    I think so.                                        10:56:40
                                                                                      19         Q.    What do you -- what do you mean?      How          10:56:40
                                                                                      20   so?                                                            10:56:44
                                                                                      21         A.    Well, my impression of them was that --            10:56:44
                                                                                      22   and when I found out that they had been harassing              10:56:47
                                                                                      23   other groups as well, that they were taunting the              10:56:51
                                                                                      24   Native Americans, us, anyone that would come up                10:56:54
                                                                                      25   to them, to try and get a reaction or something.               10:56:58


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                                                                                      1    Because they kind of thrive off controversy, and             10:57:02
                                                                                      2    they would be saying things that most people                 10:57:08
                                                                                      3    don't agree with.                                            10:57:10
                                                                                      4       Q.     I mean, they said a lot of things about            10:57:11
                                                                                      5    Trump, right?                                                10:57:14
                                                                                      6       A.     Right.                                             10:57:14
                                                                                      7       Q.     Fair to say, negative things about                 10:57:15
                                                                                      8    Trump, right?                                                10:57:18
                                                                                      9       A.     Right.                                             10:57:19
                                                                                      10      Q.     And you mentioned before you thought               10:57:20
                                                                                      11   they were mocking Billy Bart when they talking               10:57:22
                                                                                      12   about Trump.     Did you feel like they were mocking         10:57:26
                                                                                      13   the group when they talked about that?                       10:57:29
                                                                                      14      A.     I don't know if -- when they were                  10:57:31
                                                                                      15   talking about Trump, I don't -- I -- yes, they               10:57:32
                                                                                      16   would have been mocking us for wearing his stuff,            10:57:35
                                                                                      17   and they claimed that we were supporting it,                 10:57:39
                                                                                      18   blah, blah, blah, epithets.                                  10:57:42
                                                                                      19      Q.     Did you think that any of the things               10:57:45
                                                                                      20   that the Black Hebrew Israelites were saying were            10:57:47
                                                                                      21   racist?                                                      10:57:54
                                                                                      22      A.     Yes.                                               10:57:55
                                                                                      23      Q.     How so?                                            10:57:56
                                                                                      24      A.     They called white people crackers.     They        10:57:58
                                                                                      25   called the African American student with us Uncle            10:58:01


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                                                                                      1    Tom and a sellout for being around us.       They told        10:58:05
                                                                                      2    the African American student that we were -- like             10:58:12
                                                                                      3    us as white people were going to harvest his                  10:58:15
                                                                                      4    organs and blah, blah, blah, which seemed really              10:58:19
                                                                                      5    racist to me.                                                 10:58:23
                                                                                      6       Q.    Why did you think that calling him an                10:58:25
                                                                                      7    Uncle Tom was racist?                                         10:58:27
                                                                                      8       A.    Calling the student with us an Uncle                 10:58:30
                                                                                      9    Tom?                                                          10:58:33
                                                                                      10      Q.    Yes.    Yes.                                         10:58:34
                                                                                      11      A.    Because, as we talked about earlier, my              10:58:35
                                                                                      12   understanding was it was a derogatory term.       And         10:58:37
                                                                                      13   to me, what I understood was that the Hebrew                  10:58:41
                                                                                      14   Israelites were basically calling him less of an              10:58:45
                                                                                      15   African American than they were.                              10:58:51
                                                                                      16            MR. SIEGEL:     Okay.    Let's go to 1               10:59:04
                                                                                      17   minute, 7 minutes and 57 seconds.                             10:59:07
                                                                                      18            Wait a second.     So we are going to play           10:59:11
                                                                                      19   this through and then I'm going to go back and                10:59:13
                                                                                      20   ask you a couple specific questions.       But I want         10:59:16
                                                                                      21   you to watch it through, and then we will go back             10:59:19
                                                                                      22   a little bit.    Okay?                                        10:59:22
                                                                                      23            THE WITNESS:     Okay.                               10:59:23
                                                                                      24            (Thereupon, a video recording of Exhibit             10:59:47
                                                                                      25   3 was played.)                                                10:59:47


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                                                                                      1               MS. MEEK:     I just paused Exhibit 3 at 1        10:59:47
                                                                                      2    hour, 8 minutes and 19 seconds.                              10:59:49
                                                                                      3               MR. SIEGEL:     Okay.     Let's go back to        10:59:52
                                                                                      4    1:08:05.                                                     10:59:54
                                                                                      5               (Thereupon, a video recording of Exhibit          11:00:11
                                                                                      6    3 was played.)                                               11:00:11
                                                                                      7    BY MR. SIEGEL:                                               11:00:11
                                                                                      8       Q.      So here he says:        When was it great?        11:00:11
                                                                                      9    You hear something from the crowd, and he says:              11:00:14
                                                                                      10   Exactly.                                                     11:00:17
                                                                                      11      A.      Uh-huh.                                           11:00:17
                                                                                      12      Q.      Could you tell what was being said from           11:00:18
                                                                                      13   the crowd?                                                   11:00:21
                                                                                      14      A.      No.                                               11:00:21
                                                                                      15      Q.      Does it sound like to you that someone            11:00:22
                                                                                      16   used the word lynchings?                                     11:00:25
                                                                                      17      A.      No, not at all.                                   11:00:27
                                                                                      18              MR. SIEGEL:     Listen to it again.               11:00:29
                                                                                      19              (Thereupon, a video recording from                11:00:34
                                                                                      20   Exhibit 3 was played.)                                       11:00:38
                                                                                      21   BY MR. SIEGEL:                                               11:00:47
                                                                                      22      Q.      Okay.     Can you tell what's being said?         11:00:47
                                                                                      23      A.      That's what it sounds like to me, but I           11:00:50
                                                                                      24   don't -- I can't say if these students right                 11:00:54
                                                                                      25   there on the end that are dressed mostly in all              11:00:58


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                                                                                      1    black or whatever, not like the students on the                   11:01:01
                                                                                      2    left side are Cov Cath students.                                  11:01:05
                                                                                      3                MR. SIEGEL:     Okay.   Let's play it one             11:01:15
                                                                                      4    more time.                                                        11:01:19
                                                                                      5                (Thereupon, a video recording from                    11:01:21
                                                                                      6    Exhibit 3 was played.)                                            11:01:27
                                                                                      7    BY MR. SIEGEL:                                                    11:01:34
                                                                                      8       Q.       So after he says that, where you say                  11:01:34
                                                                                      9    sounds like it may be lynching, do you hear                       11:01:38
                                                                                      10   people laughing?                                                  11:01:41
                                                                                      11      A.       Yes.                                                  11:01:42
                                                                                      12      Q.       Can you tell whether the Cov Cath --                  11:01:43
                                                                                      13   some of the people laughing were Cov Cath                         11:01:45
                                                                                      14   students?                                                         11:01:48
                                                                                      15      A.       I cannot.                                             11:01:48
                                                                                      16      Q.       Do you think it's possible?                           11:01:49
                                                                                      17      A.       It could be.     I mean, I -- these                   11:01:51
                                                                                      18   students I know are Cov Cath.         I see students I            11:01:54
                                                                                      19   don't know, and I hear laughing.           But I mean from        11:01:57
                                                                                      20   this angle, I can't -- I can't tell anything.                     11:02:02
                                                                                      21      Q.       Okay.    Was it appropriate to laugh at               11:02:07
                                                                                      22   that moment in your opinion?                                      11:02:09
                                                                                      23               MR. McMURTRY:     Objection.     Go ahead.            11:02:10
                                                                                      24      A.       I don't agree with it.      I wouldn't have           11:02:11
                                                                                      25   laughed.                                                          11:02:14


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                                                                                      1    BY MR. SIEGEL:                                             11:02:15
                                                                                      2       Q.    Why?                                              11:02:15
                                                                                      3             MR. McMURTRY:     Objection.   Go ahead.          11:02:16
                                                                                      4       A.    Because I think that it's not                     11:02:18
                                                                                      5    appropriate to tell an African American that               11:02:22
                                                                                      6    lynchings were great, even as a joke, and then             11:02:28
                                                                                      7    laugh about it.                                            11:02:31
                                                                                      8             MR. SIEGEL:     Okay.   Let's restart it          11:02:32
                                                                                      9    at right where you are.                                    11:02:37
                                                                                      10            (Thereupon, a video recording from                11:02:39
                                                                                      11   Exhibit 3 was played.)                                     11:02:42
                                                                                      12   BY MR. SIEGEL:                                             11:02:46
                                                                                      13      Q.    You hear somebody that says, right,               11:02:46
                                                                                      14   since you had us in slavery, you bastards, right?          11:02:49
                                                                                      15      A.    Yes.                                              11:02:51
                                                                                      16      Q.    And somebody -- you hear somebody                 11:02:52
                                                                                      17   saying, that's right?                                      11:02:53
                                                                                      18      A.    Right.                                            11:02:55
                                                                                      19      Q.    Do you know who that was?                         11:02:56
                                                                                      20      A.    No.     And from this angle, there's even         11:02:57
                                                                                      21   more people on this right side that I don't know           11:03:01
                                                                                      22   and, frankly, don't look like they are a part of           11:03:04
                                                                                      23   our group.                                                 11:03:07
                                                                                      24      Q.    Okay.     Would it be fair to say that            11:03:10
                                                                                      25   someone could perceive that exchange as                    11:03:17


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                                                                                      1    responding to the insults of the B -- BHI with              11:03:19
                                                                                      2    racial insult?                                              11:03:27
                                                                                      3       A.     Yeah.                                             11:03:28
                                                                                      4       Q.     Okay.    Can you say for sure whether you         11:03:30
                                                                                      5    heard every single thing that every student said            11:03:35
                                                                                      6    throughout the whole incident?                              11:03:39
                                                                                      7              MR. McMURTRY:    Objection.                       11:03:40
                                                                                      8       A.     I would assume that there had to be               11:03:41
                                                                                      9    things I missed.                                            11:03:44
                                                                                      10   BY MR. SIEGEL:                                              11:03:45
                                                                                      11      Q.     Okay.    And can you say for sure whether         11:03:45
                                                                                      12   every single thing every student said from                  11:03:49
                                                                                      13   anywhere in the crowd can be heard on any video?            11:03:52
                                                                                      14      A.     That is more of a difficult question              11:03:56
                                                                                      15   because there were a lot of camera angles                   11:04:02
                                                                                      16   dispensed throughout the crowd.     But I would             11:04:05
                                                                                      17   certainly say it's possible that there could have           11:04:08
                                                                                      18   been things said that weren't picked up on a                11:04:10
                                                                                      19   camera.                                                     11:04:13
                                                                                      20      Q.     Okay.    Did you hear any student say to          11:04:14
                                                                                      21   any of the Black Hebrew Israelites:     Can you even        11:04:18
                                                                                      22   read?                                                       11:04:22
                                                                                      23      A.     No.                                               11:04:23
                                                                                      24      Q.     Can you say for certain whether someone           11:04:25
                                                                                      25   said that or not?                                           11:04:28


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                                                                                      1       A.       I mean --                                         11:04:29
                                                                                      2                MR. McMURTRY:     Within his hearing or           11:04:31
                                                                                      3    maybe somebody that he couldn't hear might have               11:04:33
                                                                                      4    said it.                                                      11:04:35
                                                                                      5                MR. SIEGEL:     Right, that's what I mean.        11:04:35
                                                                                      6    BY MR. SIEGEL:                                                11:04:37
                                                                                      7       Q.       I understand you didn't hear it.     And          11:04:37
                                                                                      8    I'm not asking you for certain whether you heard              11:04:38
                                                                                      9    it or not.     But I'm just saying -- okay.     You           11:04:42
                                                                                      10   can't say for certain whether anyone in the crowd             11:04:44
                                                                                      11   said that?                                                    11:04:47
                                                                                      12      A.       Right.    I can't say whether that did or         11:04:48
                                                                                      13   didn't happen.                                                11:04:50
                                                                                      14      Q.       Okay.    Do you think if someone did say          11:04:51
                                                                                      15   that, that would have been an appropriate thing               11:04:53
                                                                                      16   to say?                                                       11:04:55
                                                                                      17      A.       No, I do not.                                     11:04:56
                                                                                      18      Q.       Okay.    And why is that?                         11:04:57
                                                                                      19      A.       Because based off the history of African          11:04:58
                                                                                      20   Americans in this country, at one point they                  11:05:02
                                                                                      21   weren't allowed to learn how to read.        So to ask        11:05:04
                                                                                      22   them that would be pretty insensitive.                        11:05:10
                                                                                      23      Q.       Did you ever -- strike that.     I will           11:05:13
                                                                                      24   rephrase.                                                     11:05:19
                                                                                      25               How did the group come to do what you             11:05:23


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                                                                                      1    call the school spirit cheers?                                 11:05:28
                                                                                      2       A.    I -- much like the exhibit before, I saw              11:05:33
                                                                                      3    a couple students go over to the chaperones and                11:05:37
                                                                                      4    the teachers and ask them if we could do                       11:05:44
                                                                                      5    something to kind of drown out the hateful                     11:05:47
                                                                                      6    remarks that were, you know, being yelled at us.               11:05:51
                                                                                      7             MR. SIEGEL:      Okay.                                11:05:56
                                                                                      8       A.    And in -- and in addition to that, I                  11:05:57
                                                                                      9    found out that the year before, they always do                 11:05:59
                                                                                      10   their school spirit chants with the congressman                11:06:01
                                                                                      11   for our district on the steps.        So I think it was        11:06:07
                                                                                      12   somewhat of a tradition but also useful.                       11:06:11
                                                                                      13      Q.    Now, when that was done with the                      11:06:14
                                                                                      14   congressman, right, Congressman Matthews?                      11:06:16
                                                                                      15      A.    Yes.                                                  11:06:21
                                                                                      16      Q.    Was that done on the steps of the                     11:06:22
                                                                                      17   memorial or the steps of the Capitol?                          11:06:23
                                                                                      18      A.    I'm not sure.                                         11:06:25
                                                                                      19      Q.    Okay.     You said you saw it -- was it the           11:06:33
                                                                                      20   last exhibit where you saw the kids go over to                 11:06:35
                                                                                      21   the chaperone?                                                 11:06:38
                                                                                      22      A.    No.     No.   I -- I witnessed that myself.           11:06:39
                                                                                      23            MR. SIEGEL:      Oh, okay.                            11:06:42
                                                                                      24      A.    And in a previous exhibit, a student                  11:06:42
                                                                                      25   testified or whatever the same thing that I                    11:06:47


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                                                                                      1    witnessed that we wanted to drown them out.                 11:06:49
                                                                                      2       Q.     Oh, okay.    So I just want to be clear           11:06:54
                                                                                      3    here.   You didn't mean one of the things -- one            11:06:58
                                                                                      4    of the video clips we just saw?                             11:07:01
                                                                                      5       A.     No.                                               11:07:03
                                                                                      6       Q.     That is not what you were referring to?           11:07:03
                                                                                      7       A.     No.                                               11:07:05
                                                                                      8       Q.     Did you talk to any of the chaperones             11:07:05
                                                                                      9    about that?                                                 11:07:13
                                                                                      10      A.     I personally did not ask about the                11:07:14
                                                                                      11   spirit chants.                                              11:07:17
                                                                                      12      Q.     So how did you come to -- how did it --           11:07:18
                                                                                      13   strike that.                                                11:07:24
                                                                                      14             How did you come to learn that that's             11:07:25
                                                                                      15   what was going to happen?                                   11:07:29
                                                                                      16      A.     Because after the seniors who had gotten          11:07:30
                                                                                      17   permission, I think they went down in front of              11:07:39
                                                                                      18   everyone, just kind of yelled at everyone, like             11:07:42
                                                                                      19   this is what -- you know, get in formation or               11:07:44
                                                                                      20   whatever they said, and kind of notified everyone           11:07:48
                                                                                      21   that we were going to do that.                              11:07:54
                                                                                      22      Q.     Do you know who any of the students who           11:07:55
                                                                                      23   asked for permission were?                                  11:07:57
                                                                                      24      A.     No.                                               11:07:59
                                                                                      25      Q.     Okay.    Do you know Mr. Kleier?   Was he         11:08:07


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                                                                                      1    one of the teachers or chaperones?                          11:08:10
                                                                                      2          A.   Yes.                                             11:08:13
                                                                                      3          Q.   Was he one of the people who gave                11:08:13
                                                                                      4    permission, to your knowledge?                              11:08:16
                                                                                      5          A.   I don't think -- he -- I think he                11:08:17
                                                                                      6    might -- there is a chance that he might have               11:08:19
                                                                                      7    been one of the ones they asked, but he wasn't              11:08:21
                                                                                      8    the main person that they asked.                            11:08:29
                                                                                      9          Q.   Who was the main person?                         11:08:30
                                                                                      10         A.   Matthew Hansman.                                 11:08:32
                                                                                      11         Q.   Matthew Hansman.   Okay.   So who is             11:08:34
                                                                                      12   Matthew Hansman?                                            11:08:37
                                                                                      13         A.   He was a teacher or is a teacher at Cov          11:08:39
                                                                                      14   Cath.                                                       11:08:41
                                                                                      15         Q.   And what does he teach?                          11:08:42
                                                                                      16         A.   Science, I think, chemistry.                     11:08:44
                                                                                      17         Q.   And who is Mr. Kleier, I think his name          11:08:46
                                                                                      18   is?                                                         11:08:52
                                                                                      19         A.   He's a religion teacher at Cov Cath.             11:08:53
                                                                                      20         Q.   In the statement that you issued a               11:08:55
                                                                                      21   couple days later, you said part of the purpose             11:09:09
                                                                                      22   of the cheers was, quote, to counter the hateful            11:09:13
                                                                                      23   things that were being shouted at our group,                11:09:15
                                                                                      24   right?                                                      11:09:19
                                                                                      25         A.   Right.                                           11:09:19


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                                                                                      1          Q.   Okay.    Or you said that you wanted to           11:09:20
                                                                                      2    drown out their hateful --                                   11:09:22
                                                                                      3          A.   Correct.                                          11:09:31
                                                                                      4          Q.   Why did you want to drown them out?               11:09:31
                                                                                      5          A.   Well, certainly I think I could speak             11:09:34
                                                                                      6    for a lot of other kids that had never seen this             11:09:35
                                                                                      7    either.    And when you're in an environment that            11:09:38
                                                                                      8    you're unfamiliar with and you keep getting                  11:09:42
                                                                                      9    berated, you know, things become really uneasy,              11:09:45
                                                                                      10   and you don't know what to do and you don't feel,            11:09:49
                                                                                      11   you know, as safe as you are in your community,              11:09:52
                                                                                      12   where none of this had happened.      So we chose to         11:09:56
                                                                                      13   do something that was familiar to us and we                  11:10:00
                                                                                      14   thought would get them to stop yelling insults at            11:10:04
                                                                                      15   us.                                                          11:10:07
                                                                                      16         Q.   Okay.    Now, you already testified that          11:10:12
                                                                                      17   you saw, at least once before and maybe more than            11:10:13
                                                                                      18   that, that when the Black Hebrew Israelites had              11:10:17
                                                                                      19   sort of lodged insults or epithets at a group of             11:10:21
                                                                                      20   students, they walked away, right?                           11:10:24
                                                                                      21         A.   Right.                                            11:10:26
                                                                                      22         Q.   And after they walked away, typically             11:10:26
                                                                                      23   the Black Hebrew Israelites would turn their                 11:10:29
                                                                                      24   attention to something -- to somewhere else for a            11:10:31
                                                                                      25   while, right?                                                11:10:34


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                                                                                      1             MR. McMURTRY:    Objection.    Go ahead.          11:10:35
                                                                                      2       A.    Right.                                            11:10:36
                                                                                      3    BY MR. SIEGEL:                                             11:10:37
                                                                                      4       Q.    So why not just move to somewhere else?           11:10:37
                                                                                      5       A.    Well, at that point we had already moved          11:10:40
                                                                                      6    away from where we initially were.      There is           11:10:42
                                                                                      7    now -- from like closer to where they were when            11:10:45
                                                                                      8    they had their posters up.                                 11:10:48
                                                                                      9             And there is now 20, 30 or some kids              11:10:50
                                                                                      10   maybe, and 40 feet in between us.      I mean, we          11:10:54
                                                                                      11   thought we had, I guess, enough distance between           11:11:01
                                                                                      12   us and them to where they would leave us alone.            11:11:05
                                                                                      13            Now, why we didn't move somewhere else,           11:11:08
                                                                                      14   I would assume it's because that is where we were          11:11:10
                                                                                      15   supposed to be to leave, and I don't -- I also             11:11:14
                                                                                      16   think it wasn't up to like the kids on the trip            11:11:18
                                                                                      17   whether or not we could go somewhere else.                 11:11:22
                                                                                      18      Q.    Well, I think you said before, there              11:11:24
                                                                                      19   wasn't like a particular point in the memorial             11:11:26
                                                                                      20   area that you were instructed to be at, right?             11:11:29
                                                                                      21      A.    Right.    Correct.   We were, at the              11:11:32
                                                                                      22   closest point, in the -- on the memorial itself            11:11:34
                                                                                      23   to where the busses were going to be.                      11:11:39
                                                                                      24      Q.    So my question is, why didn't you just            11:11:41
                                                                                      25   move fully away from the Black Hebrew Israelites           11:11:51


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                                                                                      1    so you are out of earshot, they are out of                      11:11:53
                                                                                      2    earshot?                                                        11:11:57
                                                                                      3               MR. McMURTRY:     Are you talking about all          11:11:57
                                                                                      4    of the students or Nick himself?                                11:11:59
                                                                                      5               MR. SIEGEL:     That is a good question.             11:12:01
                                                                                      6    That's fair.       That's fair.                                 11:12:02
                                                                                      7    BY MR. SIEGEL:                                                  11:12:03
                                                                                      8       Q.      So let's stick to Nick yourself.                     11:12:03
                                                                                      9       A.      Personally, I -- I wasn't going to go                11:12:06
                                                                                      10   stand over somewhere by myself.          I mean, my --          11:12:11
                                                                                      11   still, my biggest concern at that point was kind                11:12:16
                                                                                      12   of making sure I got back home.          And so, I mean,        11:12:19
                                                                                      13   my thought was, I've got my teachers here, or                   11:12:23
                                                                                      14   whatever, and I'm just going to stand by them and               11:12:26
                                                                                      15   wait for the bus to come.                                       11:12:30
                                                                                      16      Q.      Okay.     Do you have any understanding why          11:12:42
                                                                                      17   kids or others in the group didn't say, hey,                    11:12:44
                                                                                      18   let's just move out of the way?                                 11:12:46
                                                                                      19      A.      I have no idea.        The group as a whole,         11:12:47
                                                                                      20   which obviously I had no part in kind of picking                11:12:51
                                                                                      21   where we moved, but I don't know why there wasn't               11:12:55
                                                                                      22   a decision made to move somewhere else.                         11:12:57
                                                                                      23      Q.      Do you feel like the group succeeded in              11:13:06
                                                                                      24   drowning out the comments of the BHI?                           11:13:13
                                                                                      25      A.      I think so, up until the point of Nathan             11:13:16


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                                                                                      1    Phillips coming over.      I would say that they were        11:13:19
                                                                                      2    a little puzzled.      They didn't expect school             11:13:22
                                                                                      3    spirit chants to be the response that they would             11:13:26
                                                                                      4    get.    I think they are used -- usually used to             11:13:29
                                                                                      5    dealing with people that are mad at them for what            11:13:32
                                                                                      6    they are saying or aggressive, and we were kind              11:13:35
                                                                                      7    of doing our own thing.                                      11:13:38
                                                                                      8       Q.      And I'm just going to use the term BHI            11:13:40
                                                                                      9    from now on for --                                           11:13:48
                                                                                      10      A.      Okay.                                             11:13:51
                                                                                      11      Q.      Would it be fair to say that trying to            11:13:51
                                                                                      12   counter a group of people by drowning them out is            11:13:55
                                                                                      13   not a friendly gesture towards them?                         11:13:58
                                                                                      14      A.      I think so.    But at that point, I don't         11:14:00
                                                                                      15   think there was a chance of us being friends with            11:14:04
                                                                                      16   them after what they had said about us.                      11:14:09
                                                                                      17      Q.      Okay.    Could that be perceived as a             11:14:12
                                                                                      18   hostile gesture?                                             11:14:15
                                                                                      19      A.      If -- if you want to say that doing high          11:14:18
                                                                                      20   school spirit chants is hostile, then that is                11:14:23
                                                                                      21   your prerogative, I guess, anyone who would say              11:14:27
                                                                                      22   that.                                                        11:14:31
                                                                                      23      Q.      Did you assume that everybody around the          11:14:32
                                                                                      24   Lincoln Memorial knew that those were high school            11:14:34
                                                                                      25   spirit chants?                                               11:14:37


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                                                                                      1       A.       I think they were pretty obvious.     At          11:14:37
                                                                                      2    one point, we said, we've got spirit; yes, we do;             11:14:40
                                                                                      3    we've got spirit, how about you?                              11:14:45
                                                                                      4       Q.       Okay.    And do you assume that everybody         11:14:47
                                                                                      5    at the Lincoln Memorial would know that the sumo              11:14:49
                                                                                      6    cheer was a high school spirit chant?                         11:14:51
                                                                                      7       A.       I mean, to me, we had done other ones,            11:14:54
                                                                                      8    and it seemed commonly associated with sporting               11:14:56
                                                                                      9    events.     At least in my own estimation, I thought          11:15:00
                                                                                      10   it was kind of clear that we were -- we weren't               11:15:03
                                                                                      11   being very aggressive.                                        11:15:06
                                                                                      12      Q.       Do you assume that everybody at the               11:15:07
                                                                                      13   Lincoln Memorial area that day had been to sports             11:15:10
                                                                                      14   games and heard those cheers?                                 11:15:20
                                                                                      15      A.       I mean, the spirit one is basic, and I            11:15:22
                                                                                      16   would assume most people go to -- I mean, sports              11:15:25
                                                                                      17   are almost like -- how do you avoid them, you                 11:15:27
                                                                                      18   know?     Like, high school games are very common.            11:15:30
                                                                                      19               I mean, looking back on it now, I guess           11:15:32
                                                                                      20   some people might not be familiar with some of                11:15:35
                                                                                      21   the cheers we did.       But I thought one or two of          11:15:37
                                                                                      22   them would be common or recognizable.                         11:15:40
                                                                                      23      Q.       Now, that is true in your life                    11:15:49
                                                                                      24   experience.     Do you think it's true in anyone's            11:15:52
                                                                                      25   life experience?                                              11:15:55


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                                                                                      1             MR. McMURTRY:    To see sports?                   11:15:56
                                                                                      2    BY MR. SIEGEL:                                             11:15:59
                                                                                      3       Q.    To -- to -- to recognize those cheers as          11:15:59
                                                                                      4    high school spirit cheers.                                 11:16:03
                                                                                      5             MR. McMURTRY:    Okay.   I don't --               11:16:06
                                                                                      6    BY MR. SIEGEL:                                             11:16:06
                                                                                      7       Q.    To recognize what you guys were doing as          11:16:06
                                                                                      8    high school spirit cheers.                                 11:16:08
                                                                                      9       A.    I -- I still believe that a bunch of              11:16:13
                                                                                      10   high school students doing these organized                 11:16:17
                                                                                      11   recitations of things would come across pretty             11:16:22
                                                                                      12   obvious as something rehearsed that is a part of           11:16:25
                                                                                      13   the school.                                                11:16:28
                                                                                      14      Q.    Okay.    And so if somebody says -- were          11:16:32
                                                                                      15   to say, I had no idea that that's what those               11:16:36
                                                                                      16   were, would you say they were lying?                       11:16:43
                                                                                      17            MR. McMURTRY:    Objection.   Go ahead.           11:16:46
                                                                                      18      A.    I wouldn't accuse them of lying, but I            11:16:47
                                                                                      19   would accuse them of taking something out of               11:16:49
                                                                                      20   context, if you were to take a rehearsed action            11:16:52
                                                                                      21   and call that some -- some war cry aggressive              11:16:57
                                                                                      22   kind of chant.                                             11:17:03
                                                                                      23   BY MR. SIEGEL:                                             11:17:18
                                                                                      24      Q.    Okay.    If someone were to perceive it as        11:17:18
                                                                                      25   you just described it, would they not be entitled          11:17:21


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                                                                                      1    to their opinion?                                                 11:17:30
                                                                                      2          A.       Yes, they are entitled.     Everyone is            11:17:31
                                                                                      3    entitled to their opinion.           I think it's                 11:17:33
                                                                                      4    extremely hyperbolic, though.                                     11:17:36
                                                                                      5          Q.       I'm just curious, Nick.     What percentage        11:17:38
                                                                                      6    of Americans do you think have attended a high                    11:17:41
                                                                                      7    school football event?                                            11:17:45
                                                                                      8          A.       I have no idea.                                    11:17:47
                                                                                      9          Q.       You have no idea?                                  11:17:48
                                                                                      10         A.       I have no idea.     I would assume that            11:17:50
                                                                                      11   most -- almost everyone has been to high school.                  11:17:54
                                                                                      12   And if they have not been to one, are at least                    11:17:57
                                                                                      13   aware that they exist.                                            11:18:01
                                                                                      14         Q.       Okay.    And they would -- and do you              11:18:02
                                                                                      15   believe that almost every American would identify                 11:18:04
                                                                                      16   what you guys did at the Lincoln Memorial as a                    11:18:11
                                                                                      17   high school spirit cheer?                                         11:18:14
                                                                                      18         A.       Oh, I don't know how they would perceive           11:18:17
                                                                                      19   it.        But, I mean, to me, it seems pretty obvious            11:18:19
                                                                                      20   that what we were doing was something that we                     11:18:23
                                                                                      21   didn't just randomly come up with.           Because we           11:18:27
                                                                                      22   did several of them.          And we were all on the same         11:18:30
                                                                                      23   page when we did them.           So to me, when you have a        11:18:33
                                                                                      24   bunch of kids doing something the exact same way                  11:18:35
                                                                                      25   and it's not something on a small scale, there                    11:18:39


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                                                                                      1    are, you know, over a hundred of us and we are              11:18:41
                                                                                      2    all able to do it the same way, to me it looks              11:18:43
                                                                                      3    like, oh, that high school obviously practices              11:18:46
                                                                                      4    and does something like that, you know, more than           11:18:49
                                                                                      5    just once a year at the March For Life.                     11:18:52
                                                                                      6             MR. SIEGEL:     Let's look at the -- I'm           11:19:04
                                                                                      7    going to show you a clip from the Savannah                  11:19:06
                                                                                      8    Guthrie interview that you did.                             11:19:14
                                                                                      9             MS. MEEK:     This is Exhibit 5.   I'm             11:19:22
                                                                                      10   starting at 8 minutes and 29 seconds.                       11:19:24
                                                                                      11            (Thereupon, a video recording from                 11:19:27
                                                                                      12   Exhibit 5 was played.)                                      11:19:30
                                                                                      13            MS. MEEK:     I just stopped Exhibit 5 at 9        11:20:33
                                                                                      14   minutes and 32 seconds.                                     11:20:36
                                                                                      15   BY MR. SIEGEL:                                              11:20:38
                                                                                      16      Q.    What were you worried might happen?                11:20:38
                                                                                      17      A.    The fact that they seemed very                     11:20:40
                                                                                      18   aggressive.    And I mean, I had never really ever          11:20:43
                                                                                      19   witnessed a fight in my life, but this seemed               11:20:49
                                                                                      20   like an environment where one potentially could             11:20:52
                                                                                      21   break out.                                                  11:20:55
                                                                                      22      Q.    Okay.    When you say a fight, do you mean         11:20:56
                                                                                      23   some kind of physical altercation?                          11:20:58
                                                                                      24      A.    Correct.                                           11:21:00
                                                                                      25      Q.    Okay.    And if -- if you were worried             11:21:01


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                                                                                  1    about that, would you agree that someone else                  11:21:05
                                                                                  2    watching this could also worry that the situation              11:21:11
                                                                                  3    could escalate into a physical altercation                     11:21:16
                                                                                  4    between BHI and the students?                                  11:21:19
                                                                                  5       A.      Yes.                                                11:21:22
                                                                                  6       Q.      Why did you think you would be                      11:21:23
                                                                                  7    outmatched when there were four or five of them                11:21:26
                                                                                  8    and dozens of you?                                             11:21:30
                                                                                  9               MR. McMURTRY:     Objection.   I think there        11:21:31
                                                                                  10   were more than four or five.       But for however             11:21:33
                                                                                  11   many there were.                                               11:21:35
                                                                                  12   BY MR. SIEGEL:                                                 11:21:37
                                                                                  13      Q.      Were there?                                         11:21:37
                                                                                  14      A.      I think they did have one guy that was              11:21:37
                                                                                  15   kind of back and forth with the camera.        I would         11:21:41
                                                                                  16   total it at about six.                                         11:21:44
                                                                                  17      Q.      Okay.    Well, we will call it six.                 11:21:46
                                                                                  18      A.      Okay.                                               11:21:49
                                                                                  19      Q.      It is what it is.     But let's just call           11:21:49
                                                                                  20   it six.                                                        11:21:52
                                                                                  21              So there were six of them, dozens of                11:21:53
                                                                                  22   you.    Why did you think that you would be                    11:21:55
                                                                                  23   outmatched?                                                    11:21:58
                                                                                  24      A.      Because at this point, I was 16 and like            11:21:59
                                                                                  25   135 or 140 pounds.       And these guys kind of --             11:22:08


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                                                                                  1    they -- I mean, they looked strong to me, at                 11:22:12
                                                                                  2    least in my view of them.     And I just -- I don't          11:22:15
                                                                                  3    know.   I kind of took my feeling as, you know,              11:22:21
                                                                                  4    the feeling for how it would probably be for the             11:22:24
                                                                                  5    rest of us if -- if these guys were -- were not              11:22:27
                                                                                  6    happy and decided to start something.                        11:22:32
                                                                                  7              I think even the most physically fit               11:22:33
                                                                                  8    kids in our group or whatever, and those were 18             11:22:37
                                                                                  9    and 19 years old -- I don't know how old these               11:22:44
                                                                                  10   guys were.     But they definitely developed and             11:22:46
                                                                                  11   matured, you know, because they have 20 years on             11:22:49
                                                                                  12   us probably.                                                 11:22:51
                                                                                  13      Q.     Okay.    It would be fair to say that              11:22:52
                                                                                  14   you -- there were some adult-size teenagers among            11:22:56
                                                                                  15   your group, right?                                           11:23:00
                                                                                  16      A.     I would say so, yes.                               11:23:01
                                                                                  17      Q.     Do you know were there any football                11:23:03
                                                                                  18   players there?                                               11:23:05
                                                                                  19      A.     I don't know.                                      11:23:05
                                                                                  20      Q.     Okay.    In terms of numbers, would it be          11:23:07
                                                                                  21   fair to say that you far outmatched them?                    11:23:10
                                                                                  22      A.     Correct.                                           11:23:14
                                                                                  23      Q.     Now, here, essentially, I think you said           11:23:16
                                                                                  24   there were over -- you believe over a hundred in             11:23:26
                                                                                  25   your group.                                                  11:23:29


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                                                                                  1               So here you had a group of over a                      11:23:36
                                                                                  2    hundred white teenagers shouting and                              11:23:38
                                                                                  3    gesticulating at five African American men,                       11:23:42
                                                                                  4    right?                                                            11:23:47
                                                                                  5               MR. McMURTRY:     Six.                                 11:23:47
                                                                                  6               MR. SIEGEL:     Six.                                   11:23:48
                                                                                  7       A.      Can you -- can you repeat that?                        11:23:50
                                                                                  8               MR. McMURTRY:     With weapons.     I mean, go         11:23:52
                                                                                  9    ahead, yeah.                                                      11:23:52
                                                                                  10      A.      Can you repeat that?                                   11:23:52
                                                                                  11   BY MR. SIEGEL:                                                    11:23:52
                                                                                  12      Q.      Sure.    So you had a group of over a                  11:23:52
                                                                                  13   hundred white teenagers yelling and gesticulating                 11:23:54
                                                                                  14   at six African American men?                                      11:24:00
                                                                                  15      A.      Who had started this entire road that we               11:24:02
                                                                                  16   were on --                                                        11:24:05
                                                                                  17              MR. McMURTRY:     Right.                               11:24:05
                                                                                  18      A.      -- at that point.        And were continuing           11:24:05
                                                                                  19   to respond as we did things that -- we weren't                    11:24:06
                                                                                  20   even necessarily chanting at them.          I would               11:24:12
                                                                                  21   disagree with that premise that we were shouting                  11:24:15
                                                                                  22   at them.                                                          11:24:17
                                                                                  23      Q.      Were you shouting in their direction?                  11:24:21
                                                                                  24      A.      I mean, we were shouting for everyone,                 11:24:23
                                                                                  25   yes.                                                              11:24:26


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                                                                                  1       Q.       And when you did things like the                  11:24:26
                                                                                  2    clenched fist, were you looking at them?                      11:24:28
                                                                                  3       A.       Yes, I mean --                                    11:24:32
                                                                                  4       Q.       So do you think someone watching over a           11:24:33
                                                                                  5    hundred white teenagers sort of shouting in the               11:24:36
                                                                                  6    direction of the African American men, clenching              11:24:42
                                                                                  7    their fists or otherwise gesticulating in the                 11:24:46
                                                                                  8    direction of the six African American men, and as             11:24:51
                                                                                  9    you say, the six African men were shouting                    11:24:53
                                                                                  10   insults at the teenagers, do you think somebody               11:24:59
                                                                                  11   watching that could have perceived that to be a               11:25:01
                                                                                  12   dangerous situation that might escalate into                  11:25:04
                                                                                  13   violence?                                                     11:25:06
                                                                                  14      A.       Yes, I did.                                       11:25:07
                                                                                  15               MR. McMURTRY:     We are at an hour.              11:25:11
                                                                                  16               MR. SIEGEL:     One more question.                11:25:15
                                                                                  17               MR. McMURTRY:     You break when you want         11:25:16
                                                                                  18   to break.     I'm just telling you --                         11:25:18
                                                                                  19               MR. SIEGEL:     This would be a good              11:25:20
                                                                                  20   breaking point.                                               11:25:22
                                                                                  21   BY MR. SIEGEL:                                                11:25:23
                                                                                  22      Q.       Do you think a person of color might              11:25:23
                                                                                  23   have been more likely to perceive the situation               11:25:26
                                                                                  24   that way?                                                     11:25:29
                                                                                  25      A.       I can't speak to that.     I don't know.          11:25:29


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                                                                                  1              MR. SIEGEL:    Let's take a break.                 11:25:36
                                                                                  2              THE VIDEOGRAPHER:    We are going off the          11:25:39
                                                                                  3    record.   The time is 11:25 a.m.                             11:25:40
                                                                                  4              (Thereupon, there was a recess taken at            11:25:45
                                                                                  5    11:25 a.m.)                                                  11:25:45
                                                                                  6              (Thereupon, the proceedings were resumed           11:38:22
                                                                                  7    at 11:38 a.m.)                                               11:38:22
                                                                                  8              THE VIDEOGRAPHER:    We are back on the            11:38:50
                                                                                  9    record.   The time is 11:38 a.m.                             11:38:53
                                                                                  10   BY MR. SIEGEL:                                               11:38:57
                                                                                  11      Q.     Nick, in the Complaint that you filed              11:38:57
                                                                                  12   against ABC, paragraph 166 alleges, and I will --            11:39:01
                                                                                  13   this is a quote, that many people consider the               11:39:08
                                                                                  14   phrase Making America Great Again and                        11:39:11
                                                                                  15   particularly wearing a MAGA hat to be the                    11:39:14
                                                                                  16   equivalent of a racist statement.                            11:39:16
                                                                                  17             Do you agree that many people consider             11:39:19
                                                                                  18   that to be the case?                                         11:39:22
                                                                                  19      A.     Yes.                                               11:39:23
                                                                                  20      Q.     Okay.    Do you think that someone with            11:39:23
                                                                                  21   that perspective on the MAGA slogan could have               11:39:28
                                                                                  22   perceived the group of white teenagers to be                 11:39:32
                                                                                  23   expressing aggression towards the African                    11:39:39
                                                                                  24   American men?                                                11:39:42
                                                                                  25      A.     If their previous view is that MAGA hats           11:39:43


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                                                                                  1    are racist, then, yes, that seems logical.                      11:39:46
                                                                                  2       Q.       Okay.    Let's go to the next exhibit               11:39:49
                                                                                  3    which -- oh, and just for the record, I will                    11:39:52
                                                                                  4    state that's the same identical allegation that                 11:39:54
                                                                                  5    is in paragraph -- is in paragraph 166 of your                  11:39:56
                                                                                  6    Complaint against CBS, paragraph 210 against NBC,               11:40:01
                                                                                  7    paragraph 155 against New York Times, paragraph                 11:40:06
                                                                                  8    165 against Rolling Stone and paragraph 182                     11:40:10
                                                                                  9    against Gannett.       Okay.                                    11:40:15
                                                                                  10               Let's go to Exhibit 7, which for the                11:40:18
                                                                                  11   record is video 5 of the video stipulation that                 11:40:22
                                                                                  12   the parties entered into.                                       11:40:26
                                                                                  13               MR. McMURTRY:      Are you going by the             11:40:28
                                                                                  14   exhibits in order?        Because we -- I think we just         11:40:29
                                                                                  15   did 4.     We are skipping to 5 now.                            11:40:32
                                                                                  16               MR. SIEGEL:     Thanks for pointing that            11:40:35
                                                                                  17   out.     And please do that again.      Because I'm bad         11:40:37
                                                                                  18   at that.                                                        11:40:40
                                                                                  19               Yeah.    We are skipping Exhibit 6.                 11:40:40
                                                                                  20               MR. McMURTRY:      Okay.                            11:40:43
                                                                                  21               MR. SIEGEL:     I mean, Exhibit 6 was the           11:40:43
                                                                                  22   Complaint.                                                      11:40:46
                                                                                  23               MR. McMURTRY:      Okay.                            11:40:46
                                                                                  24               MR. SIEGEL:     I didn't think we really            11:40:46
                                                                                  25   needed to -- I have that if we needed it, but --                11:40:48


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                                                                                  1    so we will just skip Exhibit 6 and go to Exhibit            11:40:52
                                                                                  2    7, which is video 5 of the video stipulation the            11:40:55
                                                                                  3    parties entered into.    And we will just start at          11:40:58
                                                                                  4    the beginning.                                              11:41:02
                                                                                  5             (Thereupon, a video recording of Exhibit           11:41:04
                                                                                  6    7 was played.)                                              11:41:12
                                                                                  7    BY MR. SIEGEL:                                              11:41:38
                                                                                  8       Q.    Now, when you go, we've got spirit, how            11:41:38
                                                                                  9    about you, right, you guys are pointing out?                11:41:44
                                                                                  10   Would you agree you are pointing at the BHI?                11:41:46
                                                                                  11      A.    Yes.                                               11:41:48
                                                                                  12      Q.    And at the end of that cheer, do you do            11:41:49
                                                                                  13   a thumbs down, woo?                                         11:41:52
                                                                                  14      A.    Yeah, we boo.                                      11:41:53
                                                                                  15      Q.    Boo?                                               11:41:54
                                                                                  16      A.    Boo.                                               11:41:55
                                                                                  17      Q.    Okay.    So going thumbs down, and you go          11:41:56
                                                                                  18   boo?                                                        11:41:58
                                                                                  19      A.    Yes.                                               11:41:58
                                                                                  20      Q.    So can that reasonably be perceived that           11:42:00
                                                                                  21   you were booing the BHI?                                    11:42:03
                                                                                  22      A.    Yes.                                               11:42:05
                                                                                  23      Q.    Okay.    And couldn't that be perceived as         11:42:07
                                                                                  24   a hostile gesture towards them?                             11:42:12
                                                                                  25      A.    I don't know.                                      11:42:15


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                                                                                  1       Q.      Okay.    Now, and I will just state for               11:42:19
                                                                                  2    the record, this is going to happen a couple of                  11:42:26
                                                                                  3    times, right?                                                    11:42:28
                                                                                  4               As I'm sure you know, there were often                11:42:29
                                                                                  5    multiple videos that captured the same part of                   11:42:31
                                                                                  6    the day.    So sometimes I'm going to show you the               11:42:34
                                                                                  7    same thing from a couple different perspectives,                 11:42:41
                                                                                  8    and this would be an example of one of them.                     11:42:45
                                                                                  9               So we will go back to Exhibit 3, which                11:42:47
                                                                                  10   is video 4 of the stipulation.          It's the                 11:42:49
                                                                                  11   Banyamyan video.       And we will start at 1 hour and           11:42:52
                                                                                  12   9 minutes and 13 seconds.                                        11:42:58
                                                                                  13              (Thereupon, a video recording of Exhibit              11:43:03
                                                                                  14   3 was played.)                                                   11:43:06
                                                                                  15              MS. MEEK:     For the record, I went                  11:43:40
                                                                                  16   forward a bit to 1:09:15.                                        11:43:42
                                                                                  17              MR. SIEGEL:     Let's go just a little bit            11:43:45
                                                                                  18   more.   All right.      Stop.                                    11:43:48
                                                                                  19   BY MR. SIEGEL:                                                   11:43:50
                                                                                  20      Q.      Nick, do you see that there is a student              11:43:50
                                                                                  21   who looks like he is wearing blue who takes a                    11:43:53
                                                                                  22   water bottle from another student and rolls it                   11:43:57
                                                                                  23   out?                                                             11:44:00
                                                                                  24      A.      No, I can't see that.                                 11:44:00
                                                                                  25              MR. SIEGEL:     All right.     Let's watch it         11:44:02


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                                                                                  1    again.                                                        11:44:04
                                                                                  2             (Thereupon, a video recording from                   11:44:05
                                                                                  3    Exhibit 3 was played.)                                        11:44:09
                                                                                  4             MR. SIEGEL:     Jessie, why don't you point          11:44:11
                                                                                  5    to what we want Nick to be looking at.       Right            11:44:14
                                                                                  6    there.                                                        11:44:17
                                                                                  7             THE WITNESS:     Okay.                               11:44:18
                                                                                  8             MR. SIEGEL:     Okay.    And let's play that         11:44:48
                                                                                  9    one more time in realtime.                                    11:44:50
                                                                                  10            Again, if you could point Nick, before               11:44:52
                                                                                  11   you start, to where he should be focused.        Like         11:44:55
                                                                                  12   right there.                                                  11:45:01
                                                                                  13            THE WITNESS:     I've got it.                        11:45:03
                                                                                  14   BY MR. SIEGEL:                                                11:45:05
                                                                                  15      Q.    See it?                                              11:45:05
                                                                                  16      A.    Yeah.                                                11:45:06
                                                                                  17      Q.    You saw it the last time?                            11:45:06
                                                                                  18      A.    Yeah.                                                11:45:07
                                                                                  19      Q.    Okay.     You saw there is a student who             11:45:08
                                                                                  20   takes a water bottle from someone and rolls it                11:45:10
                                                                                  21   out?                                                          11:45:14
                                                                                  22      A.    Yes.                                                 11:45:14
                                                                                  23      Q.    Do you know who was that?                            11:45:15
                                                                                  24      A.    I can't see.                                         11:45:16
                                                                                  25      Q.    You can't see who it was?       Okay.   You          11:45:17


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                                                                                  1    may be able to see it later on in another video.                11:45:20
                                                                                  2               Did you notice that at the time?                     11:45:24
                                                                                  3       A.      No.                                                  11:45:26
                                                                                  4       Q.      Okay.    We will show you some more of               11:45:28
                                                                                  5    that.                                                           11:45:30
                                                                                  6               What do you think was the point of that?             11:45:38
                                                                                  7               MR. McMURTRY:     Objection.   Go ahead.             11:45:40
                                                                                  8       A.      I have no idea.                                      11:45:41
                                                                                  9               MR. SIEGEL:     Okay.   Let's -- let's watch         11:45:43
                                                                                  10   a little more.                                                  11:45:48
                                                                                  11              (Thereupon, a video recording of Exhibit             11:45:49
                                                                                  12   3 was played.)                                                  11:45:52
                                                                                  13              MR. SIEGEL:     Yeah.   Go ahead to --               11:45:54
                                                                                  14   BY MR. SIEGEL:                                                  11:46:09
                                                                                  15      Q.      Okay.    Can you tell who that was?                  11:46:09
                                                                                  16      A.      I think that's Charlie, but I don't                  11:46:10
                                                                                  17   know.                                                           11:46:13
                                                                                  18      Q.      You think that is Charlie again?                     11:46:14
                                                                                  19              MR. SIEGEL:     Okay.   Let's go another 7           11:46:18
                                                                                  20   seconds.                                                        11:46:20
                                                                                  21              MS. MEEK:     And where we just paused is            11:46:20
                                                                                  22   Exhibit 3 at 1:09:26.       So now I'm continuing on.           11:46:21
                                                                                  23              (Thereupon, a video recording of Exhibit             11:46:27
                                                                                  24   3 was played.)                                                  11:46:33
                                                                                  25              MS. MEEK:     I just paused at 1:09:33.              11:46:35


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                                                                                  1    BY MR. SIEGEL:                                                   11:46:38
                                                                                  2       Q.     Okay.     Having seen that whole thing --              11:46:38
                                                                                  3    now, you're -- you're standing right there,                      11:46:41
                                                                                  4    right?                                                           11:46:42
                                                                                  5       A.     Yes.                                                   11:46:43
                                                                                  6       Q.     So do you think you did see that at the                11:46:43
                                                                                  7    time?                                                            11:46:45
                                                                                  8       A.     Yeah.     I saw him run back.     I was -- I           11:46:46
                                                                                  9    thought you meant in reference to if he rolled it                11:46:48
                                                                                  10   out initially.                                                   11:46:51
                                                                                  11             I'm kind of blocked off.        I wouldn't             11:46:52
                                                                                  12   have seen, you know, 90 degrees to my right.           I         11:46:55
                                                                                  13   wasn't paying attention.                                         11:47:00
                                                                                  14      Q.     So when you saw this at the time, did                  11:47:02
                                                                                  15   you have any impressions of what was happening?                  11:47:06
                                                                                  16      A.     No.     To me, it looks like Charlie is                11:47:09
                                                                                  17   just trying to be funny and throw something out                  11:47:13
                                                                                  18   there that he then immediately goes, gets and                    11:47:17
                                                                                  19   comes back.                                                      11:47:21
                                                                                  20      Q.     And do you think that is funny?                        11:47:21
                                                                                  21      A.     I mean, personally, no.     But students               11:47:26
                                                                                  22   there laughed.                                                   11:47:32
                                                                                  23      Q.     Okay.     You saw that -- he was the same              11:47:36
                                                                                  24   student before who held up that Trump water                      11:47:43
                                                                                  25   bottle?                                                          11:47:45


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                                                                                  1       A.    Correct.                                             11:47:46
                                                                                  2       Q.    Okay.     Do you think that there was some           11:47:46
                                                                                  3    significance to the fact that he chose that water             11:47:51
                                                                                  4    bottle to roll out?                                           11:47:53
                                                                                  5             MR. McMURTRY:     Objection.                         11:47:55
                                                                                  6       A.    I -- I don't know if he had -- with the              11:47:55
                                                                                  7    water bottle, I don't know.                                   11:48:02
                                                                                  8    BY MR. SIEGEL:                                                11:48:03
                                                                                  9       Q.    Okay.     That wasn't the spirit cheer,              11:48:03
                                                                                  10   right?                                                        11:48:05
                                                                                  11      A.    No.     That was just Charlie.                       11:48:06
                                                                                  12      Q.    Okay.     Do you -- do you think that that           11:48:08
                                                                                  13   was intended as a positive gesture towards the                11:48:21
                                                                                  14   BHI?                                                          11:48:24
                                                                                  15            MR. McMURTRY:     Objection.     Go ahead.           11:48:25
                                                                                  16      A.    No.     I -- I don't know what Charlie was           11:48:25
                                                                                  17   doing.                                                        11:48:28
                                                                                  18            MR. SIEGEL:     Okay.                                11:48:29
                                                                                  19      A.    Sorry.     I would assume just make some             11:48:30
                                                                                  20   kids laugh.                                                   11:48:33
                                                                                  21            MR. SIEGEL:     Okay.   Let's go to                  11:48:42
                                                                                  22   Exhibit -- back to Exhibit 7, video 5.         And we         11:48:46
                                                                                  23   will look at some of that from a different angle.             11:48:50
                                                                                  24   Start at 50 seconds.                                          11:48:55
                                                                                  25            (Thereupon, a video recording of Exhibit             11:48:57


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                                                                                  1    7 was played.)                                                      11:49:02
                                                                                  2    BY MR. SIEGEL:                                                      11:49:13
                                                                                  3       Q.    Did you hear somebody shout Trump water?                   11:49:13
                                                                                  4       A.    I didn't hear it in all the yelling.                       11:49:17
                                                                                  5       Q.    Do you hear it on the video?                               11:49:20
                                                                                  6       A.    No.     That's what I'm saying.   I --                     11:49:22
                                                                                  7             MR. SIEGEL:     Let's play it again.                       11:49:26
                                                                                  8             MS. MEEK:     I'm playing from 50 seconds                  11:49:39
                                                                                  9    to 1 minute and 2 seconds.                                          11:49:41
                                                                                  10            (Thereupon, a video recording of Exhibit                   11:49:59
                                                                                  11   7 was played.)                                                      11:49:59
                                                                                  12   BY MR. SIEGEL:                                                      11:49:59
                                                                                  13      Q.    Okay.     Did you hear it that time?                       11:49:59
                                                                                  14      A.    Yes.                                                       11:50:01
                                                                                  15      Q.    Okay.     That wasn't a school spirit                      11:50:02
                                                                                  16   cheer, right?                                                       11:50:05
                                                                                  17      A.    No.                                                        11:50:06
                                                                                  18      Q.    Did you notice that at the time?         Did               11:50:06
                                                                                  19   you hear that at the time?                                          11:50:09
                                                                                  20      A.    I -- I think I saw Charlie run out.            But         11:50:11
                                                                                  21   I'm pretty sure in this frame I start to move.            I         11:50:15
                                                                                  22   wasn't -- I didn't really pay attention to it.                      11:50:19
                                                                                  23      Q.    So did you say that?                                       11:50:22
                                                                                  24      A.    No.                                                        11:50:25
                                                                                  25      Q.    Okay.     And remember the picture of the                  11:50:25


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                                                                                  1    water bottle we showed you before?     Would you            11:50:30
                                                                                  2    agree that that was the same water bottle that              11:50:37
                                                                                  3    Charlie had been showing before?                            11:50:39
                                                                                  4       A.    Yes.                                               11:50:41
                                                                                  5       Q.    Would yelling out Trump water in that              11:50:41
                                                                                  6    moment -- what do you think of that?                        11:50:53
                                                                                  7       A.    To me, what I make of that is that it's            11:50:55
                                                                                  8    an all-boys' school humor and that he threw the             11:51:01
                                                                                  9    water bottle out there so he could look funny               11:51:07
                                                                                  10   having to go out and like pick it up right in               11:51:11
                                                                                  11   front of them.     And that is how I look at it as.         11:51:14
                                                                                  12      Q.    Okay.     And I asked you specifically,            11:51:17
                                                                                  13   though, about yelling out Trump water when he is            11:51:19
                                                                                  14   doing that, what do you think of that?                      11:51:22
                                                                                  15      A.    I think the other student called out               11:51:23
                                                                                  16   Trump water because he saw Charlie throw out the            11:51:26
                                                                                  17   Trump water.                                                11:51:29
                                                                                  18      Q.    Is that something you would have been              11:51:31
                                                                                  19   comfortable saying in that context?                         11:51:34
                                                                                  20      A.    Yeah.     I mean, I don't -- I don't see           11:51:37
                                                                                  21   anything particularly wrong with saying the name            11:51:41
                                                                                  22   of a water bottle.                                          11:51:43
                                                                                  23      Q.    Do you think that the student was trying           11:51:45
                                                                                  24   to communicate anything to the BHI by saying that           11:51:47
                                                                                  25   in that context?                                            11:51:51


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                                                                                  1       A.    No.                                                  11:51:52
                                                                                  2       Q.    Do you think he was taunting the BHI by              11:51:54
                                                                                  3    saying that?                                                  11:51:58
                                                                                  4             MR. McMURTRY:     Objection.                         11:51:59
                                                                                  5       A.    No.                                                  11:51:59
                                                                                  6    BY MR. SIEGEL:                                                11:52:00
                                                                                  7       Q.    I mean, that's your interpretation of                11:52:00
                                                                                  8    it, right?                                                    11:52:02
                                                                                  9       A.    Right, I don't --                                    11:52:03
                                                                                  10      Q.    You don't know, right?                               11:52:05
                                                                                  11      A.    I don't -- I don't know, but I don't                 11:52:06
                                                                                  12   think he was.                                                 11:52:08
                                                                                  13      Q.    Okay.    Is it fair to say that someone              11:52:08
                                                                                  14   else watching the same thing could disagree with              11:52:11
                                                                                  15   you?                                                          11:52:14
                                                                                  16      A.    They could.                                          11:52:14
                                                                                  17      Q.    And I take it that they could honestly               11:52:18
                                                                                  18   disagree with you?                                            11:52:34
                                                                                  19      A.    I suppose, yeah.                                     11:52:35
                                                                                  20            MR. SIEGEL:     All right.     Let's go back         11:52:38
                                                                                  21   to 50 seconds.                                                11:52:44
                                                                                  22            (Thereupon, a video recording of Exhibit             11:52:47
                                                                                  23   7 was played.)                                                11:52:50
                                                                                  24            MS. MEEK:     I just stopped Exhibit 7 at            11:53:07
                                                                                  25   one minute and 7 seconds.                                     11:53:10


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                                                                                  1    BY MR. SIEGEL:                                                    11:53:12
                                                                                  2          Q.   He said:     You all outnumber us and you              11:53:12
                                                                                  3    all keeping you all's distance, right?          There is          11:53:16
                                                                                  4    a reason for that.       You don't see the angels                 11:53:20
                                                                                  5    around us.       You couldn't touch us if you wanted              11:53:22
                                                                                  6    to.                                                               11:53:25
                                                                                  7               Did you hear that at the time?                         11:53:25
                                                                                  8          A.   I -- yeah.                                             11:53:27
                                                                                  9          Q.   Okay.     How do you interpret what he's               11:53:28
                                                                                  10   saying?    What do you understand him to mean?                    11:53:30
                                                                                  11         A.   To me, it sounds pretty provocative,                   11:53:32
                                                                                  12   like they are asking for a fight.                                 11:53:36
                                                                                  13         Q.   Okay.     Does it seem to suggest that he              11:53:38
                                                                                  14   might think that you guys wanted to touch them?                   11:53:48
                                                                                  15         A.   No.     Because we hadn't mentioned                    11:53:51
                                                                                  16   anything about fighting them.         And then he goes            11:53:55
                                                                                  17   to say:    You couldn't touch us if you wanted to.                11:53:58
                                                                                  18         Q.   Okay.     You said that you thought that               11:54:02
                                                                                  19   that was provocative?                                             11:54:10
                                                                                  20         A.   Yes.                                                   11:54:12
                                                                                  21         Q.   So was this a part of what made you                    11:54:12
                                                                                  22   concerned that there -- this might escalate into                  11:54:16
                                                                                  23   some kind of physical confrontation?                              11:54:19
                                                                                  24         A.   Yes.     Sorry.                                        11:54:21
                                                                                  25              MR. SIEGEL:       That's okay.   Okay.   Let's         11:54:24


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                                                                                  1    start at -- restart at wherever we stopped.                 11:54:27
                                                                                  2             (Thereupon, a video recording of Exhibit           11:54:31
                                                                                  3    7 was played.)                                              11:54:34
                                                                                  4    BY MR. SIEGEL:                                              11:54:41
                                                                                  5       Q.    Do you hear people --                              11:54:41
                                                                                  6             MS. MEEK:    I just paused Exhibit 7 at 1          11:54:42
                                                                                  7    minute and 15 seconds.                                      11:54:45
                                                                                  8    BY MR. SIEGEL:                                              11:54:47
                                                                                  9       Q.    Do you hear some people saying Trump,              11:54:47
                                                                                  10   Trump?                                                      11:54:50
                                                                                  11            Did you say that?                                  11:54:51
                                                                                  12      A.    No.                                                11:54:52
                                                                                  13      Q.    So did you join in to that?    Did you             11:54:52
                                                                                  14   hear that at the time?                                      11:54:55
                                                                                  15      A.    Yes.                                               11:54:55
                                                                                  16      Q.    Why didn't you join in?                            11:54:56
                                                                                  17      A.    Well, not everyone was chanting it, and            11:54:59
                                                                                  18   I didn't really feel the need to.                           11:55:02
                                                                                  19      Q.    Is that something you would have been              11:55:04
                                                                                  20   comfortable saying to BHI?                                  11:55:06
                                                                                  21      A.    I don't -- I don't think I would have              11:55:11
                                                                                  22   been comfortable with it.                                   11:55:15
                                                                                  23      Q.    Why?                                               11:55:17
                                                                                  24      A.    Just because they obviously did not like           11:55:17
                                                                                  25   Trump, and there wasn't really any need to get              11:55:21


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                                                                                  1    them more angry.                                            11:55:27
                                                                                  2       Q.    So do you think that could have been               11:55:29
                                                                                  3    perceived as taunting the BHI by saying Trump,              11:55:31
                                                                                  4    Trump?                                                      11:55:35
                                                                                  5       A.    It could be.                                       11:55:36
                                                                                  6       Q.    Okay.     Did you think that's what they           11:55:37
                                                                                  7    were doing?                                                 11:55:51
                                                                                  8       A.    Did I think the students were trying to            11:55:52
                                                                                  9    taunt them?                                                 11:55:55
                                                                                  10            MR. SIEGEL:     Yes, by yelling Trump,             11:55:56
                                                                                  11   Trump.                                                      11:55:59
                                                                                  12      A.    I don't -- at the time I wasn't really             11:56:00
                                                                                  13   thinking about it.     Now, no.                             11:56:03
                                                                                  14      Q.    And why?     Why is that your opinion?             11:56:07
                                                                                  15      A.    I think that, if anything, they were               11:56:11
                                                                                  16   just trying to represent something that they                11:56:17
                                                                                  17   support, the same way that the Black Hebrew                 11:56:20
                                                                                  18   Israelites were, you know, naming very many                 11:56:24
                                                                                  19   things that they believe in.                                11:56:31
                                                                                  20      Q.    Okay.     So you think yelling out -- do           11:56:39
                                                                                  21   you think yelling out Trump, Trump in this                  11:56:41
                                                                                  22   context was no different than if that was yelled            11:56:44
                                                                                  23   out at the March For Life rally?                            11:56:47
                                                                                  24      A.    I mean, I don't -- I don't see why it              11:56:52
                                                                                  25   would be any different.                                     11:56:56


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                                                                                  1               MR. SIEGEL:    All right.   Let's start it         11:57:05
                                                                                  2    at 1:15.                                                      11:57:06
                                                                                  3               (Thereupon, a video recording of Exhibit           11:57:08
                                                                                  4    7 was played.)                                                11:57:10
                                                                                  5    BY MR. SIEGEL:                                                11:57:19
                                                                                  6       Q.      So, Nick, it looks like you are sort of            11:57:19
                                                                                  7    talking to a couple of other students there?                  11:57:22
                                                                                  8       A.      I think I was smiling and looking back             11:57:25
                                                                                  9    and forth.    I don't know if I was talking to                11:57:28
                                                                                  10   anyone.                                                       11:57:31
                                                                                  11      Q.      Okay.    Do you know who the fellow to --          11:57:32
                                                                                  12   it would have been your left as you were standing             11:57:36
                                                                                  13   there, to your right as you are looking at the                11:57:38
                                                                                  14   video.                                                        11:57:42
                                                                                  15      A.      Very close to me, with the backpack?               11:57:42
                                                                                  16              MR. SIEGEL:    Yes.                                11:57:44
                                                                                  17      A.      That is Jake Kleier.    With the blue Cov          11:57:45
                                                                                  18   Cath beanie on?                                               11:57:49
                                                                                  19      Q.      Okay.    So that is a teacher?                     11:57:50
                                                                                  20      A.      Yes.                                               11:57:52
                                                                                  21      Q.      I think you said the fellow on the other           11:57:52
                                                                                  22   side, his last name is Summe?                                 11:57:55
                                                                                  23      A.      Summe.                                             11:57:58
                                                                                  24      Q.      Summe?                                             11:57:59
                                                                                  25      A.      Yeah.                                              11:57:59


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                                                                                  1             MR. SIEGEL:     Okay.   Let's restart at             11:58:08
                                                                                  2    1:24.                                                         11:58:10
                                                                                  3             (Thereupon, a video recording of Exhibit             11:58:12
                                                                                  4    7 was played.)                                                11:58:15
                                                                                  5    BY MR. SIEGEL:                                                11:58:31
                                                                                  6       Q.    Okay.    So that's the sumo cheer, right?            11:58:31
                                                                                  7       A.    Right.                                               11:58:33
                                                                                  8       Q.    Is it fair to say that as you guys are               11:58:33
                                                                                  9    doing it, you are getting louder?                             11:58:36
                                                                                  10      A.    Yes.                                                 11:58:38
                                                                                  11            MR. SIEGEL:     Okay.                                11:58:39
                                                                                  12            MS. MEEK:     We just paused at 1:40.      I         11:58:39
                                                                                  13   will restart at 1:40.                                         11:58:42
                                                                                  14            (Thereupon, a video recording of Exhibit             11:58:44
                                                                                  15   7 was played.)                                                11:58:48
                                                                                  16            MS. MEEK:     Just paused at 1 minute and            11:59:00
                                                                                  17   54 seconds.                                                   11:59:03
                                                                                  18   BY MR. SIEGEL:                                                11:59:03
                                                                                  19      Q.    So, again, when the cheer ends, you are              11:59:03
                                                                                  20   all looking in the direction of the BHI, right,               11:59:09
                                                                                  21   shouting with your fists clenched?                            11:59:13
                                                                                  22      A.    Right.                                               11:59:15
                                                                                  23      Q.    Including you?     It looks like you have            11:59:16
                                                                                  24   your fists clenched there?                                    11:59:18
                                                                                  25      A.    Right.                                               11:59:20


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                                                                                  1       Q.       Did you intend to express hostility to             11:59:21
                                                                                  2    the BHI by doing that?                                         11:59:25
                                                                                  3       A.       No.                                                11:59:27
                                                                                  4       Q.       Do you assume that everyone at the                 11:59:32
                                                                                  5    Lincoln Memorial knew that that was a high school              11:59:35
                                                                                  6    cheer?                                                         11:59:38
                                                                                  7                MR. McMURTRY:    Objection.   Go ahead.            11:59:39
                                                                                  8       A.       Maybe not this one.    But the earlier             11:59:40
                                                                                  9    spirit one, I stand by that one being very easily              11:59:42
                                                                                  10   readable.                                                      11:59:49
                                                                                  11   BY MR. SIEGEL:                                                 11:59:50
                                                                                  12      Q.       Okay.    And that's the we've got spirit           11:59:50
                                                                                  13   one in particular?                                             11:59:55
                                                                                  14      A.       Yes.                                               11:59:56
                                                                                  15      Q.       Okay.    And these cheers were meant for           11:59:57
                                                                                  16   sporting events, right, not for Washington, DC?                12:00:04
                                                                                  17      A.       Yes.                                               12:00:07
                                                                                  18      Q.       All right.    So for a person who is not           12:00:08
                                                                                  19   familiar with Covington Catholic, do you think                 12:00:12
                                                                                  20   the cheers could be interpreted differently in                 12:00:16
                                                                                  21   this context than at a sporting event where                    12:00:18
                                                                                  22   Covington is playing?                                          12:00:23
                                                                                  23      A.       Yes.                                               12:00:23
                                                                                  24      Q.       And would you agree that a person                  12:00:24
                                                                                  25   watching over 100 white teenage boys responding                12:00:26


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                                                                                  1    to BHI by yelling loudly, jumping up and down                    12:00:31
                                                                                  2    with clenched fists held toward them could be an                 12:00:37
                                                                                  3    expression of hostility towards the BHI?                         12:00:41
                                                                                  4       A.      I agree that you could look at it that                12:00:44
                                                                                  5    way.                                                             12:00:47
                                                                                  6       Q.      Okay.    And as an expression of                      12:00:47
                                                                                  7    aggression?                                                      12:00:51
                                                                                  8       A.      If -- if you choose to see it that way,               12:00:52
                                                                                  9    then sure.                                                       12:00:55
                                                                                  10      Q.      Okay.    Do you think that students taking            12:00:55
                                                                                  11   their shirt off like that, yelling, jumping up                   12:01:05
                                                                                  12   and down and fronting with clenched fists on the                 12:01:08
                                                                                  13   steps of the Lincoln Memorial in this context was                12:01:13
                                                                                  14   appropriate conduct?                                             12:01:16
                                                                                  15      A.      Yes.                                                  12:01:17
                                                                                  16      Q.      Why?                                                  12:01:18
                                                                                  17      A.      Because this is -- and, well, this is                 12:01:18
                                                                                  18   hundreds of times more appropriate than what was                 12:01:20
                                                                                  19   said at us, especially given our age.         This is --         12:01:23
                                                                                  20   this is -- I mean, there were adults here that                   12:01:30
                                                                                  21   were not acting like adults should.      So this to              12:01:33
                                                                                  22   me looks more than appropriate, given what was --                12:01:37
                                                                                  23   what situation we were in.                                       12:01:42
                                                                                  24      Q.      Fair to say that that's a matter of                   12:01:44
                                                                                  25   opinion?                                                         12:01:46


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                                                                                  1       A.    Of course.    Everyone can decide whether          12:01:47
                                                                                  2    that was appropriate or not.                                12:01:50
                                                                                  3       Q.    In hindsight, do you think the                     12:01:52
                                                                                  4    chaperones exercised poor judgment in allowing              12:02:01
                                                                                  5    these cheers to happen?                                     12:02:06
                                                                                  6       A.    I think the better option would have               12:02:07
                                                                                  7    been to find somewhere else to go.                          12:02:09
                                                                                  8       Q.    Okay.    And why is that?                          12:02:13
                                                                                  9       A.    Because then we wouldn't have had to               12:02:16
                                                                                  10   have dealt with them and we could have just stood           12:02:19
                                                                                  11   by ourselves and gone home.                                 12:02:22
                                                                                  12      Q.    Who led the sumo cheer?                            12:02:29
                                                                                  13      A.    I think his name is Jake Mulaku                    12:02:34
                                                                                  14   (phonetically spelled).                                     12:02:38
                                                                                  15      Q.    Is there any particular reason why -- it           12:02:39
                                                                                  16   looked like the students were like pointing at              12:02:41
                                                                                  17   him to sort of come lead it.    Is there any                12:02:44
                                                                                  18   particular reason why him?                                  12:02:46
                                                                                  19      A.    None other than the fact that I'm pretty           12:02:48
                                                                                  20   sure he was a freshman, which, like I say,                  12:02:51
                                                                                  21   freshmen step up and lead things because it helps           12:02:59
                                                                                  22   integrate them more into the school.                        12:03:03
                                                                                  23      Q.    Okay.    Was it like somebody's idea to            12:03:08
                                                                                  24   point to him?                                               12:03:11
                                                                                  25      A.    It could have been some of his friends             12:03:11


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                                                                                  1    that wanted him to do it.         I don't know.                  12:03:13
                                                                                  2              MR. SIEGEL:     Okay.     Let's go back to             12:03:17
                                                                                  3    Exhibit 7, to video 5, and start it at 2 minutes                 12:03:22
                                                                                  4    and 30 seconds.                                                  12:03:29
                                                                                  5              (Thereupon, a video recording of Exhibit               12:03:43
                                                                                  6    7 was played.)                                                   12:03:47
                                                                                  7    BY MR. SIEGEL:                                                   12:04:07
                                                                                  8       Q.     Could you tell what's being shouted                    12:04:07
                                                                                  9    there by the students?                                           12:04:16
                                                                                  10      A.     No, I can't.                                           12:04:18
                                                                                  11             MR. SIEGEL:     Okay.     Let's just listen to         12:04:20
                                                                                  12   it one more time.     And if you can't, you can't.               12:04:23
                                                                                  13             THE WITNESS:     Yes.                                  12:04:27
                                                                                  14             MS. MEEK:     This frame was from 2:30 to              12:04:27
                                                                                  15   2:37.                                                            12:04:31
                                                                                  16             (Thereupon, a video recording from                     12:04:42
                                                                                  17   Exhibit 7 was played.)                                           12:04:45
                                                                                  18      A.     I can hear hey, hey and ho, ho, but I                  12:04:46
                                                                                  19   can't say -- or I can't hear what else they are                  12:04:52
                                                                                  20   saying.                                                          12:04:56
                                                                                  21   BY MR. SIEGEL:                                                   12:04:56
                                                                                  22      Q.     Okay.    Did you notice that there was a               12:04:56
                                                                                  23   kid who's like holding a stick up?                               12:04:58
                                                                                  24      A.     Yeah.                                                  12:05:00
                                                                                  25      Q.     Do you have any understanding why?                     12:05:03


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                                                                                  1       A.       No.                                              12:05:05
                                                                                  2       Q.       Do you think that could be perceived as          12:05:07
                                                                                  3    a hostile gesture?                                           12:05:14
                                                                                  4       A.       It could be.                                     12:05:16
                                                                                  5       Q.       Can you even tell us what they are               12:05:25
                                                                                  6    shouting here?      Is it -- is it here like a more          12:05:27
                                                                                  7    organized cheer?                                             12:05:31
                                                                                  8       A.       I can't tell what it is.                         12:05:31
                                                                                  9                MR. SIEGEL:    Okay.   Let's keep going.         12:05:36
                                                                                  10               (Thereupon, a video recording from               12:05:39
                                                                                  11   Exhibit 7 was played.)                                       12:05:42
                                                                                  12   BY MR. SIEGEL:                                               12:05:45
                                                                                  13      Q.       Do you see the two guys sort of on the           12:05:45
                                                                                  14   right side raising their fists and going, Donald             12:05:49
                                                                                  15   Trump, Donald Trump?                                         12:05:53
                                                                                  16               Do you know, are those Covington                 12:05:56
                                                                                  17   students?                                                    12:05:58
                                                                                  18      A.       Again, I don't -- I think these might            12:05:58
                                                                                  19   have been the kids who said -- the ones shaking              12:06:01
                                                                                  20   right there.      I don't -- I -- to me, I don't             12:06:06
                                                                                  21   think they are a part of Cov Cath because                    12:06:08
                                                                                  22   they're -- not wearing clothes that we are and               12:06:11
                                                                                  23   they are more off to the side.                               12:06:14
                                                                                  24               MR. SIEGEL:    Okay.                             12:06:17
                                                                                  25      A.       I don't recognize them.                          12:06:17


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                                                                                  1              MR. McMURTRY:     Lunch is here when you           12:06:22
                                                                                  2    are ready -- and when you are -- when you have               12:06:23
                                                                                  3    reached a point.                                             12:06:25
                                                                                  4              MR. SIEGEL:     Maybe ten more minutes,            12:06:26
                                                                                  5    maybe.   It will be kind of a good segue point.              12:06:28
                                                                                  6    BY MR. SIEGEL:                                               12:06:35
                                                                                  7       Q.     Did you notice them at the time doing              12:06:35
                                                                                  8    that?                                                        12:06:38
                                                                                  9       A.     No.                                                12:06:38
                                                                                  10      Q.     What do you think of it, seeing it now?            12:06:38
                                                                                  11             MR. McMURTRY:     Objection.   Go ahead.           12:06:41
                                                                                  12      A.     I mean, I don't agree with it.      I              12:06:42
                                                                                  13   haven't agreed with a single thing they have done            12:06:44
                                                                                  14   that I have seen, and -- I mean, if it were up to            12:06:47
                                                                                  15   me, they wouldn't be behaving like that.                     12:06:53
                                                                                  16   BY MR. SIEGEL:                                               12:06:56
                                                                                  17      Q.     Okay.    Why don't you agree with their            12:06:56
                                                                                  18   going, Donald Trump, Donald Trump, though?                   12:06:59
                                                                                  19             MR. McMURTRY:     Objection.   Go ahead.           12:07:02
                                                                                  20      A.     Well, I don't think shaking their fists            12:07:03
                                                                                  21   does anyone any good.                                        12:07:07
                                                                                  22   BY MR. SIEGEL:                                               12:07:09
                                                                                  23      Q.     Okay.    Because it seems aggressive?              12:07:09
                                                                                  24      A.     Well, to me, it seems like these kids --           12:07:13
                                                                                  25   and the one of them looks like he has a smile on             12:07:15


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                                                                                  1    his face, like they want the Hebrew Israelites to                  12:07:18
                                                                                  2    talk to them next.        Maybe they think it's funny.             12:07:23
                                                                                  3    I don't know.                                                      12:07:28
                                                                                  4       Q.       Okay.    Do you think that they were                   12:07:29
                                                                                  5    responding to the behavior of the Covington                        12:07:33
                                                                                  6    students?                                                          12:07:36
                                                                                  7                MR. McMURTRY:     Objection.                           12:07:36
                                                                                  8       A.       I mean, it's possible.                                 12:07:37
                                                                                  9                MR. SIEGEL:     All right.     Let's keep              12:07:42
                                                                                  10   going.                                                             12:07:43
                                                                                  11               MS. MEEK:     We were just discussing 2                12:07:44
                                                                                  12   minutes and 44 seconds in Exhibit 7.           And now I'm         12:07:45
                                                                                  13   continuing on.                                                     12:07:49
                                                                                  14               (Thereupon, a video recording from                     12:07:51
                                                                                  15   Exhibit 7 was played.)                                             12:07:54
                                                                                  16   BY MR. SIEGEL:                                                     12:08:06
                                                                                  17      Q.       Did you know why the students are                      12:08:06
                                                                                  18   shouting there?                                                    12:08:10
                                                                                  19      A.       Because some more kids returned from out               12:08:10
                                                                                  20   in DC.   They were seniors.                                        12:08:12
                                                                                  21      Q.       Okay.    And what's the connection --                  12:08:15
                                                                                  22   what's the shouting?        What's that responding to?             12:08:18
                                                                                  23      A.       I think they were just happy or whatever               12:08:20
                                                                                  24   more of the kids were coming back.                                 12:08:24
                                                                                  25               MR. SIEGEL:     Okay.   So let's keep                  12:08:27


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                                                                                  1    playing.                                                       12:08:28
                                                                                  2               MS. MEEK:     We just stopped at 2 minutes          12:08:29
                                                                                  3    and 57 seconds.      And now we are continuing on.             12:08:31
                                                                                  4               (Thereupon, a video recording from                  12:08:36
                                                                                  5    Exhibit 7 was played.)                                         12:08:39
                                                                                  6    BY MR. SIEGEL:                                                 12:08:57
                                                                                  7       Q.      Okay.    So you mentioned before that               12:08:57
                                                                                  8    there were other students who were coming at this              12:08:59
                                                                                  9    point, right?                                                  12:09:01
                                                                                  10      A.      Yes.                                                12:09:02
                                                                                  11      Q.      And there are certainly more students               12:09:02
                                                                                  12   now than there were before?                                    12:09:05
                                                                                  13      A.      Right.                                              12:09:07
                                                                                  14      Q.      And does it look to you like the group              12:09:07
                                                                                  15   is getting closer to the BHI as it fills in, some              12:09:11
                                                                                  16   of the group?                                                  12:09:18
                                                                                  17      A.      Yeah.    Some are closer.                           12:09:18
                                                                                  18      Q.      Okay.    You said before that it -- you             12:09:20
                                                                                  19   think it would have been better -- never mind.                 12:09:23
                                                                                  20   You already answered that.                                     12:09:28
                                                                                  21              MR. McMURTRY:     Thank you.                        12:09:29
                                                                                  22              MR. SIEGEL:     Let's go to Exhibit -- back         12:09:37
                                                                                  23   to Exhibit 3, which is video 4 of the Banyamyan                12:09:42
                                                                                  24   video.                                                         12:09:49
                                                                                  25              MS. MEEK:     And we just stopped at 3:20           12:09:49


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                                                                                  1    in Exhibit 7.     Did you say 1:10:32?                             12:09:55
                                                                                  2              MR. SIEGEL:     No -- yes.     1:10:32.   1              12:10:30
                                                                                  3    hour, 10 minutes, 32 seconds.                                      12:10:33
                                                                                  4              (Thereupon, a video recording of Exhibit                 12:10:38
                                                                                  5    7 was played.)                                                     12:10:44
                                                                                  6    BY MR. SIEGEL:                                                     12:11:00
                                                                                  7       Q.     What's your reaction to what he says                     12:11:00
                                                                                  8    there?                                                             12:11:03
                                                                                  9              MR. McMURTRY:     Objection.     Go ahead.               12:11:03
                                                                                  10      A.     I mean, I think it's pretty obvious,                     12:11:05
                                                                                  11   even admitted from them, that we weren't trying                    12:11:09
                                                                                  12   to fight them.     He said we weren't going to do a                12:11:12
                                                                                  13   thing.   And that -- like, even after the sumo                     12:11:15
                                                                                  14   chant, which may be perceived as hostile, we all                   12:11:20
                                                                                  15   just turned around and kept talking amongst                        12:11:24
                                                                                  16   ourselves.                                                         12:11:28
                                                                                  17   BY MR. SIEGEL:                                                     12:11:28
                                                                                  18      Q.     Okay.    When he said you -- when he said                12:11:28
                                                                                  19   we are surrounded, does that indicate to you that                  12:11:35
                                                                                  20   he might have felt that you guys were expressing                   12:11:43
                                                                                  21   aggression or hostility?                                           12:11:45
                                                                                  22      A.     He might have, but --                                    12:11:47
                                                                                  23             MR. McMURTRY:     Objection.     Go ahead.    Go         12:11:49
                                                                                  24   ahead.                                                             12:11:50
                                                                                  25      A.     He might have, but that is factually                     12:11:50


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                                                                                  1    untrue.    I mean, we were in one area.        We did not         12:11:53
                                                                                  2    surround them.                                                    12:11:57
                                                                                  3               MR. SIEGEL:     Okay.   Let's -- let's                 12:11:59
                                                                                  4    restart it there.                                                 12:12:10
                                                                                  5               MS. MEEK:     Restarting at 1 hour, 10                 12:12:11
                                                                                  6    minutes and 45 seconds.                                           12:12:15
                                                                                  7               (Thereupon, a video recording of Exhibit               12:12:17
                                                                                  8    3 was played.)                                                    12:12:20
                                                                                  9    BY MR. SIEGEL:                                                    12:12:44
                                                                                  10      Q.      So does that indicate to you that at                   12:12:44
                                                                                  11   least the person talking felt that they were                      12:12:48
                                                                                  12   outmatched by you?                                                12:12:51
                                                                                  13              MR. McMURTRY:     Objection.     Go ahead.             12:12:53
                                                                                  14      A.      I guess, but that is not matched by the                12:12:54
                                                                                  15   smiles on the rest of their faces.          They look             12:12:59
                                                                                  16   like they are getting exactly what they want.                     12:13:02
                                                                                  17              MR. McMURTRY:     We are going to start                12:13:05
                                                                                  18   lunch in two minutes.                                             12:13:06
                                                                                  19              MR. SIEGEL:     I mean, I will ask for five            12:13:10
                                                                                  20   minutes.                                                          12:13:12
                                                                                  21              MR. McMURTRY:     I know.     But we are at            12:13:12
                                                                                  22   ten.    I'm just trying to -- go ahead.                           12:13:14
                                                                                  23              MR. SIEGEL:     No worries.     All right.             12:13:16
                                                                                  24   Let's keep going.                                                 12:13:21
                                                                                  25              MS. MEEK:     Starting from 1:11:18.                   12:13:22


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                                                                                  1             (Thereupon, a video recording of Exhibit            12:13:27
                                                                                  2    3 was played.)                                               12:13:31
                                                                                  3    BY MR. SIEGEL:                                               12:13:52
                                                                                  4       Q.    When he says, I'm turning up the Esau,              12:13:52
                                                                                  5    Esau, this caveman thing, I'm turning up, what do            12:13:56
                                                                                  6    you understand him to be saying?                             12:13:59
                                                                                  7             MR. McMURTRY:     Objection.   Go ahead.            12:14:00
                                                                                  8       A.    I'm not -- I'm not really sure.                     12:14:02
                                                                                  9       Q.    Do you have an understanding what the               12:14:04
                                                                                  10   reference to Esau means?                                     12:14:08
                                                                                  11      A.    Not really.                                         12:14:10
                                                                                  12      Q.    Did you study the Old Testament?                    12:14:10
                                                                                  13      A.    Oh, I did.    But they -- they mean --              12:14:13
                                                                                  14   they use an alternate.                                       12:14:16
                                                                                  15            I mean, their history is not real                   12:14:17
                                                                                  16   history, so I don't know what they are talking               12:14:21
                                                                                  17   about.                                                       12:14:24
                                                                                  18      Q.    Do you know who Esau in the Old                     12:14:24
                                                                                  19   Testament is?                                                12:14:28
                                                                                  20      A.    Yes.    But, I mean, I don't know what              12:14:30
                                                                                  21   they are talking about.                                      12:14:32
                                                                                  22            They -- they claim the current Jews in              12:14:33
                                                                                  23   Israel are not the real Israelites.      So, I mean,         12:14:35
                                                                                  24   whatever version of history they have is not an              12:14:40
                                                                                  25   accurate one.                                                12:14:44


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                                                                                  1          Q.    Who is Esau?                                         12:14:45
                                                                                  2                MR. McMURTRY:     Objection.    I don't -- I         12:14:46
                                                                                  3    don't understand what the quiz is, why it matters                12:14:47
                                                                                  4    speculating at what this guy's saying.          I mean,          12:14:50
                                                                                  5    it's okay to try to trip him up, but to try to                   12:14:53
                                                                                  6    trip him up --                                                   12:14:56
                                                                                  7                MR. SIEGEL:     I'm not trying to trip him           12:14:56
                                                                                  8    up.                                                              12:14:59
                                                                                  9                MR. McMURTRY:     The Old Testament                  12:14:59
                                                                                  10   history, I mean --                                               12:15:01
                                                                                  11               MR. SIEGEL:     If you don't know, that is           12:15:02
                                                                                  12   fine.                                                            12:15:03
                                                                                  13               THE WITNESS:     I remember that Esau was            12:15:03
                                                                                  14   connected to Israel.                                             12:15:05
                                                                                  15   BY MR. SIEGEL:                                                   12:15:08
                                                                                  16         Q.    Okay.    So you don't remember the story             12:15:08
                                                                                  17   of Esau and Jacob and all that?                                  12:15:10
                                                                                  18         A.    Not -- not a hundred percent, not --                 12:15:12
                                                                                  19         Q.    It's not a quiz.     I was just asking if            12:15:15
                                                                                  20   you know.                                                        12:15:18
                                                                                  21               So did you think that you looked like                12:15:19
                                                                                  22   you were behaving like cavemen.                                  12:15:21
                                                                                  23         A.    No.                                                  12:15:26
                                                                                  24         Q.    Why?                                                 12:15:27
                                                                                  25         A.    Because -- I don't know.       We look like          12:15:28


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                                                                                  1    high school kids.                                               12:15:30
                                                                                  2       Q.      Okay.     Would you say anyone who                   12:15:31
                                                                                  3    disagrees with you about that was wrong?                        12:15:36
                                                                                  4       A.      No.                                                  12:15:39
                                                                                  5               MR. SIEGEL:     Let's go ten more seconds            12:15:51
                                                                                  6    of this.                                                        12:15:54
                                                                                  7               MS. MEEK:     Starting at 1:11:47.                   12:15:54
                                                                                  8               (Thereupon, a video recording of Exhibit             12:15:58
                                                                                  9    3 was played.)                                                  12:16:01
                                                                                  10   BY MR. SIEGEL:                                                  12:16:04
                                                                                  11      Q.      Okay.     So you said before you felt                12:16:04
                                                                                  12   threatened.       Did you take that as a threat?                12:16:07
                                                                                  13      A.      Yes.                                                 12:16:10
                                                                                  14              MR. SIEGEL:     Okay.    Lunchtime.                  12:16:16
                                                                                  15              MR. McMURTRY:     Lunchtime.    Thank you.           12:16:17
                                                                                  16              THE VIDEOGRAPHER:       We are going off the         12:16:26
                                                                                  17   record.    The time is 12:16 p.m.                               12:16:28
                                                                                  18              (Thereupon, there was a recess taken at              12:16:32
                                                                                  19   12:16 p.m.)                                                     12:16:32
                                                                                  20              (Thereupon, the proceedings were resumed             12:54:58
                                                                                  21   at 12:54 p.m.)                                                  12:54:58
                                                                                  22              THE VIDEOGRAPHER:       We're back on the            12:54:59
                                                                                  23   record.    The time is 12:55 p.m.                               12:55:04
                                                                                  24              MR. SIEGEL:     Okay.    So we are now going         12:55:07
                                                                                  25   to go back to Exhibit 7, which is video 5 of the                12:55:16


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                                                                                  1    stip.    Start that at 3 minutes and 20 seconds.              12:55:21
                                                                                  2    And I'm just going to ask you to explain what is              12:55:30
                                                                                  3    happening, what the students are doing.                       12:55:33
                                                                                  4               THE WITNESS:     Okay.                             12:55:36
                                                                                  5               (Thereupon, a video recording of Exhibit           12:55:55
                                                                                  6    5 was played.)                                                12:55:55
                                                                                  7    BY MR. SIEGEL:                                                12:56:22
                                                                                  8       Q.      So what -- what's happening?                       12:56:22
                                                                                  9       A.      Everyone is getting ready to do the                12:56:26
                                                                                  10   victory chant that we discussed at the start of               12:56:30
                                                                                  11   the deposition.                                               12:56:32
                                                                                  12              MR. SIEGEL:     Okay.    And where did we          12:56:34
                                                                                  13   pause?                                                        12:56:41
                                                                                  14              MS. MEEK:     3:50.                                12:56:42
                                                                                  15   BY MR. SIEGEL:                                                12:56:43
                                                                                  16      Q.      So are the four guys who were standing             12:56:43
                                                                                  17   up, are they like the leaders?                                12:56:46
                                                                                  18      A.      I would assume.                                    12:56:47
                                                                                  19      Q.      Okay.    And everybody else sits down at           12:56:48
                                                                                  20   that part of the --                                           12:56:51
                                                                                  21      A.      Yes.                                               12:56:51
                                                                                  22      Q.      -- for the stunt?                                  12:56:52
                                                                                  23              Okay.    So before the person who you now          12:56:52
                                                                                  24   know is Nathan Phillips started approaching the               12:56:56
                                                                                  25   group, had you noticed him?                                   12:57:01


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                                                                                  1       A.       I hadn't noticed him specifically.        As I         12:57:02
                                                                                  2    said earlier, I noticed the group of Native                        12:57:05
                                                                                  3    Americans.     That was about it.                                  12:57:08
                                                                                  4       Q.       Okay.     And when did you first notice                12:57:11
                                                                                  5    that he was approaching or seemed to be                            12:57:16
                                                                                  6    approaching the group?                                             12:57:18
                                                                                  7       A.       I probably noticed he -- him coming over               12:57:19
                                                                                  8    when he was near the Black Israelites -- Hebrew                    12:57:26
                                                                                  9    Israelites and passing.         That is when I kind of             12:57:31
                                                                                  10   first became aware there was Native Americans in                   12:57:37
                                                                                  11   between us and the Hebrew Israelites.                              12:57:41
                                                                                  12      Q.       Okay.     And I take it you don't know what            12:57:52
                                                                                  13   he saw or heard prior to the time he approached                    12:57:53
                                                                                  14   you?                                                               12:57:58
                                                                                  15      A.       Correct.                                               12:57:58
                                                                                  16               MR. SIEGEL:     Let's keep -- let's restart            12:58:00
                                                                                  17   it at 3:50.                                                        12:58:03
                                                                                  18               (Thereupon, a video recording of Exhibit               12:58:07
                                                                                  19   7 was played.)                                                     12:58:07
                                                                                  20           MR. SIEGEL:     Okay.                                      12:58:31
                                                                                  21               MS. MEEK:     I just stopped at 4 minutes              12:58:33
                                                                                  22   and 18 seconds.                                                    12:58:35
                                                                                  23   BY MR. SIEGEL:                                                     12:58:37
                                                                                  24      Q.       So what the students are doing there as                12:58:37
                                                                                  25   Mr. Phillips and some others were approaching, is                  12:58:42


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                                                                                  1    that the -- the whole Victory is Our Battle Cry                    12:58:46
                                                                                  2    cheer?                                                             12:58:51
                                                                                  3          A.       Yes.                                                12:58:51
                                                                                  4          Q.       And people jumping up, is that part of              12:58:51
                                                                                  5    that?                                                              12:58:56
                                                                                  6          A.       Yes.                                                12:58:56
                                                                                  7          Q.       Okay.     I think you described before what         12:58:56
                                                                                  8    is said during that cheer?                                         12:59:03
                                                                                  9          A.       Uh-huh.                                             12:59:04
                                                                                  10         Q.       Can you hear if that is what is being               12:59:05
                                                                                  11   said here?                                                         12:59:08
                                                                                  12         A.       Yes, yes.                                           12:59:08
                                                                                  13         Q.       Do you assume that others watching this             12:59:09
                                                                                  14   would have any idea what you are saying?                           12:59:12
                                                                                  15         A.       Probably not.     We say the letters very           12:59:14
                                                                                  16   quickly.                                                           12:59:16
                                                                                  17                  MR. SIEGEL:     Okay.    Let's restart at           12:59:32
                                                                                  18   4:24.                                                              12:59:35
                                                                                  19                  MS. MEEK:     I think we are starting at            12:59:36
                                                                                  20   4:18, not 4:24.                                                    12:59:38
                                                                                  21                  MR. SIEGEL:     Yes.    I think we can just         12:59:43
                                                                                  22   go.        Because I think Nick just answered what I               12:59:46
                                                                                  23   was going to ask him anyway at 4:18.                               12:59:49
                                                                                  24                  (Thereupon, a video recording of Exhibit            12:59:55
                                                                                  25   7 was played.)                                                     12:59:55


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                                                                                  1                MS. MEEK:    We just stopped at 4:55,              13:00:28
                                                                                  2    still on Exhibit 7.                                            13:00:31
                                                                                  3    BY MR. SIEGEL:                                                 13:00:32
                                                                                  4          Q.    Okay.    So did you see that -- remind me          13:00:32
                                                                                  5    of his name again, the last name, the fellow in                13:00:36
                                                                                  6    the red sweatshirt?                                            13:00:39
                                                                                  7          A.    Summe.                                             13:00:41
                                                                                  8          Q.    Summe shouts:    Don't touch him, don't            13:00:42
                                                                                  9    touch him?                                                     13:00:46
                                                                                  10         A.    Yes.                                               13:00:47
                                                                                  11         Q.    Any idea why he said that?                         13:00:48
                                                                                  12         A.    He said the guy in the green                       13:00:50
                                                                                  13   sweatshirt -- or gray/green hooded, that is John               13:00:51
                                                                                  14   Monterey.     And when John went to turn to film               13:00:56
                                                                                  15   with his camera, Nathan Phillips hit up against                13:00:59
                                                                                  16   him and kind of, you know, came in physical                    13:01:04
                                                                                  17   contact with him.                                              13:01:07
                                                                                  18         Q.    Okay.    Who do you understand him to be           13:01:08
                                                                                  19   saying don't -- who is don't touch him directed                13:01:10
                                                                                  20   at?                                                            13:01:14
                                                                                  21         A.    At Phillips for running in to John.                13:01:14
                                                                                  22         Q.    Okay.    And how do you know that?                 13:01:18
                                                                                  23         A.    Well, you are asking me what it -- what            13:01:22
                                                                                  24   does that -- what do I -- what does that look                  13:01:26
                                                                                  25   like is happening.                                             13:01:28


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                                                                                  1             MR. SIEGEL:     Okay.                               13:01:30
                                                                                  2       A.    That is my opinion.                                 13:01:30
                                                                                  3       Q.    Did John tell you that?                             13:01:31
                                                                                  4       A.    No.                                                 13:01:33
                                                                                  5       Q.    I'm sorry.     Did Summe tell you that,             13:01:34
                                                                                  6    that that is what he was doing?                              13:01:37
                                                                                  7       A.    No.     I'm saying this is what it looks            13:01:40
                                                                                  8    like from -- from here.     I don't -- I can't say           13:01:42
                                                                                  9    that for a fact.                                             13:01:45
                                                                                  10            MR. SIEGEL:     Okay.   Let's just play the         13:01:46
                                                                                  11   last ten seconds again maybe.                                13:01:48
                                                                                  12            (Thereupon, a video recording of Exhibit            13:01:57
                                                                                  13   7 was played.)                                               13:01:57
                                                                                  14   BY MR. SIEGEL:                                               13:02:13
                                                                                  15      Q.    Okay.     Is it possible that he is                 13:02:13
                                                                                  16   directing that at John Lawrie?      He said to John          13:02:16
                                                                                  17   Lawrie, don't touch Nathan Phillips?                         13:02:20
                                                                                  18      A.    Yeah, that could be possible.                       13:02:23
                                                                                  19      Q.    Okay.     Where do you see Nathan Phillips          13:02:24
                                                                                  20   coming -- John Lawrie is like turning around,                13:02:25
                                                                                  21   right, kind of --                                            13:02:29
                                                                                  22      A.    Right.                                              13:02:29
                                                                                  23      Q.    -- as he's -- as he's --                            13:02:30
                                                                                  24      A.    Right.                                              13:02:31
                                                                                  25      Q.    Where do you see Nathan Phillips coming             13:02:31


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                                                                                  1    into contact with him?                                         13:02:33
                                                                                  2       A.      I could have been wrong, but it almost              13:02:34
                                                                                  3    appeared in the video like when John was turning               13:02:36
                                                                                  4    that Phillips had kind of -- maybe not                         13:02:40
                                                                                  5    intentionally but maybe bumped into him a little               13:02:43
                                                                                  6    bit.    I don't know, though.     I -- I was on --             13:02:46
                                                                                  7    like three or four rows of people back.                        13:02:50
                                                                                  8       Q.      Okay.     Would it be -- watching this,             13:02:54
                                                                                  9    would it be reasonable to infer that somebody                  13:03:07
                                                                                  10   might have been concerned that at least one of                 13:03:09
                                                                                  11   the students was getting too close to Phillips?                13:03:10
                                                                                  12      A.      I don't think that's reasonable.                    13:03:13
                                                                                  13      Q.      Really?     You don't think that is                 13:03:15
                                                                                  14   reasonable?    Why not?                                        13:03:17
                                                                                  15      A.      No, because Nathan Phillips' feet --                13:03:18
                                                                                  16   five minutes before this frame, Nathan Phillips                13:03:21
                                                                                  17   was 40, 50 feet away.       So to say that we were too         13:03:24
                                                                                  18   close --                                                       13:03:28
                                                                                  19      Q.      No, at this particular moment that one              13:03:30
                                                                                  20   of the students was -- was getting too close to                13:03:33
                                                                                  21   Phillips or might be touching him?                             13:03:37
                                                                                  22      A.      I -- I still think that's unreasonable.             13:03:40
                                                                                  23   Because the students don't -- these students in                13:03:42
                                                                                  24   between Phillips and the rest of the group don't               13:03:46
                                                                                  25   have anywhere to move because of how crowded it                13:03:48


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                                                                                  1    is.                                                             13:03:51
                                                                                  2          Q.    Okay.     But John Lawrie was moving,               13:03:52
                                                                                  3    right?     He was kind of turning from side to side?            13:03:58
                                                                                  4          A.    I mean, he was rotating.     He wasn't              13:04:01
                                                                                  5    physically stepping anywhere.                                   13:04:05
                                                                                  6          Q.    And do you think it's reasonable to                 13:04:06
                                                                                  7    infer that Summe might have been concerned that                 13:04:09
                                                                                  8    in the course of doing that, John Lawrie might                  13:04:11
                                                                                  9    bump into him and that is what he was responding                13:04:15
                                                                                  10   to?                                                             13:04:17
                                                                                  11         A.    No.     I think that is unreasonable.               13:04:17
                                                                                  12         Q.    So you don't think somebody watching                13:04:19
                                                                                  13   this could have that honest opinion, that that's                13:04:21
                                                                                  14   what --                                                         13:04:25
                                                                                  15               MR. McMURTRY:     I think he answered that.         13:04:25
                                                                                  16   But go ahead.                                                   13:04:27
                                                                                  17         A.    No.     I think that for Nathan Phillips to         13:04:27
                                                                                  18   come from where he was and then to get close and                13:04:29
                                                                                  19   then not give John any room to move and then to                 13:04:32
                                                                                  20   say that the students weren't giving Phillips his               13:04:35
                                                                                  21   personal space to me is a dishonest, unreasonable               13:04:39
                                                                                  22   opinion.                                                        13:04:43
                                                                                  23   BY MR. SIEGEL:                                                  13:04:43
                                                                                  24         Q.    Okay.     That is not what I'm asking you.          13:04:43
                                                                                  25   I'm asking you could someone watching this                      13:04:48


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                                                                                  1    honestly infer that that is what Summe -- Summe                 13:04:51
                                                                                  2    was saying to John Lawrie, hey, don't touch him?                13:04:55
                                                                                  3                MR. McMURTRY:     Objection.   Go ahead and         13:05:00
                                                                                  4    answer.                                                         13:05:01
                                                                                  5       A.       Someone could infer that that is who                13:05:02
                                                                                  6    Summe was talking to.        Yeah, I agree with that.           13:05:04
                                                                                  7    BY MR. SIEGEL:                                                  13:05:10
                                                                                  8       Q.       Okay.     Someone could infer that the              13:05:10
                                                                                  9    reason he said that was that he was concerned                   13:05:14
                                                                                  10   that John Lawrie might be bumping into Phillips?                13:05:16
                                                                                  11      A.       Yes.                                                13:05:20
                                                                                  12               MR. SIEGEL:     Okay.   Let's keep going.           13:05:26
                                                                                  13               MS. MEEK:     Starting at 4:55.                     13:05:28
                                                                                  14               (Thereupon, a video recording of Exhibit            13:05:32
                                                                                  15   7 was played.)                                                  13:05:32
                                                                                  16               MR. SIEGEL:     Where did we stop, Jessie,          13:05:59
                                                                                  17   for the record?                                                 13:06:01
                                                                                  18               MS. MEEK:     5:22.                                 13:06:01
                                                                                  19   BY MR. SIEGEL:                                                  13:06:04
                                                                                  20      Q.       Do you see the -- the student with his              13:06:04
                                                                                  21   hands up?                                                       13:06:07
                                                                                  22      A.       Yes.                                                13:06:07
                                                                                  23      Q.       It looks like he is wearing maybe a                 13:06:08
                                                                                  24   black sweatshirt.        Do you know who that is?               13:06:10
                                                                                  25      A.       No.     And to be honest, I don't know if           13:06:13


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                                                                                  1    he was a part of our group or not.           I mean, he            13:06:15
                                                                                  2    might -- he might be, but I have no idea who he                    13:06:19
                                                                                  3    is.                                                                13:06:23
                                                                                  4          Q.    Okay.     So you don't know whether he was             13:06:24
                                                                                  5    a Covington student at the time?                                   13:06:26
                                                                                  6          A.    No.     Like, what I mean by that is I had             13:06:28
                                                                                  7    never seen him before in my life.          It's possible           13:06:31
                                                                                  8    I missed him in the hallways or whatever or just                   13:06:36
                                                                                  9    didn't recognize him.        But, I mean, to my                    13:06:38
                                                                                  10   knowledge, that was the first and only time I                      13:06:41
                                                                                  11   have seen him.                                                     13:06:44
                                                                                  12         Q.    Okay.     Do you see how he was sort of,               13:06:45
                                                                                  13   kind of bowing up and down, like moving his hands                  13:06:48
                                                                                  14   up and down?                                                       13:06:53
                                                                                  15         A.    Yes.                                                   13:06:54
                                                                                  16         Q.    Did that seem appropriate to you?                      13:06:57
                                                                                  17         A.    Well --                                                13:07:02
                                                                                  18               MR. McMURTRY:     Objection.     If I may, are         13:07:04
                                                                                  19   you saying did he see that happening at the time                   13:07:05
                                                                                  20   or are you asking him to evaluate the video                        13:07:08
                                                                                  21   today?     Because I don't know --                                 13:07:10
                                                                                  22               MR. SIEGEL:     Fair question.                         13:07:12
                                                                                  23               MR. McMURTRY:     -- what the answer is.               13:07:13
                                                                                  24   BY MR. SIEGEL:                                                     13:07:16
                                                                                  25         Q.    Did you notice that at the time?                       13:07:16


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                                                                                  1       A.    No.                                                 13:07:17
                                                                                  2       Q.    Okay.     Having seen it on the video, do           13:07:18
                                                                                  3    you think that that was appropriate?                         13:07:20
                                                                                  4       A.    You know, to be honest, I -- I really               13:07:21
                                                                                  5    don't know.    Because under -- at this present              13:07:24
                                                                                  6    frame of the video, most of the people, including            13:07:29
                                                                                  7    myself, were confused on Phillips' intentions.               13:07:32
                                                                                  8    And I think many of the front line kids thought              13:07:37
                                                                                  9    at first that he was here to help us, which is               13:07:42
                                                                                  10   why they danced along to his music.                          13:07:45
                                                                                  11            And, I mean, I don't know what that                 13:07:48
                                                                                  12   kid's doing.     He could be -- as seen, in a way,           13:07:50
                                                                                  13   he could be trying to mock him.     I -- I really            13:07:55
                                                                                  14   don't know.                                                  13:07:58
                                                                                  15      Q.    Okay.     Did you at the time have any idea         13:08:01
                                                                                  16   why Phillips was playing the drum?                           13:08:10
                                                                                  17      A.    No.                                                 13:08:12
                                                                                  18      Q.    Okay.     Did you have any idea what                13:08:13
                                                                                  19   playing a drum, as he was doing, signifies in                13:08:22
                                                                                  20   Native American culture?                                     13:08:28
                                                                                  21      A.    Well, I -- I should back up that while I            13:08:30
                                                                                  22   haven't taken a class specifically on Native                 13:08:34
                                                                                  23   Americans, like I said, I have had classes where             13:08:36
                                                                                  24   that's been incorporated.     And one of them was            13:08:42
                                                                                  25   music back from grade school.     And what I am              13:08:45


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                                                                                  1    aware of is that playing the drum can mean more                   13:08:50
                                                                                  2    than one thing.                                                   13:08:53
                                                                                  3                   So to be honest with you, I'm not                  13:08:54
                                                                                  4    skilled enough to know what chants or what rhythm                 13:08:59
                                                                                  5    means what.          But, I mean, I knew he was playing           13:09:03
                                                                                  6    it.        I didn't know what it signified.                       13:09:06
                                                                                  7          Q.       What is the more than one thing that you           13:09:08
                                                                                  8    understand playing a drum in Native American                      13:09:11
                                                                                  9    culture signifies?                                                13:09:15
                                                                                  10         A.       You can -- it's played for a variety of            13:09:17
                                                                                  11   religious reasons or whatever to match with                       13:09:21
                                                                                  12   ancestors and -- you know, as he's -- I guess as                  13:09:25
                                                                                  13   Mr. Phillips claims, these drums were war drums.                  13:09:31
                                                                                  14   They play them for multiple reasons.                              13:09:35
                                                                                  15         Q.       Okay.    Since this incident, have you             13:09:38
                                                                                  16   ever sort of gone back and done any more reading                  13:09:43
                                                                                  17   about that?                                                       13:09:46
                                                                                  18         A.       No.                                                13:09:47
                                                                                  19         Q.       Do you know anything about how elderly             13:09:49
                                                                                  20   persons are viewed in Native American culture?                    13:09:53
                                                                                  21         A.       At the time, I knew that elders are very           13:09:56
                                                                                  22   respected and kind of the head of -- in a Native                  13:10:00
                                                                                  23   American community.                                               13:10:05
                                                                                  24         Q.       And have you done any more reading or              13:10:09
                                                                                  25   learning about that?                                              13:10:13


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                                                                                  1       A.     No.                                                 13:10:16
                                                                                  2       Q.     Okay.    Could you hear what Mr. Phillips           13:10:17
                                                                                  3    was expressing verbally?                                      13:10:23
                                                                                  4       A.     I could not understand what he was                  13:10:25
                                                                                  5    saying.   I didn't know if he was just making                 13:10:27
                                                                                  6    noise or it was another language or --                        13:10:31
                                                                                  7       Q.     Okay.    So did you have -- at the time,            13:10:36
                                                                                  8    right, did you have any understanding at all of               13:10:43
                                                                                  9    what he was trying to -- may have been trying to              13:10:46
                                                                                  10   communicate?                                                  13:10:50
                                                                                  11      A.     No.                                                 13:10:50
                                                                                  12      Q.     Did you know whether it was a song or a             13:10:52
                                                                                  13   prayer or words he was articulating?       Did you            13:10:57
                                                                                  14   have any idea?                                                13:11:03
                                                                                  15      A.     I did not.                                          13:11:04
                                                                                  16             MR. SIEGEL:     Okay.   Now we are going to         13:11:07
                                                                                  17   look at roughly the same theme from the                       13:11:09
                                                                                  18   perspective of Exhibit 3, video 4, the Banyamyan              13:11:14
                                                                                  19   video.                                                        13:11:20
                                                                                  20             MS. MEEK:     We are going start at 1 hour,         13:11:28
                                                                                  21   12 minutes, 15 seconds in Exhibit 3.                          13:11:30
                                                                                  22             (Thereupon, a video recording of Exhibit            13:11:34
                                                                                  23   3 was played.)                                                13:11:34
                                                                                  24   BY MR. SIEGEL:                                                13:11:44
                                                                                  25      Q.     Okay.    I take it from our last                    13:11:44


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                                                                                  1    exchange -- what do you understand him to be                   13:11:46
                                                                                  2    saying, the part where -- here comes --                        13:11:50
                                                                                  3       A.       Yeah, dad.                                         13:11:52
                                                                                  4                MR. SIEGEL:     Right.                             13:11:53
                                                                                  5       A.       I don't know.                                      13:11:53
                                                                                  6       Q.       Yeah.    I take it you have no                     13:11:54
                                                                                  7    understanding about what he might have meant by                13:11:56
                                                                                  8    that, what that references?                                    13:11:58
                                                                                  9       A.       No.                                                13:11:59
                                                                                  10               MR. SIEGEL:     Let's keep going.                  13:12:00
                                                                                  11               MS. MEEK:     Starting from 1:12:25.               13:12:01
                                                                                  12               (Thereupon, a video recording of Exhibit           13:12:05
                                                                                  13   3 was played.)                                                 13:12:05
                                                                                  14   BY MR. SIEGEL:                                                 13:12:43
                                                                                  15      Q.       So the speaker says:     Dad not playing,          13:12:43
                                                                                  16   he came to the rescue.                                         13:12:47
                                                                                  17               What do understand him to mean by that?            13:12:49
                                                                                  18               MR. McMURTRY:     Objection.   Go ahead.           13:12:53
                                                                                  19      A.       I'm not sure who he means that he's                13:12:54
                                                                                  20   rescuing.     I guess maybe he's referring to the              13:12:59
                                                                                  21   black -- he himself, that he is being rescued by               13:13:05
                                                                                  22   him.    But it really doesn't make sense to me,                13:13:10
                                                                                  23   because an hour ago these Black Hebrew Israelites              13:13:12
                                                                                  24   hated them.       And now he loves them because he is          13:13:17
                                                                                  25   coming to save them.        I don't really understand          13:13:21


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                                                                                  1    the dynamic that is happening between the Black                13:13:23
                                                                                  2    Hebrew Israelites and the Native Americans.                    13:13:26
                                                                                  3    BY MR. SIEGEL:                                                 13:13:29
                                                                                  4       Q.     Okay.     It doesn't make sense to you               13:13:29
                                                                                  5    because the BHI had been insulting them, too?                  13:13:33
                                                                                  6       A.     Yeah.     Like an hour ago they were                 13:13:38
                                                                                  7    calling them Uncle Tomahawks.       So I have no idea.         13:13:41
                                                                                  8       Q.     Okay.     Do you have any reason to think            13:13:58
                                                                                  9    that the BHI person -- do you think that Phillips              13:14:00
                                                                                  10   was coming to their rescue, as he called it?                   13:14:03
                                                                                  11             MR. McMURTRY:     Objection.                         13:14:06
                                                                                  12      A.     No.     I mean, to me, it looks like I               13:14:06
                                                                                  13   guess that Nathan Phillips is coming to their                  13:14:10
                                                                                  14   rescue.   Again, I don't know why he would say                 13:14:14
                                                                                  15   that.                                                          13:14:18
                                                                                  16             MR. SIEGEL:     Okay.   Let's keep going.            13:14:20
                                                                                  17             MS. MEEK:     Starting at 1:13:02.                   13:14:22
                                                                                  18             (Thereupon, a video recording of Exhibit             13:14:27
                                                                                  19   3 was played.)                                                 13:14:27
                                                                                  20   BY MR. SIEGEL:                                                 13:14:40
                                                                                  21      Q.     Okay.     Do you see from that angle                 13:14:40
                                                                                  22   somebody saying again:      Don't touch him?     Does          13:14:42
                                                                                  23   that change anything about the answer you gave                 13:14:45
                                                                                  24   before?                                                        13:14:48
                                                                                  25      A.     No.                                                  13:14:49


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                                                                                  1             MR. SIEGEL:     All right.   Keep going.             13:14:50
                                                                                  2             MS. MEEK:     Starting at 1:13:16.                   13:14:52
                                                                                  3             (Thereupon, a video recording of Exhibit             13:14:55
                                                                                  4    3 was played.)                                                13:14:55
                                                                                  5    BY MR. SIEGEL:                                                13:15:02
                                                                                  6       Q.    Now you hear the speaker says:       You all         13:15:02
                                                                                  7    better not touch him.                                         13:15:06
                                                                                  8             What do you think that he meant by that?             13:15:08
                                                                                  9       A.    I mean, I think that even though he says             13:15:09
                                                                                  10   that, that doesn't confirm that Summe meant it in             13:15:12
                                                                                  11   the same way he does.                                         13:15:16
                                                                                  12            Obviously, I believe the Black Hebrew                13:15:18
                                                                                  13   Israelites and the student are looking at the                 13:15:22
                                                                                  14   situation from two different perspectives.                    13:15:26
                                                                                  15      Q.    Okay.    Fair enough.   Does it indicate to          13:15:29
                                                                                  16   you that the BHI speaker perceived that that is               13:15:32
                                                                                  17   what Summe was saying?                                        13:15:37
                                                                                  18      A.    No, because I can't say for certain that             13:15:38
                                                                                  19   this guy heard Summe say what he did.                         13:15:41
                                                                                  20      Q.    Does it sound to you like he says it                 13:15:45
                                                                                  21   almost immediately after Summe says it, right?                13:15:49
                                                                                  22      A.    Okay.    Well, then, I guess I must have             13:15:52
                                                                                  23   missed that in the video.                                     13:15:55
                                                                                  24            Yeah.    I mean, it looks like he could be           13:15:56
                                                                                  25   trying to capitalize on what Summe said and be                13:15:59


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                                                                                  1    like -- like basically frame it in to let the                 13:16:03
                                                                                  2    students know that we shouldn't touch him, which              13:16:08
                                                                                  3    I don't think is representative of what actually              13:16:10
                                                                                  4    happened.                                                     13:16:13
                                                                                  5       Q.       At that point, two different people have          13:16:15
                                                                                  6    shouted out, don't touch the -- don't touch him?              13:16:19
                                                                                  7       A.       Yes.                                              13:16:23
                                                                                  8       Q.       Couldn't that give somebody a reason to           13:16:24
                                                                                  9    be concerned that the students might be trying to             13:16:27
                                                                                  10   do something physical to Phillips?                            13:16:31
                                                                                  11      A.       No.                                               13:16:34
                                                                                  12      Q.       No?    Why not?                                   13:16:34
                                                                                  13      A.       Because he keeps moving closer and                13:16:36
                                                                                  14   closer, especially as the video progresses and he             13:16:40
                                                                                  15   starts to walk through people.                                13:16:44
                                                                                  16               So people yelling out don't touch him --          13:16:45
                                                                                  17   I mean, what he's doing, he's doing to himself by             13:16:49
                                                                                  18   coming closer and closer to people like me who                13:16:54
                                                                                  19   were behind other kids and then ended up next to              13:16:57
                                                                                  20   him.     So it's me yelling out don't touch him does          13:17:01
                                                                                  21   not accurately depict that we were going to do                13:17:07
                                                                                  22   anything hostile.                                             13:17:11
                                                                                  23      Q.       Well, I'm not asking you that, whether            13:17:12
                                                                                  24   it did or it didn't accurately depict that,                   13:17:15
                                                                                  25   right?     But I'm asking you -- here, right, a               13:17:19


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                                                                                  1    couple people, one, two, and one member of the               13:17:27
                                                                                  2    BHI shouting out don't touch him.      Would it give         13:17:30
                                                                                  3    somebody there reason to be concerned that some              13:17:36
                                                                                  4    of the students might be trying to touch him and             13:17:38
                                                                                  5    that is what was causing people to yell that out?            13:17:41
                                                                                  6       A.     I would say no.                                    13:17:44
                                                                                  7       Q.     Why is that?                                       13:17:45
                                                                                  8       A.     Because there is -- there is no -- there           13:17:47
                                                                                  9    is no visual example that students were trying to            13:17:51
                                                                                  10   touch him.                                                   13:17:55
                                                                                  11             And I think if you heard that and you              13:17:55
                                                                                  12   looked -- I mean, nobody was trying to touch him.            13:17:58
                                                                                  13   It would be pretty easy to, from where he was, if            13:18:02
                                                                                  14   students did want to, but everyone kind of backed            13:18:06
                                                                                  15   off.                                                         13:18:10
                                                                                  16      Q.     Do you know whether Phillips was                   13:18:10
                                                                                  17   concerned about his safety?                                  13:18:13
                                                                                  18      A.     Now?     I mean, he claims that he was.            13:18:15
                                                                                  19      Q.     Do you have any -- do you have any                 13:18:20
                                                                                  20   belief?                                                      13:18:27
                                                                                  21      A.     I think people concerned about their               13:18:28
                                                                                  22   safety usually don't go into crowds.                         13:18:32
                                                                                  23      Q.     I'm saying that once he approached the             13:18:34
                                                                                  24   crowd, right?                                                13:18:37
                                                                                  25      A.     Right.                                             13:18:37


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                                                                                  1       Q.       He was at that point.     Do you think that             13:18:37
                                                                                  2    he became concerned about his safety?                               13:18:41
                                                                                  3                MR. McMURTRY:     Objection.   Go ahead.                13:18:43
                                                                                  4       A.       Well, knowing now, after the fact, he                   13:18:44
                                                                                  5    does claim that he was concerned about his                          13:18:48
                                                                                  6    safety.                                                             13:18:51
                                                                                  7       Q.       (Inaudible).                                            13:19:04
                                                                                  8                MR. McMURTRY:     Objection.   I think he               13:19:04
                                                                                  9    answered the question.        But go ahead.                         13:19:04
                                                                                  10      A.       I mean, to me --                                        13:19:04
                                                                                  11               THE REPORTER:     I'm sorry.   Mr. Siegel,              13:19:04
                                                                                  12   this is the reporter.       I did not hear your                     13:19:08
                                                                                  13   question.                                                           13:19:10
                                                                                  14   BY MR. SIEGEL:                                                      13:19:11
                                                                                  15      Q.       My question is:     Do you think he was not             13:19:11
                                                                                  16   concerned about his safety?                                         13:19:14
                                                                                  17               MR. McMURTRY:     Objection.                            13:19:16
                                                                                  18      A.       My logic is that people usually                         13:19:16
                                                                                  19   concerned about their safety do not walk into                       13:19:19
                                                                                  20   crowds, especially crowds they are scared of.            If         13:19:21
                                                                                  21   he was worried about his safety, he could have                      13:19:23
                                                                                  22   walked right back out the way he came in.                           13:19:26
                                                                                  23               As evidenced by this video angle, there                 13:19:29
                                                                                  24   are no students behind him.        He could have gone               13:19:31
                                                                                  25   back to where all of his other Native American                      13:19:35


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                                                                                  1    gatherers were with him when they held the rally.           13:19:39
                                                                                  2             I mean, that does not make sense.                  13:19:43
                                                                                  3       Q.    Is that the only possible response he              13:19:47
                                                                                  4    could have had if he ever became concerned about            13:19:49
                                                                                  5    his safety?                                                 13:19:52
                                                                                  6       A.    I mean, he got -- he got --                        13:19:53
                                                                                  7             MR. McMURTRY:     Objection.   Go ahead.           13:19:53
                                                                                  8    BY MR. SIEGEL:                                              13:19:55
                                                                                  9       Q.    The point is that if someone is                    13:19:55
                                                                                  10   concerned about their safety, right, they would             13:19:58
                                                                                  11   try to get out of there?                                    13:20:00
                                                                                  12      A.    Yes.    That is a normal human response.           13:20:02
                                                                                  13            MR. SIEGEL:     Okay.   Let's keep going.          13:20:06
                                                                                  14            MS. MEEK:     Starting at 1:13:22.                 13:20:08
                                                                                  15            (Thereupon, a video recording of Exhibit           13:20:15
                                                                                  16   3 was played.)                                              13:20:15
                                                                                  17            MS. MEEK:     Just paused at 1:13:45.              13:20:36
                                                                                  18   BY MR. SIEGEL:                                              13:20:41
                                                                                  19      Q.    Okay.    Can you tell what the students            13:20:41
                                                                                  20   are chanting there?                                         13:20:45
                                                                                  21      A.    I think they are just yelling along with           13:20:46
                                                                                  22   the repetition of the drum.                                 13:20:48
                                                                                  23      Q.    Okay.    Were you yelling anything?                13:20:51
                                                                                  24      A.    I might have -- I don't -- I don't think           13:20:56
                                                                                  25   I did, but I honestly can't recall.                         13:21:02


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                                                                                  1                MR. SIEGEL:       Okay.    Let's -- where did         13:21:08
                                                                                  2    we stop?                                                          13:21:08
                                                                                  3                MS. MEEK:       1:13:45.                              13:21:09
                                                                                  4                MR. SIEGEL:       All right.    Let's keep            13:21:13
                                                                                  5    going.                                                            13:21:15
                                                                                  6                (Thereupon, a video recording of Exhibit              13:21:17
                                                                                  7    3 was played.)                                                    13:21:17
                                                                                  8                MR. SIEGEL:       We stopped at 1:14:07.              13:21:39
                                                                                  9    BY MR. SIEGEL:                                                    13:21:46
                                                                                  10      Q.       So the BHI speaker says:         Dad, calm            13:21:46
                                                                                  11   them -- calm all these students down.            Right?           13:21:50
                                                                                  12   When you hear him say dad, are they referring to                  13:21:54
                                                                                  13   Phillips?                                                         13:21:55
                                                                                  14      A.       Okay.    Yes.                                         13:21:55
                                                                                  15      Q.       Do you understand that?                               13:21:57
                                                                                  16               So he says, Phillips, calm the students               13:21:58
                                                                                  17   down.    Do you agree with that?                                  13:22:01
                                                                                  18      A.       No.                                                   13:22:03
                                                                                  19      Q.       Why?                                                  13:22:03
                                                                                  20      A.       Because we weren't riled up in the first              13:22:04
                                                                                  21   place.                                                            13:22:08
                                                                                  22      Q.       Compared to, for example, when you were               13:22:08
                                                                                  23   doing the sumo cheer, do you think you were more                  13:22:10
                                                                                  24   riled up then than at this moment?                                13:22:13
                                                                                  25      A.       I mean, there is a difference.         If you         13:22:16


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                                                                                  1    are talking about were we less excited now than              13:22:17
                                                                                  2    we were then, yeah.     Were we less angry, angrier          13:22:22
                                                                                  3    in this moment than what we were before?      The            13:22:26
                                                                                  4    answer is we never were.     So there was nothing to         13:22:29
                                                                                  5    calm down.                                                   13:22:32
                                                                                  6       Q.    Okay.    Well, are you saying that                  13:22:33
                                                                                  7    somebody looking at this couldn't think that you             13:22:34
                                                                                  8    were calmer at that point than you were when you             13:22:37
                                                                                  9    were doing the sumo cheer?                                   13:22:42
                                                                                  10      A.    They could.                                         13:22:43
                                                                                  11            MR. McMURTRY:     Objection.   Go ahead.            13:22:44
                                                                                  12            MR. SIEGEL:     Keep going.                         13:22:45
                                                                                  13            MS. MEEK:     Starting at 1:14:07.                  13:22:46
                                                                                  14            (Thereupon, a video recording of Exhibit            13:22:50
                                                                                  15   3 was played.)                                               13:22:50
                                                                                  16            MS. MEEK:     Pausing at 1:14:15.                   13:22:59
                                                                                  17   BY MR. SIEGEL:                                               13:23:02
                                                                                  18      Q.    Okay.    Do you hear the students going,            13:23:02
                                                                                  19   whoa, whoa?                                                  13:23:08
                                                                                  20      A.    Can you replay it?                                  13:23:12
                                                                                  21            MR. SIEGEL:     Sure.                               13:23:14
                                                                                  22            (Thereupon, a video recording of Exhibit            13:23:16
                                                                                  23   3 was played.)                                               13:23:16
                                                                                  24   BY MR. SIEGEL:                                               13:23:29
                                                                                  25      Q.    Do you hear them going whoa, whoa?                  13:23:29


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                                                                                  1       A.     It sounds like a college football game.               13:23:33
                                                                                  2       Q.     Okay.    And what do you mean by that?                13:23:36
                                                                                  3       A.     That's the kind of -- I don't know what               13:23:38
                                                                                  4    you would call it -- chant that happens at most                 13:23:41
                                                                                  5    college football games, the whoa, whoa, whoa,                   13:23:44
                                                                                  6    whoa, whoa.                                                     13:23:47
                                                                                  7       Q.     Do you understand that --                             13:23:50
                                                                                  8              MR. McMURTRY:    He was singing.                      13:23:51
                                                                                  9    BY MR. SIEGEL:                                                  13:23:53
                                                                                  10      Q.     Do you understand that to be the -- like              13:23:53
                                                                                  11   the chant that is done often with the tomahawk                  13:23:55
                                                                                  12   chop, whoa?                                                     13:23:59
                                                                                  13      A.     Yes.    I saw it last week at Florida                 13:23:59
                                                                                  14   State University when they played Notre Dame.                   13:24:04
                                                                                  15      Q.     Did you join in to do this?                           13:24:08
                                                                                  16      A.     No.                                                   13:24:12
                                                                                  17      Q.     Why?                                                  13:24:13
                                                                                  18      A.     I didn't -- I didn't hold my arm up.       I          13:24:13
                                                                                  19   didn't see any point.                                           13:24:15
                                                                                  20      Q.     Do you think that was an appropriate                  13:24:19
                                                                                  21   thing for the students to be doing in that                      13:24:22
                                                                                  22   moment?                                                         13:24:25
                                                                                  23      A.     To me, it's not really my place to                    13:24:28
                                                                                  24   interpret whether it's appropriate or not.        And I         13:24:32
                                                                                  25   think a small group of high school kids, if that                13:24:35


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                                                                                  1    needs to be addressed, should not be the starting         13:24:39
                                                                                  2    point.                                                    13:24:43
                                                                                  3       Q.    Do you have an understanding that some           13:24:44
                                                                                  4    people perceive that to be disrespectful to               13:24:47
                                                                                  5    Native Americans, that cheer?                             13:24:54
                                                                                  6       A.    I have heard that.                               13:24:56
                                                                                  7       Q.    What do you think about that?                    13:24:58
                                                                                  8       A.    Well, to be honest, it might just be             13:25:00
                                                                                  9    from some lack of knowledge on my end.   I -- I           13:25:05
                                                                                  10   don't really know the origin of it or why it is           13:25:10
                                                                                  11   considered disrespectful and why some consider it         13:25:13
                                                                                  12   not disrespectful.                                        13:25:17
                                                                                  13            So I -- I am an uninformed person and            13:25:18
                                                                                  14   really not one to give an informed opinion on             13:25:27
                                                                                  15   this.                                                     13:25:31
                                                                                  16      Q.    Do you think there is a difference               13:25:32
                                                                                  17   between doing that cheer in the context of the            13:25:37
                                                                                  18   Florida State football game, Florida State, and           13:25:40
                                                                                  19   doing that cheer directly when confronted with a          13:25:46
                                                                                  20   Native American?                                          13:25:55
                                                                                  21            MR. McMURTRY:   Objection.                       13:25:56
                                                                                  22      A.    Well, that just depends, and it depends          13:25:56
                                                                                  23   on the way you look at it.                                13:26:00
                                                                                  24            And the students certainly thought at            13:26:02
                                                                                  25   first that Phillips was on their side, and I --           13:26:04


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                                                                                  1    you make the argument that the Florida State fans              13:26:08
                                                                                  2    do it because they are in support of the war                   13:26:11
                                                                                  3    chief Native American that runs out on his horse               13:26:14
                                                                                  4    right before the game starts.       And here they were         13:26:17
                                                                                  5    doing it because Nathan Phillips was here to help              13:26:21
                                                                                  6    us.                                                            13:26:25
                                                                                  7               I mean, you know, in both ways, you                 13:26:26
                                                                                  8    could argue that people are doing it to support                13:26:29
                                                                                  9    it or support Native Americans, I guess.        But, I         13:26:32
                                                                                  10   mean, like I said, I don't -- I don't know too                 13:26:38
                                                                                  11   much about this, and I'm just not a person to                  13:26:41
                                                                                  12   give a good opinion on this.                                   13:26:46
                                                                                  13   BY MR. SIEGEL:                                                 13:26:47
                                                                                  14         Q.   Okay.    So given that, would it be fair            13:26:47
                                                                                  15   to say that others could perceive that as                      13:26:49
                                                                                  16   disrespectful to Mr. Phillips?                                 13:26:53
                                                                                  17         A.   Yes.                                                13:26:57
                                                                                  18              MR. SIEGEL:     All right.   Let's keep             13:27:01
                                                                                  19   playing.                                                       13:27:03
                                                                                  20              MS. MEEK:     Starting at 1:14:15.                  13:27:03
                                                                                  21              (Thereupon, a video recording of Exhibit            13:27:08
                                                                                  22   3 was played.)                                                 13:27:08
                                                                                  23   BY MR. SIEGEL:                                                 13:27:18
                                                                                  24         Q.   So the BHI guy says that the students               13:27:18
                                                                                  25   were engaging in serious mockery.        Do you agree          13:27:22


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                                                                                  1    with that?                                                     13:27:26
                                                                                  2       A.       No.                                                13:27:27
                                                                                  3       Q.       Okay.     And why is that?                         13:27:27
                                                                                  4       A.       Because we weren't doing anything to               13:27:29
                                                                                  5    mock them and none of the students were trying to              13:27:31
                                                                                  6    mock him.     And I mean, he kind of ends in the               13:27:36
                                                                                  7    hats -- or the Make America Great Again gear                   13:27:43
                                                                                  8    contributing to that, which I don't agree with                 13:27:48
                                                                                  9    either.                                                        13:27:50
                                                                                  10      Q.       So do you think he was -- was that a lie           13:27:50
                                                                                  11   that he was saying?                                            13:27:53
                                                                                  12      A.       No, I don't think it was a lie.     I -- I         13:27:57
                                                                                  13   think he was pushing his position, which wasn't                13:27:59
                                                                                  14   honest.     But I mean, it's not a question of --              13:28:05
                                                                                  15   I'm really not sure how to answer that question.               13:28:12
                                                                                  16      Q.       Well, do you have any reason to think --           13:28:15
                                                                                  17   do you have any reason -- any reason to believe                13:28:19
                                                                                  18   he did not perceive this behavior as mocking                   13:28:20
                                                                                  19   Mr. Phillips?                                                  13:28:24
                                                                                  20      A.       No.     I mean, I don't have any reason to         13:28:26
                                                                                  21   say that he -- he was -- I don't have any reason               13:28:29
                                                                                  22   to say that he didn't see what he was telling                  13:28:37
                                                                                  23   himself he was seeing.        I mean --                        13:28:41
                                                                                  24      Q.       And would you give the same answer if              13:28:46
                                                                                  25   just others who were witnessing this perceived                 13:28:49


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                                                                                  1    that the students' behavior was mocking                      13:28:52
                                                                                  2    Mr. Phillips?     Would you give the same answer?            13:28:55
                                                                                  3       A.    I mean, I think that is a given that                13:28:58
                                                                                  4    certain people perceived what they saw.      I               13:29:00
                                                                                  5    don't -- I don't dispute that.                               13:29:03
                                                                                  6       Q.    Okay.     And it's people who were there, I         13:29:05
                                                                                  7    mean, physically there?                                      13:29:09
                                                                                  8       A.    Right.                                              13:29:11
                                                                                  9       Q.    And it's a given that some people there             13:29:11
                                                                                  10   perceived the students' behavior as mocking                  13:29:14
                                                                                  11   Mr. Phillips?                                                13:29:17
                                                                                  12      A.    Yes.     I think that was people that were          13:29:18
                                                                                  13   either a part of the Hebrew Israelites or a part             13:29:21
                                                                                  14   of Nathan Phillips' group.                                   13:29:25
                                                                                  15      Q.    And no one else perceived that?                     13:29:27
                                                                                  16      A.    No.     I mean, I'm not aware.   I -- I             13:29:29
                                                                                  17   don't think people went around and took a straw              13:29:32
                                                                                  18   poll of who saw it one way or another.                       13:29:35
                                                                                  19      Q.    Okay.     I will ask you, as for any of the         13:29:45
                                                                                  20   Native Americans -- any person who was a Native              13:29:54
                                                                                  21   American who was there, would you agree that some            13:29:55
                                                                                  22   of them perceived the students' behavior as                  13:30:00
                                                                                  23   mocking Mr. Phillips?                                        13:30:03
                                                                                  24            MR. McMURTRY:     Objection.                        13:30:04
                                                                                  25      A.    I would agree.                                      13:30:04


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                                                                                  1    BY MR. SIEGEL:                                                  13:30:05
                                                                                  2       Q.       Do you think that they were dishonest in            13:30:05
                                                                                  3    perceiving that?                                                13:30:09
                                                                                  4       A.       I don't think they were dishonest.       I          13:30:10
                                                                                  5    think they just came to the wrong conclusion.                   13:30:13
                                                                                  6       Q.       You disagree with their perception?                 13:30:16
                                                                                  7       A.       Yes.                                                13:30:19
                                                                                  8                MR. SIEGEL:     Okay.   Let's go on to the          13:30:23
                                                                                  9    next.   This is an excerpt of your NBC interview.               13:30:25
                                                                                  10               MS. MEEK:     This is Exhibit 5, starting           13:31:13
                                                                                  11   at 13:06.                                                       13:31:15
                                                                                  12               (Thereupon, a video recording of Exhibit            13:31:19
                                                                                  13   5 was played.)                                                  13:31:19
                                                                                  14   BY MR. SIEGEL:                                                  13:32:08
                                                                                  15      Q.       I think you mentioned this before.       So         13:32:08
                                                                                  16   you knew that some of the other students were                   13:32:12
                                                                                  17   parting?                                                        13:32:14
                                                                                  18      A.       That's correct.                                     13:32:14
                                                                                  19      Q.       They were moving out of Phillips' way?              13:32:16
                                                                                  20      A.       Yes.                                                13:32:19
                                                                                  21      Q.       To allow a path for him?                            13:32:19
                                                                                  22               Okay.    And you saw that Phillips was              13:32:22
                                                                                  23   starting to walk through your group?                            13:32:24
                                                                                  24      A.       Yes.                                                13:32:26
                                                                                  25      Q.       All right.     He was going forward, right?         13:32:26


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                                                                                  1       A.    Right.                                             13:32:29
                                                                                  2             MR. SIEGEL:     Okay.   This is -- I will          13:32:29
                                                                                  3    say for the record this is Exhibit 9, video 10,             13:32:34
                                                                                  4    which is actually a video that your counsel                 13:32:40
                                                                                  5    produced this from, and at 1:28.                            13:32:43
                                                                                  6             MS. MEEK:     Starting at the beginning of         13:32:59
                                                                                  7    Exhibit 9.                                                  13:33:01
                                                                                  8             (Thereupon, a video recording of Exhibit           13:33:04
                                                                                  9    9 was played.)                                              13:33:04
                                                                                  10   BY MR. SIEGEL:                                              13:33:10
                                                                                  11      Q.    So first I will ask you, do you know who           13:33:10
                                                                                  12   took this video?                                            13:33:13
                                                                                  13      A.    Not off the top of my head.                        13:33:14
                                                                                  14            MR. SIEGEL:     Okay.                              13:33:16
                                                                                  15      A.    I don't --                                         13:33:21
                                                                                  16      Q.    Do you happen to know how it came into             13:33:21
                                                                                  17   you or your counsel's possession?                           13:33:24
                                                                                  18            If you know -- in general, Nick, if I              13:33:27
                                                                                  19   ask you a question like that, if -- if you know             13:33:29
                                                                                  20   something that he told you, then, you know, don't           13:33:32
                                                                                  21   tell me that.                                               13:33:34
                                                                                  22            Do you have any independent knowledge of           13:33:35
                                                                                  23   where this video came from?                                 13:33:36
                                                                                  24      A.    I would say with all the things we                 13:33:38
                                                                                  25   produced, it's not easy for me to look -- look at           13:33:40


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                                                                                  1    one angle and compartmentalize where that came                 13:33:44
                                                                                  2    from and draw it out.                                          13:33:50
                                                                                  3             I would know if I looked through things               13:33:51
                                                                                  4    that I had, how we obtained it.      But off the top           13:33:53
                                                                                  5    of my head, I don't know.                                      13:33:56
                                                                                  6       Q.    So right where we paused, which is at 5               13:33:58
                                                                                  7    seconds --                                                     13:34:02
                                                                                  8             MR. SIEGEL:     Is that right?                        13:34:03
                                                                                  9             MS. MEEK:     Yes.                                    13:34:03
                                                                                  10   BY MR. SIEGEL:                                                 13:34:04
                                                                                  11      Q.    So there are now students who were on at              13:34:04
                                                                                  12   least three sides of Phillips, right?                          13:34:07
                                                                                  13      A.    Give or take on his side.        But yes, for         13:34:12
                                                                                  14   the most part.                                                 13:34:15
                                                                                  15            MR. SIEGEL:     Okay.   Let's keep going a            13:34:17
                                                                                  16   bit.                                                           13:34:19
                                                                                  17            (Thereupon, a video recording of Exhibit              13:34:23
                                                                                  18   9 was played.)                                                 13:34:23
                                                                                  19   BY MR. SIEGEL:                                                 13:34:29
                                                                                  20      Q.    Are you able -- there we go.                          13:34:29
                                                                                  21            So can you point the cursor to -- I                   13:34:37
                                                                                  22   think that is you, Nick, where Jessie is pointing              13:34:39
                                                                                  23   the cursor?                                                    13:34:43
                                                                                  24      A.    Yes.                                                  13:34:44
                                                                                  25            MR. SIEGEL:     Okay.                                 13:34:45


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                                                                                  1               MS. MEEK:     We are at 12 seconds.                  13:34:45
                                                                                  2    BY MR. SIEGEL:                                                  13:34:48
                                                                                  3       Q.      Right.     And so at that point, there are           13:34:48
                                                                                  4    several rows of students between you and where                  13:34:50
                                                                                  5    Mr. Phillips is, right?                                         13:34:53
                                                                                  6       A.      Correct.                                             13:34:54
                                                                                  7               MR. SIEGEL:     Okay.   Let's restart.               13:34:55
                                                                                  8               (Thereupon, a video recording of Exhibit             13:34:58
                                                                                  9    3 was played.)                                                  13:34:58
                                                                                  10              MR. SIEGEL:     Okay.   So where did you             13:35:14
                                                                                  11   stop?                                                           13:35:17
                                                                                  12              MS. MEEK:     26 seconds.                            13:35:17
                                                                                  13   BY MR. SIEGEL:                                                  13:35:19
                                                                                  14      Q.      So is it fair to say this is what you                13:35:19
                                                                                  15   were describing to Ms. Guthrie, the students are                13:35:21
                                                                                  16   parting from Mr. Phillips as he is moving                       13:35:25
                                                                                  17   forward?                                                        13:35:28
                                                                                  18      A.      Right.     It gets to be the solid.      Now         13:35:28
                                                                                  19   you've got this kind of ring in the middle as he                13:35:31
                                                                                  20   walks through.                                                  13:35:35
                                                                                  21      Q.      Okay.    And in this video, the direction            13:35:35
                                                                                  22   he's moving in is towards the Lincoln Memorial,                 13:35:39
                                                                                  23   right?                                                          13:35:42
                                                                                  24      A.      Right.                                               13:35:42
                                                                                  25              MR. SIEGEL:     And why don't we watch it            13:35:46


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                                                                                  1    just until the end, and then we will come back to                   13:35:49
                                                                                  2    26.                                                                 13:35:53
                                                                                  3               MS. MEEK:     From the beginning?       Nathan,          13:35:54
                                                                                  4    did you say from the beginning?                                     13:35:57
                                                                                  5               MR. SIEGEL:     No.     No.   No.   Just I think         13:35:59
                                                                                  6    there is like literally one more second, just so                    13:36:00
                                                                                  7    we watch it all the way through in realtime.                        13:36:04
                                                                                  8               (Thereupon, a video recording from                       13:36:07
                                                                                  9    Exhibit 3 was played.)                                              13:36:07
                                                                                  10   BY MR. SIEGEL:                                                      13:36:07
                                                                                  11         Q.   It looks like this cuts off like maybe                   13:36:07
                                                                                  12   shortly before he gets -- approaches where you                      13:36:10
                                                                                  13   are?                                                                13:36:12
                                                                                  14         A.   Correct.                                                 13:36:13
                                                                                  15              MR. SIEGEL:     Okay.     So now go back to              13:36:15
                                                                                  16   26.                                                                 13:36:17
                                                                                  17              (Thereupon, a video recording from                       13:36:40
                                                                                  18   Exhibit 3 was played.)                                              13:36:40
                                                                                  19   BY MR. SIEGEL:                                                      13:36:40
                                                                                  20         Q.   Okay.    So that is like a second or a                   13:36:40
                                                                                  21   half second, you know, before the video cuts off,                   13:36:43
                                                                                  22   where after he started walking through the group.                   13:36:46
                                                                                  23              So would you agree that at this point                    13:36:51
                                                                                  24   there are a bunch of people that are behind                         13:36:53
                                                                                  25   Mr. Phillips?                                                       13:36:56


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                                                                                  1       A.    People that aren't students.                           13:36:57
                                                                                  2       Q.    Well, do you know who they are?                        13:36:59
                                                                                  3       A.    Some of them were -- are random people.                13:37:01
                                                                                  4    I've never seen.     Some of them, it looks like                13:37:09
                                                                                  5    they are part of the indigenous people's rally                  13:37:12
                                                                                  6    that was what Nathan Phillips was a part of.        And         13:37:17
                                                                                  7    I mean, that's all I can say.                                   13:37:22
                                                                                  8             But all of them are adults, or -- and                  13:37:24
                                                                                  9    you can tell by what they look like or whatever,                13:37:27
                                                                                  10   and they are -- they are not students.                          13:37:31
                                                                                  11      Q.    What about --                                          13:37:35
                                                                                  12            MR. SIEGEL:     Jessica, look -- look --               13:37:36
                                                                                  13   put the -- why don't you point at Mr. Phillips.                 13:37:42
                                                                                  14   Right.                                                          13:37:46
                                                                                  15   BY MR. SIEGEL:                                                  13:37:46
                                                                                  16      Q.    Now, look -- do you see the back row                   13:37:46
                                                                                  17   behind him?                                                     13:37:49
                                                                                  18      A.    Correct.                                               13:37:50
                                                                                  19      Q.    Do you know who those people are?                      13:37:51
                                                                                  20      A.    So there's that guy and the -- it looks                13:37:52
                                                                                  21   like he goes from orange to green to white, like                13:37:56
                                                                                  22   that beanie with the phone camera covering his                  13:37:59
                                                                                  23   face.                                                           13:38:04
                                                                                  24      Q.    No.     I mean even behind him.                        13:38:04
                                                                                  25      A.    Even behind him?                                       13:38:06


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                                                                                  1       Q.    Do you see there is a --                           13:38:08
                                                                                  2             MR. SIEGEL:     Jessica, if you could --           13:38:09
                                                                                  3    the row -- there is a row of people behind him,             13:38:11
                                                                                  4    sort of encircling.                                         13:38:15
                                                                                  5             MS. MEEK:     Here?                                13:38:17
                                                                                  6             MR. SIEGEL:     Him, yes.                          13:38:18
                                                                                  7    BY MR. SIEGEL:                                              13:38:19
                                                                                  8       Q.    Behind him, behind that fellow with --             13:38:19
                                                                                  9    the African American fellow with the three                  13:38:20
                                                                                  10   beanies, as you say.     Behind him.   Do you see           13:38:24
                                                                                  11   there is a row of people?                                   13:38:26
                                                                                  12      A.    That aren't even looking in this                   13:38:28
                                                                                  13   direction?   Like you can see the side profile on           13:38:30
                                                                                  14   the video?                                                  13:38:35
                                                                                  15      Q.    But they are physically behind                     13:38:36
                                                                                  16   Mr. Phillips, right?                                        13:38:39
                                                                                  17      A.    I mean, they are behind him, but they're           13:38:40
                                                                                  18   not even paying attention to what's going on.               13:38:42
                                                                                  19      Q.    How do you know?      You don't know that          13:38:45
                                                                                  20   any of them are paying attention?                           13:38:47
                                                                                  21      A.    Well, they're not even looking in the              13:38:48
                                                                                  22   direction of it all.                                        13:38:51
                                                                                  23      Q.    All of them are not?                               13:38:52
                                                                                  24      A.    No, the -- those two people that we just           13:38:52
                                                                                  25   pointed at are --                                           13:38:54


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                                                                                  1       Q.     I'm talking about all of the people that           13:38:54
                                                                                  2    are behind where the fellow with the African                 13:38:57
                                                                                  3    American -- the African American fellow with, you            13:39:00
                                                                                  4    say, the green beanie.      You could tell that none         13:39:03
                                                                                  5    of them are paying attention to what is                      13:39:06
                                                                                  6    happening?                                                   13:39:08
                                                                                  7       A.     I'm -- I'm confused on who you are                 13:39:08
                                                                                  8    asking is paying attention and who is not.                   13:39:11
                                                                                  9       Q.     Okay.    Maybe I -- let me -- I'm going to         13:39:13
                                                                                  10   move the --                                                  13:39:19
                                                                                  11             Do you see there is kind of a line of              13:39:23
                                                                                  12   people?   Do you see where I'm moving the cursor?            13:39:27
                                                                                  13      A.     I see that.                                        13:39:27
                                                                                  14      Q.     Do you know who those people are?                  13:39:28
                                                                                  15      A.     I do not.     They don't -- they appear to         13:39:29
                                                                                  16   not even be boys.     So they wouldn't go to my              13:39:31
                                                                                  17   school.                                                      13:39:34
                                                                                  18      Q.     But whether they went to your school or            13:39:34
                                                                                  19   not, would you agree that they are physically                13:39:36
                                                                                  20   behind Mr. Phillips, right?                                  13:39:39
                                                                                  21      A.     They are behind them -- him.                       13:39:40
                                                                                  22             I would note that who is even closer to            13:39:42
                                                                                  23   Mr. Phillips is this ring of people with phones              13:39:45
                                                                                  24   out --                                                       13:39:49
                                                                                  25             MR. SIEGEL:     Right.                             13:39:49


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                                                                                  1       A.    -- that do not go to my school and could               13:39:49
                                                                                  2    be associated with Mr. Phillips.                                13:39:54
                                                                                  3       Q.    Do you know whether --                                 13:39:56
                                                                                  4       A.    I do not, no.                                          13:39:57
                                                                                  5       Q.    Do you know whether Nathan Phillips knew               13:39:58
                                                                                  6    who all of those people who you are referring to                13:40:02
                                                                                  7    were?                                                           13:40:06
                                                                                  8       A.    No, I don't know.                                      13:40:07
                                                                                  9       Q.    And would you agree that physically,                   13:40:09
                                                                                  10   regardless of who you think they were or weren't,               13:40:13
                                                                                  11   that there -- at this point, there are a number                 13:40:15
                                                                                  12   of people behind Mr. Phillips?                                  13:40:20
                                                                                  13      A.    Yes.    I -- I would -- I would add,                   13:40:22
                                                                                  14   though, that there is -- they are more spaced out               13:40:25
                                                                                  15   behind him than they are behind me.                             13:40:28
                                                                                  16      Q.    Okay.    So the only difference is they                13:40:32
                                                                                  17   are a little bit more spaced out?                               13:40:35
                                                                                  18      A.    Yes.    There is room over there.    It's              13:40:37
                                                                                  19   packed in on this side of the picture.                          13:40:39
                                                                                  20      Q.    Okay.    Well, do you see any room                     13:40:41
                                                                                  21   actually right behind where Mr. Phillips is?         Do         13:40:43
                                                                                  22   you see, it looks like, three or four people                    13:40:46
                                                                                  23   holding cameras up?                                             13:40:49
                                                                                  24      A.    To me, it looks like those group of                    13:40:50
                                                                                  25   students you referenced are about five to ten                   13:40:53


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                                                                                  1    feet from this group of camera people.                      13:40:58
                                                                                  2       Q.    Okay.                                              13:41:00
                                                                                  3       A.    That I referenced, that there is space             13:41:01
                                                                                  4    here.                                                       13:41:03
                                                                                  5             Meanwhile, over here, everyone is                  13:41:03
                                                                                  6    shoulder to shoulder packed in.                             13:41:05
                                                                                  7       Q.    Okay.    Fair enough.      They are not as         13:41:07
                                                                                  8    packed in, right?                                           13:41:09
                                                                                  9       A.    Right.                                             13:41:10
                                                                                  10      Q.    But there certainly are a fair number of           13:41:10
                                                                                  11   people who are physically behind him, right?                13:41:13
                                                                                  12      A.    Right.                                             13:41:15
                                                                                  13      Q.    And you have no idea whether Nathan                13:41:15
                                                                                  14   Phillips knows who they are?                                13:41:17
                                                                                  15      A.    Right.     I don't know.                           13:41:20
                                                                                  16            MR. SIEGEL:     Let's hand Nick and his            13:41:33
                                                                                  17   counsel Exhibit 10.                                         13:41:35
                                                                                  18   BY MR. SIEGEL:                                              13:41:51
                                                                                  19      Q.    So Nick, you are aware, of course, that            13:41:51
                                                                                  20   your counsel produced a bunch of texts.        Are          13:41:55
                                                                                  21   these texts from your phone?                                13:41:58
                                                                                  22      A.    Yes.                                               13:42:00
                                                                                  23      Q.    Okay.    So these are texts that you sent          13:42:01
                                                                                  24   or received?                                                13:42:06
                                                                                  25      A.    Correct.                                           13:42:07


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                                                                                  1       Q.    Okay.    You mentioned, I think -- does he         13:42:09
                                                                                  2    go by Steve Schaeper or Dave Schaeper?                      13:42:15
                                                                                  3       A.    Steve.                                             13:42:19
                                                                                  4       Q.    And who is he?                                     13:42:19
                                                                                  5       A.    He was one of my best friends, or he is.           13:42:20
                                                                                  6       Q.    So let's go to the page that is marked             13:42:24
                                                                                  7    309, NS 309.                                                13:42:29
                                                                                  8       A.    Okay.                                              13:42:36
                                                                                  9       Q.    Okay.    And if you go to the second text          13:42:37
                                                                                  10   down, which is marked 498 on the side.                      13:42:40
                                                                                  11      A.    Yes.                                               13:42:45
                                                                                  12      Q.    Do you see that it's Steve Schaeper to             13:42:45
                                                                                  13   you?                                                        13:42:49
                                                                                  14      A.    Yes.                                               13:42:49
                                                                                  15      Q.    And the time stamp on that is January              13:42:50
                                                                                  16   19th at 8:29 p.m., right?                                   13:42:54
                                                                                  17      A.    Right.                                             13:42:57
                                                                                  18      Q.    So this is on the 19th, the day after              13:42:57
                                                                                  19   this incident?                                              13:43:03
                                                                                  20      A.    Correct.                                           13:43:04
                                                                                  21      Q.    Could you just read into the record what           13:43:04
                                                                                  22   Steve text to you?                                          13:43:07
                                                                                  23      A.    Steven texted:     Can I ask what made you         13:43:09
                                                                                  24   stand in front of the Indian guy?                           13:43:13
                                                                                  25      Q.    Okay.    And then read your responses,             13:43:15


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                                                                                  1    which look like they are in the next two texts,               13:43:18
                                                                                  2    499 and 500.                                                  13:43:21
                                                                                  3          A.    I said:   Yeah.                                   13:43:23
                                                                                  4                And then I followed up with the whole             13:43:25
                                                                                  5    thing with the black people calling us things and             13:43:28
                                                                                  6    the guy moving through the crowd trying to                    13:43:31
                                                                                  7    intimidate us.                                                13:43:33
                                                                                  8          Q.    And then go on to the first one, 501 on           13:43:35
                                                                                  9    page 310.                                                     13:43:39
                                                                                  10         A.    It just made me want to stand up for the          13:43:40
                                                                                  11   school.                                                       13:43:42
                                                                                  12         Q.    So you perceived that Mr. Phillips                13:43:44
                                                                                  13   moving through the crowd is trying to intimidate              13:43:48
                                                                                  14   us?                                                           13:43:53
                                                                                  15         A.    I perceived that when he came to me and           13:43:53
                                                                                  16   his drum directly came into contact with my                   13:43:59
                                                                                  17   shoulder and the drum stick that he was using to              13:44:03
                                                                                  18   beat it was a couple centimeters from my face.                13:44:10
                                                                                  19         Q.    But here you texted to Steve that the             13:44:13
                                                                                  20   guy moving through the crowd was trying to                    13:44:19
                                                                                  21   intimidate.                                                   13:44:21
                                                                                  22         A.    Yes.                                              13:44:24
                                                                                  23         Q.    Why did you perceive that him moving              13:44:24
                                                                                  24   through the crowd was trying to intimidate us?                13:44:27
                                                                                  25   By us, you mean the group of students --                      13:44:32


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                                                                                  1       A.    Yes.                                               13:44:34
                                                                                  2       Q.    -- collectively?                                   13:44:35
                                                                                  3             So why did you perceive that his moving            13:44:35
                                                                                  4    through the crowd, which you just saw, right, was           13:44:37
                                                                                  5    trying to intimidate you collectively?                      13:44:40
                                                                                  6       A.    Because when you look at pictures of the           13:44:43
                                                                                  7    Lincoln Memorial, there was hundreds of feet of             13:44:45
                                                                                  8    space to get there that did not involve walking             13:44:49
                                                                                  9    through a group of students that had been there             13:44:52
                                                                                  10   for some time.                                              13:44:55
                                                                                  11      Q.    So in the -- in the video that we just             13:44:56
                                                                                  12   saw, do you remember when I asked you about the             13:45:00
                                                                                  13   people behind him, is it your contention that               13:45:03
                                                                                  14   there was hundreds of feet of space there for him           13:45:06
                                                                                  15   to go to the Lincoln Memorial?                              13:45:09
                                                                                  16      A.    It's my contention that there was space            13:45:11
                                                                                  17   before he even came over to us.                             13:45:13
                                                                                  18      Q.    Okay.    And do you have any idea whether          13:45:15
                                                                                  19   Mr. Phillips intended to go to the Lincoln                  13:45:18
                                                                                  20   Memorial before he came over to you?                        13:45:20
                                                                                  21      A.    I don't before, but now he said that's             13:45:22
                                                                                  22   where he was trying to go.                                  13:45:26
                                                                                  23      Q.    Where did he say that?                             13:45:28
                                                                                  24      A.    He's admitted that in public interviews,           13:45:29
                                                                                  25   that he was trying to get to the Lincoln Memorial           13:45:33


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                                                                                  1    to finish his prayer.                                       13:45:36
                                                                                  2       Q.    Right.    Before, where did he say that he         13:45:38
                                                                                  3    was trying to do that before he ever started                13:45:40
                                                                                  4    approaching you?                                            13:45:42
                                                                                  5       A.    I never said I knew that before.    I'm            13:45:43
                                                                                  6    saying that now I know that.                                13:45:47
                                                                                  7       Q.    No, I'm asking you where --                        13:45:48
                                                                                  8             MR. McMURTRY:    I think -- I think the            13:45:48
                                                                                  9    question is getting pretty confused here.                   13:45:49
                                                                                  10   BY MR. SIEGEL:                                              13:45:52
                                                                                  11      Q.    You are contending that Mr. Phillips               13:45:52
                                                                                  12   said that it was his original intention from the            13:45:54
                                                                                  13   very beginning to go to the Lincoln Memorial,               13:45:57
                                                                                  14   that that is what he was trying to do.    Is that           13:46:00
                                                                                  15   what your -- is that your testimony?                        13:46:02
                                                                                  16      A.    Right.                                             13:46:03
                                                                                  17      Q.    And what are you referring to?                     13:46:03
                                                                                  18      A.    I'm referring to his public interviews             13:46:05
                                                                                  19   after the fact that stated that he said that                13:46:08
                                                                                  20   he -- when he was in -- in the middle of our                13:46:11
                                                                                  21   group that he was trying to get to the Lincoln              13:46:16
                                                                                  22   Memorial to finish his prayer.                              13:46:18
                                                                                  23            Which if his prayer is this drum beat              13:46:21
                                                                                  24   and some chant, it started before he made his way           13:46:24
                                                                                  25   into our group.                                             13:46:29


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                                                                                  1       Q.    Oh, so that -- is that you interpreting                13:46:30
                                                                                  2    what he said as meaning that he intended to do                  13:46:33
                                                                                  3    that from the very beginning?                                   13:46:36
                                                                                  4       A.    I'm -- I mean, you've asked me --                      13:46:37
                                                                                  5       Q.    Can you point to a specific interview                  13:46:42
                                                                                  6    where Nathan Phillips said that before he                       13:46:44
                                                                                  7    approached the students, his intention was to go                13:46:46
                                                                                  8    to the Lincoln Memorial?                                        13:46:51
                                                                                  9       A.    No.                                                    13:46:53
                                                                                  10            MR. SIEGEL:    Okay.   So I will -- read               13:46:54
                                                                                  11   back his answer, when I asked him before about                  13:47:02
                                                                                  12   why you perceived Mr. Phillips moving through the               13:47:04
                                                                                  13   crowd as trying to intimidate you collectively.                 13:47:09
                                                                                  14   Could you just read that back?      I don't want to             13:47:12
                                                                                  15   ask him again.                                                  13:47:15
                                                                                  16            THE WITNESS:    Which --                               13:47:17
                                                                                  17            MR. SIEGEL:    No, no, not you, Nick.      The         13:48:35
                                                                                  18   court reporter is going to read it back.                        13:48:35
                                                                                  19            (Thereupon, the proceedings on Page 169,               13:48:39
                                                                                  20   Line 1 to Page 169, Line 13 were read back by the               13:48:39
                                                                                  21   reporter.)                                                      13:48:39
                                                                                  22   BY MR. SIEGEL:                                                  13:48:39
                                                                                  23      Q.    Okay.    So now -- and then we had a                   13:48:39
                                                                                  24   question about the interviews, right?                           13:48:41
                                                                                  25            But -- but at that moment, right,                      13:48:43


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                                                                                  1    obviously before Mr. Phillips gave any interviews            13:48:45
                                                                                  2    or anything like that, right?                                13:48:49
                                                                                  3       A.     Right.                                             13:48:49
                                                                                  4       Q.     At that moment, why did you perceive               13:48:49
                                                                                  5    Mr. Phillips walking through the students as they            13:48:52
                                                                                  6    were parting as trying to intimidate you                     13:48:55
                                                                                  7    collectively?                                                13:48:58
                                                                                  8       A.     Because if he wanted to get to where he            13:48:59
                                                                                  9    was going, he could have just not walked through             13:49:04
                                                                                  10   our group in the first place; or if he wanted to             13:49:07
                                                                                  11   get, you know, behind us instead of walking                  13:49:13
                                                                                  12   through us, he could have gone out to where there            13:49:17
                                                                                  13   was only this small amount of people, like I                 13:49:20
                                                                                  14   mentioned, that were not students and gone                   13:49:25
                                                                                  15   around.                                                      13:49:28
                                                                                  16      Q.     Okay.                                              13:49:28
                                                                                  17      A.     The -- the need to keep making us move             13:49:29
                                                                                  18   for him and then eventually stopping at me and               13:49:33
                                                                                  19   getting in my face convinced me that he was there            13:49:36
                                                                                  20   to intimidate us, not to move through.                       13:49:39
                                                                                  21      Q.     And what did you think he was trying to            13:49:42
                                                                                  22   intimidate you to do?                                        13:49:44
                                                                                  23      A.     I don't know if he was trying to get me            13:49:46
                                                                                  24   to do anything.                                              13:49:48
                                                                                  25      Q.     Well, you said us, you.    I mean, in              13:49:49


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                                                                                  1    these texts you say he was trying to intimidate              13:49:53
                                                                                  2    us, right, like the students collectively?                   13:49:56
                                                                                  3       A.    Right.                                              13:49:57
                                                                                  4       Q.    So what did you think he was trying to              13:49:58
                                                                                  5    intimidate the group?     How was he trying to               13:50:00
                                                                                  6    intimidate the group?     What does that mean?               13:50:03
                                                                                  7             MR. McMURTRY:     Objection.   I think he's         13:50:05
                                                                                  8    answered it.     But go ahead.   We will try again.          13:50:07
                                                                                  9       A.    I mean, generally, and any other school             13:50:10
                                                                                  10   field trip I had been a part of from that point              13:50:16
                                                                                  11   in the Catholic school system down to first                  13:50:18
                                                                                  12   grade, people that were not -- were not approved             13:50:22
                                                                                  13   or whatever, nobody got that close to students,              13:50:25
                                                                                  14   which is my point, that the closer he got and                13:50:30
                                                                                  15   when he got that close to me, I figured that,                13:50:34
                                                                                  16   based on all my experience, in which this is not             13:50:38
                                                                                  17   supposed to happen and does not happen, that he              13:50:43
                                                                                  18   was trying to intimidate us and something was                13:50:45
                                                                                  19   going wrong here.                                            13:50:49
                                                                                  20   BY MR. SIEGEL:                                               13:50:50
                                                                                  21      Q.    And what did you think he was trying                13:50:50
                                                                                  22   to -- did you think he was trying to intimidate              13:50:52
                                                                                  23   you to do something?                                         13:50:56
                                                                                  24      A.    I -- I don't know.                                  13:50:57
                                                                                  25      Q.    Okay.     And how did you think that                13:50:59


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                                                                                  1    standing in front of Mr. Phillips was standing up           13:51:03
                                                                                  2    for the school?                                             13:51:07
                                                                                  3       A.    Because we -- the students of the school           13:51:09
                                                                                  4    had stood there long enough and taken all kinds             13:51:13
                                                                                  5    of insults from the Hebrew Israelites, then had             13:51:17
                                                                                  6    had the Native American -- or Mr. Phillips, the             13:51:24
                                                                                  7    Native American, walk through us or whatever.               13:51:28
                                                                                  8    And by the time he got in my face, when he could            13:51:31
                                                                                  9    have kept -- he could have even kept going                  13:51:34
                                                                                  10   through the students if he wanted to, I figured             13:51:37
                                                                                  11   was it time for someone to plant their foot and             13:51:41
                                                                                  12   stand there where I had been and just face up.              13:51:44
                                                                                  13   And to me, that was standing up for the school,             13:51:49
                                                                                  14   because I wasn't going to move.                             13:51:53
                                                                                  15      Q.    And what message was being communicated            13:51:58
                                                                                  16   by standing up for the school?    What does that            13:52:01
                                                                                  17   mean?                                                       13:52:04
                                                                                  18      A.    Well, it means that we can come to                 13:52:04
                                                                                  19   Washington, DC and protest something that we                13:52:07
                                                                                  20   believe to be deeply wrong and not be harassed on           13:52:10
                                                                                  21   our way out.                                                13:52:14
                                                                                  22      Q.    Okay.    It's your -- your interpretation          13:52:16
                                                                                  23   of what you observed, right, at that moment, was            13:52:26
                                                                                  24   that Mr. Phillips was trying to intimidate you,             13:52:29
                                                                                  25   right?                                                      13:52:33


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                                                                                  1       A.    Right.                                               13:52:33
                                                                                  2       Q.    Do you know for a fact whether that is               13:52:33
                                                                                  3    true?                                                         13:52:37
                                                                                  4       A.    No.                                                  13:52:37
                                                                                  5       Q.    Possibly, you just perceived it?                     13:52:39
                                                                                  6       A.    I mean, I guess.                                     13:52:42
                                                                                  7       Q.    Your text also said:      The whole thing            13:52:46
                                                                                  8    with the black people calling us things.                      13:52:49
                                                                                  9             How did the black people calling us                  13:52:52
                                                                                  10   things relate to your deciding to stand in front              13:52:54
                                                                                  11   of Mr. Phillips?                                              13:52:57
                                                                                  12      A.    Well, as I mentioned --                              13:52:58
                                                                                  13            MR. McMURTRY:     Objection.   Just go ahead         13:53:00
                                                                                  14   and answer it.                                                13:53:01
                                                                                  15      A.    As I mentioned, we -- we had already                 13:53:02
                                                                                  16   taken many insults from them.      And at one point,          13:53:06
                                                                                  17   I just felt like enough is enough, we don't need              13:53:11
                                                                                  18   to respond to them anymore with chants:                       13:53:16
                                                                                  19   Someone's just got to stand here, be still and                13:53:19
                                                                                  20   put their foot down.                                          13:53:22
                                                                                  21            MR. SIEGEL:     Okay.   Let's hand Nick              13:53:31
                                                                                  22   Exhibit 11.    And you can go ahead and hand him              13:53:34
                                                                                  23   12, too, while we are at it.                                  13:53:44
                                                                                  24            MS. MEEK:     Okay.                                  13:53:46
                                                                                  25   BY MR. SIEGEL:                                                13:53:56


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                                                                                  1       Q.     Nick, I'm confident you are more versed             13:53:56
                                                                                  2    in social media than I am.      This appears to be            13:54:00
                                                                                  3    some kind of DM message?                                      13:54:03
                                                                                  4       A.     Yes.                                                13:54:05
                                                                                  5       Q.     What is it --                                       13:54:06
                                                                                  6              MR. McMURTRY:     Can we just go ahead -- I         13:54:06
                                                                                  7    haven't finished reading it yet.                              13:54:08
                                                                                  8              MR. SIEGEL:     Oh, yeah, yeah.   Sure, of          13:54:10
                                                                                  9    course.   I apologize.                                        13:54:11
                                                                                  10             MR. McMURTRY:     Go ahead and read it.             13:54:12
                                                                                  11   And when you are done reading it, let me know.                13:54:14
                                                                                  12             THE WITNESS:     I read it.                         13:54:55
                                                                                  13             MR. McMURTRY:     Okay.   Go ahead.                 13:54:56
                                                                                  14   BY MR. SIEGEL:                                                13:54:56
                                                                                  15      Q.     So just explain for the record for those            13:54:56
                                                                                  16   less literate in social media what this is.                   13:55:00
                                                                                  17      A.     This is a direct message conversation               13:55:03
                                                                                  18   between me and Kyle Kashuv on the Twitter app.                13:55:06
                                                                                  19      Q.     Okay.    And the time stamp on that                 13:55:12
                                                                                  20   appears to be January 19th, 2019, at 5:59 a.m.?               13:55:17
                                                                                  21      A.     Correct.                                            13:55:22
                                                                                  22      Q.     Were you still on the bus home at that              13:55:22
                                                                                  23   point, or do you remember where you sent that                 13:55:24
                                                                                  24   from?                                                         13:55:26
                                                                                  25      A.     I believe I was still on the bus.                   13:55:27


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                                                                                  1       Q.    Okay.    And I think that at least from            13:55:30
                                                                                  2    the communications that you have produced that              13:55:35
                                                                                  3    this seems to be your first one to anyone                   13:55:38
                                                                                  4    describing what happened?                                   13:55:46
                                                                                  5       A.    Right.                                             13:55:47
                                                                                  6       Q.    Okay.    And who is Kyle Kashuv?                   13:55:47
                                                                                  7       A.    Kyle Kashuv is kind of a conservative              13:55:50
                                                                                  8    influencer and younger personality that is                  13:55:57
                                                                                  9    popular with demographics that I would assume are           13:56:03
                                                                                  10   mostly people around my age.                                13:56:07
                                                                                  11      Q.    Okay.    And why were you a big fan at the         13:56:08
                                                                                  12   time?                                                       13:56:11
                                                                                  13      A.    I -- he -- I liked him a lot for being             13:56:11
                                                                                  14   able to speak a message that I, for the most                13:56:16
                                                                                  15   part, agreed with, as such, at basically my age.            13:56:20
                                                                                  16      Q.    Okay.    And what is TPUSA?                        13:56:25
                                                                                  17      A.    TPUSA stands for Turning Point USA,                13:56:32
                                                                                  18   which is an organization run by Charlie Kirk.               13:56:38
                                                                                  19      Q.    And what is it?                                    13:56:42
                                                                                  20      A.    They run -- and I'm -- I'm not sure how            13:56:43
                                                                                  21   accurate this is.    But they run chapters on               13:56:45
                                                                                  22   college campuses all across the country, and they           13:56:48
                                                                                  23   are a student -- a conservative student activist            13:56:52
                                                                                  24   organization that I guess kind of is there to               13:56:57
                                                                                  25   combat liberal ideas on college campuses and                13:57:03


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                                                                                  1    spread more conservative ideas.                             13:57:08
                                                                                  2       Q.    Okay.     And why are you a big fan of             13:57:11
                                                                                  3    TPUSA?                                                      13:57:14
                                                                                  4       A.    I think -- I think that I was impressed            13:57:17
                                                                                  5    with them because they were able to do what no              13:57:19
                                                                                  6    one else was really doing, which was reaching out           13:57:23
                                                                                  7    to people my age or whatever and taking a more              13:57:26
                                                                                  8    active role.                                                13:57:31
                                                                                  9             It's not like they were some news                  13:57:33
                                                                                  10   company that just believes what they believe and            13:57:37
                                                                                  11   writes about it.     Like they actually come to             13:57:40
                                                                                  12   campuses and are more on the ground.                        13:57:42
                                                                                  13      Q.    Okay.     And so let's go to Exhibit 12            13:57:46
                                                                                  14   now.                                                        13:57:50
                                                                                  15            It looks like Exhibit 12 was sent a                13:57:50
                                                                                  16   couple minutes later.     The one to Charlie Kirk           13:57:54
                                                                                  17   was sent a couple minutes later than the one to             13:57:58
                                                                                  18   Kyle Kashuv?                                                13:58:04
                                                                                  19      A.    Yes.                                               13:58:05
                                                                                  20      Q.    And it looks to me like it's the same --           13:58:06
                                                                                  21   the text is the same other than, obviously, one             13:58:08
                                                                                  22   is to Charlie and one is to Kyle?                           13:58:11
                                                                                  23      A.    Yes.    I think I just copied, pasted them         13:58:13
                                                                                  24   and changed the names.                                      13:58:16
                                                                                  25            MR. SIEGEL:     Okay.                              13:58:17


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                                                                                  1              MR. McMURTRY:     The question -- I'm sorry          13:58:17
                                                                                  2    to interrupt you.     I lost -- these exhibits                 13:58:19
                                                                                  3    aren't marked.     What is this --                             13:58:22
                                                                                  4              MR. SIEGEL:     That was 10.                         13:58:24
                                                                                  5              MR. McMURTRY:     10.                                13:58:25
                                                                                  6              MR. SIEGEL:     10 is attached.   11 is Kyle         13:58:26
                                                                                  7    Kashuv.   And 12 is Charlie Kirk.                              13:58:29
                                                                                  8              MR. McMURTRY:     Thank you.                         13:58:33
                                                                                  9    BY MR. SIEGEL:                                                 13:58:34
                                                                                  10      Q.     So let's use the Charlie Kirk one                    13:58:34
                                                                                  11   because the print is a lot bigger.                             13:58:37
                                                                                  12             The second sentence -- or the third                  13:58:40
                                                                                  13   sentence, I guess, Nick, says:       As the march              13:58:42
                                                                                  14   ended, we were waiting for our busses at the                   13:58:44
                                                                                  15   Lincoln Memorial and members of the Indigenous                 13:58:47
                                                                                  16   People's March approached me (I was wearing a                  13:58:49
                                                                                  17   MAGA hat).   A man plays drum in my face.      But             13:58:53
                                                                                  18   unlike others at my school, I didn't step out of               13:58:54
                                                                                  19   the way because he was trying to intimidate us.                13:58:57
                                                                                  20             Right?                                               13:59:01
                                                                                  21      A.     Right.                                               13:59:02
                                                                                  22      Q.     So again, you were -- you were aware                 13:59:02
                                                                                  23   that others -- other students were stepping out                13:59:04
                                                                                  24   of Phillips' way?                                              13:59:07
                                                                                  25      A.     Right.                                               13:59:09


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                                                                                  1          Q.   But you didn't because you thought he                   13:59:09
                                                                                  2    was trying to intimidate you collectively?                         13:59:12
                                                                                  3          A.   Yes, me and other students at the                       13:59:17
                                                                                  4    school.                                                            13:59:21
                                                                                  5               MR. SIEGEL:       Okay.     Let's go to Exhibit         13:59:22
                                                                                  6    13.                                                                13:59:40
                                                                                  7               MR. McMURTRY:       Do you want him to read             13:59:59
                                                                                  8    the whole thing or are you going to ask him                        14:00:01
                                                                                  9    about --                                                           14:00:04
                                                                                  10              MR. SIEGEL:       No.     I'm going to ask him          14:00:04
                                                                                  11   about a few -- as with many of these texts, they                   14:00:06
                                                                                  12   are not even continuous, so...                                     14:00:10
                                                                                  13   BY MR. SIEGEL:                                                     14:00:13
                                                                                  14         Q.   So, Nick, again, I will just ask you to                 14:00:13
                                                                                  15   confirm this exhibit, which is Bates numbered NS                   14:00:17
                                                                                  16   326 through 335.       These are texts that you                    14:00:21
                                                                                  17   exchanged from your phone?                                         14:00:26
                                                                                  18         A.   Yes.                                                    14:00:27
                                                                                  19         Q.   It looks like many of these were                        14:00:27
                                                                                  20   exchanged with Mara Schutt?                                        14:00:31
                                                                                  21         A.   Schutt.                                                 14:00:33
                                                                                  22         Q.   Schutt?     Who is she?                                 14:00:34
                                                                                  23         A.   She is a friend that went to Notre Dame.                14:00:36
                                                                                  24         Q.   Okay.     Okay.    So let's go to 327.     And          14:00:54
                                                                                  25   do you see the text marked 547 at the bottom of                    14:00:59


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                                                                                  1    the page from Mara?                                           14:01:04
                                                                                  2          A.   Yes.                                               14:01:07
                                                                                  3          Q.   She texts:    That was so brave to stand           14:01:07
                                                                                  4    there while he walked up into your face and                   14:01:09
                                                                                  5    banged the drum.                                              14:01:13
                                                                                  6               Right?                                             14:01:14
                                                                                  7               MR. McMURTRY:     We didn't mark this as a         14:01:14
                                                                                  8    confidential document.       So -- although that's            14:01:16
                                                                                  9    exactly what we are supposed to do with regard to             14:01:20
                                                                                  10   handling this in the deposition, it's in the                  14:01:23
                                                                                  11   protective order.                                             14:01:26
                                                                                  12              MR. SIEGEL:     Yeah.                              14:01:27
                                                                                  13              MR. McMURTRY:     I think we just need to          14:01:28
                                                                                  14   make it --                                                    14:01:30
                                                                                  15              MR. SIEGEL:     Yeah.   No.   It's fine.           14:01:42
                                                                                  16   Whatever we are required to do, we will abide by              14:01:44
                                                                                  17   it.                                                           14:01:50
                                                                                  18              MR. McMURTRY:     I think we just have             14:01:50
                                                                                  19   to -- we have to mark this portion of the                     14:01:50
                                                                                  20   deposition dealing with the confidential                      14:01:53
                                                                                  21   materials as confidential and then file this                  14:01:55
                                                                                  22   exhibit under seal, if it's filed, is what I                  14:02:01
                                                                                  23   think it says here on paragraph 8, on page 9.                 14:02:08
                                                                                  24              So proceed.     We will just -- if you go          14:02:11
                                                                                  25   to file the deposition, we just need to --                    14:02:14


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                                                                                  1               MR. SIEGEL:     Okay.   I don't remember           14:02:17
                                                                                  2    exactly what the provisions are.                              14:02:18
                                                                                  3               MR. McMURTRY:     It's a lot.                      14:02:20
                                                                                  4               MR. SIEGEL:     But whatever it is,                14:02:21
                                                                                  5    we'll --                                                      14:02:22
                                                                                  6               MR. McMURTRY:     Right.   So I just think         14:02:22
                                                                                  7    at this section the court reporter needs to mark              14:02:22
                                                                                  8    as confidential and we should be good.                        14:02:25
                                                                                  9               (The following portion from Page 183,              14:02:30
                                                                                  10   Line 12 to Page 187, Line 15 was designated                   14:02:30
                                                                                  11   Confidential and is bound separately.)                        14:02:30
                                                                                  12              MR. SIEGEL:     Okay.   So I'm going to            14:02:30
                                                                                  13   restart.    I will restart.                                   14:02:31
                                                                                  14   BY MR. SIEGEL:                                                14:02:34
                                                                                  15      Q.      Let's go back to 327, Nick.                        14:02:34
                                                                                  16      A.      Okay.                                              14:02:36
                                                                                  17      Q.      547.    So Mara texted you, said:     That         14:02:38
                                                                                  18   was so brave just to stand there while he walked              14:02:42
                                                                                  19   up into your face and banged the drum.                        14:02:42
                                                                                  20              Okay.    Going to 328, text 548, you               14:02:44
                                                                                  21   respond:    He was trying to intimidate me and the            14:02:51
                                                                                  22   rest of the school and that just wasn't going to              14:02:55
                                                                                  23   happen.                                                       14:02:58
                                                                                  24              So once you and Mr. Phillips were face             14:02:59
                                                                                  25   to face and he was drumming, did you also in --               14:03:01


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                                                                                  1    I'm sorry -- did you also interpret his drumming             14:03:07
                                                                                  2    as trying to intimidate?                                     14:03:11
                                                                                  3       A.     Yes.                                               14:03:12
                                                                                  4       Q.     Why?                                               14:03:13
                                                                                  5       A.     Because at one point, his drum came up             14:03:13
                                                                                  6    against my shoulder, arm area; and the rest of               14:03:17
                                                                                  7    the time, his drum stick was close enough to hit             14:03:22
                                                                                  8    my face, if he messed up at all.     And I felt that         14:03:27
                                                                                  9    him invading my personal space was representative            14:03:31
                                                                                  10   of him trying to intimidate me.                              14:03:36
                                                                                  11      Q.     Okay.    When people feel that their               14:03:40
                                                                                  12   personal space is invaded, right, they often kind            14:03:47
                                                                                  13   of back away a little bit, right?                            14:03:49
                                                                                  14      A.     Right.                                             14:03:52
                                                                                  15      Q.     Why didn't you do that?                            14:03:52
                                                                                  16      A.     It's worth mentioning that where I was             14:03:53
                                                                                  17   located in this crowd of people was on a chunk of            14:03:56
                                                                                  18   ice on one of these stairs.     I wasn't on flat             14:03:59
                                                                                  19   ground.   And so with all the kids around me, I              14:04:05
                                                                                  20   didn't really feel that I could move without                 14:04:07
                                                                                  21   slipping and falling.                                        14:04:10
                                                                                  22      Q.     Okay.    And we will get to some video of          14:04:11
                                                                                  23   where you were.                                              14:04:16
                                                                                  24      A.     Okay.                                              14:04:17
                                                                                  25      Q.     It would be fair to say that the reason            14:04:22


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                                                                                  1    you decided to stand there was not because of the              14:04:24
                                                                                  2    ice, it was because of your perception of what                 14:04:28
                                                                                  3    Mr. Phillips was doing to try to intimidate you?               14:04:31
                                                                                  4       A.      I think it was a combination.     Because           14:04:34
                                                                                  5    the longer it went on, the more I felt like                    14:04:36
                                                                                  6    getting out of there.       But at first, I didn't             14:04:39
                                                                                  7    want to.    And then when I did, I realized I                  14:04:42
                                                                                  8    didn't have the option to.                                     14:04:47
                                                                                  9       Q.      Okay.     And we will see some video, and           14:04:48
                                                                                  10   you can tell us at what point later on you felt                14:04:50
                                                                                  11   like you wanted to get out.                                    14:04:54
                                                                                  12      A.      Okay.                                               14:04:56
                                                                                  13      Q.      Now, Mara responds to you:     Also thought         14:04:56
                                                                                  14   you should know that this guy goes around the                  14:05:09
                                                                                  15   country doing this and that he has done the same               14:05:11
                                                                                  16   situations with another high school.       At 49.              14:05:15
                                                                                  17      A.      Uh-huh.                                             14:05:21
                                                                                  18      Q.      And then your next response on 551 is:              14:05:21
                                                                                  19   I heard that.      Apparently, he also tried to do it          14:05:24
                                                                                  20   to Covington Latin earlier, too.       I hope the              14:05:28
                                                                                  21   truth hits them.                                               14:05:32
                                                                                  22              What -- what were you talking about?                14:05:34
                                                                                  23      A.      I was told, which I'm not sure at this              14:05:35
                                                                                  24   point if it turned out being true, but it was                  14:05:39
                                                                                  25   unconfirmed that earlier that Nathan Phillips had              14:05:43


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                                                                                  1    gone up to other students from other schools                14:05:47
                                                                                  2    and -- I -- I don't know exactly what he did, but           14:05:51
                                                                                  3    that he approached other students, and Covington            14:05:55
                                                                                  4    Latin is a school in northern Kentucky.                     14:06:00
                                                                                  5       Q.    And when did you hear that he had                  14:06:03
                                                                                  6    approached them?                                            14:06:06
                                                                                  7       A.    I can't recall.    I think that -- it was          14:06:08
                                                                                  8    probably that another student mentioned it to me            14:06:11
                                                                                  9    after it happened or on the bus.                            14:06:15
                                                                                  10      Q.    Which student?                                     14:06:18
                                                                                  11      A.    I can't recall.    I -- I just know that I         14:06:19
                                                                                  12   heard that.                                                 14:06:23
                                                                                  13      Q.    And -- and where -- did the student tell           14:06:23
                                                                                  14   you when this supposedly happened that Nathan               14:06:30
                                                                                  15   Phillips approached Covington Latin?                        14:06:32
                                                                                  16      A.    No.                                                14:06:36
                                                                                  17      Q.    Do you understand that he was -- the               14:06:36
                                                                                  18   student was telling you that it happened the same           14:06:39
                                                                                  19   day, supposedly?                                            14:06:42
                                                                                  20      A.    It was my impression that it had                   14:06:43
                                                                                  21   happened on the same day.    But with so many               14:06:45
                                                                                  22   question marks, is why I basically never did                14:06:49
                                                                                  23   anything with it, because I had no idea if it had           14:06:53
                                                                                  24   actually happened.                                          14:06:56
                                                                                  25      Q.    So to this day, do you have any                    14:06:57


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                                                                                  1    information that that's true?                                     14:07:00
                                                                                  2       A.       My -- my counsel may, but I do not.                   14:07:02
                                                                                  3    I -- I -- to my knowledge, I don't -- I don't                     14:07:06
                                                                                  4    think -- I don't know if it happened.                             14:07:10
                                                                                  5       Q.       Okay.    Did you ever have any other                  14:07:12
                                                                                  6    communication with Mara Schutt about supposedly                   14:07:24
                                                                                  7    whether this had happened with some other high                    14:07:27
                                                                                  8    schools?                                                          14:07:31
                                                                                  9       A.       I don't think so.        But I cannot recall          14:07:32
                                                                                  10   my text messages from two and a half --                           14:07:35
                                                                                  11      Q.       Okay.    No.   Fair.     And when I use               14:07:39
                                                                                  12   communication in this context, I mean anything.                   14:07:42
                                                                                  13   It could be text message.           It could be face to           14:07:45
                                                                                  14   face.     It could be a phone call.        It could be --         14:07:46
                                                                                  15      A.       I -- I honestly cannot recall.                        14:07:50
                                                                                  16               (This concludes the Confidential                      14:08:01
                                                                                  17   portion.)                                                         14:08:01
                                                                                  18               MR. SIEGEL:     Okay.     Let's go to page            14:08:01
                                                                                  19   335.                                                              14:08:03
                                                                                  20               MR. McMURTRY:     Just note this does not             14:08:04
                                                                                  21   have a confidential stamp on it, so...                            14:08:06
                                                                                  22               MR. SIEGEL:     We will certainly agree               14:08:08
                                                                                  23   that, you know -- well, and you are saying it                     14:08:10
                                                                                  24   should?                                                           14:08:13
                                                                                  25               MR. McMURTRY:     No.                                 14:08:13


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                                                                                  1             MR. SIEGEL:     Okay.                                 14:08:14
                                                                                  2             MR. McMURTRY:     I'm saying, just to be              14:08:14
                                                                                  3    clear, we are out of that territory now.                       14:08:15
                                                                                  4             MR. SIEGEL:     Okay.   Fair enough.                  14:08:18
                                                                                  5    BY MR. SIEGEL:                                                 14:08:23
                                                                                  6       Q.    Okay.    So if you look at text 573 on                14:08:23
                                                                                  7    335 -- and again, this is the text exchange you                14:08:29
                                                                                  8    were having with her on -- it looks like the                   14:08:33
                                                                                  9    night of January 19th?                                         14:08:36
                                                                                  10      A.    Yes.                                                  14:08:38
                                                                                  11      Q.    Okay.    So on 573, Ms. Schutt texts:      Me         14:08:39
                                                                                  12   too because you did nothing wrong and this guy                 14:08:45
                                                                                  13   does this for a living to ruin -- that's young --              14:08:47
                                                                                  14      A.    Yeah.                                                 14:08:54
                                                                                  15      Q.    -- kids' lives.     I think roles were                14:08:54
                                                                                  16   reversed and you were acting like the adult and                14:08:56
                                                                                  17   he was the kid.                                                14:08:59
                                                                                  18            You respond:     I agree.   He was trying to          14:09:00
                                                                                  19   intimidate young kids.                                         14:09:02
                                                                                  20            So why did you think Phillips was acting              14:09:05
                                                                                  21   like a kid and you the adult?                                  14:09:08
                                                                                  22      A.    Because I think it's childish as a elder              14:09:13
                                                                                  23   to get in the face of a stranger that also                     14:09:18
                                                                                  24   happens to be a child at 16 and get in their face              14:09:22
                                                                                  25   for several minutes.     I think that's childish.              14:09:28


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                                                                                  1       Q.      Okay.     But you don't think that deciding         14:09:32
                                                                                  2    to stand your ground in that situation was?                    14:09:35
                                                                                  3       A.      No.     I think that's very mature.                 14:09:38
                                                                                  4       Q.      When -- could anyone disagree with you              14:09:45
                                                                                  5    about that?                                                    14:10:01
                                                                                  6       A.      They could.     I don't think they are              14:10:01
                                                                                  7    right.                                                         14:10:04
                                                                                  8       Q.      You just -- you would disagree with                 14:10:04
                                                                                  9    them, right?       You wouldn't agree with their               14:10:07
                                                                                  10   opinion?                                                       14:10:09
                                                                                  11      A.      Right.                                              14:10:10
                                                                                  12      Q.      Okay.     Did you think that by not                 14:10:10
                                                                                  13   parting, along with the other students who were                14:10:12
                                                                                  14   doing that, that you were acting like the adult?               14:10:15
                                                                                  15              MR. McMURTRY:     Objection.   Go ahead.            14:10:19
                                                                                  16      A.      No.     I think I was acting like the adult         14:10:20
                                                                                  17   for staying calm in a situation that was very                  14:10:22
                                                                                  18   high pressure.                                                 14:10:31
                                                                                  19   BY MR. SIEGEL:                                                 14:10:32
                                                                                  20      Q.      Do you know what Mara Schutt was                    14:10:32
                                                                                  21   referring to when she texted:       Phillips ruins             14:10:34
                                                                                  22   young people's lives for a living?                             14:10:37
                                                                                  23      A.      I do not.                                           14:10:40
                                                                                  24              MR. SIEGEL:     Okay.                               14:10:41
                                                                                  25      A.      Now I think it's in reference to                    14:10:42


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                                                                                  1    something that he was involved in, in Detroit                   14:10:46
                                                                                  2    with -- I mean, I don't even know that story                    14:10:50
                                                                                  3    fully.     I just know that this -- this isn't the              14:10:54
                                                                                  4    first time his name necessarily appeared.                       14:10:57
                                                                                  5          Q.    Okay.     Do you know anything more about           14:11:01
                                                                                  6    what you were referring to, the incident in                     14:11:16
                                                                                  7    Detroit?                                                        14:11:19
                                                                                  8          A.    No.     And I don't -- I know nothing about         14:11:20
                                                                                  9    it, whether Phillips was in the right or wrong,                 14:11:23
                                                                                  10   any of it.                                                      14:11:25
                                                                                  11               MR. SIEGEL:     Okay.                               14:11:26
                                                                                  12         A.    I just know it exists.                              14:11:27
                                                                                  13               MR. SIEGEL:     I will ask about maybe a            14:11:31
                                                                                  14   couple more exhibits, and then we will take                     14:11:39
                                                                                  15   another break, Todd.                                            14:11:41
                                                                                  16               MR. McMURTRY:     Yes.                              14:11:42
                                                                                  17               MR. SIEGEL:     Does that work?                     14:11:43
                                                                                  18               MR. McMURTRY:     Yes.                              14:11:44
                                                                                  19               MR. SIEGEL:     Okay.    Let's show Exhibit         14:11:45
                                                                                  20   14.                                                             14:11:50
                                                                                  21               Now, this is -- this is confidential,               14:11:50
                                                                                  22   too, certainly.        And Todd, I will say for the             14:11:52
                                                                                  23   record, it's only going to come up a couple of                  14:11:55
                                                                                  24   times, but what we elected to do here is, rather                14:12:01
                                                                                  25   than put the whole document in the record, a high               14:12:04


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                                                                                  1    percent of it is irrelevant to this phase, just                14:12:10
                                                                                  2    putting in, you know, the particular page that I               14:12:13
                                                                                  3    want to ask some questions about.                              14:12:16
                                                                                  4               If he wants to look at the document, I              14:12:18
                                                                                  5    have it.    But I don't think there also wasn't any            14:12:20
                                                                                  6    reason -- in the event this ever does become a                 14:12:25
                                                                                  7    public record, then we didn't need the whole                   14:12:28
                                                                                  8    report.    Is that fair?                                       14:12:32
                                                                                  9               MR. McMURTRY:     Yes.                              14:12:33
                                                                                  10              MR. SIEGEL:     Okay.                               14:12:34
                                                                                  11              MR. McMURTRY:     Just to be clear, now, at         14:12:34
                                                                                  12   this point, we are marking the deposition as                   14:12:36
                                                                                  13   being confidential and the exhibit, as part of                 14:12:39
                                                                                  14   the deposition, also being confidential.                       14:12:41
                                                                                  15              MR. SIEGEL:     Okay.                               14:12:52
                                                                                  16   BY MR. SIEGEL:                                                 14:12:52
                                                                                  17      Q.      So, Nick, if I could direct you to --               14:12:52
                                                                                  18   this is just one page of NS 16, right?                         14:12:56
                                                                                  19      A.      Uh-huh.                                             14:12:59
                                                                                  20      Q.      Look at the -- I guess it's the fourth              14:12:59
                                                                                  21   paragraph down.      Just -- just read that to                 14:13:03
                                                                                  22   yourself for a moment, the one that starts "I                  14:13:05
                                                                                  23   felt."                                                         14:13:10
                                                                                  24              MR. McMURTRY:     If I may just jump in             14:13:19
                                                                                  25   here, if we are just going to talk about these                 14:13:21


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                                                                                  1    facts, there is no need to mark it as                             14:13:25
                                                                                  2    confidential, his recollection.                                   14:13:29
                                                                                  3             MR. SIEGEL:     Okay.                                    14:13:29
                                                                                  4             MR. McMURTRY:     I think the whole report,              14:13:30
                                                                                  5    obviously, was confidential, and I would like to                  14:13:31
                                                                                  6    treat the portions of the report as confidential.                 14:13:34
                                                                                  7    But to the extent you are asking him questions                    14:13:37
                                                                                  8    about what he thought or felt or said --                          14:13:39
                                                                                  9             MR. SIEGEL:     Sure.                                    14:13:41
                                                                                  10            MR. McMURTRY:     -- that's fine.      Okay.             14:13:43
                                                                                  11            MR. SIEGEL:     I will isolate this as much              14:13:46
                                                                                  12   as possible.                                                      14:13:46
                                                                                  13            MR. McMURTRY:     Okay.                                  14:13:46
                                                                                  14            THE WITNESS:     Okay.    I read it.                     14:13:46
                                                                                  15   BY MR. SIEGEL:                                                    14:13:48
                                                                                  16      Q.    So you have read it?                                     14:13:48
                                                                                  17            So the examiner quotes you as saying:          I         14:13:51
                                                                                  18   felt Phillips was creepy and weird and I didn't                   14:13:54
                                                                                  19   know his intentions.                                              14:13:57
                                                                                  20            Did you say that to the -- whichever                     14:13:59
                                                                                  21   examiner was recording this report?                               14:14:01
                                                                                  22      A.    I believe I did.                                         14:14:03
                                                                                  23      Q.    Okay.     Why did you think he was creepy                14:14:05
                                                                                  24   and weird?                                                        14:14:08
                                                                                  25      A.    Because, as I said before, in my                         14:14:08


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                                                                                  1    experience, adults don't get that close to kids,            14:14:10
                                                                                  2    especially for that long.                                   14:14:13
                                                                                  3       Q.    Okay.     Do you believe respecting your           14:14:15
                                                                                  4    elders is a value that you hold?                            14:14:25
                                                                                  5       A.    Yes.     It's part of how I was raised.            14:14:27
                                                                                  6       Q.    If a teenager sees an older person                 14:14:31
                                                                                  7    walking in his or her direction and other people            14:14:34
                                                                                  8    are parting for that person as he moves forward,            14:14:37
                                                                                  9    is it a respectful thing to do to move out of the           14:14:39
                                                                                  10   way as well?                                                14:14:43
                                                                                  11      A.    I would agree.     But it's not my                 14:14:44
                                                                                  12   responsibility to slip on the steps and                     14:14:47
                                                                                  13   potentially break an arm or something to make               14:14:51
                                                                                  14   sure he can get through.                                    14:14:54
                                                                                  15      Q.    Well, there were lots of other kids on             14:14:56
                                                                                  16   the steps, right?                                           14:14:58
                                                                                  17      A.    But not all the kids were on ice.                  14:14:59
                                                                                  18      Q.    And other kids moved away, right?                  14:15:02
                                                                                  19      A.    Right.                                             14:15:04
                                                                                  20      Q.    And I think you said before, that                  14:15:05
                                                                                  21   originally, you were -- you were making a                   14:15:07
                                                                                  22   decision, right, that you didn't want to move               14:15:10
                                                                                  23   because you felt he was trying to intimidate you?           14:15:12
                                                                                  24      A.    Correct.                                           14:15:15
                                                                                  25      Q.    Right?     So do you -- even if a teenager         14:15:16


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                                                                                  1    thinks that an older person might be trying to            14:15:27
                                                                                  2    intimidate them, you see that that person is              14:15:29
                                                                                  3    walking forward and other people are parting for          14:15:34
                                                                                  4    him, isn't the respectful thing to do to move out         14:15:36
                                                                                  5    of his way as well?                                       14:15:41
                                                                                  6       A.    Not if he's trying to intimidate me.             14:15:42
                                                                                  7       Q.    You don't think that even if the older           14:15:45
                                                                                  8    person -- even if you think the older person is           14:15:47
                                                                                  9    trying to intimidate you, you don't think the             14:15:49
                                                                                  10   respectful thing to do is to just move out of the         14:15:52
                                                                                  11   way?                                                      14:15:55
                                                                                  12      A.    I can't see why I would.   If -- if they         14:15:55
                                                                                  13   want to intimidate me, which I would assume then          14:15:58
                                                                                  14   means they exhibit a dislike of me, I can't find          14:16:01
                                                                                  15   any compelling reason as to why I would equally           14:16:05
                                                                                  16   return the respect to clear a place for them to           14:16:09
                                                                                  17   move.                                                     14:16:12
                                                                                  18      Q.    Do you think people could disagree with          14:16:14
                                                                                  19   you about that?                                           14:16:17
                                                                                  20      A.    They could.                                      14:16:18
                                                                                  21      Q.    Do you have any idea what in the Native          14:16:22
                                                                                  22   American culture would be considered the                  14:16:36
                                                                                  23   respectful thing to do in that situation?                 14:16:38
                                                                                  24      A.    I would assume the respectful thing is           14:16:40
                                                                                  25   probably to just move out of the way regardless.          14:16:43


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                                                                                  1       Q.    But you disagree with that?                        14:16:45
                                                                                  2       A.    Well, it's not how I was raised.                   14:16:48
                                                                                  3             MR. SIEGEL:     Let's go to Exhibit 15.            14:16:52
                                                                                  4    After this one, we will take a break.                       14:16:58
                                                                                  5             MR. McMURTRY:     Okay.    Just for the            14:17:18
                                                                                  6    record, 15 is also marked as confidential.                  14:17:19
                                                                                  7             MR. SIEGEL:     Yes.                               14:17:28
                                                                                  8             (The following portion from Page 195,              14:17:28
                                                                                  9    Line 11 to Page 199, Line 17 was designated                 14:17:28
                                                                                  10   Confidential and is bound separately.)                      14:17:28
                                                                                  11   BY MR. SIEGEL:                                              14:17:28
                                                                                  12      Q.    Nick, can you explain what medium of               14:17:28
                                                                                  13   communication is Exhibit 15?                                14:17:31
                                                                                  14      A.    This is direct messaging on Instagram.             14:17:34
                                                                                  15      Q.    Okay.    And it looks like you are                 14:17:37
                                                                                  16   directly messaging with Will Fries, I take it?              14:17:39
                                                                                  17      A.    Correct.                                           14:17:43
                                                                                  18      Q.    And someone named Josh Merkle?                     14:17:44
                                                                                  19      A.    Correct.                                           14:17:47
                                                                                  20      Q.    Who is Josh Merkle?                                14:17:48
                                                                                  21      A.    Josh is a cousin of Will.                          14:17:49
                                                                                  22      Q.    Okay.    Was Josh there?                           14:17:52
                                                                                  23      A.    No.                                                14:17:54
                                                                                  24      Q.    Are you friendly with Josh independently           14:17:55
                                                                                  25   or --                                                       14:18:04


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                                                                                  1       A.       I really only know him through Will.                    14:18:04
                                                                                  2       Q.       Okay.     Let's turn to page 2,047.                     14:18:08
                                                                                  3                So if you look sort of in the middle of                 14:18:20
                                                                                  4    the page where Josh messages:           Why was your                14:18:23
                                                                                  5    school there?        LOL.                                           14:18:26
                                                                                  6                Which is laugh out loud, right?          Do you         14:18:29
                                                                                  7    see that?                                                           14:18:33
                                                                                  8       A.       Yes.                                                    14:18:34
                                                                                  9       Q.       Okay.     So Josh texts:     Why was your               14:18:34
                                                                                  10   school there?        LOL.                                           14:18:37
                                                                                  11               You message:        March For Life.                     14:18:42
                                                                                  12      A.       Uh-huh.                                                 14:18:45
                                                                                  13      Q.       Right?     He messages:     Ah, promoting               14:18:45
                                                                                  14   prolife, I see.                                                     14:18:48
                                                                                  15               You respond:        Among other things, yes.            14:18:49
                                                                                  16      A.       Yes.                                                    14:18:52
                                                                                  17      Q.       He messages:        What other things?                  14:18:52
                                                                                  18               You respond:        I also promoted not being           14:18:54
                                                                                  19   intimidated by leftists.                                            14:18:58
                                                                                  20      A.       Yes.                                                    14:19:00
                                                                                  21      Q.       So when you are saying not being                        14:19:01
                                                                                  22   intimidated there, are you referring to the same                    14:19:02
                                                                                  23   perception you've testified to before, that                         14:19:05
                                                                                  24   Mr. Phillips was trying to intimidate the group?                    14:19:08
                                                                                  25      A.       Correct.        Or I should also add -- excuse          14:19:12


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                                                                                  1    me.        I should also add this was not meant to be             14:19:16
                                                                                  2    taken seriously.          This was more of a joke that,           14:19:19
                                                                                  3    oh, I was there to promote not being intimidated.                 14:19:22
                                                                                  4                   I obviously didn't plan on ever meeting            14:19:26
                                                                                  5    Nathan Phillips that day, and I made this remark                  14:19:33
                                                                                  6    more as a joke at my own expense.                                 14:19:35
                                                                                  7          Q.       Okay.    Well, but you -- the statement            14:19:40
                                                                                  8    was, right, not what you were intending to, but                   14:19:42
                                                                                  9    it was:        I also promoted not being intimidated.             14:19:45
                                                                                  10                  I think that's what ended up happening,            14:19:48
                                                                                  11   right?                                                            14:19:51
                                                                                  12         A.       Right.                                             14:19:51
                                                                                  13         Q.       Okay.    Do you disagree with that                 14:19:52
                                                                                  14   statement or did you feel you also promoted not                   14:20:02
                                                                                  15   being intimidated by leftists?                                    14:20:06
                                                                                  16         A.       I mean, if I had any control over it,              14:20:08
                                                                                  17   the nar -- or the covers that would have come out                 14:20:11
                                                                                  18   for the March For Life would have been about the                  14:20:13
                                                                                  19   March For Life and not about what happened.                       14:20:15
                                                                                  20                  Obviously, I don't.    So the joke here            14:20:19
                                                                                  21   kind of was that, well, among other things, yeah,                 14:20:21
                                                                                  22   I supported the March For Life but,                               14:20:25
                                                                                  23   unfortunately, this is what everyone's talking                    14:20:27
                                                                                  24   about right now and I didn't mean for it to                       14:20:31
                                                                                  25   happen.                                                           14:20:33


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                                                                                  1       Q.    Okay.     But given that it did happen,               14:20:33
                                                                                  2    right?                                                         14:20:41
                                                                                  3       A.    Right.                                                14:20:42
                                                                                  4       Q.    How did what happened promote not being               14:20:42
                                                                                  5    intimidated by leftists?                                       14:20:46
                                                                                  6       A.    Because there -- a lot of the                         14:20:48
                                                                                  7    commentators and people who are weighing in on                 14:20:55
                                                                                  8    what happened to me made kind of the slogan of                 14:20:57
                                                                                  9    stand your ground, whatever.                                   14:21:01
                                                                                  10            So even whether this was my goal or not               14:21:03
                                                                                  11   or whether I wanted it to happen or not, I became              14:21:06
                                                                                  12   kind of this poster for not being intimidated and              14:21:10
                                                                                  13   standing your ground.                                          14:21:15
                                                                                  14      Q.    Were the leftists who you are saying you              14:21:17
                                                                                  15   are humorously referring to, right -- but did the              14:21:23
                                                                                  16   leftists mean Mr. Phillips?                                    14:21:26
                                                                                  17      A.    No.     I would -- I would attribute that             14:21:28
                                                                                  18   comment more to the members of Congress and other              14:21:31
                                                                                  19   people on the political left that decided that                 14:21:34
                                                                                  20   they should weigh in on what happened.       Because I         14:21:39
                                                                                  21   would say there is a whole lot more than me --                 14:21:45
                                                                                  22   there is a whole lot more standing that I did                  14:21:49
                                                                                  23   than me just physically standing there.                        14:21:52
                                                                                  24      Q.    Okay.     Now, those -- the other                     14:21:55
                                                                                  25   students -- other students, right, parted for                  14:21:58


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                                                                                  1    Phillips, correct, and you didn't?                               14:22:01
                                                                                  2       A.       Hut-uhn.                                             14:22:03
                                                                                  3       Q.       Couldn't Phillips have perceived that                14:22:04
                                                                                  4    you intended to stop his path forward?                           14:22:07
                                                                                  5                MR. McMURTRY:     Objection.                         14:22:10
                                                                                  6       A.       He could have.     I think he would have             14:22:10
                                                                                  7    figured out really quickly, if he tried to move                  14:22:13
                                                                                  8    anywhere else, that I wasn't going to follow                     14:22:18
                                                                                  9    them.                                                            14:22:22
                                                                                  10   BY MR. SIEGEL:                                                   14:22:23
                                                                                  11      Q.       So you think you could have -- you think             14:22:23
                                                                                  12   he could have figured that out, and we will talk                 14:22:26
                                                                                  13   about that, but would you acknowledge that he                    14:22:30
                                                                                  14   could have perceived that it was your intention                  14:22:33
                                                                                  15   to stop his path forward?                                        14:22:35
                                                                                  16      A.       Right.                                               14:22:37
                                                                                  17               MR. SIEGEL:     Okay.    Let's break.                14:22:39
                                                                                  18               (This concludes the Confidential                     14:22:50
                                                                                  19   portion.)                                                        14:22:50
                                                                                  20               THE VIDEOGRAPHER:       We are going off the         14:22:50
                                                                                  21   record.     The time is 2:22 p.m.                                14:22:51
                                                                                  22               (Thereupon, there was a recess taken at              14:22:54
                                                                                  23   2:22 p.m.)                                                       14:22:54
                                                                                  24               THE VIDEOGRAPHER:       We are back on the           14:41:34
                                                                                  25   record.     The time is 2:41 p.m.                                14:41:35


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                                                                                  1                (Thereupon, the proceedings were resumed           14:41:39
                                                                                  2    at 2:41 p.m.)                                                  14:41:39
                                                                                  3    BY MR. SIEGEL:                                                 14:41:40
                                                                                  4       Q.       Nick, in one of the clips from the                 14:41:40
                                                                                  5    Guthrie interview that we played for you earlier,              14:41:43
                                                                                  6    you said:     He also had a -- referring to                    14:41:47
                                                                                  7    Phillips:     He also had a companion that also had            14:41:50
                                                                                  8    a drum and a cameraman with him.                               14:41:54
                                                                                  9                Do you remember that?                              14:41:58
                                                                                  10      A.       Yes.                                               14:41:59
                                                                                  11      Q.       Okay.    Was that one of the reasons you           14:41:59
                                                                                  12   felt that Phillips was trying to intimidate the                14:42:02
                                                                                  13   group, you saw he had a cameraman with him?                    14:42:04
                                                                                  14      A.       Yes.    That seemed odd.                           14:42:09
                                                                                  15      Q.       Okay.    And -- and why did you say that           14:42:11
                                                                                  16   he had a cameraman with him?                                   14:42:13
                                                                                  17      A.       I saw someone following him as he walked           14:42:15
                                                                                  18   towards the students that was filming him.                     14:42:22
                                                                                  19      Q.       Okay.    And by saying he, meaning                 14:42:27
                                                                                  20   Phillips had a cameraman with him, was it your                 14:42:30
                                                                                  21   perception that that was like somebody that                    14:42:33
                                                                                  22   Phillips had brought with him?                                 14:42:36
                                                                                  23      A.       Yes.    Now, I -- that was my perception           14:42:38
                                                                                  24   from standing there.                                           14:42:41
                                                                                  25      Q.       Okay.    And if you recall, just off the           14:42:45


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                                                                                  1    top of your head, whom you were referring to?                  14:42:48
                                                                                  2       A.       Not off the top of my head.    I can               14:42:52
                                                                                  3    describe to you what his -- one of his companions              14:42:55
                                                                                  4    looked like that had the second drum, but I -- I               14:43:00
                                                                                  5    can't remember off the top of my head what the                 14:43:04
                                                                                  6    cameraman looked like.                                         14:43:07
                                                                                  7       Q.       Okay.    So we are going to show you some          14:43:08
                                                                                  8    video, and I'm going to ask if you can point out               14:43:13
                                                                                  9    who it was that you were referring to.       Okay?             14:43:16
                                                                                  10      A.       Okay.                                              14:43:19
                                                                                  11      Q.       Before we do, just the person with the             14:43:20
                                                                                  12   drum, what do you remember he looked like?                     14:43:25
                                                                                  13      A.       He has a -- almost like a baseball hat             14:43:27
                                                                                  14   kind of thing on that is completely white and                  14:43:33
                                                                                  15   this sort of handlebar mustache.       And he is               14:43:37
                                                                                  16   holding a smaller drum.       The drum he has is               14:43:44
                                                                                  17   smaller than Phillips'.                                        14:43:47
                                                                                  18      Q.       Okay.    And I will ask you to point him           14:43:49
                                                                                  19   out, too.                                                      14:43:52
                                                                                  20      A.       Okay.                                              14:43:54
                                                                                  21      Q.       This is Exhibit 9, which is video 10.              14:43:54
                                                                                  22   Again, the one produced by your counsel.                       14:43:58
                                                                                  23               So is that the cameraman you are                   14:44:02
                                                                                  24   referring to?       There is a fellow who is holding           14:44:06
                                                                                  25   up a camera there with the --                                  14:44:09


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                                                                                  1       A.     Yes, that the cursor is on --                      14:44:11
                                                                                  2              MR. SIEGEL:     Yeah.                              14:44:13
                                                                                  3       A.     -- with the red hat.     That is him.              14:44:13
                                                                                  4       Q.     It looks like a -- it looks like a Reds            14:44:16
                                                                                  5    hat?                                                         14:44:18
                                                                                  6       A.     It does.    It does.                               14:44:18
                                                                                  7       Q.     I'm going to refer to him as the man               14:44:19
                                                                                  8    with the Reds hat.      Okay?                                14:44:22
                                                                                  9       A.     Okay.                                              14:44:24
                                                                                  10      Q.     And I think it's pretty -- the fellow              14:44:25
                                                                                  11   with the white hat sort of behind him to the                 14:44:30
                                                                                  12   right, is that the -- that's the drummer?                    14:44:33
                                                                                  13      A.     I --                                               14:44:35
                                                                                  14             MR. SIEGEL:     Let's -- you know what,            14:44:37
                                                                                  15   let's -- let's move it forward about nine                    14:44:38
                                                                                  16   seconds, where I think -- we'll play it for about            14:44:41
                                                                                  17   nine seconds.                                                14:44:44
                                                                                  18             (Thereupon, a video recording of Exhibit           14:44:47
                                                                                  19   9 was played.)                                               14:44:47
                                                                                  20   BY MR. SIEGEL:                                               14:44:52
                                                                                  21      Q.     Okay.    So you can see a little clearer           14:44:52
                                                                                  22   here.   He has a mustache, wearing glasses, right?           14:44:55
                                                                                  23      A.     Right.                                             14:44:59
                                                                                  24      Q.     Okay.    So sitting here today, do you             14:44:59
                                                                                  25   think Mr. Phillips had anything to do with                   14:45:10


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                                                                                  1    videotaping this incident?                                     14:45:13
                                                                                  2                MR. McMURTRY:    Objection.   Go ahead.            14:45:15
                                                                                  3       A.       I can't -- I can't guess as to if he               14:45:17
                                                                                  4    arranged to be videotaped before he walked over                14:45:25
                                                                                  5    or if that was just a decision made by whoever                 14:45:29
                                                                                  6    did it.     I -- I don't know.                                 14:45:34
                                                                                  7       Q.       Okay.    And you referred to the gentleman         14:45:37
                                                                                  8    with the drum as a companion of Phillips.        What          14:45:44
                                                                                  9    did you mean by that?                                          14:45:49
                                                                                  10      A.       I meant like he was definitely a part of           14:45:49
                                                                                  11   the group that walked over that was led by Nathan              14:45:53
                                                                                  12   Phillips.                                                      14:45:57
                                                                                  13      Q.       Okay.    And did you -- did you -- by              14:45:59
                                                                                  14   companion, did you mean they were friends or                   14:46:10
                                                                                  15   they -- perceived that they were friends in some               14:46:13
                                                                                  16   way?                                                           14:46:15
                                                                                  17      A.       I meant that they -- kind of like a -- I           14:46:16
                                                                                  18   know it's a short distance.       But like a traveling         14:46:23
                                                                                  19   companion somewhat.       They both traveled from              14:46:26
                                                                                  20   their area to ours together.                                   14:46:30
                                                                                  21               From what I perceived, it seemed like              14:46:36
                                                                                  22   they -- they knew each other or at least were a                14:46:38
                                                                                  23   part of the same group in some sense.                          14:46:41
                                                                                  24      Q.       Okay.    Traveling, you mean like                  14:46:44
                                                                                  25   traveling to DC?                                               14:46:50


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                                                                                  1       A.    Traveling from where they were at the                14:46:51
                                                                                  2    memorial to where we were.       It's a -- I mean,            14:46:54
                                                                                  3    it's a short distance.     So that analogy, but --            14:46:56
                                                                                  4       Q.    Okay.    And that was your perception, I             14:47:01
                                                                                  5    take it, based on what you saw?                               14:47:06
                                                                                  6       A.    Yes.                                                 14:47:08
                                                                                  7             MR. SIEGEL:     Okay.    Let's go to Exhibit         14:47:14
                                                                                  8    16, video 2 of the videos.                                    14:47:17
                                                                                  9             (Thereupon, a video recording of Exhibit             14:47:35
                                                                                  10   16 was played.)                                               14:47:35
                                                                                  11            MR. SIEGEL:     I guess if you could just            14:47:40
                                                                                  12   point to -- we're at -- point the cursor at Nick.             14:47:43
                                                                                  13   BY MR. SIEGEL:                                                14:47:47
                                                                                  14      Q.    That is you, right, or that is your face             14:47:47
                                                                                  15   where she's pointing?                                         14:47:50
                                                                                  16      A.    Right.                                               14:47:51
                                                                                  17      Q.    So I think you may have given us his                 14:47:52
                                                                                  18   name before.                                                  14:47:55
                                                                                  19            But right now, there are about three or              14:47:56
                                                                                  20   four at least rows of students in front of you,               14:48:01
                                                                                  21   right?                                                        14:48:05
                                                                                  22      A.    Right.                                               14:48:05
                                                                                  23      Q.    And do you see that sort of in front of              14:48:06
                                                                                  24   you, to your right, there is a student wearing                14:48:11
                                                                                  25   a -- it looks like a gray and white ski hat?                  14:48:15


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                                                                                  1       A.      Yes.                                               14:48:21
                                                                                  2       Q.      Turned to his side?    Do you know who             14:48:22
                                                                                  3    that is?                                                      14:48:24
                                                                                  4       A.      Not off -- not from this picture, no.              14:48:24
                                                                                  5       Q.      Okay.    Is he a Covington student, to             14:48:27
                                                                                  6    your knowledge?                                               14:48:31
                                                                                  7       A.      I don't know.                                      14:48:31
                                                                                  8       Q.      Okay.    And at -- at the front -- so it's         14:48:32
                                                                                  9    at the front, at the very right side of the                   14:48:40
                                                                                  10   frame, there is a fellow in an L.L. Bean shirt.               14:48:43
                                                                                  11   Do you know who he is?                                        14:48:50
                                                                                  12      A.      Yes.                                               14:48:51
                                                                                  13      Q.      Who is that?                                       14:48:51
                                                                                  14      A.      Cammeron Martin.                                   14:48:52
                                                                                  15      Q.      That's Cammeron Martin?                            14:48:54
                                                                                  16      A.      Yes.                                               14:48:57
                                                                                  17      Q.      Okay.    So right now, you are -- and you          14:48:59
                                                                                  18   see the student we talked about before in the                 14:49:04
                                                                                  19   black sweatshirt who was moving up his hands --               14:49:07
                                                                                  20   hands up and down, and you say you have no idea               14:49:13
                                                                                  21   who he is?                                                    14:49:16
                                                                                  22      A.      Correct.                                           14:49:18
                                                                                  23      Q.      So right now, you are -- if you look at            14:49:18
                                                                                  24   the -- where the L.L. Bean guy is, you look like              14:49:27
                                                                                  25   you are a little bit to his left behind there?                14:49:31


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                                                                                  1       A.      Yes.                                                14:49:35
                                                                                  2       Q.      Okay.    And the student who was doing the          14:49:36
                                                                                  3    up and hands down motion is standing to your                   14:49:42
                                                                                  4    right, correct?                                                14:49:46
                                                                                  5       A.      Correct.                                            14:49:47
                                                                                  6               MR. SIEGEL:    Let's go about 10 more               14:49:51
                                                                                  7    seconds.                                                       14:49:53
                                                                                  8               (Thereupon, a video recording of Exhibit            14:49:58
                                                                                  9    16 was played.)                                                14:49:59
                                                                                  10              MR. SIEGEL:    Go back just a little bit.           14:50:11
                                                                                  11   BY MR. SIEGEL:                                                 14:50:16
                                                                                  12      Q.      So in those 10 seconds, Nick, it looks              14:50:16
                                                                                  13   like you moved to your right a little bit?                     14:50:19
                                                                                  14      A.      I'm not sure if I moved or the people               14:50:22
                                                                                  15   around me did.      I'm pretty -- I'm almost positive          14:50:27
                                                                                  16   that I did not move and the people around me                   14:50:31
                                                                                  17   shifted and that's why it looks like I'm in a                  14:50:35
                                                                                  18   different spot.                                                14:50:39
                                                                                  19              MR. SIEGEL:    Okay.   So let's go -- let's         14:50:39
                                                                                  20   go back to 7 seconds.                                          14:50:42
                                                                                  21              (Thereupon, a video recording of Exhibit            14:50:47
                                                                                  22   16 was played.)                                                14:50:47
                                                                                  23              MR. SIEGEL:    And we are going to go               14:50:51
                                                                                  24   through this frame by frame.       Okay?   Stop.               14:50:53
                                                                                  25   BY MR. SIEGEL:                                                 14:51:06


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                                                                                  1       Q.    You -- you looked down, right?                     14:51:06
                                                                                  2       A.    Right.                                             14:51:09
                                                                                  3       Q.    And you mentioned before that that's               14:51:09
                                                                                  4    where it could be slippery in parts.      So you            14:51:12
                                                                                  5    looked down, right?                                         14:51:16
                                                                                  6       A.    Right.                                             14:51:17
                                                                                  7             MR. SIEGEL:     Okay.   Keep going.                14:51:19
                                                                                  8    BY MR. SIEGEL:                                              14:51:38
                                                                                  9       Q.    Didn't you just move a little to your              14:51:38
                                                                                  10   right?                                                      14:51:41
                                                                                  11            MR. McMURTRY:     Objection.                       14:51:41
                                                                                  12      A.    I -- I honestly can't tell with the way            14:51:41
                                                                                  13   it's rotating.                                              14:51:44
                                                                                  14            I guess the perspective makes me seem as           14:51:47
                                                                                  15   if I'm moving; or if I moved, I can't tell.                 14:51:51
                                                                                  16      Q.    You can't tell.     But it's possible that         14:51:54
                                                                                  17   you did move a little to your right at that                 14:51:57
                                                                                  18   point?                                                      14:51:59
                                                                                  19            MR. McMURTRY:     Objection.   Go ahead.           14:51:59
                                                                                  20      A.    I mean, it could be.      It depends.              14:52:00
                                                                                  21      Q.    Okay.    You would agree at this point you         14:52:01
                                                                                  22   were actually on the opposite side of the fellow            14:52:03
                                                                                  23   with the black sweatshirt than you were when we             14:52:05
                                                                                  24   looked at that about two seconds earlier?                   14:52:10
                                                                                  25            MR. McMURTRY:     Objection.   Go ahead.           14:52:17


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                                                                                  1    BY MR. SIEGEL:                                                 14:52:18
                                                                                  2          Q.   Right.                                              14:52:18
                                                                                  3          A.   Yeah, we're -- we're on -- we don't line            14:52:18
                                                                                  4    up the same way anymore.       But I -- I don't know           14:52:21
                                                                                  5    if that is because he moved or I moved or it's                 14:52:24
                                                                                  6    just a different angle of the camera or what it                14:52:28
                                                                                  7    is.                                                            14:52:30
                                                                                  8               MR. SIEGEL:     Okay.   Let's go -- you can         14:52:36
                                                                                  9    just play it normal, normal speed from here.                   14:52:38
                                                                                  10              (Thereupon, a video recording of Exhibit            14:52:53
                                                                                  11   16 was played.)                                                14:52:53
                                                                                  12   BY MR. SIEGEL:                                                 14:52:53
                                                                                  13         Q.   All right.     I'm going to play this               14:52:53
                                                                                  14   again, because it -- do you see the -- in the                  14:52:55
                                                                                  15   frame right now, there is a -- someone wearing a               14:53:01
                                                                                  16   brown hoodie?                                                  14:53:05
                                                                                  17         A.   Yeah.                                               14:53:06
                                                                                  18         Q.   There is someone wearing a green hoodie?            14:53:07
                                                                                  19         A.   Yes.                                                14:53:10
                                                                                  20         Q.   And there is a student in between them?             14:53:11
                                                                                  21         A.   Yes.                                                14:53:14
                                                                                  22         Q.   Do you know who the student in between              14:53:15
                                                                                  23   them is?                                                       14:53:17
                                                                                  24         A.   Yes.                                                14:53:17
                                                                                  25         Q.   Who is that?                                        14:53:18


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                                                                                  1       A.      That is Sam Paley.                                       14:53:19
                                                                                  2       Q.      Okay.     So we're just going to go back to              14:53:21
                                                                                  3    10 seconds.       And I'm going to ask you to see, can              14:53:22
                                                                                  4    you make out what Sam Paley is saying.                              14:53:25
                                                                                  5       A.      Okay.                                                    14:53:32
                                                                                  6               (Thereupon, a video recording of Exhibit                 14:53:32
                                                                                  7    16 was played.)                                                     14:53:32
                                                                                  8       A.      He said -- I think he said, hey, Law.                    14:53:32
                                                                                  9    And Law -- because that is John Lawrie.             That is         14:53:38
                                                                                  10   his nickname.                                                       14:53:43
                                                                                  11              MR. SIEGEL:     Okay.   Okay.    Let's                   14:53:44
                                                                                  12   restart.                                                            14:53:49
                                                                                  13              MS. MEEK:     We are restarting at 13,                   14:53:50
                                                                                  14   Exhibit 16.                                                         14:53:54
                                                                                  15              (Thereupon, a video recording of Exhibit                 14:53:58
                                                                                  16   16 was played.)                                                     14:53:58
                                                                                  17              MR. SIEGEL:     Where did we stop?                       14:54:13
                                                                                  18              MS. MEEK:     Paused at 30.     I think we               14:54:14
                                                                                  19   need to go a bit further to be --                                   14:54:16
                                                                                  20   BY MR. SIEGEL:                                                      14:54:16
                                                                                  21      Q.      Some of the students at this point are                   14:54:16
                                                                                  22   doing what is referred to as the tomahawk chop?                     14:54:19
                                                                                  23      A.      Yes.                                                     14:54:22
                                                                                  24      Q.      Were you doing it?                                       14:54:23
                                                                                  25      A.      No.                                                      14:54:25


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                                                                                  1       Q.     Why weren't you doing it?                          14:54:26
                                                                                  2       A.     I don't know.                                      14:54:28
                                                                                  3              MR. McMURTRY:    I think he answered that          14:54:28
                                                                                  4    before.   But go ahead.    You can answer again.             14:54:30
                                                                                  5       A.     As I said, I did not feel a need to or             14:54:33
                                                                                  6    any reason to.                                               14:54:36
                                                                                  7    BY MR. SIEGEL:                                               14:54:37
                                                                                  8       Q.     Did you consider doing a tomahawk chop             14:54:37
                                                                                  9    there to be disrespectful to Mr. Phillips?                   14:54:42
                                                                                  10      A.     As I said before, I am completely                  14:54:45
                                                                                  11   uneducated on the origins of the tomahawk chop,              14:54:52
                                                                                  12   why it may or may not be seen as disrespectful;              14:54:55
                                                                                  13   and, therefore, I really don't have any informed             14:54:59
                                                                                  14   opinion on it whatsoever.                                    14:55:02
                                                                                  15      Q.     Okay.    And -- and is that still true             14:55:10
                                                                                  16   today?                                                       14:55:11
                                                                                  17      A.     That is true today.    I -- I, yes,                14:55:12
                                                                                  18   understand why some people consider it                       14:55:14
                                                                                  19   disrespectful.     But other times, Indians will --          14:55:17
                                                                                  20   Native Americans will run out to people doing the            14:55:21
                                                                                  21   tomahawk chop.     I don't understand it.                    14:55:24
                                                                                  22      Q.     And at the time of this incident did you           14:55:37
                                                                                  23   have any understanding that some people consider             14:55:39
                                                                                  24   it disrespectful to Native Americans to do the               14:55:41
                                                                                  25   tomahawk chop?                                               14:55:45


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                                                                                  1       A.      I think I knew at that point in time              14:55:46
                                                                                  2    that to some Native Americans it was                         14:55:48
                                                                                  3    disrespectful and that to others it -- that it --            14:55:50
                                                                                  4    other Indians -- or Native Americans are fine                14:55:53
                                                                                  5    with it.                                                     14:55:59
                                                                                  6               At that point, I knew it was                      14:56:02
                                                                                  7    controversial.                                               14:56:03
                                                                                  8       Q.      Did you -- do you have an understanding           14:56:04
                                                                                  9    that some Native Americans feel like it makes fun            14:56:06
                                                                                  10   of their culture?                                            14:56:09
                                                                                  11      A.      As I said, I -- I really don't know why           14:56:10
                                                                                  12   they find it disrespectful.     I guess it makes fun         14:56:12
                                                                                  13   of them somewhat.                                            14:56:17
                                                                                  14      Q.      So earlier you said that you felt                 14:56:18
                                                                                  15   insulted and, you know, mocked by the BHIs.                  14:56:20
                                                                                  16              Is it your contention that you felt that          14:56:26
                                                                                  17   you were mocked by the BHIs but Mr. Phillips                 14:56:28
                                                                                  18   couldn't have felt that he was being mocked by               14:56:33
                                                                                  19   the students at that point?                                  14:56:35
                                                                                  20      A.      I never claimed that he felt like we              14:56:36
                                                                                  21   weren't mocking him.     I mean, he's entitled to            14:56:41
                                                                                  22   feel however he wants to.     What I'm saying is             14:56:45
                                                                                  23   that I -- from my perception, it didn't seem like            14:56:50
                                                                                  24   anyone ever was mocking him.                                 14:56:55
                                                                                  25              MR. SIEGEL:   Let's go back to 24 seconds         14:57:00


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                                                                                  1    and go frame by frame.     No.   Go back to 24 and          14:57:03
                                                                                  2    then start frame by frame.                                  14:57:22
                                                                                  3             MS. MEEK:     Yeah, I did.                         14:57:25
                                                                                  4             MR. SIEGEL:     Is that what you did?              14:57:26
                                                                                  5    Okay.                                                       14:57:28
                                                                                  6    BY MR. SIEGEL:                                              14:57:34
                                                                                  7       Q.    Aren't you doing the tomahawk chop                 14:57:35
                                                                                  8    there?                                                      14:57:37
                                                                                  9       A.    No.     I think I had raised my hand up to         14:57:37
                                                                                  10   point at something.     I don't know what I'm -- I          14:57:40
                                                                                  11   don't -- I'm not -- I have my hands like right              14:57:43
                                                                                  12   here.                                                       14:57:46
                                                                                  13            I think there is a difference between              14:57:49
                                                                                  14   this and this, is what I'm getting at.                      14:57:51
                                                                                  15      Q.    So it's your testimony that you weren't            14:57:55
                                                                                  16   in any way even sort of slightly trying to join             14:57:57
                                                                                  17   in with the tomahawk chop?                                  14:58:00
                                                                                  18      A.    No.     I think -- I think when you listen         14:58:03
                                                                                  19   to the video with the audio, and maybe it's from            14:58:05
                                                                                  20   a different angle, you can hear me with my hand             14:58:08
                                                                                  21   up kind of like shrugging and asking what is                14:58:12
                                                                                  22   going on right now.                                         14:58:15
                                                                                  23      Q.    Okay.     Well, if you hear that at any            14:58:16
                                                                                  24   point in any of the videos, just point it out.              14:58:18
                                                                                  25      A.    Okay.                                              14:58:22


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                                                                                  1             MR. SIEGEL:     Okay.     So let's keep going         14:58:22
                                                                                  2    in realtime.                                                   14:58:24
                                                                                  3             (Thereupon, a video recording of Exhibit              14:58:37
                                                                                  4    16 was played.)                                                14:58:37
                                                                                  5    BY MR. SIEGEL:                                                 14:58:44
                                                                                  6       Q.    So at this point, there are still at                  14:58:44
                                                                                  7    least two or three rows of students between you                14:58:48
                                                                                  8    and wherever the camera is?                                    14:58:52
                                                                                  9       A.    Yes.                                                  14:58:54
                                                                                  10            MR. SIEGEL:     Okay.     Let's keep going.           14:58:58
                                                                                  11            MS. MEEK:     I just paused at 32, and I'm            14:59:00
                                                                                  12   continuing from that point.                                    14:59:03
                                                                                  13            MR. SIEGEL:     Now, this is at 37, right?            14:59:10
                                                                                  14            MS. MEEK:     Yes.                                    14:59:13
                                                                                  15   BY MR. SIEGEL:                                                 14:59:13
                                                                                  16      Q.    Now, at this point, there are a bunch of              14:59:13
                                                                                  17   students to Mr. Phillips' right and to the right               14:59:16
                                                                                  18   of some of the other individuals, the one with                 14:59:19
                                                                                  19   the drum and the one with the camera, right?                   14:59:24
                                                                                  20      A.    Right.                                                14:59:27
                                                                                  21      Q.    Couldn't someone perceive that there                  14:59:28
                                                                                  22   were students who were swarming around him at                  14:59:32
                                                                                  23   this point?                                                    14:59:35
                                                                                  24            MR. McMURTRY:        Objection.   Go ahead.           14:59:35
                                                                                  25      A.    I mean, to me, not really.                            14:59:36


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                                                                                  1                If you look at a couple of the students                  14:59:39
                                                                                  2    there, they don't really look like they are                          14:59:42
                                                                                  3    swarming.     They are looking off at something                      14:59:45
                                                                                  4    else.    They are not even -- they are at best half                  14:59:47
                                                                                  5    interested in what's going on right now.             You can         14:59:52
                                                                                  6    see them all looking in a different direction.                       14:59:55
                                                                                  7                MR. SIEGEL:     Okay.     Let's go back and --           14:59:58
                                                                                  8    to 32 seconds again.                                                 14:59:59
                                                                                  9                (Thereupon, a video recording of Exhibit                 15:00:04
                                                                                  10   16 was played.)                                                      15:00:04
                                                                                  11               MR. SIEGEL:     You can stop.                            15:00:21
                                                                                  12   BY MR. SIEGEL:                                                       15:00:21
                                                                                  13      Q.       So, it could -- I mean, it's just a                      15:00:21
                                                                                  14   matter of opinion, right?           Somebody could                   15:00:24
                                                                                  15   perceive that there are students now who have                        15:00:26
                                                                                  16   sort of swarmed around Phillips on both sides,                       15:00:29
                                                                                  17   right?                                                               15:00:32
                                                                                  18      A.       Yeah.    I mean, someone could look at it                15:00:32
                                                                                  19   that way if they wanted to.                                          15:00:35
                                                                                  20               MR. SIEGEL:     Okay.     Now let's go back to           15:00:37
                                                                                  21   32 seconds.                                                          15:00:40
                                                                                  22               MS. MEEK:     And for the record, a moment               15:00:43
                                                                                  23   ago, I just stopped at 44 seconds.           Now I'm going           15:00:44
                                                                                  24   back to 32 seconds.                                                  15:00:49
                                                                                  25               (Thereupon, a video recording of Exhibit                 15:00:53


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                                                                                  1    16 was played.)                                                 15:00:53
                                                                                  2               MR. SIEGEL:     Okay.   Just go back and             15:00:56
                                                                                  3    start again.                                                    15:00:59
                                                                                  4    BY MR. SIEGEL:                                                  15:01:09
                                                                                  5       Q.      Okay.    So this is at 32 seconds.    Where          15:01:09
                                                                                  6    I showed you this before, there are at this point               15:01:11
                                                                                  7    still several of the students, right, between you               15:01:13
                                                                                  8    and where the camera is, right?                                 15:01:16
                                                                                  9       A.      Yes.                                                 15:01:18
                                                                                  10              MR. SIEGEL:     Okay.   So let's go about 12         15:01:19
                                                                                  11   more seconds.                                                   15:01:21
                                                                                  12              (Thereupon, a video recording of Exhibit             15:01:23
                                                                                  13   16 was played.)                                                 15:01:23
                                                                                  14              MR. SIEGEL:     Okay.   So where is it now,          15:01:36
                                                                                  15   Jessica?                                                        15:01:39
                                                                                  16              MS. MEEK:     44 seconds.                            15:01:39
                                                                                  17   BY MR. SIEGEL:                                                  15:01:41
                                                                                  18      Q.      So in those 12 seconds, those several                15:01:41
                                                                                  19   rows of students who were in front of you before                15:01:43
                                                                                  20   have parted for Mr. Mr. Phillips, right?                        15:01:48
                                                                                  21      A.      Right.                                               15:01:51
                                                                                  22      Q.      Okay.    And there are students behind you           15:01:52
                                                                                  23   who are parting as well, right?                                 15:01:53
                                                                                  24              MR. McMURTRY:     Objection.   I'm not --            15:01:53
                                                                                  25   part, you mean -- it looks to me like they are                  15:01:55


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                                                                                  1    moving away.                                                      15:01:58
                                                                                  2                MR. SIEGEL:     Moving to the side.                   15:01:58
                                                                                  3                MR. McMURTRY:     Well, no, I don't even              15:01:59
                                                                                  4    see that.     But go ahead.     Ask him the questions.            15:02:01
                                                                                  5    He can --                                                         15:02:03
                                                                                  6    BY MR. SIEGEL:                                                    15:02:03
                                                                                  7       Q.       Okay.    Are there students behind you who            15:02:03
                                                                                  8    are moving to the side?                                           15:02:06
                                                                                  9       A.       I mean, it looks like some of the                     15:02:07
                                                                                  10   students behind me are moving.                                    15:02:09
                                                                                  11               MR. SIEGEL:     Right.                                15:02:11
                                                                                  12      A.       I don't -- I don't necessarily know -- I              15:02:11
                                                                                  13   don't know if I would say they are moving aside.                  15:02:12
                                                                                  14               MR. SIEGEL:     Okay.    Let's watch the next         15:02:16
                                                                                  15   few seconds.                                                      15:02:18
                                                                                  16               (Thereupon, a video recording of Exhibit              15:02:21
                                                                                  17   16 was played.)                                                   15:02:21
                                                                                  18   BY MR. SIEGEL:                                                    15:02:31
                                                                                  19      Q.       Okay.    Now, most of the students behind             15:02:31
                                                                                  20   you have moved to the side, right?                                15:02:34
                                                                                  21      A.       I mean, most.     There are still, it looks           15:02:36
                                                                                  22   like, three rows deep behind me.                                  15:02:39
                                                                                  23      Q.       It's more -- there are some students at               15:02:41
                                                                                  24   the top of the stairs, right?                                     15:02:44
                                                                                  25      A.       Right.    And I can count the blue                    15:02:46


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                                                                                  1    sweatshirt, the black, and then the head popping               15:02:48
                                                                                  2    out behind him who were all one after another.                 15:02:51
                                                                                  3       Q.       Okay.    Fair enough.   So it would be             15:02:52
                                                                                  4    three rows of students had moved behind you to                 15:02:53
                                                                                  5    the side?                                                      15:02:57
                                                                                  6                MR. McMURTRY:    Objection.                        15:02:58
                                                                                  7       A.       At least three rows of students are                15:02:58
                                                                                  8    still behind me at this point.                                 15:03:01
                                                                                  9    BY MR. SIEGEL:                                                 15:03:03
                                                                                  10      Q.       Directly behind you?     No, no, no.     I         15:03:03
                                                                                  11   understand that.       But the three rows -- the               15:03:06
                                                                                  12   several rows of students who were most                         15:03:08
                                                                                  13   immediately behind you are not --                              15:03:10
                                                                                  14      A.       Are not there --                                   15:03:12
                                                                                  15      Q.       They have all moved to the side,                   15:03:13
                                                                                  16   correct?                                                       15:03:15
                                                                                  17      A.       Correct.                                           15:03:15
                                                                                  18               MR. McMURTRY:    Objection.                        15:03:16
                                                                                  19   BY MR. SIEGEL:                                                 15:03:18
                                                                                  20      Q.       So were you aware at the time that                 15:03:18
                                                                                  21   students behind you were moving to the side?                   15:03:29
                                                                                  22               MR. McMURTRY:    Objection.   Go ahead.            15:03:31
                                                                                  23      A.       I don't really think I was.     Most of my         15:03:33
                                                                                  24   attention was taken up by Nathan Phillips.                     15:03:35
                                                                                  25      Q.       Okay.    But certainly Mr. Phillips could          15:03:39


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                                                                                  1    have perceived that people behind you were moving           15:03:42
                                                                                  2    to the side?                                                15:03:45
                                                                                  3       A.    I mean, yes, he could have.    He                  15:03:46
                                                                                  4    definitely saw that there's -- I don't know how             15:03:48
                                                                                  5    many feet of -- excuse me -- I don't know how               15:03:53
                                                                                  6    many feet of space in between me and the kid with           15:03:56
                                                                                  7    the white hat holding on to a sweatshirt, but we            15:04:00
                                                                                  8    are clearly not shoulder to shoulder.                       15:04:07
                                                                                  9             So it even looks to me as if he just               15:04:10
                                                                                  10   went around to my right, he had even more room to           15:04:13
                                                                                  11   keep walking if that is what he wanted to do.               15:04:17
                                                                                  12      Q.    Okay.    And so we've seen, you know, in           15:04:20
                                                                                  13   front of you, there were several students, or a             15:04:25
                                                                                  14   lot of students, who moved to the side, right?              15:04:29
                                                                                  15      A.    Right.                                             15:04:32
                                                                                  16      Q.    Now, behind you, there were students who           15:04:32
                                                                                  17   moved to the side, right?                                   15:04:35
                                                                                  18      A.    Right.                                             15:04:36
                                                                                  19      Q.    So, I mean, physically, you could have             15:04:37
                                                                                  20   done the same thing, right?    You could have               15:04:40
                                                                                  21   done -- you could have moved aside as the other             15:04:42
                                                                                  22   students did?                                               15:04:45
                                                                                  23      A.    I could have moved and risked falling              15:04:46
                                                                                  24   down the steps and, you know, potentially in my             15:04:49
                                                                                  25   fall bumping right into Mr. Phillips and not                15:04:52


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                                                                                  1    knowing what that would have led to.                          15:04:55
                                                                                  2       Q.       So it's your testimony, Nick, that you            15:04:57
                                                                                  3    were the only student there, with several rows in             15:05:01
                                                                                  4    front of you and behind you, who somehow were at              15:05:04
                                                                                  5    risk to move to the side?                                     15:05:08
                                                                                  6       A.       That is not what I said.                          15:05:10
                                                                                  7                My testimony is that I was on ice and --          15:05:11
                                                                                  8    and at the current moment, I judged that there                15:05:16
                                                                                  9    was a chance I could have fallen.                             15:05:19
                                                                                  10      Q.       Did you see before the video where you            15:05:20
                                                                                  11   looked down?                                                  15:05:24
                                                                                  12      A.       Yes.                                              15:05:24
                                                                                  13      Q.       Do you remember before?                           15:05:25
                                                                                  14      A.       Yes.                                              15:05:28
                                                                                  15      Q.       Were you looking down to -- to put                15:05:28
                                                                                  16   yourself in a place that was secure?                          15:05:31
                                                                                  17      A.       I -- I don't -- I don't know what I               15:05:36
                                                                                  18   was -- I think -- I don't -- I don't remember                 15:05:39
                                                                                  19   what I was looking at when I looked down.                     15:05:43
                                                                                  20               I mean, I probably just glanced down for          15:05:46
                                                                                  21   a second.                                                     15:05:49
                                                                                  22               I mean, my shoes -- I could have been             15:05:50
                                                                                  23   looking at my shoes which were covered in mud                 15:05:53
                                                                                  24   from when I ran back from the Capitol.      Because           15:05:57
                                                                                  25   all the dirt streets were -- were mud from the                15:06:01


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                                                                                  1    snow, and I had gotten mud all over my white                15:06:05
                                                                                  2    shoes.                                                      15:06:09
                                                                                  3       Q.    Okay.     There -- the other students              15:06:10
                                                                                  4    weren't physically preventing you at that point             15:06:21
                                                                                  5    from moving?                                                15:06:23
                                                                                  6       A.    I mean, they parted.     I still had               15:06:24
                                                                                  7    students to my left that are just out of frame              15:06:26
                                                                                  8    that you can't see.                                         15:06:30
                                                                                  9             I could -- I mean, I could have tried to           15:06:31
                                                                                  10   make my way a little more over towards the kid in           15:06:35
                                                                                  11   the white hat.                                              15:06:40
                                                                                  12            MR. SIEGEL:     Right.                             15:06:41
                                                                                  13      A.    But someone directly behind me, that's             15:06:41
                                                                                  14   almost covered up by me.     And I mean, at that            15:06:45
                                                                                  15   point, I really wasn't looking to see how the               15:06:49
                                                                                  16   crowd had adjusted itself.                                  15:06:52
                                                                                  17      Q.    Okay.     You later, in a couple of                15:06:56
                                                                                  18   statements, said, I think, you wished that you              15:07:02
                                                                                  19   had walked away?                                            15:07:04
                                                                                  20      A.    Yes.                                               15:07:05
                                                                                  21      Q.    So it is right you could have walked               15:07:06
                                                                                  22   away?                                                       15:07:12
                                                                                  23            MR. McMURTRY:     Objection.                       15:07:13
                                                                                  24   BY MR. SIEGEL:                                              15:07:14
                                                                                  25      Q.    At least at this point?                            15:07:14


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                                                                                  1             MR. McMURTRY:     Objection.                         15:07:14
                                                                                  2       A.    I mean, there was never a point where I              15:07:16
                                                                                  3    was unable to walk -- to walk away.      It was just,         15:07:18
                                                                                  4    in my head, a cost/benefit of what -- if I move               15:07:23
                                                                                  5    now, there is a chance I fall and hit people,                 15:07:26
                                                                                  6    especially the person that is in my face, and I               15:07:29
                                                                                  7    don't know how that's going to play out.                      15:07:32
                                                                                  8       Q.    Okay.    But at the point that you first             15:07:37
                                                                                  9    made your decision to stay there, you were, as                15:07:40
                                                                                  10   you said in all of the texts, right, feeling that             15:07:44
                                                                                  11   Mr. Phillips was trying to intimidate you and the             15:07:50
                                                                                  12   group and you didn't want that to happen?                     15:07:54
                                                                                  13      A.    Right.                                               15:07:57
                                                                                  14            MR. SIEGEL:     Okay.   Let's go to -- let's         15:07:58
                                                                                  15   keep going a little bit.                                      15:08:01
                                                                                  16            MS. MEEK:     We are at 52 seconds, which            15:08:02
                                                                                  17   is where we were paused before.      Continuing on.           15:08:06
                                                                                  18            (Thereupon, a video recording of Exhibit             15:08:11
                                                                                  19   16 was played.)                                               15:08:11
                                                                                  20   BY MR. SIEGEL:                                                15:08:12
                                                                                  21      Q.    Okay.    Now you see there are a couple of           15:08:12
                                                                                  22   students who have now -- who were sort of right               15:08:14
                                                                                  23   behind you, and they have moved over some, right?             15:08:17
                                                                                  24      A.    Right.                                               15:08:20
                                                                                  25            MR. SIEGEL:     Okay.   Keep going.                  15:08:22


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                                                                                  1               MS. MEEK:     Paused at 56.     Now continuing         15:08:23
                                                                                  2    on.                                                               15:08:26
                                                                                  3               (Thereupon, a video recording of Exhibit               15:08:28
                                                                                  4    16 was played.)                                                   15:08:28
                                                                                  5               MS. MEEK:     Paused at 1:05.                          15:08:38
                                                                                  6    BY MR. SIEGEL:                                                    15:08:41
                                                                                  7          Q.   Okay.     So, again, at this point, there              15:08:41
                                                                                  8    is still space to your side, to your left and                     15:08:43
                                                                                  9    behind you, right?                                                15:08:49
                                                                                  10         A.   To my --                                               15:08:50
                                                                                  11         Q.   To your left.     To your left as you are              15:08:50
                                                                                  12   standing there?                                                   15:08:53
                                                                                  13         A.   Yes.    There is space behind me and right             15:08:53
                                                                                  14   and my left.                                                      15:08:58
                                                                                  15              MR. SIEGEL:     Okay.   Let's keep going.              15:08:59
                                                                                  16              (Thereupon, a video recording of Exhibit               15:09:06
                                                                                  17   16 was played.)                                                   15:09:06
                                                                                  18   BY MR. SIEGEL:                                                    15:09:28
                                                                                  19         Q.   Okay.     So you see the fellow in the                 15:09:28
                                                                                  20   black hoodie crosses over, right?                                 15:09:31
                                                                                  21         A.   Yes.                                                   15:09:34
                                                                                  22         Q.   From one side to the other?                            15:09:35
                                                                                  23         A.   Uh-huh.                                                15:09:37
                                                                                  24         Q.   Okay.     Were you -- were you aware of                15:09:37
                                                                                  25   that at the time?                                                 15:09:39


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                                                                                  1       A.       No.     I was not paying attention to               15:09:40
                                                                                  2    behind me.                                                      15:09:43
                                                                                  3                MR. SIEGEL:     Okay.   Let's go.                   15:09:48
                                                                                  4                MS. MEEK:     We just paused at 32.     I'm         15:09:49
                                                                                  5    restarting from that point.                                     15:09:54
                                                                                  6                MR. SIEGEL:     Just stop a second.     So          15:09:55
                                                                                  7    again, where are we at, 1:34?                                   15:09:57
                                                                                  8                MS. MEEK:     Yes.                                  15:10:00
                                                                                  9    BY MR. SIEGEL:                                                  15:10:01
                                                                                  10      Q.       Again, the fellow in the black hoodie               15:10:01
                                                                                  11   has crossed all the way over from one side to the               15:10:04
                                                                                  12   other, right?                                                   15:10:06
                                                                                  13      A.       Right.                                              15:10:06
                                                                                  14      Q.       And again, there is space for you on                15:10:07
                                                                                  15   your left side and behind you still at this                     15:10:09
                                                                                  16   point, right?                                                   15:10:11
                                                                                  17      A.       Right.     And at this point, his companion         15:10:11
                                                                                  18   that I described is right next to him, because                  15:10:14
                                                                                  19   seeing him a couple frames ago.                                 15:10:18
                                                                                  20               And if it's me, Phillips and him, he's              15:10:21
                                                                                  21   got a clear shot up and around me if he wants to                15:10:23
                                                                                  22   go there.                                                       15:10:27
                                                                                  23      Q.       Okay.     And do you -- why does the fact           15:10:28
                                                                                  24   that his companion who is next to him on the                    15:10:32
                                                                                  25   right side mean he has a free shot?                             15:10:35


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                                                                                  1       A.       Because he has a -- by free shot, I mean            15:10:39
                                                                                  2    he has a free lane to move.                                     15:10:42
                                                                                  3                Like, as we said earlier, when he got               15:10:44
                                                                                  4    into the group, I at that point didn't know that                15:10:47
                                                                                  5    he wanted to go to the Lincoln.       So in my mind,            15:10:51
                                                                                  6    if -- if I don't know what he wants to do and                   15:10:56
                                                                                  7    where he wants to go, I -- and with the ice                     15:10:59
                                                                                  8    coming into play, it really didn't seem like                    15:11:03
                                                                                  9    there was much of a reason to move because I                    15:11:06
                                                                                  10   didn't know where he was trying to go.        And if he         15:11:09
                                                                                  11   wanted to go there, he could have made that clear               15:11:12
                                                                                  12   to me.   I would have moved -- there is a chance I              15:11:15
                                                                                  13   could have moved, but --                                        15:11:18
                                                                                  14      Q.       And how would he have made that clear to            15:11:21
                                                                                  15   you in your mind; to say:       Excuse me.   May I              15:11:25
                                                                                  16   pass?                                                           15:11:30
                                                                                  17      A.       Yeah.    I mean, you do that in public all          15:11:30
                                                                                  18   the time.                                                       15:11:33
                                                                                  19      Q.       I just want to go back to -- so now you             15:11:33
                                                                                  20   say your companion -- the person you called his                 15:11:36
                                                                                  21   companion is on the right side, right?                          15:11:37
                                                                                  22      A.       Right.                                              15:11:40
                                                                                  23      Q.       His companion is actually physically to             15:11:41
                                                                                  24   his right?                                                      15:11:44
                                                                                  25      A.       Yes.                                                15:11:44


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                                                                                  1       Q.       Which is also to your left now?                     15:11:44
                                                                                  2       A.       Uh-huh.                                             15:11:47
                                                                                  3       Q.       How does that free up a path for                    15:11:47
                                                                                  4    Phillips?     Doesn't that make him more pinned in?             15:11:50
                                                                                  5       A.       Well, if they -- if they are going to               15:11:56
                                                                                  6    the same area, or they are a part of the same                   15:11:58
                                                                                  7    group, it's now easier for them to go somewhere                 15:12:01
                                                                                  8    because his companion can go up first and then                  15:12:05
                                                                                  9    Phillips can follow him.                                        15:12:08
                                                                                  10      Q.       Even, in fact, assuming that the person             15:12:10
                                                                                  11   you called his companion did exactly what                       15:12:13
                                                                                  12   Phillips wanted him to do, wanted to do?                        15:12:16
                                                                                  13      A.       Well, yeah.     I mean, I don't know                15:12:19
                                                                                  14   anything about them.        But I know that there is --         15:12:22
                                                                                  15   there is space right there if either of them want               15:12:25
                                                                                  16   to go there.                                                    15:12:27
                                                                                  17               And I didn't know what their intentions             15:12:29
                                                                                  18   were.   So I stayed right where I was.                          15:12:33
                                                                                  19      Q.       Okay.     And you still don't know what was         15:12:35
                                                                                  20   the intent or the intentions of the person you                  15:12:40
                                                                                  21   call his companion, right?                                      15:12:43
                                                                                  22      A.       I don't know his intentions.                        15:12:45
                                                                                  23               MR. SIEGEL:     Okay.   Let's keep going.           15:12:58
                                                                                  24               MS. MEEK:     Starting from 1:34.                   15:13:00
                                                                                  25               (Thereupon, a video recording of Exhibit            15:13:09


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                                                                                  1    16 was played.)                                              15:13:09
                                                                                  2             MR. SIEGEL:     Okay.                               15:13:21
                                                                                  3             MS. MEEK:     Paused at 1:55.                       15:13:21
                                                                                  4    BY MR. SIEGEL:                                               15:13:24
                                                                                  5       Q.    So at this point, there are students                15:13:24
                                                                                  6    sort of behind you and on the side there that are            15:13:28
                                                                                  7    filling that space back in, right?                           15:13:30
                                                                                  8       A.    Yeah.     They are trying to move                   15:13:33
                                                                                  9    somewhere.                                                   15:13:35
                                                                                  10      Q.    Okay.     Were you -- again, were you --            15:13:36
                                                                                  11   were you aware of that at the time?      Were you            15:13:38
                                                                                  12   aware there were more kids now directly behind               15:13:40
                                                                                  13   you?                                                         15:13:43
                                                                                  14      A.    No.     I was -- almost all of my attention         15:13:43
                                                                                  15   was placed on Phillips.                                      15:13:47
                                                                                  16      Q.    Did you -- you know, as this went along,            15:13:51
                                                                                  17   did you become aware of that at some point, that             15:13:56
                                                                                  18   there were a bunch of kids kind of right behind              15:13:59
                                                                                  19   you?                                                         15:14:01
                                                                                  20      A.    In the back of my head, I knew there                15:14:01
                                                                                  21   were people somewhat all around me.      And I -- I          15:14:05
                                                                                  22   guess I somewhat knew that people were moving.               15:14:09
                                                                                  23   But I never actually bothered to think about                 15:14:11
                                                                                  24   where they were going and what they were doing.              15:14:16
                                                                                  25   I just knew it was packed and at some point some             15:14:19


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                                                                                  1    people moved.                                                   15:14:23
                                                                                  2             MR. SIEGEL:     Okay.     Let's go to Exhibit          15:14:25
                                                                                  3    17, which is video 8 of the stip.                               15:14:27
                                                                                  4             MR. McMURTRY:     Exhibit 17?                          15:14:39
                                                                                  5             MR. SIEGEL:     Yeah, Exhibit 17, video 8              15:14:41
                                                                                  6    of the stip.                                                    15:14:45
                                                                                  7             (Thereupon, a video recording of Exhibit               15:15:07
                                                                                  8    17 was played.)                                                 15:15:07
                                                                                  9    BY MR. SIEGEL:                                                  15:15:14
                                                                                  10      Q.    Okay.     Zero seconds.     So, again, Nick, I         15:15:14
                                                                                  11   will ask you the same question.        Do you see where         15:15:19
                                                                                  12   your hand is up?                                                15:15:21
                                                                                  13            MR. McMURTRY:     Where the cursor is?                 15:15:26
                                                                                  14            MR. SIEGEL:     Yeah, where the cursor is.             15:15:28
                                                                                  15      A.    I can't even be sure that that is my                   15:15:30
                                                                                  16   hand, to be honest with you.        I don't -- I don't          15:15:33
                                                                                  17   think it is my hand.                                            15:15:44
                                                                                  18      Q.    You think that's not your hand?                        15:15:46
                                                                                  19      A.    No.     I do see a hand in the crowd,                  15:15:47
                                                                                  20   but --                                                          15:15:50
                                                                                  21            MR. McMURTRY:     I'm sorry.     I was just            15:15:50
                                                                                  22   thinking out loud.     I apologize.                             15:15:53
                                                                                  23            MR. SIEGEL:     All right.     Human nature.           15:15:55
                                                                                  24            Okay.     So let's go ahead and just play              15:15:57
                                                                                  25   that in realtime.                                               15:16:00


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                                                                                  1                (Thereupon, a video recording of Exhibit           15:16:03
                                                                                  2    17 was played.)                                                15:16:03
                                                                                  3                MS. MEEK:     Paused at 9 seconds.                 15:16:13
                                                                                  4                MR. SIEGEL:     Can we make out Nick?              15:16:18
                                                                                  5    BY MR. SIEGEL:                                                 15:16:22
                                                                                  6       Q.       That's you, where the cursor is                    15:16:22
                                                                                  7    pointing?                                                      15:16:24
                                                                                  8       A.       Yes.                                               15:16:24
                                                                                  9       Q.       Okay.    So at this point, it looks like           15:16:25
                                                                                  10   you were standing somewhat to Mr. Phillips' left?              15:16:27
                                                                                  11      A.       Correct.                                           15:16:31
                                                                                  12      Q.       Okay.    And again, at this point, there           15:16:32
                                                                                  13   are students between you and Phillips?                         15:16:35
                                                                                  14      A.       Correct.                                           15:16:38
                                                                                  15      Q.       And there are students -- quite a few              15:16:38
                                                                                  16   students behind you, right, in the rows right                  15:16:42
                                                                                  17   behind you?                                                    15:16:46
                                                                                  18      A.       Right.                                             15:16:46
                                                                                  19               MR. SIEGEL:     Okay.   Let's restart.             15:16:47
                                                                                  20               MS. MEEK:     Restarting at 9 seconds.             15:16:49
                                                                                  21               (Thereupon, a video recording of Exhibit           15:16:54
                                                                                  22   17 was played.)                                                15:16:54
                                                                                  23   BY MR. SIEGEL:                                                 15:16:56
                                                                                  24      Q.       Okay.    Again, some students in front of          15:16:56
                                                                                  25   you have parted, right, moved out of the way,                  15:16:59


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                                                                                  1    between where you and Phillips are, right?                    15:17:02
                                                                                  2       A.    Right.                                               15:17:05
                                                                                  3       Q.    Okay.    And there are still some students           15:17:06
                                                                                  4    standing behind you?                                          15:17:09
                                                                                  5       A.    Right.                                               15:17:10
                                                                                  6             MR. SIEGEL:     Okay.   Where are we now?            15:17:22
                                                                                  7    Are we at 15?                                                 15:17:25
                                                                                  8             MS. MEEK:     Yes, this is 15.                       15:17:27
                                                                                  9             MR. SIEGEL:     Okay.   Look at yourself and         15:17:28
                                                                                  10   play a couple more seconds.                                   15:17:30
                                                                                  11            (Thereupon, a video recording of Exhibit             15:17:34
                                                                                  12   17 was played.)                                               15:17:34
                                                                                  13   BY MR. SIEGEL:                                                15:17:36
                                                                                  14      Q.    Do you see you look down?                            15:17:36
                                                                                  15      A.    Not really.                                          15:17:45
                                                                                  16      Q.    Okay.    Let's go back and look at that              15:17:45
                                                                                  17   again.                                                        15:17:47
                                                                                  18            (Thereupon, a video recording of Exhibit             15:17:50
                                                                                  19   17 was played.)                                               15:17:50
                                                                                  20   BY MR. SIEGEL:                                                15:17:56
                                                                                  21      Q.    Do you see that looking down?                        15:17:56
                                                                                  22      A.    Yeah.    I'm looking down that way.                  15:17:58
                                                                                  23            MR. SIEGEL:     Okay.                                15:18:01
                                                                                  24            MS. MEEK:     We are at 16 seconds.                  15:18:03
                                                                                  25            MR. SIEGEL:     Now, just frame -- go frame          15:18:14


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                                                                                  1    by frame a little bit more.                                    15:18:16
                                                                                  2             (Thereupon, a video recording of Exhibit              15:18:19
                                                                                  3    17 was played.)                                                15:18:19
                                                                                  4             MR. SIEGEL:     Okay.   Stop.                         15:18:20
                                                                                  5    BY MR. SIEGEL:                                                 15:18:21
                                                                                  6       Q.    So it looks like the camera is blocked                15:18:21
                                                                                  7    by the white hat, right?                                       15:18:24
                                                                                  8       A.    Right.                                                15:18:26
                                                                                  9       Q.    But it looks like at this point there is              15:18:27
                                                                                  10   nobody between you and Mr. Phillips?                           15:18:30
                                                                                  11      A.    Correct.                                              15:18:32
                                                                                  12      Q.    Okay.    And it looks like at this point              15:18:33
                                                                                  13   you and Phillips are kind of facing each other?                15:18:41
                                                                                  14      A.    Right.                                                15:18:43
                                                                                  15            MR. SIEGEL:     Okay.   All right.   Let's go         15:18:51
                                                                                  16   a few more seconds.                                            15:18:53
                                                                                  17            MS. MEEK:     Starting at 16.                         15:19:00
                                                                                  18            (Thereupon, a video recording of Exhibit              15:19:02
                                                                                  19   17 was played.)                                                15:19:02
                                                                                  20   BY MR. SIEGEL:                                                 15:19:06
                                                                                  21      Q.    Do you see now Phillips has turned to                 15:19:06
                                                                                  22   his left -- I mean, to his left a little bit,                  15:19:10
                                                                                  23   right?                                                         15:19:12
                                                                                  24      A.    Right.                                                15:19:12
                                                                                  25      Q.    And he's looking -- he's not looking at               15:19:13


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                                                                                  1    you now, right?                                                15:19:15
                                                                                  2       A.      Correct.                                            15:19:16
                                                                                  3       Q.      He is looking -- you are sort of looking            15:19:16
                                                                                  4    at him, but he's not looking at you, right?                    15:19:18
                                                                                  5       A.      Right.                                              15:19:20
                                                                                  6       Q.      He's looking up towards his left?                   15:19:21
                                                                                  7       A.      Right.                                              15:19:25
                                                                                  8               MR. SIEGEL:     Where are we now, at 20             15:19:25
                                                                                  9    seconds?                                                       15:19:26
                                                                                  10              MS. MEEK:     Yes.                                  15:19:27
                                                                                  11   BY MR. SIEGEL:                                                 15:19:28
                                                                                  12      Q.      And so right now, the -- the student who            15:19:28
                                                                                  13   is standing right in front of Phillips is                      15:19:32
                                                                                  14   Cammeron, right?                                               15:19:37
                                                                                  15      A.      Correct.                                            15:19:40
                                                                                  16              MR. SIEGEL:     Okay.   So let's go -- just         15:19:41
                                                                                  17   another second frame by frame.                                 15:19:42
                                                                                  18              (Thereupon, a video recording of Exhibit            15:19:46
                                                                                  19   17 was played.)                                                15:19:46
                                                                                  20              MR. SIEGEL:     Now stop.   Where are we            15:19:52
                                                                                  21   now?                                                           15:19:54
                                                                                  22              MS. MEEK:     21 seconds.                           15:19:54
                                                                                  23   BY MR. SIEGEL:                                                 15:19:56
                                                                                  24      Q.      Now, Cammeron has just moved over,                  15:19:56
                                                                                  25   right?                                                         15:20:01


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                                                                                  1       A.       Right.                                             15:20:01
                                                                                  2       Q.       Moved over to his right?                           15:20:01
                                                                                  3       A.       Right.                                             15:20:04
                                                                                  4       Q.       So he is no longer standing in front of            15:20:04
                                                                                  5    Phillips, right?                                               15:20:07
                                                                                  6       A.       Right.                                             15:20:08
                                                                                  7       Q.       And so do you know why Mr. Phillips                15:20:09
                                                                                  8    turned to his left after first facing you and                  15:20:15
                                                                                  9    looked towards his left?                                       15:20:20
                                                                                  10      A.       No.                                                15:20:22
                                                                                  11      Q.       Is it possible that he was trying to see           15:20:24
                                                                                  12   if Cammeron and you would move out of his way?                 15:20:26
                                                                                  13               MR. McMURTRY:     Objection.                       15:20:32
                                                                                  14      A.       That's possible.     But if you rewind the         15:20:33
                                                                                  15   video a couple of seconds, you will see that                   15:20:37
                                                                                  16   there was a lot less students to go through if he              15:20:40
                                                                                  17   had gone to my right, which the other angle shows              15:20:44
                                                                                  18   when his companion gets up next to him.                        15:20:48
                                                                                  19      Q.       At this -- right now, you are saying               15:20:51
                                                                                  20   there is lots of room on the right?                            15:20:53
                                                                                  21      A.       No.   I'm saying if you rewind it a                15:20:55
                                                                                  22   couple seconds ago, you will see a lot less                    15:20:58
                                                                                  23   students, and they are a lot more spread out to                15:21:01
                                                                                  24   my right.                                                      15:21:04
                                                                                  25               MR. SIEGEL:     Let's go back a couple --          15:21:05


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                                                                                  1             MR. McMURTRY:     To his right.                       15:21:05
                                                                                  2    BY MR. SIEGEL:                                                 15:21:06
                                                                                  3       Q.    You are saying to your --                             15:21:06
                                                                                  4       A.    No.     To -- to my left.     My right now on         15:21:06
                                                                                  5    the video.                                                     15:21:12
                                                                                  6             MR. McMURTRY:     We are at five hours now.           15:21:12
                                                                                  7    You can go over, but --                                        15:21:14
                                                                                  8             MR. SIEGEL:     Are we?                               15:21:16
                                                                                  9             MR. McMURTRY:     Yes.                                15:21:17
                                                                                  10            MR. SIEGEL:     Okay.     Let's go back over          15:21:17
                                                                                  11   those two frames.                                              15:21:19
                                                                                  12            MS. MEEK:     Starting at 19 seconds.                 15:21:20
                                                                                  13            (Thereupon, a video recording of Exhibit              15:21:33
                                                                                  14   17 was played.)                                                15:21:33
                                                                                  15            MR. SIEGEL:     Okay.     So keep going.              15:21:34
                                                                                  16            THE WITNESS:     Right there.                         15:21:37
                                                                                  17   BY MR. SIEGEL:                                                 15:21:37
                                                                                  18      Q.    Okay.     So -- so your testimony is that,            15:21:37
                                                                                  19   if I understand what you are saying, is that if                15:21:43
                                                                                  20   Mr. Phillips at that point wanted to try to                    15:21:47
                                                                                  21   find -- find a path, he could have made a better               15:21:49
                                                                                  22   decision by looking to your right?                             15:21:57
                                                                                  23      A.    Right.     He could have gone around that             15:21:59
                                                                                  24   kid with what I think is a Notre Dame Irish                    15:22:01
                                                                                  25   beanie on and gotten all the way up to the kid                 15:22:08


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                                                                                  1    with both the sweatshirt and the red hat.                       15:22:11
                                                                                  2       Q.       And it's your testimony he should have              15:22:14
                                                                                  3    walked right through those snow piles?                          15:22:16
                                                                                  4       A.       Why?    I mean, what -- why wouldn't he be          15:22:18
                                                                                  5    able to?     Is there a chance that he would have               15:22:21
                                                                                  6    fallen maybe?                                                   15:22:24
                                                                                  7       Q.       Your testimony is that a 65-year-old man            15:22:26
                                                                                  8    should have just walked right through the snow                  15:22:30
                                                                                  9    piles.     Do you see there are like three snow                 15:22:33
                                                                                  10   piles on the three steps?                                       15:22:36
                                                                                  11      A.       Oh, I mean --                                       15:22:37
                                                                                  12      Q.       Is it visible here?                                 15:22:39
                                                                                  13               MR. McMURTRY:    You don't need to argue            15:22:39
                                                                                  14   it out with him.       Just -- just answer the                  15:22:41
                                                                                  15   question.     Is there a question?                              15:22:42
                                                                                  16      A.       My --                                               15:22:44
                                                                                  17               MR. McMURTRY:    Wait a second.   Let's see         15:22:45
                                                                                  18   if there's a question.                                          15:22:46
                                                                                  19   BY MR. SIEGEL:                                                  15:22:47
                                                                                  20      Q.       I just want to say, your testimony is               15:22:47
                                                                                  21   that a roughly 65-year-old man could have walked                15:22:49
                                                                                  22   up through those three snow piles to your right?                15:22:54
                                                                                  23               MR. McMURTRY:    First off, objection.              15:22:57
                                                                                  24   You have already suggested that Nick should have                15:22:58
                                                                                  25   walked up that way as if he did something wrong.                15:23:01


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                                                                                  1    If you can answer --                                             15:23:04
                                                                                  2                MR. SIEGEL:     No, I didn't say that.   But         15:23:04
                                                                                  3    go ahead.                                                        15:23:05
                                                                                  4                MR. McMURTRY:     Well, it is the same               15:23:06
                                                                                  5    frame.    No, it is the same frame.      Right in                15:23:08
                                                                                  6    there, where you said everybody was moving and                   15:23:10
                                                                                  7    there was space for him to move, that is where he                15:23:12
                                                                                  8    would -- you were suggesting that Nick move.         Now         15:23:14
                                                                                  9    you are calling into question Nick's judgment by                 15:23:17
                                                                                  10   suggesting his suggestion that Phillips do --                    15:23:21
                                                                                  11               MR. SIEGEL:     No, what I'm asking is why           15:23:21
                                                                                  12   is it his testimony that he somehow was                          15:23:23
                                                                                  13   encumbered but a 65-year-old man, roughly                        15:23:26
                                                                                  14   65-year-old man, in his view --                                  15:23:28
                                                                                  15               MR. McMURTRY:     And you argued the                 15:23:31
                                                                                  16   opposite point.     But now you are arguing his                  15:23:32
                                                                                  17   side.    You are just arguing both sides.      That's            15:23:35
                                                                                  18   all I'm saying.                                                  15:23:38
                                                                                  19               But go ahead and answer the question.                15:23:39
                                                                                  20      A.       My -- my testimony is that if I -- if I              15:23:41
                                                                                  21   would have been able to move out of the way, then                15:23:43
                                                                                  22   he should have been able to go up.                               15:23:46
                                                                                  23               I mean, that's two sides of the same                 15:23:48
                                                                                  24   coin.    If -- if it's dangerous for me to move,                 15:23:52
                                                                                  25   it's dangerous for him.                                          15:23:54


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                                                                                  1                If it wasn't for him, then it wouldn't               15:23:56
                                                                                  2    have been for me either.                                         15:23:58
                                                                                  3                It seems like Mr. Phillips and I both                15:24:00
                                                                                  4    made the same judgment right here that we both                   15:24:02
                                                                                  5    prefer not to move on the snow and ice.          That is         15:24:05
                                                                                  6    my point.                                                        15:24:10
                                                                                  7       Q.       And your contention is you made a                    15:24:10
                                                                                  8    different judgment than all the other students                   15:24:13
                                                                                  9    who were standing on those same steps and moved                  15:24:16
                                                                                  10   to the side?                                                     15:24:19
                                                                                  11      A.       Yes, the same way that Phillips did.                 15:24:21
                                                                                  12      Q.       Well, how do you know what judgment                  15:24:23
                                                                                  13   Phillips made?                                                   15:24:25
                                                                                  14      A.       Because I -- I saw what judgment he made             15:24:26
                                                                                  15   because I was two feet in front of him and I saw                 15:24:29
                                                                                  16   where he moved.                                                  15:24:31
                                                                                  17      Q.       You don't know what was in his mind?                 15:24:32
                                                                                  18      A.       Oh, I'm not -- I'm not claiming I knew               15:24:36
                                                                                  19   what was in his mind.        I'm saying I saw the                15:24:39
                                                                                  20   result of his thinking in his actions.                           15:24:42
                                                                                  21      Q.       Right.     So let's go back to the                   15:24:45
                                                                                  22   question.     Right?                                             15:24:48
                                                                                  23      A.       Okay.                                                15:24:49
                                                                                  24      Q.       So we have established that initially                15:24:49
                                                                                  25   you and Phillips came face to face?                              15:24:52


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                                                                                  1       A.     Right.                                            15:24:54
                                                                                  2       Q.     And Phillips turns to his left?                   15:24:55
                                                                                  3       A.     Right.                                            15:24:56
                                                                                  4       Q.     He is looking at Cammeron?                        15:24:57
                                                                                  5       A.     Right.                                            15:25:00
                                                                                  6       Q.     Right?     And Cammeron moves --                  15:25:00
                                                                                  7       A.     Right.                                            15:25:02
                                                                                  8       Q.     -- to the right?     And then Phillips            15:25:02
                                                                                  9    turns back towards you, right?                              15:25:04
                                                                                  10      A.     Right.                                            15:25:06
                                                                                  11      Q.     So isn't it possible that Mr. Phillips            15:25:06
                                                                                  12   at that point was trying to see if you all would            15:25:10
                                                                                  13   create a path to his left --                                15:25:16
                                                                                  14             MR. McMURTRY:     Objection.                      15:25:18
                                                                                  15   BY MR. SIEGEL:                                              15:25:18
                                                                                  16      Q.     -- so he could move that way?                     15:25:18
                                                                                  17      A.     Correct.     But I don't think there is a         15:25:20
                                                                                  18   difference.    Because the way this is being shaped         15:25:23
                                                                                  19   is that if I moved, he would have had a safer               15:25:27
                                                                                  20   path.   When in reality, the conditions on my               15:25:31
                                                                                  21   left, where we can see that it's clear and where            15:25:34
                                                                                  22   I actually was, were the same; and mine, if not,            15:25:37
                                                                                  23   might have been a little worse.                             15:25:44
                                                                                  24      Q.     Well, again, that is not my question.             15:25:45
                                                                                  25             My question is, it's possible that                15:25:48


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                                                                                  1    Phillips was, when he turned to his left and                        15:25:52
                                                                                  2    looked at Cammeron and Cammeron moved out of the                    15:25:56
                                                                                  3    way, looked back and looked at you, that Phillips                   15:25:59
                                                                                  4    was trying to see if you guys would both move to                    15:26:03
                                                                                  5    create a path for him to go towards what would                      15:26:08
                                                                                  6    now be where you are standing?                                      15:26:14
                                                                                  7                MR. McMURTRY:     Objection.                            15:26:15
                                                                                  8    BY MR. SIEGEL:                                                      15:26:16
                                                                                  9       Q.       Slightly to your right.         Isn't that              15:26:16
                                                                                  10   possible?                                                           15:26:18
                                                                                  11               MR. McMURTRY:     Objection.      Go ahead.             15:26:19
                                                                                  12      A.       It's possible he was thinking that.                     15:26:20
                                                                                  13   Again, he never made that clear.                                    15:26:22
                                                                                  14   BY MR. SIEGEL:                                                      15:26:25
                                                                                  15      Q.       He never made that clear, meaning he                    15:26:25
                                                                                  16   didn't articulate it --                                             15:26:28
                                                                                  17      A.       Correct.                                                15:26:29
                                                                                  18      Q.       -- to you at the -- at the moment?                      15:26:30
                                                                                  19      A.       Correct.                                                15:26:31
                                                                                  20               MR. SIEGEL:     Okay.   Okay.     Let's just go         15:26:31
                                                                                  21   a little bit more.                                                  15:26:48
                                                                                  22               MS. MEEK:     We were just discussing a                 15:26:50
                                                                                  23   frame at 20 seconds.        I will continue the video               15:26:53
                                                                                  24   from that point.                                                    15:26:56
                                                                                  25               MR. McMURTRY:     We are at five hours and              15:26:57


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                                                                                  1    six minutes.                                                      15:26:59
                                                                                  2             MR. SIEGEL:     Okay.                                    15:27:00
                                                                                  3             MR. McMURTRY:     I'm not stopping you.                  15:27:00
                                                                                  4    I'm just telling you.                                             15:27:02
                                                                                  5             (Thereupon, a video recording of Exhibit                 15:27:06
                                                                                  6    17 was played.)                                                   15:27:06
                                                                                  7             MS. MEEK:     I just paused at 32 seconds.               15:27:17
                                                                                  8    BY MR. SIEGEL:                                                    15:27:20
                                                                                  9       Q.    Okay.    So again, at this point in the                  15:27:20
                                                                                  10   video there are students behind you who have                      15:27:24
                                                                                  11   parted as well, right, or moved, moved to the                     15:27:27
                                                                                  12   side?                                                             15:27:30
                                                                                  13      A.    Right.                                                   15:27:31
                                                                                  14            MR. SIEGEL:     Okay.     All right.    Let's            15:27:32
                                                                                  15   quickly -- we will do part of one more video and                  15:27:33
                                                                                  16   then we will stop.     Okay?     I think that would be            15:27:36
                                                                                  17   sort of a logical breaking point.                                 15:27:39
                                                                                  18            MR. McMURTRY:     That's fine.                           15:27:41
                                                                                  19            MR. SIEGEL:     Obviously, for the record,               15:27:42
                                                                                  20   it will be less time tomorrow.                                    15:27:44
                                                                                  21            MR. McMURTRY:     Video -- which is the                  15:28:08
                                                                                  22   video?                                                            15:28:09
                                                                                  23            MR. SIEGEL:     I'm sorry.     Exhibit 18,               15:28:10
                                                                                  24   which is video 17 of the stip.        Sorry.    1 minute,         15:28:12
                                                                                  25   55 seconds.                                                       15:28:20


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                                                                                  1               (Thereupon, a video recording of Exhibit            15:28:38
                                                                                  2    18 was played.)                                                15:28:38
                                                                                  3               MR. SIEGEL:     Let's go 10 more seconds.           15:28:54
                                                                                  4               (Thereupon, a video recording of Exhibit            15:29:01
                                                                                  5    18 was played.)                                                15:29:01
                                                                                  6    BY MR. SIEGEL:                                                 15:29:08
                                                                                  7       Q.      It looks like you were sort of cupping              15:29:08
                                                                                  8    your mouth, maybe yelling something there.          Do         15:29:11
                                                                                  9    you want to look at it again?                                  15:29:13
                                                                                  10              MR. SIEGEL:     Just do a quick --                  15:29:17
                                                                                  11              MS. MEEK:     This is at 2 minutes and 25           15:29:17
                                                                                  12   seconds.                                                       15:29:20
                                                                                  13              (Thereupon, a video recording of Exhibit            15:29:33
                                                                                  14   18 was played.)                                                15:29:33
                                                                                  15      A.      Yes.                                                15:29:45
                                                                                  16   BY MR. SIEGEL:                                                 15:29:45
                                                                                  17      Q.      What were you -- do you know what you               15:29:45
                                                                                  18   were yelling?                                                  15:29:48
                                                                                  19      A.      I do not.                                           15:29:48
                                                                                  20      Q.      Okay.    So, again, at this point, there            15:29:49
                                                                                  21   are several rows of students between you and the               15:29:53
                                                                                  22   camera, right?                                                 15:29:59
                                                                                  23      A.      Correct.                                            15:30:00
                                                                                  24              MR. SIEGEL:     Okay.   Let's restart.              15:30:00
                                                                                  25              MS. MEEK:     Restarting at 2 minutes and           15:30:02


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                                                                                  1    25 seconds.                                                   15:30:06
                                                                                  2              (Thereupon, a video recording of Exhibit            15:30:08
                                                                                  3    18 was played.)                                               15:30:08
                                                                                  4              MR. SIEGEL:     We can keep going.                  15:30:11
                                                                                  5              (Thereupon, a video recording of Exhibit            15:30:31
                                                                                  6    18 was played.)                                               15:30:31
                                                                                  7              MR. SIEGEL:     Okay.   So now we are at --         15:30:33
                                                                                  8    where are we at now, Jessie?                                  15:30:34
                                                                                  9              MS. MEEK:     2 minutes and 45 seconds.             15:30:36
                                                                                  10   BY MR. SIEGEL:                                                15:30:38
                                                                                  11      Q.     Okay.    So, again, there are still two or          15:30:38
                                                                                  12   three rows of students between you and the                    15:30:41
                                                                                  13   camera?                                                       15:30:44
                                                                                  14      A.     Yes.                                                15:30:44
                                                                                  15             MR. SIEGEL:     Okay.   Keep going.                 15:30:45
                                                                                  16             (Thereupon, a video recording of Exhibit            15:30:48
                                                                                  17   18 was played.)                                               15:30:48
                                                                                  18   BY MR. SIEGEL:                                                15:31:09
                                                                                  19      Q.     So --                                               15:31:09
                                                                                  20             MS. MEEK:     We just paused at 3 minutes           15:31:11
                                                                                  21   and 7 seconds.                                                15:31:13
                                                                                  22   BY MR. SIEGEL:                                                15:31:15
                                                                                  23      Q.     Okay.    So now you're -- you're -- from            15:31:15
                                                                                  24   this angle, you're -- the fellow who you don't                15:31:17
                                                                                  25   know is to your right, right, behind you in the               15:31:21


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                                                                                  1    black hoodie?                                                 15:31:24
                                                                                  2              Who is the fellow in the Notre Dame hat             15:31:26
                                                                                  3    right behind you, a little to your left?                      15:31:31
                                                                                  4       A.     I think I was able to identify him on               15:31:33
                                                                                  5    the stills.     It's kind of hard to right here.              15:31:36
                                                                                  6    But I would assume -- I would guess, based off                15:31:40
                                                                                  7    this picture, that it's Chase Donahue.                        15:31:44
                                                                                  8       Q.     Chase Donahue?     Okay.                            15:31:47
                                                                                  9       A.     I could be wrong.                                   15:31:50
                                                                                  10      Q.     Is he somebody you knew?                            15:31:51
                                                                                  11      A.     He was in my grade, yeah.                           15:31:52
                                                                                  12             MR. SIEGEL:     Okay.   Let's go ahead.             15:32:02
                                                                                  13             (Thereupon, a video recording of Exhibit            15:32:05
                                                                                  14   18 was played.)                                               15:32:05
                                                                                  15   BY MR. SIEGEL:                                                15:32:07
                                                                                  16      Q.     Okay.    From that angle, Nick, didn't you          15:32:07
                                                                                  17   just move over to your right a little?                        15:32:10
                                                                                  18      A.     Can you rewind it?                                  15:32:13
                                                                                  19             MR. SIEGEL:     Sure.                               15:32:15
                                                                                  20             MR. McMURTRY:     Can you go frame by frame         15:32:15
                                                                                  21   backwards?                                                    15:32:18
                                                                                  22             MS. MEEK:     Not on a VLC player.   I'm            15:32:19
                                                                                  23   starting at 3:07.                                             15:32:27
                                                                                  24             MR. McMURTRY:     Do it frame by frame,             15:32:29
                                                                                  25   please.                                                       15:32:31


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                                                                                  1                I mean, I can't -- you say this stuff.                 15:32:32
                                                                                  2    I can't see it.        I'm just trying to know whether             15:32:34
                                                                                  3    I need to object or not.                                           15:32:36
                                                                                  4                You are saying he moved forward.           Can         15:32:38
                                                                                  5    you identify where he moved --                                     15:32:41
                                                                                  6                MR. SIEGEL:     No.     My question was, you           15:32:43
                                                                                  7    moved to your right?                                               15:32:46
                                                                                  8                (Thereupon, a video recording of Exhibit               15:32:58
                                                                                  9    18 was played.)                                                    15:32:58
                                                                                  10               MS. MEEK:     We just did frame by frame               15:33:29
                                                                                  11   from 3:07 to 3:12.                                                 15:33:31
                                                                                  12   BY MR. SIEGEL:                                                     15:33:35
                                                                                  13         Q.    So from that vantage point, Nick, is                   15:33:35
                                                                                  14   when you moved some to your right?                                 15:33:36
                                                                                  15         A.    I answered so as I may have.        It's               15:33:38
                                                                                  16   somewhat hard to tell with the video.           Whoever            15:33:41
                                                                                  17   recorded this, it's kind of shaky.           I could have.         15:33:44
                                                                                  18   It's -- it's -- I can't put a definite answer on                   15:33:49
                                                                                  19   it.                                                                15:33:53
                                                                                  20         Q.    Okay.    And at this point, it looks like              15:33:56
                                                                                  21   there are still maybe one or two rows of students                  15:33:59
                                                                                  22   between you and the camera?                                        15:34:02
                                                                                  23         A.    Correct.                                               15:34:04
                                                                                  24               MR. SIEGEL:     Okay.     Let's keep going             15:34:08
                                                                                  25   realtime.                                                          15:34:12


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                                                                                  1               MS. MEEK:     Starting at 3 minutes and 12         15:34:12
                                                                                  2    seconds.                                                      15:34:15
                                                                                  3               (Thereupon, a video recording of Exhibit           15:34:38
                                                                                  4    18 was played.)                                               15:34:38
                                                                                  5               MS. MEEK:     Paused at 3 minutes and 32           15:34:39
                                                                                  6    seconds.                                                      15:34:42
                                                                                  7    BY MR. SIEGEL:                                                15:34:43
                                                                                  8       Q.      Okay.    So at this point, Nick, am I              15:34:43
                                                                                  9    correct that the student to your left as you are              15:34:47
                                                                                  10   looking from the stairs is Beau?                              15:34:50
                                                                                  11      A.      Yes.                                               15:34:53
                                                                                  12      Q.      Okay.    And do you see on your right,             15:35:01
                                                                                  13   there is a student in a -- like a gray hoodie and             15:35:03
                                                                                  14   a blue or black ski hat?                                      15:35:08
                                                                                  15      A.      Yes.                                               15:35:11
                                                                                  16      Q.      Do you know who that is?                           15:35:12
                                                                                  17      A.      Yes.                                               15:35:13
                                                                                  18      Q.      Who's that?                                        15:35:13
                                                                                  19      A.      That's Joe Kiely.                                  15:35:13
                                                                                  20      Q.      Joe Kiely.     Okay.   So Joe Kiely is on          15:35:15
                                                                                  21   your right and Beau's on your left.        I will try         15:35:19
                                                                                  22   to remember those names.                                      15:35:24
                                                                                  23              And the guy -- the guy -- there is a guy           15:35:28
                                                                                  24   who you don't know, right, a row behind, between              15:35:32
                                                                                  25   you and Beau?                                                 15:35:36


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                                                                                  1       A.      Correct.                                                15:35:37
                                                                                  2       Q.      You are a little bit to his right.         Beau         15:35:38
                                                                                  3    is a little bit to his left.        Right?                         15:35:41
                                                                                  4       A.      Yes.                                                    15:35:43
                                                                                  5               MR. SIEGEL:     Okay.   Let's go.                       15:35:48
                                                                                  6               MS. MEEK:     Continuing on from 3:32.                  15:35:49
                                                                                  7               (Thereupon, a video recording of Exhibit                15:35:55
                                                                                  8    18 was played.)                                                    15:35:55
                                                                                  9               MS. MEEK:     Paused at 3:37.                           15:35:57
                                                                                  10   BY MR. SIEGEL:                                                     15:36:02
                                                                                  11      Q.      Okay.    So now Beau's -- Beau's sort of                15:36:02
                                                                                  12   moving over to the side, right?        He is moving                15:36:09
                                                                                  13   over to your left.       And the other guy, the blue               15:36:12
                                                                                  14   ski hat --                                                         15:36:21
                                                                                  15      A.      Joe.                                                    15:36:22
                                                                                  16      Q.      -- Joe is moving over to your right?                    15:36:22
                                                                                  17      A.      Right.                                                  15:36:25
                                                                                  18      Q.      Okay.    And let's go -- okay.      And you             15:36:28
                                                                                  19   are still standing in front of the fellow with                     15:36:36
                                                                                  20   the black sweatshirt sort of to his right, right?                  15:36:40
                                                                                  21      A.      Right.                                                  15:36:44
                                                                                  22              MR. SIEGEL:     Okay.   Let's play it.                  15:36:44
                                                                                  23              MS. MEEK:     Playing from 3 minutes and 37             15:36:46
                                                                                  24   seconds.                                                           15:36:51
                                                                                  25              (Thereupon, a video recording of Exhibit                15:36:54


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                                                                                  1    18 was played.)                                                15:36:54
                                                                                  2               MS. MEEK:     Paused at 3 minutes and 42            15:36:55
                                                                                  3    seconds.                                                       15:36:58
                                                                                  4    BY MR. SIEGEL:                                                 15:36:58
                                                                                  5       Q.      Okay.    Nick, do we see you look down              15:36:58
                                                                                  6    again?                                                         15:37:01
                                                                                  7       A.      Yeah.                                               15:37:02
                                                                                  8       Q.      And did you move a little bit over to               15:37:03
                                                                                  9    your left?                                                     15:37:06
                                                                                  10      A.      My left?                                            15:37:07
                                                                                  11      Q.      Your left as you were standing there?               15:37:10
                                                                                  12      A.      Can you replay it?                                  15:37:13
                                                                                  13              MR. SIEGEL:     Sure.                               15:37:15
                                                                                  14              MS. MEEK:     Going back to 3:37.   We will         15:37:19
                                                                                  15   pause at 3:42.                                                 15:37:24
                                                                                  16   BY MR. SIEGEL:                                                 15:37:26
                                                                                  17      Q.      Just to get it into the record, so now              15:37:26
                                                                                  18   you are to the right of the fellow in the black                15:37:29
                                                                                  19   sweatshirt who you don't know, right?                          15:37:32
                                                                                  20      A.      Right.                                              15:37:34
                                                                                  21              MR. SIEGEL:     Go ahead and play it.               15:37:34
                                                                                  22              (Thereupon, a video recording of Exhibit            15:37:37
                                                                                  23   18 was played.)                                                15:37:37
                                                                                  24   BY MR. SIEGEL:                                                 15:37:43
                                                                                  25      Q.      It seems like you just moved over a                 15:37:43


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                                                                                  1    little to your left?                                             15:37:46
                                                                                  2       A.     I think the guy behind me moved.        I              15:37:47
                                                                                  3    think I kind of -- if I moved over, it may have                  15:37:49
                                                                                  4    been two inches, an inch.         I think I was just             15:37:52
                                                                                  5    kind of resetting my footing on the step.                        15:37:55
                                                                                  6              MR. McMURTRY:     We do need to wrap it up.            15:37:59
                                                                                  7    BY MR. SIEGEL:                                                   15:38:02
                                                                                  8       Q.     Okay.     So -- so you may have been                   15:38:02
                                                                                  9    repositioning yourself a little bit, just                        15:38:03
                                                                                  10   resetting your footing?                                          15:38:07
                                                                                  11      A.     Yeah, resetting my footing.        If I moved,         15:38:08
                                                                                  12   it was very minimal to where it was not -- was                   15:38:11
                                                                                  13   not noticeable, for the most part, besides when                  15:38:14
                                                                                  14   you slow down the frame.                                         15:38:17
                                                                                  15      Q.     Well, you say it's not noticeable for                  15:38:18
                                                                                  16   the most part.      Can you say that it's absolutely             15:38:20
                                                                                  17   not noticeable to somebody who was watching this                 15:38:23
                                                                                  18   at the time?                                                     15:38:26
                                                                                  19      A.     No.     I'm -- I'm just saying that the                15:38:26
                                                                                  20   movement in which I did was minimal.         It's not            15:38:30
                                                                                  21   like I slid over a foot or two.         I moved six              15:38:33
                                                                                  22   inches at the most.                                              15:38:39
                                                                                  23             MR. SIEGEL:     Okay.     And at this point,           15:38:50
                                                                                  24   you're -- let's go six more seconds, and then we                 15:38:53
                                                                                  25   will --                                                          15:38:54


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                                                                                  1              MS. MEEK:     Starting at 3:42.                      15:38:55
                                                                                  2              MR. SIEGEL:     Yes.                                 15:38:57
                                                                                  3              (Thereupon, a video recording of Exhibit             15:39:00
                                                                                  4    18 was played.)                                                15:39:00
                                                                                  5    BY MR. SIEGEL:                                                 15:39:04
                                                                                  6       Q.     So at this point, you are right in front             15:39:04
                                                                                  7    of Nathan Phillips, right?                                     15:39:07
                                                                                  8       A.     Right.                                               15:39:09
                                                                                  9              MR. SIEGEL:     Okay.    Let's call it a day         15:39:10
                                                                                  10   and come back tomorrow.                                        15:39:12
                                                                                  11             MR. McMURTRY:     See you in the morning.            15:39:13
                                                                                  12             MR. SIEGEL:     For my prep purposes, how            15:39:14
                                                                                  13   long did we go today?                                          15:39:16
                                                                                  14             THE VIDEOGRAPHER:       Counsel, would you           15:39:19
                                                                                  15   like to go off the record and I can tell you the               15:39:20
                                                                                  16   full amount?                                                   15:39:22
                                                                                  17             MR. SIEGEL:     Sure.                                15:39:23
                                                                                  18             THE VIDEOGRAPHER:       We are going off the         15:39:24
                                                                                  19   record.   The time is 3:39 p.m.                                15:39:25
                                                                                  20             (Off the record at 3:39 p.m.)                        15:39:29
                                                                                  21   Tuesday, September 14, 2021 Continuation of the                09:14:27
                                                                                  22   deposition of Nicholas Sandmann                                09:14:27
                                                                                  23             THE VIDEOGRAPHER:       This begins day two,         09:14:35
                                                                                  24   continuing the deposition of Nicholas Sandmann in              09:14:37
                                                                                  25   the matter of Nicholas Sandmann, et al. versus                 09:14:39


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                                                                                  1    NBCUniversal Media, LLC, Case Number                       09:14:43
                                                                                  2    19-CV-00056-WOB-CJS, and Nicholas Sandmann, et             09:14:47
                                                                                  3    al. versus The New York Times Company dba The New          09:14:57
                                                                                  4    York Times, Case Number 20-CV-00023-WOB-CJS, and           09:14:58
                                                                                  5    Nicholas Sandmann, et al. versus CBS News,                 09:15:09
                                                                                  6    Incorporated, et al., Case Number                          09:15:13
                                                                                  7    20-CV-00024-WOB-CJS, and Nicholas Sandmann, et             09:15:15
                                                                                  8    al. versus ABC News, Incorporated, et al., Case            09:15:24
                                                                                  9    Number 2:20-CV-00025-WOB-CJS, and Nicholas                 09:15:28
                                                                                  10   Sandmann, et al. versus Gannett Company,                   09:15:39
                                                                                  11   Incorporated, et al., Case Number                          09:15:44
                                                                                  12   2:20-CV-00026-WOB-CJS, and Nicholas Sandmann, et           09:15:46
                                                                                  13   al. versus Rolling Stone, LLC, et al., Case                09:15:54
                                                                                  14   Number 2:20-CV-00027-WOB-CJS, all cases filed in           09:15:59
                                                                                  15   the United States District Court Eastern District          09:16:08
                                                                                  16   of Kentucky Northern Division at Covington.                09:16:12
                                                                                  17             Today's date is Tuesday, September 14th,         09:16:15
                                                                                  18   2021.   The time on the video monitor is now               09:16:18
                                                                                  19   9:16 a.m. eastern daylight time.                           09:16:21
                                                                                  20             The videographer today is John Parkman           09:16:26
                                                                                  21   representing Planet Depos.                                 09:16:26
                                                                                  22             This video deposition is taking place            09:16:27
                                                                                  23   remotely via Zoom video conference.                        09:16:29
                                                                                  24             Would counsel please voice-identify              09:16:32
                                                                                  25   themselves and state whom they represent?                  09:16:32


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                                                                                  1               MR. McMURTRY:     Todd McMurtry here                09:16:36
                                                                                  2    representing the Plaintiff, Nicholas Sandmann.                 09:16:39
                                                                                  3               MR. SIEGEL:     Nathan Siegel, Davis,               09:16:42
                                                                                  4    Wright, Tremaine, representing ABC.                            09:16:42
                                                                                  5               MR. FORD:     Darren Ford representing              09:16:46
                                                                                  6    NBCUniversal, LLC, and The New York Times                      09:16:47
                                                                                  7    Company.                                                       09:16:51
                                                                                  8               MR. SHOOK:     Kevin Shook representing             09:16:52
                                                                                  9    Rolling Stone.                                                 09:16:55
                                                                                  10              MS. KRISHNAN:     Meenu Krishnan                    09:16:58
                                                                                  11   representing ABC.                                              09:17:00
                                                                                  12              MR. ABATE:     Michael Abate representing           09:17:02
                                                                                  13   Gannett Satellite Information.                                 09:17:05
                                                                                  14              MR. GRYGIEL:     Michael Grygiel, Greenberg         09:17:07
                                                                                  15   Traurig, also representing Gannett and Gannett                 09:17:10
                                                                                  16   Satellite.                                                     09:17:11
                                                                                  17              MS. SPEARS:     Natalie Spears representing         09:17:12
                                                                                  18   CBS Defendants.                                                09:17:17
                                                                                  19              MR. CRAIG:     Bob Craig for Defendant ABC.         09:17:22
                                                                                  20              MR. GOELLNER:     Ryan Goellner for                 09:17:28
                                                                                  21   Defendants Rolling Stone and Penske Media.                     09:17:30
                                                                                  22              MR. HUBER:     Will Huber for Plaintiff             09:17:34
                                                                                  23   Nick Sandmann.                                                 09:17:38
                                                                                  24              THE VIDEOGRAPHER:     The court reporter            09:17:44
                                                                                  25   today is Dianna Kilgalen also representing Planet              09:17:45


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                                                                                  1    Depos.                                                             09:17:48
                                                                                  2                Will the reporter please swear in the                  09:17:53
                                                                                  3    witness?                                                           09:17:53
                                                                                  4                MR. SIEGEL:     Before you do, before we go            09:17:53
                                                                                  5    on the record, can you hear me okay?            I ask only         09:17:55
                                                                                  6    because yesterday, there was a microphone in                       09:18:02
                                                                                  7    front of me, but I don't think I have one yet                      09:18:02
                                                                                  8    today, so.                                                         09:18:02
                                                                                  9                THE REPORTER:     I can hear you fine,                 09:18:02
                                                                                  10   Mr. Siegel.                                                        09:18:04
                                                                                  11               MR. SIEGEL:     Okay.     But we can start.            09:18:08
                                                                                  12   Go ahead.     You can swear the witness in.         Wait.          09:18:17
                                                                                  13   Yeah.                                                              09:18:17
                                                                                  14               MR. McMURTRY:     We don't need to.                    09:18:17
                                                                                  15               MR. SIEGEL:     We waive -- he's already               09:18:19
                                                                                  16   sworn.                                                             09:18:22
                                                                                  17               THE REPORTER:     Okay.                                09:18:22
                                                                                  18               MR. SIEGEL:     We all agree to that.                  09:18:23
                                                                                  19   Okay?                                                              09:18:27
                                                                                  20               THE REPORTER:     Okay.                                09:18:28
                                                                                  21               MR. SIEGEL:     And everything is fine with            09:18:32
                                                                                  22   the video?                                                         09:18:34
                                                                                  23               THE VIDEOGRAPHER:       Yes, sir.    You may           09:18:35
                                                                                  24   proceed.                                                           09:18:39
                                                                                  25               MR. SIEGEL:     Okay.     Great.                       09:18:39


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                                                                                  1                         P R O C E E D I N G S                            09:18:39
                                                                                  2                NICHOLAS SANDMAN, having been previously                  09:18:39
                                                                                  3    duly sworn, was recalled and testified as                             09:18:39
                                                                                  4    follows:                                                              09:18:39
                                                                                  5     EXAMINATION BY COUNSEL FOR THE DEFENDANTS ABC                        09:18:39
                                                                                  6    NEWS, INC., ABC NEWS INTERACTIVE, INC., AND THE                       09:18:39
                                                                                  7                       WALT DISNEY COMPANY                                09:18:39
                                                                                  8    BY MR. SIEGEL:                                                        09:18:39
                                                                                  9       Q.       Good morning, Nick.         We are going to               09:18:39
                                                                                  10   continue with some of the video we were showing.                      09:18:42
                                                                                  11   And I will ask if you can just try to pay                             09:18:45
                                                                                  12   attention on this to what you can hear from the                       09:18:50
                                                                                  13   crowd.     Okay?     Thanks.                                          09:18:53
                                                                                  14               So we are going to start at Exhibit 18,                   09:18:56
                                                                                  15   which is video 17 on the stip.                                        09:19:02
                                                                                  16               MS. MEEK:     It is video 19.                             09:19:06
                                                                                  17               MR. SIEGEL:        I'm sorry.   Why don't you             09:19:09
                                                                                  18   call it out?         You will --                                      09:19:11
                                                                                  19               MS. MEEK:     We are starting on Exhibit 18               09:19:12
                                                                                  20   at 4 minutes and 38 seconds.                                          09:19:17
                                                                                  21               MR. SIEGEL:        She has it as video 17.      I         09:19:23
                                                                                  22   just want to make sure there is no --                                 09:19:26
                                                                                  23               MS. MEEK:     Maybe it was adjusted later.                09:19:27
                                                                                  24               MR. SIEGEL:        Yeah.   It's video 17.                 09:19:29
                                                                                  25               MS. MEEK:     This one is video 2.                        09:19:33


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                                                                                  1              MR. SIEGEL:       Right.    Exhibit 18, video           09:19:34
                                                                                  2    2 -- video 17.      Okay.    We will go with that.      I         09:19:37
                                                                                  3    will double check it just to make sure of it.                     09:19:41
                                                                                  4              (Thereupon, a video recording of Exhibit                09:19:44
                                                                                  5    18 was played.)                                                   09:19:44
                                                                                  6    BY MR. SIEGEL:                                                    09:19:51
                                                                                  7       Q.     Do you -- do you hear a couple of kids                  09:19:51
                                                                                  8    saying:   You can't move him?                                     09:19:53
                                                                                  9       A.     No.     You can replay it.                              09:19:55
                                                                                  10             MR. SIEGEL:       Yeah.    Let's replay it.             09:19:59
                                                                                  11             MS. MEEK:     Starting again at 4:38.                   09:20:02
                                                                                  12             (Thereupon, a video recording of Exhibit                09:20:07
                                                                                  13   18 was played.)                                                   09:20:07
                                                                                  14   BY MR. SIEGEL:                                                    09:20:12
                                                                                  15      Q.     Did you hear that?                                      09:20:12
                                                                                  16      A.     Yes.                                                    09:20:14
                                                                                  17      Q.     Okay.     Did you hear that at the time?                09:20:14
                                                                                  18      A.     I'm not sure if I did.         And from this, I         09:20:19
                                                                                  19   can't really tell who said it.                                    09:20:22
                                                                                  20      Q.     Okay.     And what do you understand it to              09:20:25
                                                                                  21   mean?                                                             09:20:33
                                                                                  22             MR. McMURTRY:       Objection.    Go ahead.             09:20:33
                                                                                  23      A.     I understand that based off whoever --                  09:20:35
                                                                                  24   whoever said it, whether it was a student from                    09:20:39
                                                                                  25   Cov Cath, a third party or someone associated                     09:20:43


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                                                                                  1    with Mr. Phillips, that Mr. Phillips would be                09:20:46
                                                                                  2    unable to move me.                                           09:20:52
                                                                                  3    BY MR. SIEGEL:                                               09:20:55
                                                                                  4       Q.    Okay.    Do you -- whoever said it, right,          09:20:55
                                                                                  5    do you think it would be fair to say that that               09:21:03
                                                                                  6    could be interpreted as taunting Mr. Phillips?               09:21:05
                                                                                  7             MR. McMURTRY:     Objection.                        09:21:11
                                                                                  8       A.    No.                                                 09:21:12
                                                                                  9    BY MR. SIEGEL:                                               09:21:13
                                                                                  10      Q.    And why not?                                        09:21:13
                                                                                  11      A.    Because I -- whoever said it was, I                 09:21:14
                                                                                  12   think -- or I think was noticing how close                   09:21:20
                                                                                  13   Mr. Phillips was to me and simply stating the                09:21:23
                                                                                  14   obvious, that Mr. Phillips could not move me.                09:21:28
                                                                                  15      Q.    Okay.    So, what, they were in your --             09:21:32
                                                                                  16   so --                                                        09:21:38
                                                                                  17            MR. McMURTRY:     He answered the question.         09:21:41
                                                                                  18            MR. SIEGEL:     No.   That's fair.                  09:21:43
                                                                                  19   BY MR. SIEGEL:                                               09:21:45
                                                                                  20      Q.    And so, your -- in your opinion, they               09:21:45
                                                                                  21   weren't in any way -- well, I will rephrase it.              09:21:47
                                                                                  22            Do you think that was disrespectful to              09:21:51
                                                                                  23   Mr. Phillips, whoever said it?                               09:21:53
                                                                                  24            MR. McMURTRY:     Objection.                        09:21:56
                                                                                  25      A.    No, because I don't think Mr. Phillips              09:21:57


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                                                                                  1    has a right to move me.                                     09:21:59
                                                                                  2    BY MR. SIEGEL:                                              09:22:03
                                                                                  3       Q.    Okay.    Would it be fair to say that              09:22:03
                                                                                  4    people -- someone could reasonably disagree with            09:22:07
                                                                                  5    you about whether that was disrespectful to him             09:22:10
                                                                                  6    in that moment?                                             09:22:13
                                                                                  7             MR. McMURTRY:     Objection.                       09:22:14
                                                                                  8       A.    I disagree with that.                              09:22:14
                                                                                  9             MR. SIEGEL:     Yeah, I understand you             09:22:16
                                                                                  10   would disagree with it.                                     09:22:17
                                                                                  11      A.    No, I don't think it's reasonable to               09:22:19
                                                                                  12   think that.                                                 09:22:21
                                                                                  13      Q.    Okay.    So you -- you think that your             09:22:21
                                                                                  14   opinion is the only reasonable opinion?                     09:22:23
                                                                                  15            MR. McMURTRY:     Objection.                       09:22:25
                                                                                  16      A.    I didn't say that.     I think it's just           09:22:25
                                                                                  17   unreasonable to think that it would be respectful           09:22:28
                                                                                  18   to be able to move me out of the way.                       09:22:31
                                                                                  19   BY MR. SIEGEL:                                              09:22:35
                                                                                  20      Q.    Well, what the person said was:     You            09:22:35
                                                                                  21   can't move him, right?                                      09:22:39
                                                                                  22      A.    Right.                                             09:22:41
                                                                                  23      Q.    So what -- so why do you think it would            09:22:42
                                                                                  24   be disrespectful to think that Mr. Phillips could           09:22:49
                                                                                  25   move you out of the way?                                    09:22:56


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                                                                                  1       A.    Because Mr. Phillips and I have never                   09:22:58
                                                                                  2    known each other for our entire lives, and for                   09:23:01
                                                                                  3    him to physically move me out of the way would                   09:23:06
                                                                                  4    involve him in some way using some kind of force                 09:23:10
                                                                                  5    to alter where I was.     And to me, that's very                 09:23:14
                                                                                  6    disrespectful to put your hands on someone you                   09:23:18
                                                                                  7    don't know.                                                      09:23:21
                                                                                  8       Q.    Okay.    What about, do you think it would              09:23:22
                                                                                  9    be disrespectful for Mr. Phillips to -- strike                   09:23:26
                                                                                  10   that.                                                            09:23:35
                                                                                  11            Okay.    Let's keep going.                              09:23:44
                                                                                  12            MS. MEEK:     Starting at 4:43.                         09:23:46
                                                                                  13            MR. SIEGEL:     Listen here, because it's               09:23:48
                                                                                  14   literally like two or three seconds.        Okay?     We         09:23:49
                                                                                  15   will replay it, if we need to.                                   09:23:51
                                                                                  16            (Thereupon, a video recording of Exhibit                09:23:55
                                                                                  17   18 was played.)                                                  09:23:55
                                                                                  18   BY MR. SIEGEL:                                                   09:23:56
                                                                                  19      Q.    Did you hear somebody say:        Get him?              09:23:56
                                                                                  20      A.    It kind of cut off.                                     09:23:58
                                                                                  21            MR. SIEGEL:     It actually was                         09:24:00
                                                                                  22   literally -- listen to it again.                                 09:24:01
                                                                                  23            (Thereupon, a video recording of Exhibit                09:24:17
                                                                                  24   18 was played.)                                                  09:24:17
                                                                                  25      A.    Yes, I hear that.                                       09:24:18


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                                                                                  1    BY MR. SIEGEL:                                               09:24:20
                                                                                  2       Q.     Okay.    Did you hear that at the time?            09:24:20
                                                                                  3       A.     It's possible.                                     09:24:22
                                                                                  4       Q.     Do you know who said either one of                 09:24:31
                                                                                  5    those?                                                       09:24:33
                                                                                  6       A.     No.                                                09:24:33
                                                                                  7       Q.     Okay.    What do you understand it to              09:24:34
                                                                                  8    mean?                                                        09:24:39
                                                                                  9              MR. McMURTRY:     Objection.   Go ahead.           09:24:40
                                                                                  10      A.     To be honest, I don't really know what             09:24:41
                                                                                  11   they mean by that.      I -- I don't -- I don't              09:24:44
                                                                                  12   really know.                                                 09:24:51
                                                                                  13   BY MR. SIEGEL:                                               09:24:52
                                                                                  14      Q.     Okay.    Could that be interpreted as              09:24:52
                                                                                  15   disrespectful to Phillips?                                   09:24:55
                                                                                  16             MR. McMURTRY:     Objection.                       09:24:57
                                                                                  17   BY MR. SIEGEL:                                               09:24:58
                                                                                  18      Q.     In your opinion.                                   09:24:58
                                                                                  19      A.     That could be interpreted.                         09:25:00
                                                                                  20      Q.     Okay.    Now, at this point -- let's               09:25:02
                                                                                  21   just --                                                      09:25:04
                                                                                  22             MR. SIEGEL:     For the record, the time           09:25:05
                                                                                  23   code?                                                        09:25:07
                                                                                  24             MS. MEEK:     4 minutes and 46 seconds.            09:25:08
                                                                                  25   BY MR. SIEGEL:                                               09:25:12


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                                                                                  1          Q.   Okay.    So at this point, there is                09:25:12
                                                                                  2    still -- this is a little bit of an angle, but                09:25:15
                                                                                  3    there are still several rows of space behind you,             09:25:19
                                                                                  4    right, where there -- where there are not any                 09:25:22
                                                                                  5    kids?                                                         09:25:24
                                                                                  6          A.   Correct.                                           09:25:24
                                                                                  7               MR. McMURTRY:     Objection.   Go ahead.           09:25:24
                                                                                  8          A.   Correct.                                           09:25:26
                                                                                  9               MR. SIEGEL:     Okay.   Let's keep playing         09:25:26
                                                                                  10   it.                                                           09:25:29
                                                                                  11              (Thereupon, a video recording of Exhibit           09:25:30
                                                                                  12   18 was played.)                                               09:25:30
                                                                                  13              MS. MEEK:     I just paused at 5 minutes.          09:25:46
                                                                                  14   BY MR. SIEGEL:                                                09:25:50
                                                                                  15         Q.   Okay.    So in that roughly 15 seconds we          09:25:50
                                                                                  16   saw, right, the students have all kind of filled              09:25:52
                                                                                  17   back in, right?                                               09:25:56
                                                                                  18         A.   Right.                                             09:25:57
                                                                                  19         Q.   And so you have several kids that are              09:25:58
                                                                                  20   right behind you at that point and closer on your             09:26:04
                                                                                  21   side, et cetera, right?                                       09:26:06
                                                                                  22         A.   Correct.                                           09:26:07
                                                                                  23         Q.   Okay.    And you testified before that the         09:26:08
                                                                                  24   longer it went on, the more I felt like getting               09:26:13
                                                                                  25   out of there; at first I didn't want to; then                 09:26:17


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                                                                                  1    when I did, I realized I didn't have the option.             09:26:19
                                                                                  2    Was this about the point where you were sort of              09:26:23
                                                                                  3    thinking I wish I could get out of here?                     09:26:26
                                                                                  4       A.     Yes.    After a couple minutes, when I             09:26:29
                                                                                  5    realized that he wasn't going to move around me              09:26:32
                                                                                  6    or go anywhere else, it started to make me feel              09:26:36
                                                                                  7    uncomfortable.     Because in my opinion, it was             09:26:42
                                                                                  8    very awkward, and I -- I just felt as if the                 09:26:45
                                                                                  9    longer he stayed there, the more weird the                   09:26:51
                                                                                  10   encounter was, which made me want to leave more.             09:26:57
                                                                                  11             MR. SIEGEL:    Okay.   Let's go to -- can          09:27:02
                                                                                  12   you hand, Nick and Todd, Exhibit 19, which is --             09:27:06
                                                                                  13   the Bates numbers are NS 105 and 106.                        09:27:14
                                                                                  14             Nick, you have the same initials as me,            09:27:21
                                                                                  15   and this completely confounds me throughout this             09:27:25
                                                                                  16   case.   I keep thinking I'm looking at my name.              09:27:28
                                                                                  17   BY MR. SIEGEL:                                               09:27:36
                                                                                  18      Q.     So this is -- this appears to be --                09:27:36
                                                                                  19   well, you tell us what this is.                              09:27:37
                                                                                  20      A.     This is an e-mail I sent the time day              09:27:39
                                                                                  21   after the encounter to my principal.                         09:27:41
                                                                                  22      Q.     Okay.    And I take it you -- you wrote            09:27:49
                                                                                  23   this, right?                                                 09:27:52
                                                                                  24      A.     Correct.                                           09:27:53
                                                                                  25      Q.     Okay.    I'm going to try to go -- do you          09:27:54


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                                                                                  1    see the sentence that's maybe about a third of                09:28:07
                                                                                  2    the way down where it says:       We did the normal           09:28:10
                                                                                  3    spirit cheers?                                                09:28:13
                                                                                  4              I'm actually going to start on the next             09:28:15
                                                                                  5    one, which says:     At this point, I was in the              09:28:18
                                                                                  6    middle surrounded.                                            09:28:20
                                                                                  7       A.     Okay.                                               09:28:22
                                                                                  8              MR. McMURTRY:     Where are we?                     09:28:23
                                                                                  9       A.     I see it, at this point.                            09:28:23
                                                                                  10   BY MR. SIEGEL:                                                09:28:26
                                                                                  11      Q.     So you say:     At this point, I was in the         09:28:26
                                                                                  12   middle surrounded by all other 250-ish students.              09:28:28
                                                                                  13             So do you -- when you said 250-ish in               09:28:33
                                                                                  14   the e-mail, do you believe that is about accurate             09:28:36
                                                                                  15   in terms of the number of students who were                   09:28:39
                                                                                  16   there?   And Covington students, is what I mean.              09:28:44
                                                                                  17      A.     To be honest, at this point -- and even             09:28:47
                                                                                  18   now I don't know the actual total number of                   09:28:50
                                                                                  19   students there.     And at the time of writing this           09:28:53
                                                                                  20   e-mail, I was under a lot of duress and just                  09:28:57
                                                                                  21   writing off the top of my head.       So I would not          09:29:01
                                                                                  22   take this 250 number literally.                               09:29:05
                                                                                  23      Q.     Okay.    Fair enough.                               09:29:07
                                                                                  24             So a couple of sentences later, you say:            09:29:12
                                                                                  25   Our students moved out of his way.       It was as if         09:29:16


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                                                                                  1    he was trying to make a path through our section,                   09:29:20
                                                                                  2    which was obviously unsafe.                                         09:29:23
                                                                                  3              So it appeared to you that Phillips was                   09:29:25
                                                                                  4    trying to make a path through the students?                         09:29:32
                                                                                  5       A.     Yes, based off their reaction.                            09:29:34
                                                                                  6       Q.     Okay.     Did you think all the other                     09:29:38
                                                                                  7    students were doing something that was unsafe?                      09:29:47
                                                                                  8       A.     No.     I -- I meant, obviously, unsafe,                  09:29:50
                                                                                  9    and then as in unsafe that Nathan Phillips was                      09:29:54
                                                                                  10   walking through our section.                                        09:29:58
                                                                                  11      Q.     No, I understand that.          I'm sorry.   I --         09:30:05
                                                                                  12   I -- that was a confusing question.                                 09:30:07
                                                                                  13             Did you think that by making a path for                   09:30:10
                                                                                  14   Mr. Phillips, right, so that he continued to walk                   09:30:14
                                                                                  15   forward, the other students were allowing him to                    09:30:17
                                                                                  16   do something that was unsafe?         Is that clear?                09:30:23
                                                                                  17      A.     Yes.     I --                                             09:30:28
                                                                                  18             MR. McMURTRY:        Objection to the form of             09:30:28
                                                                                  19   the question.      Go ahead.     Sorry.                             09:30:30
                                                                                  20      A.     I meant this as what Nathan Phillips was                  09:30:32
                                                                                  21   doing was unsafe for us as students.                                09:30:35
                                                                                  22   BY MR. SIEGEL:                                                      09:30:40
                                                                                  23      Q.     Okay.     And why did you think it was                    09:30:40
                                                                                  24   unsafe?                                                             09:30:44
                                                                                  25      A.     As I testified earlier, this is based                     09:30:44


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                                                                                  1    off of my understanding of how field trips                    09:30:49
                                                                                  2    operate ever since I had been in first grade,                 09:30:52
                                                                                  3    which was that we don't -- we don't let, you                  09:30:56
                                                                                  4    know, strangers who are not affiliated or cleared             09:30:59
                                                                                  5    with the school to walk through that closely to               09:31:05
                                                                                  6    us.                                                           09:31:10
                                                                                  7               I mean, our school even has whole                  09:31:11
                                                                                  8    programs set up to like basically background                  09:31:16
                                                                                  9    checking, clear volunteers.       So this was out of          09:31:20
                                                                                  10   the ordinary to me.                                           09:31:23
                                                                                  11         Q.   Okay.    Did you feel like you had better          09:31:25
                                                                                  12   judgment about what was safe at that moment than              09:31:47
                                                                                  13   Mr. Phillips?                                                 09:31:49
                                                                                  14              MR. McMURTRY:     Objection.   Go ahead.           09:31:50
                                                                                  15         A.   I wasn't really -- I wasn't really                 09:31:51
                                                                                  16   thinking as to -- in the moment as to what --                 09:31:54
                                                                                  17   whether Mr. Phillips was or was not thinking                  09:31:59
                                                                                  18   about what was safe.       I was only reacting off of         09:32:02
                                                                                  19   what I was thinking.                                          09:32:06
                                                                                  20   BY MR. SIEGEL:                                                09:32:09
                                                                                  21         Q.   Okay.    You then say -- you also write to         09:32:09
                                                                                  22   Principal Roe:      As he approached me, he realized          09:32:23
                                                                                  23   I was not moving and locked eye contact with me.              09:32:26
                                                                                  24              Right?                                             09:32:30
                                                                                  25         A.   Right.                                             09:32:30


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                                                                                  1       Q.    So your perception was that Phillips               09:32:33
                                                                                  2    realized you were not moving, and then he locked            09:32:37
                                                                                  3    eye contact with you?                                       09:32:40
                                                                                  4       A.    Correct.                                           09:32:42
                                                                                  5             MR. McMURTRY:    Objection.   Go ahead.            09:32:42
                                                                                  6    BY MR. SIEGEL:                                              09:32:43
                                                                                  7       Q.    Did you feel like the two of you were at           09:32:43
                                                                                  8    an impasse?                                                 09:32:46
                                                                                  9             MR. McMURTRY:    Objection.   Go ahead.            09:32:48
                                                                                  10      A.    In some form of it, yes.                           09:32:51
                                                                                  11   BY MR. SIEGEL:                                              09:32:55
                                                                                  12      Q.    Okay.    Isn't it possible he locked eye           09:32:55
                                                                                  13   contact with you because he realized you were the           09:33:00
                                                                                  14   only student who wasn't moving and he perceived             09:33:03
                                                                                  15   that you were intentionally blocking him?                   09:33:07
                                                                                  16            MR. McMURTRY:    Objection.                        09:33:10
                                                                                  17      A.    I don't think that's possible.                     09:33:10
                                                                                  18   BY MR. SIEGEL:                                              09:33:12
                                                                                  19      Q.    Why?                                               09:33:12
                                                                                  20            MR. McMURTRY:    Objection.                        09:33:13
                                                                                  21      A.    Because when he first looked at me, he             09:33:14
                                                                                  22   was still next to Joe and the other student on my           09:33:19
                                                                                  23   right, left on the video.    And so there is no way         09:33:23
                                                                                  24   for me to block him when I'm five or six feet               09:33:26
                                                                                  25   away from him.    He waited to come up to me and            09:33:30


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                                                                                  1    then claim that I blocked him.                              09:33:33
                                                                                  2       Q.    So when do you maintain he first --                09:33:36
                                                                                  3    he -- let's go back a second.                               09:33:40
                                                                                  4             The other students are parting, right?             09:33:45
                                                                                  5             At what point do you maintain that                 09:33:47
                                                                                  6    Phillips locked eye contact with you?                       09:33:49
                                                                                  7       A.    At some -- at some point before -- a               09:33:52
                                                                                  8    couple of seconds before he approached me.     He           09:33:55
                                                                                  9    looked at me and then walked towards me.                    09:33:59
                                                                                  10      Q.    So he was -- wasn't he walking -- he was           09:34:01
                                                                                  11   walking through the students, right?                        09:34:07
                                                                                  12      A.    Right.                                             09:34:09
                                                                                  13      Q.    And he was walking forward, right?                 09:34:09
                                                                                  14      A.    Right.                                             09:34:12
                                                                                  15      Q.    So he was walking towards you, right?              09:34:12
                                                                                  16      A.    Right.                                             09:34:19
                                                                                  17      Q.    And then stopped in front of you?                  09:34:19
                                                                                  18      A.    No.     Because as we saw yesterday, he            09:34:22
                                                                                  19   went a little bit to the left, and then he came             09:34:25
                                                                                  20   back.                                                       09:34:27
                                                                                  21      Q.    Well, Correct.     So he first stopped in          09:34:28
                                                                                  22   front of you?                                               09:34:30
                                                                                  23            MR. McMURTRY:     Objection.                       09:34:31
                                                                                  24   BY MR. SIEGEL:                                              09:34:31
                                                                                  25      Q.    And then he went a little to the left.             09:34:31


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                                                                                  1    Then he looked back to you, right?                              09:34:33
                                                                                  2             MR. McMURTRY:        Objection.                        09:34:35
                                                                                  3       A.    Right.                                                 09:34:36
                                                                                  4    BY MR. SIEGEL:                                                  09:34:37
                                                                                  5       Q.    We saw that on the video, right?                       09:34:37
                                                                                  6       A.    Right.                                                 09:34:41
                                                                                  7       Q.    So he -- it's the point where you say --               09:34:41
                                                                                  8    you are saying he locked eye contact with you                   09:34:44
                                                                                  9    when he kind of first came to you, before he                    09:34:48
                                                                                  10   moved to the -- before he looked to the left and                09:34:51
                                                                                  11   then looked back?                                               09:34:54
                                                                                  12      A.    Well, I think -- I -- when I describe                  09:34:55
                                                                                  13   when he locked eye contact with me, that was when               09:34:57
                                                                                  14   he came back after he had gone off to the left.                 09:35:00
                                                                                  15      Q.    Got it.     Okay.                                      09:35:06
                                                                                  16            Okay.     So we saw this on the video,                 09:35:15
                                                                                  17   right, when he first approached you, approached                 09:35:20
                                                                                  18   where you were, right?                                          09:35:23
                                                                                  19      A.    Uh-huh.                                                09:35:24
                                                                                  20      Q.    And then he looked to the left?                        09:35:25
                                                                                  21      A.    Right.                                                 09:35:26
                                                                                  22      Q.    He looks at Cammeron?        Is that Cammeron?         09:35:27
                                                                                  23      A.    I think Cammeron and Joe.                              09:35:35
                                                                                  24      Q.    So Cammeron.        And then Cammeron moves            09:35:37
                                                                                  25   over?                                                           09:35:40


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                                                                                  1       A.    Uh-huh.                                             09:35:40
                                                                                  2             MR. McMURTRY:      You need to answer yes.          09:35:41
                                                                                  3    BY MR. SIEGEL:                                               09:35:42
                                                                                  4       Q.    Right?    Yes?    Looks back at you, right?         09:35:42
                                                                                  5    And you don't move.                                          09:35:44
                                                                                  6             So why do you contend it's not possible             09:35:46
                                                                                  7    that he locked eye -- that he at that point                  09:35:49
                                                                                  8    locked eye contact with you because he realized              09:35:52
                                                                                  9    you were the only student who wasn't moving?                 09:35:55
                                                                                  10            MR. McMURTRY:      Objection.   I don't             09:35:58
                                                                                  11   understand the question.                                     09:36:01
                                                                                  12            MR. SIEGEL:      Fair enough.                       09:36:03
                                                                                  13      A.    I don't understand it either.                       09:36:05
                                                                                  14   BY MR. SIEGEL:                                               09:36:05
                                                                                  15      Q.    So why do you contend at that point                 09:36:05
                                                                                  16   he -- Joe had just moved, right?                             09:36:08
                                                                                  17      A.    Right.                                              09:36:10
                                                                                  18      Q.    Other students had moved as he                      09:36:11
                                                                                  19   approached where you were, right?                            09:36:13
                                                                                  20            So why do you contend that it's                     09:36:16
                                                                                  21   impossible that he locked eye contact with you               09:36:22
                                                                                  22   because he realized that you were the only                   09:36:25
                                                                                  23   student who wasn't moving and so his perception              09:36:28
                                                                                  24   was that you were trying to block him?                       09:36:33
                                                                                  25            MR. McMURTRY:      Objection.                       09:36:35


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                                                                                  1       A.    That is a question that can't be --                  09:36:40
                                                                                  2    that's compounded in a way that doesn't allow me              09:36:44
                                                                                  3    to answer it correctly.     I contend that he locked          09:36:47
                                                                                  4    eyes with me because I wasn't moving, but I did               09:36:51
                                                                                  5    not block him.                                                09:36:55
                                                                                  6    BY MR. SIEGEL:                                                09:36:57
                                                                                  7       Q.    Well, I -- I understand that that's what             09:36:57
                                                                                  8    you contend.     Okay?                                        09:37:00
                                                                                  9       A.    Yes.                                                 09:37:01
                                                                                  10      Q.    But my question is, okay, so he locks                09:37:01
                                                                                  11   eye contact with you because you weren't moving?              09:37:05
                                                                                  12      A.    Right.                                               09:37:08
                                                                                  13      Q.    Right?                                               09:37:09
                                                                                  14            MR. McMURTRY:     Objection.   I don't think         09:37:10
                                                                                  15   he testified that he locked eye contact with him.             09:37:11
                                                                                  16            MR. SIEGEL:     That is exactly what he              09:37:14
                                                                                  17   just testified to.                                            09:37:15
                                                                                  18            MR. McMURTRY:     Well, let's read it back           09:37:16
                                                                                  19   so I can be educated.                                         09:37:18
                                                                                  20            MR. SIEGEL:     Okay.                                09:37:20
                                                                                  21            MR. McMURTRY:     If he -- he may have               09:37:21
                                                                                  22   answered one of your leading questions                        09:37:23
                                                                                  23   incorrectly, but I mean --                                    09:37:25
                                                                                  24            MR. SIEGEL:     I think you are really               09:37:27
                                                                                  25   crossing over the line here now, Todd.                        09:37:28


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                                                                                  1              MR. McMURTRY:     I don't think --                   09:37:31
                                                                                  2              MR. SIEGEL:     I'm fine if you want --              09:37:31
                                                                                  3              MR. McMURTRY:     Let's read it back so I            09:37:33
                                                                                  4    can see if that's what he said.                                09:37:43
                                                                                  5              THE REPORTER:     Exactly what do you want           09:37:43
                                                                                  6    me to read back, Counsel?                                      09:37:46
                                                                                  7              MR. SIEGEL:     Maybe go one or two                  09:37:47
                                                                                  8    questions back.                                                09:37:49
                                                                                  9              MR. McMURTRY:     Sure.   I guess we are off         09:37:57
                                                                                  10   the record.                                                    09:38:00
                                                                                  11             MR. SIEGEL:     Yes.                                 09:38:02
                                                                                  12             MR. McMURTRY:     Your -- your contention            09:38:03
                                                                                  13   question is, is that --                                        09:38:03
                                                                                  14             THE REPORTER:     We are not off the                 09:38:06
                                                                                  15   record.                                                        09:38:06
                                                                                  16             MR. McMURTRY:     Okay.   Well, go -- get            09:38:06
                                                                                  17   your question.                                                 09:38:06
                                                                                  18             THE REPORTER:     Do you want me to read it          09:38:06
                                                                                  19   back?                                                          09:38:07
                                                                                  20             MR. McMURTRY:     Yes.                               09:38:10
                                                                                  21             THE REPORTER:     One second.                        09:38:11
                                                                                  22             MR. SIEGEL:     I think it's somewhere in            09:38:28
                                                                                  23   the course of where Nick said something about a                09:38:32
                                                                                  24   compound question.                                             09:38:35
                                                                                  25             (Thereupon, the proceedings from Page                09:39:17


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                                                                                  1    266, Line 21 to Page 267, Line 8 were read back                09:39:17
                                                                                  2    by the reporter.)                                              09:39:17
                                                                                  3                MR. SIEGEL:     Okay?                              09:39:17
                                                                                  4                MR. McMURTRY:     Okay.                            09:39:18
                                                                                  5                MR. SIEGEL:     That's fine.                       09:39:25
                                                                                  6    BY MR. SIEGEL:                                                 09:39:29
                                                                                  7       Q.       So I understand you contend that --                09:39:29
                                                                                  8    so -- okay.        And I will rephrase the question.           09:39:31
                                                                                  9                So he locked eye contact with you                  09:39:42
                                                                                  10   because you were the only student who wasn't                   09:39:46
                                                                                  11   moving, right?                                                 09:39:48
                                                                                  12      A.       Yes.                                               09:39:49
                                                                                  13      Q.       So couldn't he have perceived that you             09:39:50
                                                                                  14   were intentionally blocking him?                               09:39:58
                                                                                  15               MR. McMURTRY:     Objection.     Go ahead.         09:39:59
                                                                                  16      A.       I mean, he could perceive whatever he              09:40:00
                                                                                  17   wants to.     That doesn't mean it's actually                  09:40:03
                                                                                  18   truthful.                                                      09:40:05
                                                                                  19               MR. SIEGEL:     Okay.     Let's go.                09:40:07
                                                                                  20      Q.       Do you see the sentence that has the               09:40:23
                                                                                  21   word "elder" in it?                                            09:40:26
                                                                                  22      A.       Yes.                                               09:40:28
                                                                                  23      Q.       I'm aware what happened to Elder; and as           09:40:28
                                                                                  24   I saw the cameras, I was determined to not have                09:40:33
                                                                                  25   that happen to our school.                                     09:40:36


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                                                                                  1       A.    Right.                                             09:40:37
                                                                                  2       Q.    Can you explain what that means, what              09:40:37
                                                                                  3    you meant by that?                                          09:40:39
                                                                                  4       A.    I used to remember more about it.     But          09:40:39
                                                                                  5    all I can basically remember is that Elder, which           09:40:42
                                                                                  6    is a high school in Cincinnati, it's in the                 09:40:46
                                                                                  7    Catholic school system, played a basketball game            09:40:50
                                                                                  8    against another Catholic school, and they chanted           09:40:54
                                                                                  9    racial slurs at one of the basketball players,              09:40:59
                                                                                  10   the student section did.                                    09:41:02
                                                                                  11      Q.    Okay.    And what about that -- what was           09:41:05
                                                                                  12   it about the event with Elder that you thought              09:41:15
                                                                                  13   related to what was happening at the memorial?              09:41:20
                                                                                  14      A.    The fact that, as I was looking at                 09:41:24
                                                                                  15   Nathan Phillips, I started to look more and more            09:41:27
                                                                                  16   at the background, and there were four, five                09:41:31
                                                                                  17   cameras that I could see, and that made me                  09:41:35
                                                                                  18   uncomfortable.    And that's what -- that was what          09:41:39
                                                                                  19   I initially thought of.    Because we had had that          09:41:43
                                                                                  20   assembly just recently before we went on the trip           09:41:46
                                                                                  21   to DC.                                                      09:41:52
                                                                                  22            So I -- I, for some reason, thought that           09:41:53
                                                                                  23   cameras could mean that, you know, something                09:41:59
                                                                                  24   viral happens and the school will look bad for              09:42:04
                                                                                  25   it, not necessarily the content of what they did            09:42:07


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                                                                                  1    compared to what was happening there, but just,               09:42:10
                                                                                  2    you know, a news headline, which I didn't want.               09:42:14
                                                                                  3       Q.      Okay.    You then say:   I am sure he              09:42:23
                                                                                  4    wanted to intimidate me or get a reaction as he               09:42:25
                                                                                  5    moved into my personal space and hit the drum                 09:42:29
                                                                                  6    harder than he had before.                                    09:42:32
                                                                                  7               What reaction did you think Phillips               09:42:35
                                                                                  8    wanted to get out of you?                                     09:42:37
                                                                                  9       A.      I would say something other than me --             09:42:39
                                                                                  10   something -- I think Nathan Phillips wanted a                 09:42:46
                                                                                  11   reaction out of me that he could legitimately                 09:42:49
                                                                                  12   claim was disrespectful.                                      09:42:54
                                                                                  13      Q.      And why do you think that?                         09:42:55
                                                                                  14      A.      Because when he came -- when he walked             09:42:58
                                                                                  15   over, there was -- he already had people from the             09:43:01
                                                                                  16   indigenous people's rally filming before he had               09:43:06
                                                                                  17   even gotten -- gotten into the middle of the                  09:43:11
                                                                                  18   group.    And in my opinion, you usually don't film           09:43:15
                                                                                  19   things unless you are expecting something to                  09:43:19
                                                                                  20   happen.                                                       09:43:21
                                                                                  21      Q.      And what is the basis of your statement            09:43:21
                                                                                  22   that Nathan Phillips had people filming?                      09:43:24
                                                                                  23      A.      Based off what I noticed and then                  09:43:30
                                                                                  24   footage afterwards where one of the men that was              09:43:35
                                                                                  25   filming and -- or one of the men that was a part              09:43:38


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                                                                                  1    of the group with Nathan Phillips walks up to                 09:43:42
                                                                                  2    Mr. Phillips and says:      We got him, Grandpa.   We         09:43:45
                                                                                  3    won.    We won.                                               09:43:49
                                                                                  4       Q.      Okay.    And what did you understand that          09:43:50
                                                                                  5    man -- what do you understand that to mean?                   09:43:57
                                                                                  6       A.      To me, it means --                                 09:43:59
                                                                                  7       Q.      Just for the record, we will show it               09:44:02
                                                                                  8    later, but I think that is the guy in the Reds                09:44:04
                                                                                  9    cap, right?                                                   09:44:07
                                                                                  10      A.      Right.                                             09:44:08
                                                                                  11      Q.      So when the guy in the Reds cap -- when            09:44:08
                                                                                  12   the man in the Reds cap said that, what did you               09:44:10
                                                                                  13   understand that to mean?                                      09:44:12
                                                                                  14      A.      To me that means that they got their               09:44:13
                                                                                  15   captured moment on camera and they planned to                 09:44:17
                                                                                  16   post it, which turned out to be exactly what they             09:44:20
                                                                                  17   did.                                                          09:44:23
                                                                                  18              Nathan Phillips was already behind a               09:44:23
                                                                                  19   camera at the Lincoln Memorial some like 45                   09:44:25
                                                                                  20   minutes to an hour later, before I even knew what             09:44:29
                                                                                  21   was happening.                                                09:44:32
                                                                                  22      Q.      Do you have any facts to support -- do             09:44:33
                                                                                  23   you know if the man in the Reds hat ever posted               09:44:38
                                                                                  24   anything on social media?                                     09:44:42
                                                                                  25      A.      Personally, I am not sure.                         09:44:45


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                                                                                  1       Q.    Do you believe he did?                               09:44:47
                                                                                  2       A.    Well, I think that the other guy, the                09:44:48
                                                                                  3    guy in the white hat with the -- I'm not sure.                09:44:50
                                                                                  4    I -- I'm pretty -- I can't remember at this point             09:44:53
                                                                                  5    who had the camera, but I'm --                                09:44:56
                                                                                  6       Q.    Well, we went over that earlier, right?              09:44:58
                                                                                  7       A.    Yes.                                                 09:45:00
                                                                                  8       Q.    We were talking about a man in the Reds              09:45:01
                                                                                  9    hat?                                                          09:45:04
                                                                                  10      A.    Yeah.     I -- I think the video exists.   I         09:45:05
                                                                                  11   don't know if it exists on social media.     I think          09:45:08
                                                                                  12   it does, but --                                               09:45:11
                                                                                  13      Q.    Okay.                                                09:45:13
                                                                                  14      A.    -- I'm not -- I'm not entirely sure.                 09:45:13
                                                                                  15      Q.    So other than that, do you have any                  09:45:15
                                                                                  16   facts to support the contention that Nathan                   09:45:18
                                                                                  17   Phillips had any involvement in asking,                       09:45:19
                                                                                  18   suggesting, planning that anyone film this event?             09:45:31
                                                                                  19      A.    Yes.     Because --                                  09:45:36
                                                                                  20      Q.    What is the basis of that?                           09:45:38
                                                                                  21      A.    Because of what was said afterwards.                 09:45:39
                                                                                  22            To me, when they come up to him                      09:45:42
                                                                                  23   afterwards and say, we got him, we won, that                  09:45:45
                                                                                  24   demonstrates a clear, for lack of a better word,              09:45:49
                                                                                  25   conspiracy between them to capture something.                 09:45:55


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                                                                                  1       Q.    Okay.    And that's entirely based on the          09:45:58
                                                                                  2    assumption, right, that what you understood the             09:46:01
                                                                                  3    man in the Reds hat to mean when he said, we got            09:46:04
                                                                                  4    him, is that we got him on camera, right, we got            09:46:09
                                                                                  5    him on the camera?                                          09:46:12
                                                                                  6       A.    Right.    And to be honest, they didn't            09:46:13
                                                                                  7    even have to capture me on their camera because             09:46:15
                                                                                  8    there was someone from the Black Hebrew                     09:46:18
                                                                                  9    Israelites filming as well.    There were other             09:46:20
                                                                                  10   random people filming.                                      09:46:24
                                                                                  11            The fact that it got on so many digital            09:46:26
                                                                                  12   cameras is enough to where they didn't need to              09:46:28
                                                                                  13   record it.                                                  09:46:31
                                                                                  14            And even one of the people from the                09:46:32
                                                                                  15   Indigenous People's March did post it on social             09:46:35
                                                                                  16   media, the Titano (phonetically spelled) video.             09:46:40
                                                                                  17      Q.    Do you know if Nathan Phillips had                 09:46:44
                                                                                  18   anything to do with Hyas Titano filming this                09:46:47
                                                                                  19   event?                                                      09:46:53
                                                                                  20      A.    Not a -- no, not -- not completely.                09:46:53
                                                                                  21      Q.    But even a little bit?                             09:46:56
                                                                                  22            MR. McMURTRY:    Objection.                        09:47:00
                                                                                  23   BY MR. SIEGEL:                                              09:47:01
                                                                                  24      Q.    What do you mean by -- fair enough.                09:47:01
                                                                                  25            What do you mean by not completely?                09:47:03


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                                                                                  1          A.       I mean, I can't -- I can't a hundred                   09:47:05
                                                                                  2    percent say for sure that an hour before this                         09:47:08
                                                                                  3    that -- or five minutes before this, when they                        09:47:10
                                                                                  4    saw something happening, that they spoke to each                      09:47:13
                                                                                  5    other and said, hey, I'm going to go and you film                     09:47:16
                                                                                  6    it.        I -- I can't prove that.                                   09:47:20
                                                                                  7          Q.       Okay.    In the next sentence, you say:                09:47:22
                                                                                  8    The only response I gave him was to be a bigger                       09:47:57
                                                                                  9    person and stand there without responding.                            09:48:00
                                                                                  10                  And when you said -- when you wrote, the               09:48:03
                                                                                  11   only response I gave him to be -- was to be a                         09:48:05
                                                                                  12   bigger person, did you mean to be a bigger person                     09:48:09
                                                                                  13   than Mr. Phillips was being?                                          09:48:12
                                                                                  14         A.       Right.                                                 09:48:13
                                                                                  15         Q.       Okay.    Let's go to --                                09:48:14
                                                                                  16                  MR. McMURTRY:     Are we done with 19?                 09:48:25
                                                                                  17                  MR. SIEGEL:     We are done with 19.     Let's         09:48:28
                                                                                  18   go to 20.        And 20, for the record, is NS 102 to                 09:48:30
                                                                                  19   104.                                                                  09:48:45
                                                                                  20   BY MR. SIEGEL:                                                        09:48:49
                                                                                  21         Q.       Do you want to tell us what this is,                   09:48:49
                                                                                  22   Nick?                                                                 09:48:52
                                                                                  23         A.       This was my first public statement                     09:48:52
                                                                                  24   released to the world, I guess.                                       09:48:55
                                                                                  25         Q.       Okay.    Go to the second page, which is               09:49:00


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                                                                                  1    NS 103.   And turn your attention to the second              09:49:16
                                                                                  2    paragraph, the one that says:      I never felt.             09:49:26
                                                                                  3    Right?                                                       09:49:29
                                                                                  4              So the statement says:     I never felt            09:49:30
                                                                                  5    like I was blocking the Native American                      09:49:32
                                                                                  6    protester.   He did not make any attempt to go               09:49:35
                                                                                  7    around me.   It was clear to me that he was                  09:49:38
                                                                                  8    singling me out for a confrontation; although,               09:49:40
                                                                                  9    I'm not sure why.                                            09:49:43
                                                                                  10             Okay.    Now, when -- you were standing in         09:49:45
                                                                                  11   front of him, right?                                         09:49:48
                                                                                  12      A.     Right.                                             09:49:49
                                                                                  13      Q.     Phillips -- Phillips couldn't have gone            09:49:50
                                                                                  14   forward without running into you, right?                     09:49:53
                                                                                  15             MR. McMURTRY:    Objection.   Go ahead.            09:49:55
                                                                                  16   BY MR. SIEGEL:                                               09:49:57
                                                                                  17      Q.     I mean, if he just continued to move               09:49:57
                                                                                  18   forward, he would have physically knocked into               09:49:59
                                                                                  19   you?                                                         09:50:01
                                                                                  20      A.     He would hit me, yes.                              09:50:01
                                                                                  21      Q.     Right.    So -- and you thought he should          09:50:04
                                                                                  22   have tried to go around you, right?      And I think         09:50:06
                                                                                  23   you testified about that.                                    09:50:09
                                                                                  24             So if he needed to try to go around you            09:50:10
                                                                                  25   to move forward, how were you not blocking him?              09:50:14


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                                                                                  1              MR. McMURTRY:     Objection.                       09:50:17
                                                                                  2       A.     Because blocking requires some sort of             09:50:18
                                                                                  3    active attempt to cut someone off.                           09:50:23
                                                                                  4              MR. SIEGEL:     Right.                             09:50:28
                                                                                  5       A.     And I did not -- I was -- I was standing           09:50:29
                                                                                  6    there.   He had the option to go around me                   09:50:33
                                                                                  7    whatever way he would choose, or he could have               09:50:36
                                                                                  8    gone back out the way that he entered the group              09:50:42
                                                                                  9    and taken, you know, use of the hundreds of feet             09:50:44
                                                                                  10   of space that the memorial offers to get wherever            09:50:48
                                                                                  11   he was trying to get.                                        09:50:51
                                                                                  12      Q.     And you testified -- we testified before           09:50:52
                                                                                  13   on one of the other videos that was taken from               09:50:55
                                                                                  14   the top, right?                                              09:50:58
                                                                                  15      A.     Right.                                             09:50:59
                                                                                  16      Q.     That there were certainly people behind            09:50:59
                                                                                  17   him at that moment, right?                                   09:51:01
                                                                                  18      A.     Right.    But not near as many as there            09:51:03
                                                                                  19   were behind me.                                              09:51:06
                                                                                  20      Q.     Okay.    What does blocking mean to you?           09:51:06
                                                                                  21             MR. McMURTRY:     Objection.   Go ahead.           09:51:13
                                                                                  22      A.     Blocking to me means that you actively             09:51:15
                                                                                  23   try to cut someone off from further continuing in            09:51:19
                                                                                  24   the way that they are trying to go.                          09:51:24
                                                                                  25   BY MR. SIEGEL:                                               09:51:27


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                                                                                  1       Q.    Okay.     So you were -- you were standing          09:51:27
                                                                                  2    there, right?                                                09:51:30
                                                                                  3       A.    Right.                                              09:51:31
                                                                                  4       Q.    And you were standing there                         09:51:31
                                                                                  5    deliberately.     So -- so if he couldn't continue           09:51:34
                                                                                  6    to go in the way that he had been going and he               09:51:40
                                                                                  7    needed to go around you, how is that not blocking            09:51:43
                                                                                  8    him?                                                         09:51:48
                                                                                  9             MR. McMURTRY:     Objection to the form.            09:51:48
                                                                                  10      A.    Because at that point, he wasn't trying             09:51:50
                                                                                  11   to go anywhere else.                                         09:51:52
                                                                                  12            I mean, like you -- like you said, I                09:51:57
                                                                                  13   didn't know at that point that he wanted to go to            09:52:00
                                                                                  14   the Lincoln Memorial.     And when he's standing in          09:52:02
                                                                                  15   front of me with his drum, he's making no effort             09:52:06
                                                                                  16   or any kind of signal to me that he is trying to             09:52:09
                                                                                  17   move somewhere else.     Like, he is planted in              09:52:12
                                                                                  18   front of me.                                                 09:52:15
                                                                                  19   BY MR. SIEGEL:                                               09:52:17
                                                                                  20      Q.    Okay.     You say that you didn't feel like         09:52:17
                                                                                  21   you were blocking --                                         09:52:22
                                                                                  22      A.    Right.                                              09:52:24
                                                                                  23      Q.    -- Mr. Phillips, right?                             09:52:25
                                                                                  24            And why was that the way that you felt?             09:52:27
                                                                                  25      A.    Well, as I said --                                  09:52:29


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                                                                                  1       Q.    Is that what you just said?                        09:52:33
                                                                                  2       A.    Yes.     He wasn't trying to go anywhere.          09:52:34
                                                                                  3       Q.    But that -- your perception is that he             09:52:38
                                                                                  4    wasn't trying to go anywhere, right, that he --             09:52:41
                                                                                  5    your perception was that he never had any                   09:52:44
                                                                                  6    intention of going anywhere?                                09:52:47
                                                                                  7       A.    No.     The reality of it is, is that for          09:52:48
                                                                                  8    those minutes --                                            09:52:52
                                                                                  9             MR. SIEGEL:     Right.                             09:52:53
                                                                                  10      A.    -- when he stood there, his feet were              09:52:53
                                                                                  11   planted, and he did not take even the slightest             09:52:55
                                                                                  12   step in any direction.                                      09:52:58
                                                                                  13      Q.    Okay.     And again, I think we went over          09:52:59
                                                                                  14   this before, but I will -- I will say it again.             09:53:02
                                                                                  15            Isn't it -- it's possible that the                 09:53:08
                                                                                  16   reason he did that is because he perceived by               09:53:12
                                                                                  17   that point that you didn't want to let him go?              09:53:16
                                                                                  18            MR. McMURTRY:     Objection.                       09:53:18
                                                                                  19      A.    Well, as I said before, he can perceive            09:53:19
                                                                                  20   whatever he wants to.                                       09:53:22
                                                                                  21   BY MR. SIEGEL:                                              09:53:23
                                                                                  22      Q.    Okay.     And, in fact, couldn't this be           09:53:23
                                                                                  23   the fact that given that you -- you perceived               09:53:27
                                                                                  24   that it was unsafe for him to be sort of moving             09:53:31
                                                                                  25   in the first place, he could have perceived                 09:53:34


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                                                                                  1    unsafe at that point to try to, like, maneuver                 09:53:36
                                                                                  2    around you?                                                    09:53:39
                                                                                  3                MR. McMURTRY:    Objection.                        09:53:40
                                                                                  4       A.       Again, he can perceive what he wants to.           09:53:40
                                                                                  5    BY MR. SIEGEL:                                                 09:53:44
                                                                                  6       Q.       Okay.    In your opinion, what would it            09:53:44
                                                                                  7    have looked like if you had blocked him, if you                09:54:02
                                                                                  8    were blocking him?                                             09:54:04
                                                                                  9       A.       In my opinion, for me to block him, he             09:54:06
                                                                                  10   would have had to have taken a step or a half                  09:54:11
                                                                                  11   step in another direction, other than standing                 09:54:14
                                                                                  12   there, even forward, and it would have required                09:54:18
                                                                                  13   me to meet him in the corresponding way, wherever              09:54:21
                                                                                  14   he went, to, you know, basically not let him go                09:54:27
                                                                                  15   anywhere.                                                      09:54:31
                                                                                  16      Q.       Okay.    And that's your understanding or          09:54:31
                                                                                  17   definition of blocking in this context?                        09:54:34
                                                                                  18      A.       Yes.                                               09:54:37
                                                                                  19      Q.       All right.    Let's play a clip from your          09:54:38
                                                                                  20   interview with Ms. Guthrie.                                    09:55:13
                                                                                  21               Actually, you know what, I think -- I              09:55:39
                                                                                  22   think we can skip that.       Let's go to Exhibit 21.          09:55:42
                                                                                  23   I will represent this is the only other page from              09:56:12
                                                                                  24   the Shelton report.                                            09:56:16
                                                                                  25               MR. McMURTRY:    Yeah.   Let me just look          09:56:21


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                                                                                  1    at it.                                                          09:56:23
                                                                                  2                MR. SIEGEL:     Do you want to take a look          09:56:32
                                                                                  3    at it?     We can go off the record to let him --               09:56:32
                                                                                  4    let him read this.                                              09:56:35
                                                                                  5                THE VIDEOGRAPHER:     We are going off the          09:56:37
                                                                                  6    record.     The time is 9:56 a.m.                               09:56:39
                                                                                  7                (Thereupon, there was a recess taken at             09:56:43
                                                                                  8    9:56 a.m.)                                                      09:56:43
                                                                                  9                (Thereupon, the proceedings were resumed            09:56:56
                                                                                  10   at 9:57 a.m.)                                                   09:56:56
                                                                                  11               THE VIDEOGRAPHER:     We are back on the            09:56:59
                                                                                  12   record.     The time is 9:57 a.m.                               09:57:07
                                                                                  13               MR. McMURTRY:     Yeah.   Because this              09:57:10
                                                                                  14   discusses his psychological condition, I would                  09:57:13
                                                                                  15   like to have it remain confidential and mark this               09:57:16
                                                                                  16   portion of the deposition confidential, unless --               09:57:19
                                                                                  17   if the questions are simply about facts, I don't                09:57:22
                                                                                  18   mind that.     But there is some, you know -- some              09:57:26
                                                                                  19   statement in there about depression and so forth.               09:57:32
                                                                                  20   So I prefer that that --                                        09:57:34
                                                                                  21               MR. SIEGEL:     That is fine.   I'm not             09:57:37
                                                                                  22   going to ask him about that.                                    09:57:39
                                                                                  23               MR. McMURTRY:     Okay.   Well, I will just         09:57:40
                                                                                  24   worry about the exhibit, and your questions are                 09:57:42
                                                                                  25   fine.     If there is an objection to a question --             09:57:44


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                                                                                  1              MR. SIEGEL:     The other thing I will               09:57:46
                                                                                  2    represent we would be willing to do is after the               09:57:48
                                                                                  3    fact, I'm happy to redact any of the -- for                    09:57:52
                                                                                  4    purposes of putting the exhibit in the record, we              09:57:53
                                                                                  5    would be happy to redact any of those paragraphs               09:57:55
                                                                                  6    that --                                                        09:58:00
                                                                                  7              MR. McMURTRY:     That's fine.                       09:58:00
                                                                                  8              MR. SIEGEL:     -- relate to those matters.          09:58:00
                                                                                  9              MR. McMURTRY:     That's fine.                       09:58:01
                                                                                  10             MR. SIEGEL:     Okay.                                09:58:02
                                                                                  11             MR. McMURTRY:     So for now, you are not            09:58:02
                                                                                  12   going to ask him about his mental health?                      09:58:04
                                                                                  13             MR. SIEGEL:     No, no, no, no, no.                  09:58:06
                                                                                  14             MR. McMURTRY:     Just about the facts?              09:58:07
                                                                                  15             MR. SIEGEL:     Correct.                             09:58:07
                                                                                  16             MR. McMURTRY:     Go ahead.   We do not need         09:58:07
                                                                                  17   to mark this portion of the deposition                         09:58:09
                                                                                  18   confidential.                                                  09:58:11
                                                                                  19             MR. SIEGEL:     Okay.   So consistent with           09:58:13
                                                                                  20   that, the only paragraph I'm going to ask you is               09:58:16
                                                                                  21   the one that begins:      He had a good recall.                09:58:19
                                                                                  22             MR. McMURTRY:     That's fine.   Go ahead.           09:58:26
                                                                                  23   BY MR. SIEGEL:                                                 09:58:29
                                                                                  24      Q.     Okay.    And -- and really, my only                  09:58:29
                                                                                  25   question about this, Nick, is not even                         09:58:56


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                                                                                  1    specifically about any of the words, but you --               09:58:59
                                                                                  2    you -- I think you testified before that                      09:59:04
                                                                                  3    Mr. Phillips, that he didn't request you to move,             09:59:09
                                                                                  4    right, or ask you to move, okay, verbally?        In          09:59:14
                                                                                  5    other words, he didn't -- he didn't say anything              09:59:20
                                                                                  6    to you.                                                       09:59:21
                                                                                  7       A.      Correct.                                           09:59:23
                                                                                  8       Q.      Is that right?                                     09:59:23
                                                                                  9               Okay.    Now, the -- the people that               09:59:24
                                                                                  10   were -- and I think we saw in the video, it was               09:59:27
                                                                                  11   Exhibit 18, right, particularly, there is a point             09:59:32
                                                                                  12   of maybe a minute, a minute and a half into the               09:59:35
                                                                                  13   encounter, where all the students are sort of                 09:59:39
                                                                                  14   kind of filling back in and they are kind of                  09:59:42
                                                                                  15   around you on all sides at that point, right?                 09:59:46
                                                                                  16      A.      Right.                                             09:59:48
                                                                                  17      Q.      Now, those folks were -- many of them              09:59:49
                                                                                  18   were your friends, right?      Some of them were your         09:59:57
                                                                                  19   friends?                                                      10:00:00
                                                                                  20      A.      Some of them.                                      10:00:00
                                                                                  21      Q.      And they were certainly your fellow                10:00:00
                                                                                  22   students, right?                                              10:00:03
                                                                                  23      A.      Right.                                             10:00:04
                                                                                  24      Q.      So you didn't -- did you ever ask any of           10:00:05
                                                                                  25   those students if they would move so that you                 10:00:12


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                                                                                  1    could move away a little?                                   10:00:18
                                                                                  2       A.    No.                                                10:00:19
                                                                                  3       Q.    Do you have any reason to believe that             10:00:22
                                                                                  4    if you had asked one or two of them to do that,             10:00:27
                                                                                  5    that they would not have let you go?                        10:00:31
                                                                                  6       A.    No.                                                10:00:33
                                                                                  7       Q.    Okay.    So you said you felt like you             10:00:34
                                                                                  8    were being, at least at one point, at some point            10:01:00
                                                                                  9    in the encounter, right, blocked by the crowd?              10:01:03
                                                                                  10      A.    Right.                                             10:01:06
                                                                                  11      Q.    So why do you contend that you felt like           10:01:07
                                                                                  12   you were being blocked but Mr. Phillips couldn't            10:01:09
                                                                                  13   have felt the same way?                                     10:01:14
                                                                                  14            MR. McMURTRY:    Objection.                        10:01:17
                                                                                  15      A.    I don't -- I don't think I specifically            10:01:17
                                                                                  16   ever labeled the crowd as blocking me, but I                10:01:20
                                                                                  17   think that I -- I've -- I've always used that I             10:01:26
                                                                                  18   was just surrounded on all sides and there was no           10:01:33
                                                                                  19   room to -- to move in any direction.                        10:01:37
                                                                                  20   BY MR. SIEGEL:                                              10:01:39
                                                                                  21      Q.    So maybe we will cut through it.                   10:01:39
                                                                                  22            So is your testimony that you did not              10:01:41
                                                                                  23   say, as he was being blocked by the crowd, to I             10:01:44
                                                                                  24   guess it's Doctor Graves-Alcorn?                            10:01:51
                                                                                  25      A.    I'm not being quoted on that.    And I --          10:01:55


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                                                                                  1    and what I remember from this trip is that they                 10:02:00
                                                                                  2    took notes and typed up what -- what they                       10:02:03
                                                                                  3    understood and, you know, put it in their own                   10:02:09
                                                                                  4    words.     I don't recall if I ever used the word               10:02:13
                                                                                  5    blocked to Doctor Graves-Alcorn.                                10:02:16
                                                                                  6       Q.       Okay.    And so is -- is what Doctor                10:02:19
                                                                                  7    Graves-Alcorn wrote, just in that sentence, an                  10:02:29
                                                                                  8    inaccurate statement as to what you said to her?                10:02:41
                                                                                  9                MR. McMURTRY:     Objection.     Go ahead.          10:02:43
                                                                                  10      A.       I think --                                          10:02:44
                                                                                  11               MR. SIEGEL:     Who was -- is there -- just         10:02:44
                                                                                  12   what is your objection?                                         10:02:45
                                                                                  13               MR. McMURTRY:     I'm not sure who is being         10:02:46
                                                                                  14   blocked?     What are we talking about?        Maybe I          10:02:48
                                                                                  15   missed it.     But the objection is --                          10:02:51
                                                                                  16               MR. SIEGEL:     Well, I think --                    10:02:54
                                                                                  17               MR. McMURTRY:     -- that he was being --           10:02:54
                                                                                  18               MR. SIEGEL:     -- it's his recall they             10:02:55
                                                                                  19   couldn't move because he was being blocked by the               10:02:55
                                                                                  20   crowd.     He means Nick, right, in that sentence?              10:02:56
                                                                                  21               MR. McMURTRY:     And I'm not -- so the             10:02:59
                                                                                  22   question would be, Nick, did you feel as if you                 10:03:01
                                                                                  23   were blocked by the crowd?        Nick would answer.            10:03:03
                                                                                  24   And then the follow-up question is what -- did                  10:03:05
                                                                                  25   you state this to the physician?           And he can           10:03:10


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                                                                                  1    answer.     And he said no.                                    10:03:12
                                                                                  2                MR. SIEGEL:    Yeah.   I think he already          10:03:12
                                                                                  3    sort of answered the first part of it.                         10:03:14
                                                                                  4    BY MR. SIEGEL:                                                 10:03:16
                                                                                  5       Q.       So I'm asking did you -- let's break it            10:03:16
                                                                                  6    down.                                                          10:03:22
                                                                                  7                Did you tell Doctor Graves-Alcorn that             10:03:23
                                                                                  8    you were being blocked by the crowd?                           10:03:26
                                                                                  9       A.       I cannot recall what specific words I              10:03:29
                                                                                  10   used.     I relayed to the doctors that, especially            10:03:32
                                                                                  11   when the students filled back in, is that I had                10:03:38
                                                                                  12   Nathan Phillips in front of me and I had students              10:03:43
                                                                                  13   all around me and I was at the center of it and I              10:03:47
                                                                                  14   couldn't -- I couldn't have moved to the side for              10:03:52
                                                                                  15   Nathan Phillips at that point, really, even if I               10:03:55
                                                                                  16   wanted to.     I was stuck in the middle.                      10:03:58
                                                                                  17      Q.       Okay.    And then the other part, you              10:04:00
                                                                                  18   could have asked one or two of the students --                 10:04:03
                                                                                  19      A.       Right.                                             10:04:06
                                                                                  20      Q.       -- would you give me some space, right?            10:04:06
                                                                                  21      A.       At the time I didn't really consider               10:04:08
                                                                                  22   that.                                                          10:04:11
                                                                                  23      Q.       Okay.    And so my last question is, did           10:04:11
                                                                                  24   you tell Doctor Graves-Alcorn that you were being              10:04:26
                                                                                  25   blocked by the crowd?                                          10:04:30


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                                                                                  1          A.       I don't recall ever specifically using                 10:04:31
                                                                                  2    that word.                                                            10:04:34
                                                                                  3          Q.       Okay.    And so do you believe that that               10:04:35
                                                                                  4    is an inaccurate characterization of what you                         10:04:39
                                                                                  5    told her?                                                             10:04:44
                                                                                  6          A.       I think my -- my description was then                  10:04:44
                                                                                  7    followed down to a word that was the wrong word                       10:04:51
                                                                                  8    choice.                                                               10:04:54
                                                                                  9                   MR. SIEGEL:     Okay.     Let's go to Exhibit          10:05:07
                                                                                  10   22.        What's the time?                                           10:05:10
                                                                                  11                  MR. McMURTRY:     It's 5 after 10.                     10:05:21
                                                                                  12                  MR. SIEGEL:     I'm going to go through --             10:05:23
                                                                                  13   I'm going to suggest we go through -- I think I                       10:05:28
                                                                                  14   have got about two or three more exhibits on this                     10:05:32
                                                                                  15   thing, but I think it will be pretty quick.              And          10:05:35
                                                                                  16   then we will take a break.                                            10:05:38
                                                                                  17                  MR. McMURTRY:     Fine.     Yes.                       10:05:39
                                                                                  18   BY MR. SIEGEL:                                                        10:05:40
                                                                                  19         Q.       So, Nick, this is a screenshot taken of                10:05:40
                                                                                  20   a tweet that you posted?                                              10:05:47
                                                                                  21         A.       Correct.                                               10:05:52
                                                                                  22         Q.       Is that correct?        And the tweet links to         10:05:53
                                                                                  23   a video?                                                              10:05:56
                                                                                  24         A.       Right.                                                 10:05:57
                                                                                  25                  MR. SIEGEL:     So let's go to Exhibit 23.             10:05:58


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                                                                                  1    We are going to play the video that I will                   10:05:59
                                                                                  2    represent the tweet links to.     Obviously, on              10:06:02
                                                                                  3    paper, I can't.                                              10:06:05
                                                                                  4             MR. McMURTRY:     This is one of the better         10:06:05
                                                                                  5    videos, I agree.     Is it Tom Petty?   It's one of          10:06:08
                                                                                  6    my favorites.                                                10:06:11
                                                                                  7             THE WITNESS:     I love Tom Petty.                  10:06:13
                                                                                  8             (Thereupon, a video recording of Exhibit            10:06:33
                                                                                  9    23 was played.)                                              10:06:33
                                                                                  10            MS. MEEK:     I'm starting from the                 10:06:40
                                                                                  11   beginning of Exhibit 23.                                     10:06:42
                                                                                  12   BY MR. SIEGEL:                                               10:08:31
                                                                                  13      Q.    That's the video you linked to, right?              10:08:31
                                                                                  14      A.    Yes.                                                10:08:34
                                                                                  15      Q.    And why did you say you liked that video            10:08:35
                                                                                  16   or you liked it better than the one you were                 10:08:45
                                                                                  17   responding to?                                               10:08:48
                                                                                  18      A.    I think because I like the song attached            10:08:49
                                                                                  19   to it better.     But in all honesty, this is part           10:08:53
                                                                                  20   of a larger trend of things that I post where I'm            10:08:57
                                                                                  21   very cynical about what happened, just to keep my            10:09:01
                                                                                  22   spirits relatively high.                                     10:09:04
                                                                                  23      Q.    Did you feel like the song expressed                10:09:06
                                                                                  24   something that spoke to you?                                 10:09:08
                                                                                  25      A.    Yes, as I testified earlier about how I             10:09:11


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                                                                                  1    wanted to stand up for the school.                              10:09:15
                                                                                  2       Q.    Okay.     So it's the stand -- you feel                10:09:18
                                                                                  3    like you stood your ground?                                     10:09:21
                                                                                  4       A.    Yes.                                                   10:09:23
                                                                                  5       Q.    I will just represent the screenshot of                10:09:30
                                                                                  6    this tweet was taken in early August, I think,                  10:09:33
                                                                                  7    you know --                                                     10:09:38
                                                                                  8       A.    Uh-huh.                                                10:09:38
                                                                                  9       Q.    -- maybe six weeks ago?                                10:09:39
                                                                                  10            And it appears that the tweet was no                   10:09:41
                                                                                  11   longer on your Twitter feed after that point.        Is         10:09:44
                                                                                  12   that right?     Do you know if that's right?                    10:09:49
                                                                                  13      A.    I'm unaware of ever deleting this.                     10:09:52
                                                                                  14      Q.    Okay.     And have you deleted any tweets              10:09:55
                                                                                  15   from your Twitter feed?                                         10:10:01
                                                                                  16      A.    I've deleted tweets from back before                   10:10:02
                                                                                  17   this ever happened that I look at now.     I know I             10:10:07
                                                                                  18   wasn't the smartest kid at 14 or 15, and I would                10:10:12
                                                                                  19   rather -- I would rather look a lot more                        10:10:16
                                                                                  20   professional.                                                   10:10:19
                                                                                  21      Q.    You don't want -- you don't want them to               10:10:20
                                                                                  22   show up on a job search five years from now?                    10:10:21
                                                                                  23      A.    Well, not necessarily that.     I just                 10:10:24
                                                                                  24   would rather have a more accurate reflection --                 10:10:26
                                                                                  25            MR. SIEGEL:     I got it.                              10:10:29


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                                                                                  1       A.      -- of who I am now on my social media.             10:10:29
                                                                                  2       Q.      Okay.    Do you -- the last time I checked         10:10:32
                                                                                  3    your Twitter feed, it looked to me like that all              10:10:37
                                                                                  4    the tweets before I think around November 19,                 10:10:44
                                                                                  5    2019, weren't there anymore.       Is that -- is that         10:10:47
                                                                                  6    correct?                                                      10:10:52
                                                                                  7       A.      I -- I have no idea.     I have not en             10:10:52
                                                                                  8    masse deleted tweets from that point.                         10:10:55
                                                                                  9       Q.      Okay.      So you haven't done anything            10:10:58
                                                                                  10   with it?                                                      10:11:00
                                                                                  11      A.      Correct.                                           10:11:01
                                                                                  12      Q.      Okay.    Okay.   Let's do Exhibit 24, and          10:11:01
                                                                                  13   then we will take a break.                                    10:11:07
                                                                                  14              So Exhibit 24 consists of Bates numbers            10:11:18
                                                                                  15   NS 662 through NS 671.       Again, Nick these are --         10:11:22
                                                                                  16   these are texts that you exchanged?                           10:11:33
                                                                                  17      A.      Yes.                                               10:11:35
                                                                                  18      Q.      Okay.    So if you could look at the first         10:11:36
                                                                                  19   page, which is 662, and it looks like -- the text             10:11:42
                                                                                  20   is just sent from a telephone number, but it                  10:11:51
                                                                                  21   says:   Nick, it's Isaac -- Boldery?                          10:11:53
                                                                                  22      A.      Boldery.                                           10:11:59
                                                                                  23      Q.      Did you know him?                                  10:12:01
                                                                                  24      A.      I knew of him.     He went to Cov Cath.            10:12:02
                                                                                  25   And he was maybe two grades above me.       I'm not           10:12:05


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                                                                                  1    sure.    But he was older and had graduated by that            10:12:09
                                                                                  2    point.                                                         10:12:12
                                                                                  3       Q.       He says:    Pretty sure you know me.     I         10:12:13
                                                                                  4    graduated CCH last year.       I'm texting you to get          10:12:15
                                                                                  5    permission from your parents to print a shirt                  10:12:20
                                                                                  6    that has your face on it.       Right?                         10:12:24
                                                                                  7                And then you respond in 1530:    I can ask         10:12:27
                                                                                  8    them.    Do you have a picture of what it would                10:12:29
                                                                                  9    look like?                                                     10:12:31
                                                                                  10               And in 1531, he texts an image, right?             10:12:31
                                                                                  11      A.       Yes.                                               10:12:37
                                                                                  12      Q.       And it looks like the image has a                  10:12:38
                                                                                  13   picture of your face with a red hat?                           10:12:42
                                                                                  14      A.       Yes.                                               10:12:47
                                                                                  15      Q.       Okay.    And it says Stand Your Ground?            10:12:48
                                                                                  16      A.       Yes.                                               10:12:51
                                                                                  17      Q.       Okay.    And then 1532, 1533, you guys             10:12:52
                                                                                  18   text a couple other things back and forth.                     10:13:04
                                                                                  19               Then on 1534, you says -- you say:                 10:13:06
                                                                                  20   Okay.    Thank you.     I will ask my parents when I           10:13:10
                                                                                  21   can.                                                           10:13:13
                                                                                  22      A.       Right.                                             10:13:14
                                                                                  23      Q.       Okay.    Now we are going to move ahead to         10:13:20
                                                                                  24   page 667.     And if you look at 1548, Isaac, the              10:13:25
                                                                                  25   phone number that is associated with Isaac, texts              10:13:53


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                                                                                  1    you back:     Hey, any news on approval for the                  10:13:56
                                                                                  2    shirts?     I know you have been busy, so I just                 10:14:00
                                                                                  3    wanted to give you some time.                                    10:14:02
                                                                                  4                And in 1549, you respond:     Yeah.   I have         10:14:03
                                                                                  5    been told we need to ask the lawyers on their                    10:14:05
                                                                                  6    opinion.     I wish I could just give you the                    10:14:09
                                                                                  7    go-ahead.                                                        10:14:11
                                                                                  8       A.       Correct.                                             10:14:12
                                                                                  9       Q.       Why did you wish that you could just                 10:14:13
                                                                                  10   give Isaac the go-ahead?                                         10:14:15
                                                                                  11      A.       Well, in all honesty, my feelings on                 10:14:18
                                                                                  12   Isaac changed over time.                                         10:14:21
                                                                                  13               At first -- at first, I wanted -- the                10:14:23
                                                                                  14   date on this, I still was not -- not projected in                10:14:29
                                                                                  15   a very positive light, and so I figured anyone                   10:14:33
                                                                                  16   that could show some way to support me or                        10:14:37
                                                                                  17   whatever was a good thing.                                       10:14:42
                                                                                  18               And then I later -- so that is why I                 10:14:44
                                                                                  19   said I wish I could just go ahead and give you                   10:14:49
                                                                                  20   the support.        But I then kind of felt like he was          10:14:53
                                                                                  21   more leeching off the idea of making some money                  10:14:56
                                                                                  22   on selling T-shirts with my face on it than                      10:14:59
                                                                                  23   actually caring.                                                 10:15:04
                                                                                  24      Q.       Okay.     So you came -- you became                  10:15:05
                                                                                  25   uncomfortable with what you felt were his                        10:15:12


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                                                                                  1    motives.     Is that fair say?                                  10:15:16
                                                                                  2       A.       Right.    Right.                                    10:15:17
                                                                                  3                MR. SIEGEL:    Okay.                                10:15:18
                                                                                  4       A.       And I talked to my -- I think I had                 10:15:18
                                                                                  5    another conversation with my parents or whatever,               10:15:21
                                                                                  6    and we felt more uneasy about it.        And I ended up         10:15:23
                                                                                  7    never giving him permission to do it.                           10:15:28
                                                                                  8       Q.       Right.    So we can jump ahead then on              10:15:30
                                                                                  9    671.     On 1562, you text:     Unfortunately, I don't          10:15:34
                                                                                  10   think it's a good idea.        Other people printed             10:15:52
                                                                                  11   them, but they didn't ask us.        I -- is that I             10:15:55
                                                                                  12   don't know?                                                     10:15:58
                                                                                  13      A.       Yes.                                                10:15:58
                                                                                  14      Q.       -- if stuff will happen to them.                    10:15:58
                                                                                  15               And is that -- is what you just                     10:16:03
                                                                                  16   testified to, is that what you had in mind when                 10:16:07
                                                                                  17   you responded with that --                                      10:16:10
                                                                                  18      A.       Yes.                                                10:16:12
                                                                                  19      Q.       -- later?                                           10:16:13
                                                                                  20               Okay.    So if -- if -- would it be fair            10:16:14
                                                                                  21   to say that if you had felt that his motive was                 10:16:20
                                                                                  22   purely to express support for you, you would have               10:16:26
                                                                                  23   been comfortable with the idea of him printing                  10:16:29
                                                                                  24   these Stand Your Ground shirts, at least at that                10:16:34
                                                                                  25   point?                                                          10:16:38


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                                                                                  1       A.     Maybe.     I'm not sure.     I -- I -- I don't         10:16:38
                                                                                  2    know if I still would have let him do it.                        10:16:43
                                                                                  3    Because, I don't know, at the time we had more                   10:16:46
                                                                                  4    important things to worry about than starting a                  10:16:51
                                                                                  5    shirt campaign.                                                  10:16:55
                                                                                  6              MR. SIEGEL:     Okay.     Okay.   Let's break,         10:17:04
                                                                                  7    take a break.                                                    10:17:06
                                                                                  8              MR. McMURTRY:     Okay.                                10:17:07
                                                                                  9              THE VIDEOGRAPHER:       We are going off the           10:17:08
                                                                                  10   record.   The time is 10:17 a.m.                                 10:17:10
                                                                                  11             (Thereupon, there was a recess taken at                10:17:13
                                                                                  12   10:17 a.m.)                                                      10:17:13
                                                                                  13             (Thereupon, the proceedings were resumed               10:33:34
                                                                                  14   at 10:33 a.m.)                                                   10:33:34
                                                                                  15             THE VIDEOGRAPHER:       We are back on the             10:33:35
                                                                                  16   record.   The time is 10:33 a.m.                                 10:33:49
                                                                                  17   BY MR. SIEGEL:                                                   10:33:53
                                                                                  18      Q.     Okay.     Nick, I'm showing you Exhibit 25,            10:33:53
                                                                                  19   which is Bates number NS 720.         And I want you to          10:33:59
                                                                                  20   look at particularly number 74 -- 1714, the one                  10:34:09
                                                                                  21   in the middle, where it looks like you are                       10:34:14
                                                                                  22   texting Mara Schutt.                                             10:34:17
                                                                                  23      A.     Uh-huh.                                                10:34:19
                                                                                  24      Q.     And you said:     I smiled at him to let               10:34:20
                                                                                  25   him know he wasn't going to intimidate me, right?                10:34:35


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                                                                                  1    And I take it the him in this is Mr. Phillips.              10:34:39
                                                                                  2       A.    Correct.                                           10:34:44
                                                                                  3       Q.    How did you think smiling at                       10:34:44
                                                                                  4    Mr. Phillips would communicate the message to him           10:34:46
                                                                                  5    that he wasn't going to intimidate you?                     10:34:52
                                                                                  6       A.    To me, usually when I think of someone             10:34:55
                                                                                  7    smiling, it projects a more friendly -- friendly            10:34:59
                                                                                  8    image or whatever.     And I -- I assumed that              10:35:04
                                                                                  9    partly if I gave him a smile, that he might                 10:35:11
                                                                                  10   realize that I was just standing there and he               10:35:13
                                                                                  11   could back away from me.                                    10:35:17
                                                                                  12      Q.    Okay.     And how is that let him --               10:35:20
                                                                                  13   letting him know that he wasn't going to                    10:35:31
                                                                                  14   intimidate you?                                             10:35:33
                                                                                  15            MR. McMURTRY:     Objection.   Go ahead.           10:35:34
                                                                                  16      A.    I mean, I don't know if it was effective           10:35:36
                                                                                  17   or it was the right -- right body language choice           10:35:39
                                                                                  18   to -- to use.     But that's what I was hoping it           10:35:44
                                                                                  19   would accomplish.                                           10:35:50
                                                                                  20   BY MR. SIEGEL:                                              10:35:51
                                                                                  21      Q.    Okay.     And I think you in your -- you           10:35:51
                                                                                  22   testified before and you wrote in your e-mail to            10:36:07
                                                                                  23   Principal Roe that you thought that your actions,           10:36:09
                                                                                  24   right, to stand there and smile was being a                 10:36:18
                                                                                  25   bigger person than Mr. Phillips was being.       Is         10:36:23


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                                                                                  1    that fair?                                                    10:36:27
                                                                                  2       A.      Correct.                                           10:36:28
                                                                                  3       Q.      So do you think a smile that reflects a            10:36:28
                                                                                  4    belief that you are being a bigger person is not              10:36:31
                                                                                  5    a smirk?                                                      10:36:36
                                                                                  6       A.      No, I don't think that.                            10:36:38
                                                                                  7       Q.      What's a smirk to you?                             10:36:39
                                                                                  8       A.      I don't really know, to be honest with             10:36:42
                                                                                  9    you.    I -- I -- I would say -- I would say my               10:36:45
                                                                                  10   best guess or definition of a smirk is a facial               10:36:51
                                                                                  11   expression that is -- has the appearance of a                 10:36:58
                                                                                  12   smile but is not authentic and meant to kind of               10:37:04
                                                                                  13   just blow people off.       I -- I mean, I really             10:37:09
                                                                                  14   don't have any way of defining it.                            10:37:17
                                                                                  15      Q.      Okay.    And I can show you the exhibit            10:37:20
                                                                                  16   again, but maybe to save the -- to save us, in                10:37:29
                                                                                  17   the Shelton interview, you are actually quoted,               10:37:38
                                                                                  18   and you said other people I guess think my smile              10:37:41
                                                                                  19   looks like a smirk.                                           10:37:46
                                                                                  20      A.      Yes.                                               10:37:47
                                                                                  21      Q.      Is that right?     Is it fair to say               10:37:47
                                                                                  22   whether your smile looks like a smirk is a matter             10:37:49
                                                                                  23   of opinion?                                                   10:37:52
                                                                                  24      A.      Oh, I would agree.                                 10:37:52
                                                                                  25      Q.      Okay.    We showed you a video a little            10:37:54


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                                                                                  1    bit earlier where you heard somebody say you                 10:38:11
                                                                                  2    can't move him, right, and then you heard                    10:38:13
                                                                                  3    somebody say get him.                                        10:38:16
                                                                                  4       A.    Right.                                              10:38:17
                                                                                  5       Q.    And I think you testified to that.                  10:38:18
                                                                                  6             So -- and other than the words get him,             10:38:22
                                                                                  7    which I think you said you thought could be                  10:38:25
                                                                                  8    disrespectful, did you ever hear any students say            10:38:27
                                                                                  9    anything to Mr. Phillips that you thought was                10:38:32
                                                                                  10   inappropriate?                                               10:38:34
                                                                                  11      A.    I don't recall specifically --                      10:38:36
                                                                                  12   specifically paying attention to what most of the            10:38:41
                                                                                  13   students were saying.    I was -- I was positioned           10:38:43
                                                                                  14   so close to the drum that that was mostly what I             10:38:51
                                                                                  15   heard and also where all of my attention was.     So         10:38:54
                                                                                  16   even if there was something audible that I may               10:38:57
                                                                                  17   have or probably heard, I -- I think I probably              10:39:02
                                                                                  18   tuned it out.                                                10:39:07
                                                                                  19      Q.    Okay.    And that's fair.   So just -- so I         10:39:07
                                                                                  20   take it that your -- the answer is that you                  10:39:13
                                                                                  21   personally didn't hear anything that you said to             10:39:17
                                                                                  22   Mr. Phillips that you thought was inappropriate?             10:39:19
                                                                                  23      A.    Correct.                                            10:39:27
                                                                                  24      Q.    Okay.    And partly that's because you              10:39:28
                                                                                  25   didn't hear much at all because that is not what             10:39:30


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                                                                                  1    you were focused on?                                         10:39:34
                                                                                  2       A.    Right.                                              10:39:35
                                                                                  3       Q.    Okay.     And I will just ask you the               10:39:36
                                                                                  4    question to be complete.     Would your answer be            10:39:37
                                                                                  5    the same for anyone else who may have been behind            10:39:39
                                                                                  6    Mr. Phillips?     In other words, did you hear               10:39:42
                                                                                  7    anything directed to anyone that you thought was             10:39:44
                                                                                  8    inappropriate during that encounter?                         10:39:47
                                                                                  9       A.    I -- I did not.                                     10:39:49
                                                                                  10            MR. SIEGEL:     Okay.                               10:39:51
                                                                                  11      A.    And that doesn't mean there weren't                 10:39:51
                                                                                  12   things said.     And if I heard them now, I would --         10:39:54
                                                                                  13   I would have an opinion on it.                               10:39:57
                                                                                  14      Q.    Did you ever later come to learn about              10:39:59
                                                                                  15   anything that had been said?                                 10:40:01
                                                                                  16      A.    Currently, not that I can recall.                   10:40:07
                                                                                  17            MR. SIEGEL:     Okay.                               10:40:11
                                                                                  18      A.    I have -- I have not watched these                  10:40:11
                                                                                  19   videos in a long time.     I try not to.                     10:40:14
                                                                                  20      Q.    Okay.     But did anyone ever                       10:40:17
                                                                                  21   communicate -- any other students there                      10:40:21
                                                                                  22   communicate with you about something that was                10:40:23
                                                                                  23   said during that encounter that you thought was              10:40:25
                                                                                  24   inappropriate?                                               10:40:27
                                                                                  25      A.    No.     No one -- none of the other                 10:40:28


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                                                                                  1    students came up to me and told me things that                       10:40:31
                                                                                  2    they had said or that they had heard.                                10:40:34
                                                                                  3       Q.      Okay.    And the last question so it's                    10:40:38
                                                                                  4    clear, in any other way, through e-mails or texts                    10:40:52
                                                                                  5    or social media or anything like that, did you --                    10:40:55
                                                                                  6    have you come to learn about anything?          And I'm              10:40:58
                                                                                  7    not talking about anything we saw here today.             So         10:41:00
                                                                                  8    prior to today, have you come to learn                               10:41:03
                                                                                  9    about any -- did you come to learn about anything                    10:41:05
                                                                                  10   that was said during that encounter that you                         10:41:08
                                                                                  11   thought was inappropriate?                                           10:41:10
                                                                                  12      A.      At this point, I can't recall any -- any                  10:41:11
                                                                                  13   information I may have received or things that I                     10:41:14
                                                                                  14   could have witnessed prior to the -- or now, in                      10:41:17
                                                                                  15   the future of when the event was, at this point                      10:41:23
                                                                                  16   in time that would have been said.                                   10:41:26
                                                                                  17              MR. SIEGEL:     Okay.   All right.    Let's go            10:41:28
                                                                                  18   to Exhibit 16, which is video 2 on the                               10:41:32
                                                                                  19   stipulation.                                                         10:41:38
                                                                                  20              MS. MEEK:     I'm starting Exhibit 16 at 55               10:42:00
                                                                                  21   seconds.                                                             10:42:04
                                                                                  22              (Thereupon, a video recording of Exhibit                  10:42:05
                                                                                  23   16 was played.)                                                      10:42:05
                                                                                  24              MS. MEEK:     I just paused at 1 minute and               10:42:14
                                                                                  25   3 seconds.                                                           10:42:17


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                                                                                  1    BY MR. SIEGEL:                                                     10:42:19
                                                                                  2       Q.    Now I'm going to ask you -- let's back 8                  10:42:19
                                                                                  3    seconds -- let's go back to where you started and                  10:42:22
                                                                                  4    ask you to watch it again and focus on Will                        10:42:24
                                                                                  5    Fries.                                                             10:42:27
                                                                                  6       A.    Okay.                                                     10:42:28
                                                                                  7             MR. McMURTRY:     I can ask which one is                  10:42:28
                                                                                  8    Will Fries?                                                        10:42:30
                                                                                  9             MR. SIEGEL:     Good point.                               10:42:32
                                                                                  10   BY MR. SIEGEL:                                                     10:42:32
                                                                                  11      Q.    Can you -- let's just for the record,                     10:42:32
                                                                                  12   can you point --                                                   10:42:33
                                                                                  13            MR. McMURTRY:     Okay.     I see him.     Back           10:42:33
                                                                                  14   there in the glasses and the red hat?                              10:42:35
                                                                                  15            MR. SIEGEL:     Right.     For the record, to             10:42:38
                                                                                  16   be accurate, at 1 minute and 3 seconds, he's the                   10:42:39
                                                                                  17   fellow who kind of -- you see his hand.                            10:42:44
                                                                                  18            MR. McMURTRY:     His arms are up and you                 10:42:46
                                                                                  19   can't see the hands?                                               10:42:47
                                                                                  20            MR. SIEGEL:     Okay.     All right.     Let's go         10:42:49
                                                                                  21   back.                                                              10:42:53
                                                                                  22            (Thereupon, a video recording of Exhibit                  10:42:54
                                                                                  23   16 was played.)                                                    10:42:54
                                                                                  24   BY MR. SIEGEL:                                                     10:42:57
                                                                                  25      Q.    Okay.     What did you hear Will say?                     10:42:57


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                                                                                  1       A.      I can make out parts of it.      I think I          10:43:01
                                                                                  2    know what he said.                                             10:43:04
                                                                                  3       Q.      What do you think he said?                          10:43:06
                                                                                  4       A.      I will -- I don't want to repeat.                   10:43:08
                                                                                  5       Q.      I'm going to ask you to repeat for the              10:43:09
                                                                                  6    record.                                                        10:43:13
                                                                                  7       A.      What I believe was said was grab his                10:43:13
                                                                                  8    dick and twist it.                                             10:43:16
                                                                                  9       Q.      Okay.    And he made a twisting motion              10:43:18
                                                                                  10   with his hand?                                                 10:43:21
                                                                                  11      A.      I believe so.                                       10:43:22
                                                                                  12              MR. SIEGEL:     Okay.   And let's look at           10:43:23
                                                                                  13   the next exhibit, which is Exhibit 17, video 8.                10:43:25
                                                                                  14              MS. MEEK:     I'm starting Exhibit 17 at 35         10:44:10
                                                                                  15   seconds.                                                       10:44:13
                                                                                  16              (Thereupon, a video recording of Exhibit            10:44:15
                                                                                  17   17 was played.)                                                10:44:15
                                                                                  18   BY MR. SIEGEL:                                                 10:44:21
                                                                                  19      Q.      Okay.    Do you hear Will saying that too,          10:44:21
                                                                                  20   same thing, grab his dick and twist it?                        10:44:26
                                                                                  21      A.      Yes.                                                10:44:28
                                                                                  22              MR. SIEGEL:     Let's just play a few more          10:44:29
                                                                                  23   seconds.                                                       10:44:32
                                                                                  24              MS. MEEK:     Starting at 39 seconds.               10:44:33
                                                                                  25              (Thereupon, a video recording of Exhibit            10:44:35


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                                                                                  1    17 was played.)                                                    10:44:35
                                                                                  2                MR. SIEGEL:     All right.     And let's play          10:44:35
                                                                                  3    it again.     And I want you to look the couple of                 10:44:37
                                                                                  4    students who are to -- sort of to Will Fries'                      10:44:40
                                                                                  5    right.                                                             10:44:47
                                                                                  6                MS. MEEK:     I will restart at 35                     10:44:48
                                                                                  7    seconds through --                                                 10:44:49
                                                                                  8                MR. SIEGEL:     No.     You can just do 39, go         10:44:50
                                                                                  9    to 39.                                                             10:44:52
                                                                                  10               (Thereupon, a video recording of Exhibit               10:44:58
                                                                                  11   17 was played.)                                                    10:44:58
                                                                                  12   BY MR. SIEGEL:                                                     10:45:02
                                                                                  13      Q.       Do you see at least one other student                  10:45:02
                                                                                  14   after Will kind of make a twisting motion?                         10:45:05
                                                                                  15      A.       Yes.                                                   10:45:09
                                                                                  16      Q.       Who is that?                                           10:45:09
                                                                                  17      A.       Well, can you cursor point out which --                10:45:10
                                                                                  18   which one it was?                                                  10:45:14
                                                                                  19               MR. SIEGEL:     Yeah.     It's the fellow in           10:45:16
                                                                                  20   the -- that one.                                                   10:45:18
                                                                                  21      A.       Okay.    I believe that to be Henry.                   10:45:19
                                                                                  22      Q.       Henry Bennett, right?                                  10:45:22
                                                                                  23      A.       Yes.                                                   10:45:24
                                                                                  24      Q.       And is the fellow next to him named                    10:45:24
                                                                                  25   Cahill, last name Cahill?                                          10:45:28


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                                                                                  1          A.       I believe so.                                       10:45:30
                                                                                  2          Q.       Okay.     So did you hear them say that at          10:45:31
                                                                                  3    the time?                                                          10:45:35
                                                                                  4          A.       I don't think I did.     And judging by my          10:45:36
                                                                                  5    facial reaction, it really doesn't change when I                   10:45:41
                                                                                  6    heard that.        So I -- I don't believe I ever did.             10:45:45
                                                                                  7          Q.       When did you first become aware that he             10:45:48
                                                                                  8    had said that?                                                     10:45:51
                                                                                  9          A.       I think he might have mentioned it to               10:45:53
                                                                                  10   me.        And a week -- I don't know, a week or so                10:45:55
                                                                                  11   after that, he -- he had said that at one point.                   10:46:02
                                                                                  12   But it didn't really stay in the front of my mind                  10:46:04
                                                                                  13   because I didn't do it and it really wasn't my                     10:46:09
                                                                                  14   priority.                                                          10:46:12
                                                                                  15         Q.       What do you think of it?                            10:46:13
                                                                                  16         A.       I mean, I think it was not the smartest             10:46:15
                                                                                  17   thing to say.           It was probably inappropriate.             10:46:20
                                                                                  18                  I know -- I know why he said it.     It's           10:46:23
                                                                                  19   based off a viral Internet video that I guess he                   10:46:27
                                                                                  20   was quoting.           Because he thought others didn't --         10:46:32
                                                                                  21   maybe would find it funny.                                         10:46:37
                                                                                  22         Q.       What is the viral Internet video that he            10:46:39
                                                                                  23   was quoting?                                                       10:46:42
                                                                                  24         A.       The -- what he is quoting is a video                10:46:43
                                                                                  25   where there are sports fans at -- and in a fight,                  10:46:47


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                                                                                  1    and one of the fans stands up and says that line.           10:46:54
                                                                                  2    And I -- I don't know.     Someone reacts to it.            10:46:58
                                                                                  3    And that's -- that's what the video is.                     10:47:04
                                                                                  4       Q.    Okay.    So in the video, is the fan who           10:47:07
                                                                                  5    says that line saying that to one of the                    10:47:12
                                                                                  6    wrestlers, wrestler one, grab the other                     10:47:16
                                                                                  7    guy's penis and twist it?                                   10:47:18
                                                                                  8       A.    Yeah, I believe so.       I believe he's           10:47:19
                                                                                  9    yelling it at the ring.     I don't know.                   10:47:22
                                                                                  10      Q.    He's yelling it at the ring?                       10:47:24
                                                                                  11      A.    Yeah.                                              10:47:26
                                                                                  12      Q.    Okay.    So in this situation, when you            10:47:27
                                                                                  13   and Phillips are face to face and Fries is                  10:47:33
                                                                                  14   yelling it out, whose penis do you understand               10:47:36
                                                                                  15   Fries is referring to?                                      10:47:41
                                                                                  16            MR. McMURTRY:     Objection.    I'm just           10:47:42
                                                                                  17   curious, today or -- I think he said before he              10:47:43
                                                                                  18   didn't hear it then.                                        10:47:44
                                                                                  19            MR. SIEGEL:     He didn't hear it then.            10:47:46
                                                                                  20   BY MR. SIEGEL:                                              10:47:47
                                                                                  21      Q.    But when you came to learn about it.               10:47:47
                                                                                  22            MR. McMURTRY:     Okay.    I'm sorry.              10:47:50
                                                                                  23      A.    I have no idea.     I don't know.                  10:47:50
                                                                                  24   BY MR. SIEGEL:                                              10:47:53
                                                                                  25      Q.    Okay.    Do you think that was an                  10:47:53


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                                                                                  1    appropriate thing to say to an elderly Native                   10:48:11
                                                                                  2    American man?                                                   10:48:13
                                                                                  3               MR. McMURTRY:     Objection.    Go ahead.            10:48:15
                                                                                  4          A.   Again, I don't know even if he directed              10:48:16
                                                                                  5    it at Nathan Phillips.       But I can say that he is           10:48:20
                                                                                  6    a 17-year-old-kid and it was probably just a                    10:48:23
                                                                                  7    poorly timed joke.                                              10:48:27
                                                                                  8          Q.   Do you think that could be perceived as              10:48:28
                                                                                  9    disrespectful?                                                  10:48:31
                                                                                  10         A.   Of course.                                           10:48:32
                                                                                  11         Q.   Okay.    And could it be perceived as                10:48:32
                                                                                  12   mocking Mr. Phillips?                                           10:48:37
                                                                                  13         A.   Yes, if you -- if you speculate or                   10:48:38
                                                                                  14   surmise that Will was saying it at Mr. Phillips,                10:48:40
                                                                                  15   if you take that jump, then yeah.                               10:48:45
                                                                                  16         Q.   Well, whether he was saying it to you or             10:48:47
                                                                                  17   to Mr. Phillips, fair to say that it would be --                10:48:51
                                                                                  18   it could be perceived as mocking Mr. Phillips?                  10:48:54
                                                                                  19         A.   Yes.                                                 10:48:58
                                                                                  20              MR. SIEGEL:     Okay.    Let's go to Exhibit         10:49:06
                                                                                  21   26.                                                             10:49:09
                                                                                  22              MR. McMURTRY:     This is 25 here?                   10:49:26
                                                                                  23              MR. SIEGEL:     Yes.    And 25 is NS 780.            10:49:27
                                                                                  24              (The following portion from Page 306,                10:49:45
                                                                                  25   Line 2 to Page 307, Line 5 was designated                       10:49:45


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                                                                                  1    Confidential and is bound separately.)                        10:49:45
                                                                                  2    BY MR. SIEGEL:                                                10:49:45
                                                                                  3          Q.   And the first text, Nick, comes from               10:49:45
                                                                                  4    Henry B.    Is that Henry Bennett?                            10:49:48
                                                                                  5          A.   Yes.                                               10:49:50
                                                                                  6          Q.   And it looks like he's texting you,                10:49:50
                                                                                  7    Steve Schaeper, Will Fries, Jared Gallagher, Will             10:49:53
                                                                                  8    Clark and Nick Sandmann.      I already said you.             10:49:59
                                                                                  9               The text is:    Can we all appreciate              10:50:00
                                                                                  10   Cahill and I screaming, grab his dick and twist               10:50:03
                                                                                  11   it?                                                           10:50:07
                                                                                  12              And this is texted around 6 in the                 10:50:08
                                                                                  13   evening on January 19th.                                      10:50:10
                                                                                  14         A.   Right.                                             10:50:13
                                                                                  15         Q.   So was this the first point that you               10:50:14
                                                                                  16   learned anything about that?                                  10:50:19
                                                                                  17         A.   Probably.                                          10:50:20
                                                                                  18              MR. SIEGEL:    Okay.                               10:50:24
                                                                                  19         A.   Actually, if I may add, I think at this            10:50:25
                                                                                  20   point my phone was still dead from earlier in the             10:50:28
                                                                                  21   day, so I don't think I would have seen it yet.               10:50:33
                                                                                  22         Q.   Okay.    And at some point when you --             10:50:36
                                                                                  23   when your phone came back on, did you go back and             10:50:43
                                                                                  24   read old texts?                                               10:50:47
                                                                                  25         A.   I did.    I would have -- I assume I would         10:50:49


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                                                                                  1    have read this, but I -- I -- I can't say for                   10:50:53
                                                                                  2    sure.                                                           10:50:56
                                                                                  3          Q.    And the last name here is Cahill.       Is          10:50:57
                                                                                  4    that Chris Cahill?                                              10:51:02
                                                                                  5          A.    Yes.                                                10:51:03
                                                                                  6                (This concludes the Confidential                    10:51:06
                                                                                  7    portion.)                                                       10:51:06
                                                                                  8                MR. SIEGEL:     Okay.   Let's look at               10:51:06
                                                                                  9    Exhibit 27.                                                     10:51:08
                                                                                  10               MR. McMURTRY:     Just real quick on 26.            10:51:08
                                                                                  11   It was marked confidential.         Because we don't            10:51:10
                                                                                  12   want to see this -- you know, these kids                        10:51:12
                                                                                  13   subjected to anything like Will was subjected to.               10:51:14
                                                                                  14               So to the extent that we have mentioned             10:51:18
                                                                                  15   their names and all that, I would ask that the                  10:51:19
                                                                                  16   record and the document be treated as                           10:51:21
                                                                                  17   confidential just referring to that.                            10:51:25
                                                                                  18               MR. SIEGEL:     Okay.   Let's go to Exhibit         10:51:31
                                                                                  19   27.                                                             10:51:32
                                                                                  20               MR. McMURTRY:     Exhibit 27 is also marked         10:51:33
                                                                                  21   as confidential.                                                10:51:35
                                                                                  22               (The following portion from Page 308,               10:51:41
                                                                                  23   Line 25 through Page 309, Line 13 was designated                10:51:41
                                                                                  24   Confidential and is bound separately.)                          10:51:41
                                                                                  25   BY MR. SIEGEL:                                                  10:51:41


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                                                                                  1       Q.       And Exhibit 27 is Bates stamped by your             10:51:41
                                                                                  2    counsel NS 717.                                                 10:51:46
                                                                                  3                And the first text at the top at 1705 is            10:51:50
                                                                                  4    from Will Clark texting you and those four other                10:51:54
                                                                                  5    students.                                                       10:51:59
                                                                                  6       A.       Yes.                                                10:52:00
                                                                                  7       Q.       And he texts:     They showed the same clip         10:52:03
                                                                                  8    like four times of you screaming in the                         10:52:06
                                                                                  9    background grab his dick and twist it.         I was            10:52:10
                                                                                  10   dying, dude.                                                    10:52:13
                                                                                  11               Do you know when Will Clark said they               10:52:14
                                                                                  12   showed the same clip like four times, do you have               10:52:16
                                                                                  13   any idea what he was referring to?                              10:52:19
                                                                                  14      A.       I have no idea.                                     10:52:21
                                                                                  15      Q.       Okay.    When Will Clark texted:    I was           10:52:22
                                                                                  16   dying, dude, what -- how did you understand that?               10:52:34
                                                                                  17      A.       Again, I don't know if I was paying                 10:52:41
                                                                                  18   attention to the text at this point, but I would                10:52:43
                                                                                  19   assume that means that he was dying of laughter.                10:52:49
                                                                                  20   He thought that it was funny.                                   10:52:53
                                                                                  21      Q.       Okay.    Did you think it was funny?                10:52:55
                                                                                  22               MR. McMURTRY:     Objection.   Go ahead.            10:53:05
                                                                                  23      A.       In the present or in the past?                      10:53:06
                                                                                  24   BY MR. SIEGEL:                                                  10:53:09
                                                                                  25      Q.       Well, that is a fair question.                      10:53:09


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                                                                                  1                Did -- did this -- did any of these                   10:53:12
                                                                                  2    texts ever cause you to go back and look at any                   10:53:16
                                                                                  3    of the video and see if you could tell what they                  10:53:19
                                                                                  4    were talking about?                                               10:53:22
                                                                                  5       A.       I have never gone back to look at the                 10:53:23
                                                                                  6    video to see if I could hear that.                                10:53:26
                                                                                  7                MR. SIEGEL:     Okay.                                 10:53:29
                                                                                  8       A.       As I testified earlier, I try to watch                10:53:30
                                                                                  9    these videos as little as possible.                               10:53:33
                                                                                  10      Q.       Okay.    Looking at it today, do you -- do            10:53:36
                                                                                  11   you think it was funny?                                           10:53:45
                                                                                  12      A.       As I've testified earlier, I don't think              10:53:46
                                                                                  13   it was appropriate.        So no.                                 10:53:49
                                                                                  14               (This concludes the Confidential                      10:53:51
                                                                                  15   portion.)                                                         10:53:51
                                                                                  16               MR. SIEGEL:     Okay.    Let's go to Exhibit          10:53:51
                                                                                  17   17, which is video 8.                                             10:53:53
                                                                                  18               MS. MEEK:     I'm starting Exhibit 17 at 34           10:54:09
                                                                                  19   seconds.                                                          10:54:13
                                                                                  20               (Thereupon, a video recording of Exhibit              10:54:14
                                                                                  21   17 was played.)                                                   10:54:14
                                                                                  22               MR. SIEGEL:     Okay.    Let's just listen to         10:54:17
                                                                                  23   it one more time.       And again, I'm going to ask               10:54:20
                                                                                  24   you to focus on what is coming out of the crowd.                  10:54:22
                                                                                  25               THE WITNESS:     Okay.                                10:54:27


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                                                                                  1    BY MR. SIEGEL:                                                10:54:34
                                                                                  2       Q.    Did you hear someone say surrounded you?             10:54:34
                                                                                  3       A.    No.                                                  10:54:39
                                                                                  4             MR. SIEGEL:     Go through it one more               10:54:39
                                                                                  5    time.                                                         10:54:41
                                                                                  6             (Thereupon, a video recording of Exhibit             10:54:48
                                                                                  7    17 was played.)                                               10:54:48
                                                                                  8       A.    I -- I can't -- I do not personally,                 10:54:52
                                                                                  9    because when -- when that sound starts coming,                10:54:58
                                                                                  10   it's the same time as Will starts to say what he              10:55:01
                                                                                  11   said, which we have already covered.                          10:55:06
                                                                                  12            MR. SIEGEL:     Right.                               10:55:08
                                                                                  13      A.    And I -- I really can't tell, to be                  10:55:09
                                                                                  14   honest with you.                                              10:55:13
                                                                                  15            MR. SIEGEL:     Okay.    Let's then -- okay.         10:55:14
                                                                                  16   Let's restart it.                                             10:55:21
                                                                                  17            MS. MEEK:     Restarting at 37 seconds.              10:55:22
                                                                                  18            (Thereupon, a video recording of Exhibit             10:55:25
                                                                                  19   17 was played.)                                               10:55:25
                                                                                  20            MR. SIEGEL:     Okay.    Now let's go back           10:55:38
                                                                                  21   about five seconds and play it again.                         10:55:41
                                                                                  22            MS. MEEK:     Going back to 43 seconds.              10:55:55
                                                                                  23            (Thereupon, a video recording of Exhibit             10:55:58
                                                                                  24   17 was played.)                                               10:55:58
                                                                                  25   BY MR. SIEGEL:                                                10:56:04


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                                                                                  1       Q.     So I think somebody says give them the              10:56:04
                                                                                  2    old, and then I'm not sure what else was said.                10:56:08
                                                                                  3    Did you hear that?                                            10:56:11
                                                                                  4       A.     I heard the start of something, but I               10:56:11
                                                                                  5    can't hear the ending either.                                 10:56:14
                                                                                  6              MR. SIEGEL:     Okay.   Let's go to Exhibit         10:56:30
                                                                                  7    16, which is video 2.                                         10:56:34
                                                                                  8              MS. MEEK:     Starting Exhibit 16 at 1:18.          10:57:02
                                                                                  9              (Thereupon, a video recording of Exhibit            10:57:09
                                                                                  10   16 was played.)                                               10:57:09
                                                                                  11             MS. MEEK:     I just paused at 1:20.                10:57:14
                                                                                  12             MR. SIEGEL:     Okay.   Play it again.              10:57:16
                                                                                  13             (Thereupon, a video recording of Exhibit            10:57:26
                                                                                  14   16 was played.)                                               10:57:26
                                                                                  15   BY MR. SIEGEL:                                                10:57:31
                                                                                  16      Q.     Did you hear someone shout he ain't                 10:57:31
                                                                                  17   moving?                                                       10:57:36
                                                                                  18      A.     Yeah.                                               10:57:36
                                                                                  19      Q.     Did you hear that at the time?                      10:57:40
                                                                                  20      A.     Again, I probably tuned it out --                   10:57:43
                                                                                  21             MR. SIEGEL:     Okay.                               10:57:46
                                                                                  22      A.     -- or wasn't paying attention.                      10:57:47
                                                                                  23      Q.     What do you understand it to mean                   10:57:52
                                                                                  24   hearing it now?                                               10:57:54
                                                                                  25      A.     I would guess that they are either                  10:57:57


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                                                                                  1    referring to me or Mr. Phillips as one of us                 10:58:00
                                                                                  2    wasn't moving, and as an observation, I guess.               10:58:05
                                                                                  3       Q.     Okay.     And I take it you don't know who         10:58:13
                                                                                  4    said that?                                                   10:58:15
                                                                                  5       A.     Correct.                                           10:58:15
                                                                                  6              MR. SIEGEL:     Okay.   Let's restart.             10:58:26
                                                                                  7              MS. MEEK:     Restarting at 1:22.                  10:58:29
                                                                                  8              (Thereupon, a video recording of Exhibit           10:58:33
                                                                                  9    16 was played.)                                              10:58:33
                                                                                  10             MS. MEEK:     Paused at 1:29.                      10:58:38
                                                                                  11   BY MR. SIEGEL:                                               10:58:40
                                                                                  12      Q.     Did you hear someone say movable object            10:58:40
                                                                                  13   or unmovable object?                                         10:58:43
                                                                                  14      A.     Yes.                                               10:58:45
                                                                                  15             MR. McMURTRY:     I can't hear any of this         10:58:46
                                                                                  16   stuff.   You guys are good.                                  10:58:48
                                                                                  17   BY MR. SIEGEL:                                               10:58:58
                                                                                  18      Q.     Do you understand it to be referring to            10:58:58
                                                                                  19   you, that you are the unmovable object?                      10:59:00
                                                                                  20      A.     No.     It could have been either of us at         10:59:03
                                                                                  21   this point.      We are both standing there.                 10:59:05
                                                                                  22             MR. SIEGEL:     Okay.   Let's keep going.          10:59:11
                                                                                  23   And I want you to focus on Will Fries again.                 10:59:13
                                                                                  24             MS. MEEK:     Starting at 1:29.                    10:59:18
                                                                                  25             (Thereupon, a video recording of Exhibit           10:59:20


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                                                                                  1    16 was played.)                                                  10:59:20
                                                                                  2               MS. MEEK:     Pausing at 1:39.                        10:59:32
                                                                                  3               MR. SIEGEL:     Go back a few seconds.     We         10:59:35
                                                                                  4    might have cut that off a bit too early.                         10:59:44
                                                                                  5               MS. MEEK:     Okay.   Restarting at 1:29              10:59:48
                                                                                  6    through --                                                       10:59:53
                                                                                  7               MR. SIEGEL:     Play another like ten                 10:59:54
                                                                                  8    seconds.                                                         10:59:56
                                                                                  9               MS. MEEK:     Okay.                                   10:59:56
                                                                                  10              (Thereupon, a video recording of Exhibit              10:59:58
                                                                                  11   16 was played.)                                                  10:59:58
                                                                                  12   BY MR. SIEGEL:                                                   11:00:11
                                                                                  13      Q.      Do you see it looked like Will was                    11:00:11
                                                                                  14   shouting something?                                              11:00:15
                                                                                  15      A.      Yes.   Yes.                                           11:00:15
                                                                                  16      Q.      Can you tell what he's saying?                        11:00:17
                                                                                  17      A.      There he was inaudible.      I couldn't even          11:00:20
                                                                                  18   hear his voice.                                                  11:00:23
                                                                                  19              MR. SIEGEL:     If that gives you any more            11:00:27
                                                                                  20   comfort, Todd --                                                 11:00:34
                                                                                  21              MR. McMURTRY:     I was feeling like there            11:00:36
                                                                                  22   is something wrong.                                              11:00:37
                                                                                  23              MR. SIEGEL:     I couldn't hear it either.            11:00:38
                                                                                  24              MR. McMURTRY:     He keeps answering, and             11:00:39
                                                                                  25   I'm --                                                           11:00:44


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                                                                                  1             MR. SIEGEL:     On that one.     All right.          11:00:44
                                                                                  2    Let's keep going.     And again, I ask you to sort            11:00:46
                                                                                  3    of focus on Will.                                             11:00:50
                                                                                  4             THE WITNESS:     Okay.                               11:00:53
                                                                                  5             MS. MEEK:     All right.   I'm going to go           11:00:54
                                                                                  6    back to 1:39.                                                 11:00:56
                                                                                  7             MR. SIEGEL:     I think you can actually             11:00:58
                                                                                  8    start where you are.                                          11:00:59
                                                                                  9             MS. MEEK:     Okay.   Now we are at 1:42.            11:01:00
                                                                                  10            (Thereupon, a video recording of Exhibit             11:01:06
                                                                                  11   16 was played.)                                               11:01:06
                                                                                  12   BY MR. SIEGEL:                                                11:01:11
                                                                                  13      Q.    So did you see Will -- you saw Will                  11:01:11
                                                                                  14   shouting something?                                           11:01:16
                                                                                  15      A.    Yes.                                                 11:01:17
                                                                                  16      Q.    Did he say beat that drum?                           11:01:17
                                                                                  17      A.    Could you replay it?                                 11:01:20
                                                                                  18            MR. SIEGEL:     Absolutely.                          11:01:22
                                                                                  19      A.    I heard beat that drum.        I didn't hear         11:01:23
                                                                                  20   it necessarily from him.                                      11:01:28
                                                                                  21            (Thereupon, a video recording of Exhibit             11:01:42
                                                                                  22   16 was played.)                                               11:01:42
                                                                                  23      A.    Yes.                                                 11:01:42
                                                                                  24   BY MR. SIEGEL:                                                11:01:44
                                                                                  25      Q.    Okay.    What do you think of that                   11:01:44


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                                                                                  1    comment?                                                      11:01:52
                                                                                  2       A.      I don't really know what to make of it.            11:01:52
                                                                                  3       Q.      Do you think that was -- there was only            11:01:55
                                                                                  4    one person playing the drum there, right?                     11:01:58
                                                                                  5       A.      Correct.    Well, two, technically.                11:02:01
                                                                                  6       Q.      So when you hear him saying beat that              11:02:04
                                                                                  7    drum, he is referring to Mr. Phillips beating the             11:02:08
                                                                                  8    drum?                                                         11:02:11
                                                                                  9       A.      I would assume.                                    11:02:12
                                                                                  10      Q.      Okay.    Do you think that that was                11:02:12
                                                                                  11   respectful to shout at, at Mr. Phillips?                      11:02:14
                                                                                  12      A.      Probably not.                                      11:02:16
                                                                                  13      Q.      Okay.    Do you think that could be                11:02:17
                                                                                  14   perceived as mocking him?                                     11:02:20
                                                                                  15      A.      You could perceive it that way, yes.               11:02:21
                                                                                  16      Q.      Okay.    Do you?                                   11:02:24
                                                                                  17      A.      I -- the way I look at it is it's                  11:02:26
                                                                                  18   probably not the smartest thing to do.                        11:02:30
                                                                                  19              MR. SIEGEL:     Okay.   Let's keep going.          11:02:38
                                                                                  20              MS. MEEK:     Restarting at 1:52.                  11:02:40
                                                                                  21              (Thereupon, a video recording of Exhibit           11:02:44
                                                                                  22   16 was played.)                                               11:02:44
                                                                                  23   BY MR. SIEGEL:                                                11:03:04
                                                                                  24      Q.      So you are seeing some of the students             11:03:04
                                                                                  25   going what, what, what, what, what?                           11:03:09


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                                                                                  1       A.    Yes.                                                    11:03:11
                                                                                  2       Q.    Do you have any understanding of what                   11:03:11
                                                                                  3    that is in that context?                                         11:03:13
                                                                                  4       A.    We would do what, what, what.      It was               11:03:15
                                                                                  5    another one of our school spirit chants that we                  11:03:21
                                                                                  6    did when we couldn't hear the opposing team's                    11:03:25
                                                                                  7    cheering section.     So we basically called them                11:03:30
                                                                                  8    out for being quiet.                                             11:03:33
                                                                                  9             But I think here, they are doing it                     11:03:35
                                                                                  10   because they -- you can see Mr. Phillips raise                   11:03:38
                                                                                  11   the drum almost -- I think part of it starts to                  11:03:41
                                                                                  12   go past my head.     And I think they are doing that             11:03:46
                                                                                  13   because they are confused as to what's going on.                 11:03:49
                                                                                  14            MR. SIEGEL:     Okay.   Let's keep going.               11:03:58
                                                                                  15            MS. MEEK:     I paused before at 2:12.      And         11:04:00
                                                                                  16   now I'm continuing from that point.                              11:04:04
                                                                                  17            (Thereupon, a video recording of Exhibit                11:04:08
                                                                                  18   16 was played.)                                                  11:04:08
                                                                                  19            MS. MEEK:     Paused at 2:34.                           11:04:28
                                                                                  20   BY MR. SIEGEL:                                                   11:04:30
                                                                                  21      Q.    Okay.     So you hear somebody says what's              11:04:30
                                                                                  22   going on or I don't know what's going on?                        11:04:33
                                                                                  23      A.    Correct.                                                11:04:35
                                                                                  24      Q.    And the woman wearing that green hat --                 11:04:36
                                                                                  25      A.    Yes.                                                    11:04:43


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                                                                                  1       Q.    -- says you guys are acting like a mob,            11:04:43
                                                                                  2    that's what is going on, fucking mob mentality?             11:04:48
                                                                                  3       A.    Yeah.                                              11:04:52
                                                                                  4       Q.    Do you agree with her?                             11:04:53
                                                                                  5       A.    Of course not.                                     11:04:54
                                                                                  6       Q.    Okay.     And why is that?                         11:04:56
                                                                                  7       A.    Because we weren't.     We are a group of          11:04:58
                                                                                  8    students and -- whose personal space is being               11:05:01
                                                                                  9    invaded by adults while we have an entire camera            11:05:07
                                                                                  10   crew set up to capture it.                                  11:05:11
                                                                                  11      Q.    Do you have any -- do you believe that             11:05:14
                                                                                  12   that's how she perceived the students' behavior             11:05:27
                                                                                  13   at that time?                                               11:05:32
                                                                                  14            MR. McMURTRY:     Objection.                       11:05:32
                                                                                  15      A.    No.     I think that right here she's              11:05:33
                                                                                  16   already starting to craft the story that is                 11:05:35
                                                                                  17   eventually going to be taken to social media and            11:05:38
                                                                                  18   public interviews before I will even know what's            11:05:43
                                                                                  19   happening.                                                  11:05:48
                                                                                  20   BY MR. SIEGEL:                                              11:05:49
                                                                                  21      Q.    And what's your basis for saying that?             11:05:49
                                                                                  22      A.    Because Nathan Phillips was on                     11:05:52
                                                                                  23   television before I even knew what was happening.           11:05:54
                                                                                  24      Q.    And do you know who that woman is?                 11:05:57
                                                                                  25      A.    No.                                                11:05:59


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                                                                                  1       Q.     So what is the -- your basis for saying            11:06:00
                                                                                  2    that or claiming that she had anything to do with            11:06:04
                                                                                  3    crafting a story at that moment?                             11:06:08
                                                                                  4       A.     Because you are asking me what I thought           11:06:11
                                                                                  5    she was doing, and I'm -- I'm telling you from               11:06:14
                                                                                  6    this point, I -- that's what I believe she's                 11:06:19
                                                                                  7    doing.                                                       11:06:23
                                                                                  8       Q.     Okay.    That's your perception of it,             11:06:24
                                                                                  9    right?                                                       11:06:27
                                                                                  10      A.     Yes.                                               11:06:27
                                                                                  11      Q.     Okay.    Just one last time, to make the           11:06:28
                                                                                  12   record clear, you don't have any other facts                 11:06:43
                                                                                  13   about her, do you, to substantiate that                      11:06:46
                                                                                  14   perception?                                                  11:06:49
                                                                                  15      A.     Right.    I don't -- I have no idea who            11:06:50
                                                                                  16   she is.                                                      11:06:54
                                                                                  17             MR. SIEGEL:     Okay.   Let's keep going.          11:06:54
                                                                                  18             MS. MEEK:     I'm playing Exhibit 16               11:07:06
                                                                                  19   starting at 3 minutes and 15 seconds.                        11:07:09
                                                                                  20             (Thereupon, a video recording of Exhibit           11:07:13
                                                                                  21   16 was played.)                                              11:07:13
                                                                                  22             MS. MEEK:     I just paused at 3 minutes           11:07:20
                                                                                  23   and 20 seconds.                                              11:07:22
                                                                                  24   BY MR. SIEGEL:                                               11:07:23
                                                                                  25      Q.     Who is the student with his hand on your           11:07:23


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                                                                                  1    shoulders?                                                     11:07:26
                                                                                  2       A.     I believe that's Charlie, but I could be             11:07:26
                                                                                  3    wrong.   Because earlier he had a red hat on, and              11:07:34
                                                                                  4    now it looks like a white hat.        So it looks like         11:07:37
                                                                                  5    Charlie, but I don't know.                                     11:07:42
                                                                                  6              MR. SIEGEL:     Do you want to play it a             11:07:44
                                                                                  7    few more -- I will tell you, we are going to play              11:07:46
                                                                                  8    it forward anyway.      So if you are able to see his          11:07:49
                                                                                  9    face more clearly and, you know, answer on that                11:07:52
                                                                                  10   basis, let's just -- let me know.                              11:07:55
                                                                                  11             (Thereupon, a video recording of Exhibit             11:08:00
                                                                                  12   16 was played.)                                                11:08:00
                                                                                  13             MS. MEEK:     Paused at 3:22.                        11:08:02
                                                                                  14      A.     That's Charlie.                                      11:08:05
                                                                                  15   BY MR. SIEGEL:                                                 11:08:07
                                                                                  16      Q.     That's Charlie?     Okay.                            11:08:07
                                                                                  17             MS. MEEK:     I'm continuing on from that            11:08:12
                                                                                  18   point.                                                         11:08:14
                                                                                  19             (Thereupon, a video recording of Exhibit             11:08:16
                                                                                  20   16 was played.)                                                11:08:16
                                                                                  21             MS. MEEK:     Paused at 3:32.                        11:08:24
                                                                                  22   BY MR. SIEGEL:                                                 11:08:27
                                                                                  23      Q.     Okay.    Here again, somebody said you               11:08:27
                                                                                  24   can't move him?                                                11:08:31
                                                                                  25      A.     Yeah.                                                11:08:33


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                                                                                  1              MR. SIEGEL:     Okay.     Let's just play it         11:08:35
                                                                                  2    one more time.     Maybe go one more second past.              11:08:37
                                                                                  3              MS. MEEK:     Okay.     Going back to 3:20.          11:08:44
                                                                                  4              MR. SIEGEL:     No, no, no, I'm sorry.               11:08:49
                                                                                  5    Yeah.   Just -- you can go maybe five seconds                  11:08:50
                                                                                  6    before and then go one second past so he can                   11:08:53
                                                                                  7    focus just on that.                                            11:08:57
                                                                                  8              MS. MEEK:     Playing from 3:27.                     11:09:00
                                                                                  9              (Thereupon, a video recording of Exhibit             11:09:03
                                                                                  10   16 was played.)                                                11:09:03
                                                                                  11   BY MR. SIEGEL:                                                 11:09:13
                                                                                  12      Q.     So would it be fair to say that whoever              11:09:13
                                                                                  13   said that is kind of in a sing-song voice, like                11:09:18
                                                                                  14   you can't move him?                                            11:09:22
                                                                                  15      A.     Yeah.    It was Beau.                                11:09:23
                                                                                  16      Q.     That was Beau?                                       11:09:26
                                                                                  17      A.     Yeah.                                                11:09:27
                                                                                  18      Q.     Okay.    And do you think that could be              11:09:29
                                                                                  19   interpreted as mocking Mr. Phillips?                           11:09:32
                                                                                  20      A.     No.                                                  11:09:36
                                                                                  21      Q.     Why not?                                             11:09:37
                                                                                  22      A.     Because, I mean, that's a very neutral,              11:09:38
                                                                                  23   truthful statement.                                            11:09:44
                                                                                  24             Technically, he is not allowed to move               11:09:46
                                                                                  25   me or put his hands on me, if you are looking at               11:09:49


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                                                                                  1    this legally.     So I don't -- I don't see that as             11:09:53
                                                                                  2    how you could take that as disrespectful to                     11:10:01
                                                                                  3    Mr. Phillips.                                                   11:10:04
                                                                                  4       Q.    Does the tone of voice that he says it                 11:10:04
                                                                                  5    in, you can't move him, does that affect your                   11:10:07
                                                                                  6    answer at all?                                                  11:10:11
                                                                                  7       A.    No.     That was the way in which we                   11:10:11
                                                                                  8    recited our school spirit chants.                               11:10:15
                                                                                  9       Q.    Okay.     So your interpretation of it is              11:10:19
                                                                                  10   Beau was reciting it here as if it were a cheer?                11:10:24
                                                                                  11      A.    Yes.                                                   11:10:28
                                                                                  12            MR. SIEGEL:     Okay.     Just go back.   Play         11:10:28
                                                                                  13   that one more time.                                             11:10:34
                                                                                  14   BY MR. SIEGEL:                                                  11:10:35
                                                                                  15      Q.    And can you point out to me where you                  11:10:35
                                                                                  16   see that it is Beau who is saying this?                         11:10:38
                                                                                  17      A.    Okay.     It might be helpful to do it                 11:10:41
                                                                                  18   frame by frame so I can --                                      11:10:44
                                                                                  19            MS. MEEK:     Sure.     I will do that from            11:10:45
                                                                                  20   3:27.                                                           11:10:48
                                                                                  21            THE WITNESS:     Okay.                                 11:10:50
                                                                                  22            (Thereupon, a video recording of Exhibit               11:10:55
                                                                                  23   16 was played.)                                                 11:10:55
                                                                                  24            THE WITNESS:     You will see him when the             11:11:13
                                                                                  25   camera shows back over to the left.                             11:11:15


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                                                                                  1             (Thereupon, a video recording of Exhibit            11:11:22
                                                                                  2    16 was played.)                                              11:11:22
                                                                                  3             THE WITNESS:     You can see his hand right         11:11:31
                                                                                  4    there.                                                       11:11:33
                                                                                  5             MR. SIEGEL:     Right.                              11:11:33
                                                                                  6             THE WITNESS:     And then he will go up to          11:11:35
                                                                                  7    cup his mouth in a couple of seconds.                        11:11:37
                                                                                  8             MR. SIEGEL:     Okay.                               11:11:40
                                                                                  9             MS. MEEK:     This frame by frame is not            11:11:48
                                                                                  10   working great.    There we go.                               11:11:50
                                                                                  11            (Thereupon, a video recording of Exhibit            11:11:53
                                                                                  12   16 was played.)                                              11:11:53
                                                                                  13            MR. SIEGEL:     Keep going.                         11:12:00
                                                                                  14            THE WITNESS:     Again, he says it right            11:12:10
                                                                                  15   there.                                                       11:12:17
                                                                                  16            MS. MEEK:     For the record, was that              11:12:18
                                                                                  17   3:33?                                                        11:12:21
                                                                                  18            MR. SIEGEL:     So can you just go -- go            11:12:23
                                                                                  19   back about five seconds again and play it through            11:12:25
                                                                                  20   him cupping his mouth?                                       11:12:29
                                                                                  21            MS. MEEK:     Sure.                                 11:12:31
                                                                                  22            MR. SIEGEL:     A little before, because            11:12:32
                                                                                  23   he's already doing it then.       Okay.                      11:12:34
                                                                                  24            MS. MEEK:     Starting from 3:28.                   11:12:42
                                                                                  25            (Thereupon, a video recording of Exhibit            11:12:46


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                                                                                  1    16 was played.)                                                11:12:46
                                                                                  2    BY MR. SIEGEL:                                                 11:12:55
                                                                                  3       Q.      Beau cups his mouth after that.                     11:12:55
                                                                                  4       A.      Okay.    My mistake then.                           11:12:59
                                                                                  5       Q.      Okay.    So I take it you don't know who            11:13:00
                                                                                  6    says that?                                                     11:13:02
                                                                                  7       A.      Yeah.    Then, I don't know.                        11:13:03
                                                                                  8       Q.      Have you ever talked to Beau about this             11:13:09
                                                                                  9    incident after it happened?                                    11:13:16
                                                                                  10      A.      I never had the chance to speak to Beau,            11:13:17
                                                                                  11   and then he transferred out of Cov Cath.                       11:13:20
                                                                                  12      Q.      Did you know him?                                   11:13:25
                                                                                  13      A.      I did not.     He was a freshman.   I was a         11:13:28
                                                                                  14   junior.                                                        11:13:31
                                                                                  15              MR. SIEGEL:     Okay.   So let's go back to         11:13:35
                                                                                  16   3:32 and then play it normally.                                11:13:37
                                                                                  17              (Thereupon, a video recording of Exhibit            11:13:41
                                                                                  18   16 was played.)                                                11:13:41
                                                                                  19              MS. MEEK:     Paused at 3:36.                       11:13:46
                                                                                  20              MR. SIEGEL:     Now, it looks -- play that          11:13:48
                                                                                  21   again.    And I'm going to ask you to focus on what            11:13:53
                                                                                  22   the kid in the -- it looks like that black                     11:13:56
                                                                                  23   sweatshirt that I think -- okay.                               11:13:58
                                                                                  24              (Thereupon, a video recording of Exhibit            11:14:03
                                                                                  25   16 was played.)                                                11:14:03


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                                                                                  1    BY MR. SIEGEL:                                                  11:14:07
                                                                                  2       Q.      Do you hear someone saying this is how               11:14:07
                                                                                  3    we won this war?                                                11:14:10
                                                                                  4       A.      No.                                                  11:14:11
                                                                                  5               MR. SIEGEL:     Try it again.                        11:14:12
                                                                                  6       A.      I -- with my best try, I cannot                      11:14:15
                                                                                  7    understand.                                                     11:14:19
                                                                                  8               (Thereupon, a video recording of Exhibit             11:14:22
                                                                                  9    16 was played.)                                                 11:14:22
                                                                                  10      A.      No.                                                  11:14:26
                                                                                  11   BY MR. SIEGEL:                                                  11:14:27
                                                                                  12      Q.      You can't --                                         11:14:27
                                                                                  13      A.      I hear this is how, and then the rest is             11:14:28
                                                                                  14   speculation at best.       I don't -- I can't tell.             11:14:32
                                                                                  15              MR. SIEGEL:     Okay.   Let's -- okay.               11:14:43
                                                                                  16   Let's keep going.                                               11:14:45
                                                                                  17              MS. MEEK:     Restarting at 3:36.                    11:14:47
                                                                                  18              (Thereupon, a video recording of Exhibit             11:14:49
                                                                                  19   16 was played.)                                                 11:14:49
                                                                                  20              MS. MEEK:     Paused at 3:43.                        11:14:58
                                                                                  21              MR. SIEGEL:     And I'll just -- then we             11:15:02
                                                                                  22   can -- why don't we just play it so it's clear on               11:15:02
                                                                                  23   the record.      The video is about to stop.    Go back         11:15:05
                                                                                  24   to 3:43.                                                        11:15:09
                                                                                  25   BY MR. SIEGEL:                                                  11:15:23


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                                                                                  1       Q.    Okay.    So at this point, which is right          11:15:23
                                                                                  2    before the video cuts off, Nick, would you agree            11:15:26
                                                                                  3    that by this point, there are students on all               11:15:30
                                                                                  4    side of Phillips, right, including behind him?              11:15:34
                                                                                  5       A.    I mean, behind him to me does not seem             11:15:37
                                                                                  6    very accurate.    The people immediately behind him         11:15:42
                                                                                  7    are people from the Indigenous People's March,              11:15:46
                                                                                  8    and you've got students five or six feet past               11:15:52
                                                                                  9    that.                                                       11:15:56
                                                                                  10            MR. SIEGEL:    Right.                              11:15:56
                                                                                  11      A.    So, I mean, technically, yes, they are             11:15:57
                                                                                  12   behind him, but not immediately --                          11:16:00
                                                                                  13      Q.    I understand that.      But in -- and I'm          11:16:02
                                                                                  14   not asking you who was standing like literally              11:16:05
                                                                                  15   right immediately behind him.      But in the               11:16:08
                                                                                  16   direction behind him, right, to his rear, there             11:16:11
                                                                                  17   are now students standing there, right?                     11:16:14
                                                                                  18      A.    Correct.                                           11:16:17
                                                                                  19      Q.    Okay.    So in -- and Nick, you may have           11:16:17
                                                                                  20   recognized.    I mean, this is what is called the           11:16:25
                                                                                  21   Titano video, and the -- in this video, you and             11:16:31
                                                                                  22   Phillips came face to face around 50 seconds, and           11:16:39
                                                                                  23   the video ends at 3:44.    So that is roughly three         11:16:44
                                                                                  24   minutes later, right, you are still standing                11:16:49
                                                                                  25   there?                                                      11:16:52


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                                                                                  1               So for those three minutes, you didn't                    11:16:53
                                                                                  2    move from your spot, right?                                          11:16:56
                                                                                  3          A.   Right.                                                    11:16:57
                                                                                  4               MR. SIEGEL:     Okay.    Let's go to Exhibit              11:17:01
                                                                                  5    28.                                                                  11:17:04
                                                                                  6               MR. McMURTRY:     Tell me again what video                11:17:10
                                                                                  7    that is.                                                             11:17:12
                                                                                  8               MR. SIEGEL:     I'm sorry.    Video 9.        And         11:17:14
                                                                                  9    it's just the first five or six seconds.            And              11:17:30
                                                                                  10   again, listen to the crowd.                                          11:17:33
                                                                                  11              THE WITNESS:     Okay.                                    11:17:35
                                                                                  12              (Thereupon, a video recording of Exhibit                  11:17:49
                                                                                  13   28 was played.)                                                      11:17:49
                                                                                  14   BY MR. SIEGEL:                                                       11:17:54
                                                                                  15         Q.   Did you hear somebody shouting something                  11:17:54
                                                                                  16   out?                                                                 11:17:57
                                                                                  17         A.   I mean, I heard people shouting.          I               11:17:57
                                                                                  18   didn't hear anything.                                                11:18:00
                                                                                  19              MR. SIEGEL:     Let's -- let's just play it               11:18:02
                                                                                  20   one more time.                                                       11:18:05
                                                                                  21              (Thereupon, a video recording of Exhibit                  11:18:08
                                                                                  22   28 was played.)                                                      11:18:08
                                                                                  23   BY MR. SIEGEL:                                                       11:18:11
                                                                                  24         Q.   So right there, around four or five                       11:18:11
                                                                                  25   seconds, does it sounds like someone may be                          11:18:15


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                                                                                  1    shouting build that wall?                                    11:18:17
                                                                                  2       A.    No.     I can't hear that.                          11:18:20
                                                                                  3             MR. SIEGEL:     Let's listen to it again.           11:18:22
                                                                                  4             (Thereupon, a video recording of Exhibit            11:18:24
                                                                                  5    28 was played.)                                              11:18:24
                                                                                  6    BY MR. SIEGEL:                                               11:18:30
                                                                                  7       Q.    Can you say for certain that that's not             11:18:30
                                                                                  8    what is being said?                                          11:18:33
                                                                                  9       A.    Of course not.     But I don't think you            11:18:34
                                                                                  10   could say for certain someone did say that.                  11:18:37
                                                                                  11      Q.    Okay.     I know you have already said that         11:18:52
                                                                                  12   you generally weren't able to hear much or you               11:18:54
                                                                                  13   weren't focusing on what the crowd -- what was               11:18:57
                                                                                  14   audible coming from the crowd.                               11:19:01
                                                                                  15      A.    Right.                                              11:19:02
                                                                                  16      Q.    But did you ever hear anyone say build              11:19:03
                                                                                  17   that wall?                                                   11:19:06
                                                                                  18      A.    Not from --                                         11:19:06
                                                                                  19      Q.    During the -- during the encounter?                 11:19:07
                                                                                  20      A.    Not from what I remember, no.                       11:19:09
                                                                                  21      Q.    Okay.     Did anyone ever tell you that             11:19:11
                                                                                  22   they said that?                                              11:19:14
                                                                                  23      A.    No one has told me that they said build             11:19:15
                                                                                  24   that wall.                                                   11:19:18
                                                                                  25      Q.    Okay.     Has anyone ever told you that             11:19:18


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                                                                                  1    they heard that?                                               11:19:22
                                                                                  2          A.   No one's told me that they've heard it              11:19:22
                                                                                  3    either.                                                        11:19:27
                                                                                  4               MR. SIEGEL:     Okay.   Let's go to Exhibit         11:19:39
                                                                                  5    29.                                                            11:19:43
                                                                                  6               MS. MEEK:     This is video 3 in the                11:19:56
                                                                                  7    stipulation, and I'm playing Exhibit 29 from the               11:19:59
                                                                                  8    beginning.                                                     11:20:03
                                                                                  9               (Thereupon, a video recording of Exhibit            11:20:05
                                                                                  10   29 was played.)                                                11:20:05
                                                                                  11   BY MR. SIEGEL:                                                 11:20:26
                                                                                  12         Q.   So what are the students shouting there?            11:20:26
                                                                                  13         A.   Cov Cath is the best.                               11:20:31
                                                                                  14              MR. SIEGEL:     Okay.                               11:20:33
                                                                                  15         A.   Which is a school spirit thing.                     11:20:34
                                                                                  16         Q.   Okay.    Do you assume that everyone else           11:20:36
                                                                                  17   there knows what or knew what Cov Cath is?                     11:20:42
                                                                                  18              MR. McMURTRY:     Objection.                        11:20:46
                                                                                  19         A.   I mean, I don't think it would be pretty            11:20:47
                                                                                  20   hard to figure out.       A lot of kids have                   11:20:52
                                                                                  21   sweatshirts that say in pretty big letters                     11:20:56
                                                                                  22   Covington Catholic on it.                                      11:21:00
                                                                                  23   BY MR. SIEGEL:                                                 11:21:02
                                                                                  24         Q.   Okay.    So you assume that anyone in that          11:21:02
                                                                                  25   Lincoln Memorial area would know that this was                 11:21:05


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                                                                                  1    some kind of school cheer?                                    11:21:09
                                                                                  2               MR. McMURTRY:     Objection.                       11:21:11
                                                                                  3       A.      I think even without -- again, as I had            11:21:12
                                                                                  4    said yesterday, Cov Cath to me sounds like a high             11:21:14
                                                                                  5    school name.       Anything Catholic, I would think           11:21:18
                                                                                  6    school at the very least.          And I think it's           11:21:21
                                                                                  7    pretty -- pretty common to abbreviate it, the                 11:21:24
                                                                                  8    first four letters.       So to me, it does not seem          11:21:28
                                                                                  9    too hard to figure out.                                       11:21:32
                                                                                  10   BY MR. SIEGEL:                                                11:21:36
                                                                                  11      Q.      Okay.     Let's jump to 1 minute and 15            11:21:36
                                                                                  12   seconds.                                                      11:21:43
                                                                                  13              And while we are doing that, do you know           11:21:44
                                                                                  14   who took this video?                                          11:21:52
                                                                                  15      A.      No.                                                11:21:54
                                                                                  16              MR. SIEGEL:     Okay.                              11:21:56
                                                                                  17              MS. MEEK:     Starting at 1:15.                    11:21:58
                                                                                  18              (Thereupon, a video recording of Exhibit           11:22:01
                                                                                  19   28 was played.)                                               11:22:01
                                                                                  20              MR. SIEGEL:     Actually, let's go back            11:22:07
                                                                                  21   because I want to sort of focus Nick's attention              11:22:09
                                                                                  22   so he will know what to be looking for.                       11:22:12
                                                                                  23   BY MR. SIEGEL:                                                11:22:20
                                                                                  24      Q.      So I'm going to ask you to try to focus            11:22:20
                                                                                  25   on the communication between the man in the Reds              11:22:25


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                                                                                  1    hat and Will Fries.    Okay?                                11:22:28
                                                                                  2       A.    Okay.                                              11:22:34
                                                                                  3             (Thereupon, a video recording of Exhibit           11:23:03
                                                                                  4    28 was played.)                                             11:23:03
                                                                                  5             MS. MEEK:    Paused at 1:43.                       11:23:03
                                                                                  6    BY MR. SIEGEL:                                              11:23:06
                                                                                  7       Q.    Okay.    Towards the end of that you hear          11:23:06
                                                                                  8    the man in the Reds hat say --                              11:23:10
                                                                                  9             MR. McMURTRY:    Excuse me.                        11:23:12
                                                                                  10   BY MR. SIEGEL:                                              11:23:13
                                                                                  11      Q.    Do you hear the man in the Reds hat say,           11:23:13
                                                                                  12   if you want to make America great, of course, you           11:23:16
                                                                                  13   white people go back to Europe where you came               11:23:21
                                                                                  14   from?                                                       11:23:23
                                                                                  15      A.    I didn't hear all of that.     I did hear          11:23:23
                                                                                  16   him telling Will to go back to Europe, and that             11:23:29
                                                                                  17   this was -- the Reds hat -- red hat guy say this            11:23:33
                                                                                  18   is our land.                                                11:23:35
                                                                                  19      Q.    Okay.    So from this video, do you see            11:23:39
                                                                                  20   that -- you can tell that they are communicating            11:23:42
                                                                                  21   in some way, right, before the man in the Reds              11:23:44
                                                                                  22   hat says that?                                              11:23:48
                                                                                  23            MR. McMURTRY:    Who is communicating?             11:23:49
                                                                                  24   BY MR. SIEGEL:                                              11:23:52
                                                                                  25      Q.    Well, the man in the Reds hat is                   11:23:52


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                                                                                  1    communicating to somebody, right?                              11:23:54
                                                                                  2       A.       Right.                                             11:23:56
                                                                                  3       Q.       So do you know how that communication              11:23:57
                                                                                  4    got started?                                                   11:24:00
                                                                                  5       A.       I -- I do not know.    I know that                 11:24:01
                                                                                  6    eventually, unlike other one-line things that                  11:24:04
                                                                                  7    were being said by everybody in the crowd, that                11:24:10
                                                                                  8    ended up catching my attention because I could                 11:24:14
                                                                                  9    hear a back-and-forth going on.                                11:24:17
                                                                                  10      Q.       Okay.    Did you ever talk to Will about           11:24:19
                                                                                  11   how that conversation with the man in the Reds                 11:24:22
                                                                                  12   hat got started?                                               11:24:27
                                                                                  13      A.       I have talked to him about it, but I --            11:24:29
                                                                                  14   I can't accurately remember how it started.       I --         11:24:33
                                                                                  15   I'm pretty -- I'm pretty sure I know how it                    11:24:39
                                                                                  16   started, but I don't want to definitely say it                 11:24:43
                                                                                  17   happened one way and then that not be true.                    11:24:45
                                                                                  18      Q.       Okay.    Well, so let's break that down.           11:24:49
                                                                                  19   Okay?                                                          11:24:53
                                                                                  20               So you said at the point that -- in that           11:24:53
                                                                                  21   moment, when he said -- what was it that caught                11:24:57
                                                                                  22   your ear?                                                      11:25:02
                                                                                  23      A.       I don't -- I can't remember what exactly           11:25:03
                                                                                  24   he said that caught my ear.       I think I just heard         11:25:06
                                                                                  25   both of them in an argument, and that caught my                11:25:09


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                                                                                  1    attention.     Because up until that point, none of           11:25:14
                                                                                  2    the other students were interacting with anyone               11:25:17
                                                                                  3    outside of Cov Cath, at least to my knowledge.                11:25:21
                                                                                  4       Q.      Okay.     So how do you -- you say you             11:25:23
                                                                                  5    don't know for sure, but how do you think it got              11:25:27
                                                                                  6    started?                                                      11:25:30
                                                                                  7       A.      From -- from what I remember, which                11:25:31
                                                                                  8    could not be -- may not be accurate, the person               11:25:34
                                                                                  9    we are calling the man in the Reds hat turned                 11:25:39
                                                                                  10   around to Will and said F you, F you, you stole               11:25:42
                                                                                  11   our land, which prompted Will to respond to him.              11:25:49
                                                                                  12      Q.      And -- and what's the basis of your                11:25:53
                                                                                  13   saying that?       In other words, where is that              11:26:00
                                                                                  14   information coming from?                                      11:26:02
                                                                                  15      A.      This is information that I think -- this           11:26:03
                                                                                  16   is what I think Will Fries told me.                           11:26:05
                                                                                  17              MR. SIEGEL:     Okay.                              11:26:11
                                                                                  18      A.      I will say again, I don't know -- I                11:26:11
                                                                                  19   don't even know if he told me that, like in                   11:26:13
                                                                                  20   that -- that's what I think I remember him                    11:26:17
                                                                                  21   telling me.                                                   11:26:19
                                                                                  22      Q.      Do you recall anything else Will telling           11:26:20
                                                                                  23   you about not just this moment but anything about             11:26:22
                                                                                  24   the guy in the Reds hat?                                      11:26:26
                                                                                  25      A.      I remember him kind of describing more             11:26:31


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                                                                                  1    of the conversation he had with the man in the                  11:26:34
                                                                                  2    red hat.     But, I mean, anything else he would                11:26:42
                                                                                  3    have described to me, I don't remember.                         11:26:46
                                                                                  4       Q.       Okay.    Is there anything else that Will           11:26:50
                                                                                  5    told you about this that you recall?                            11:26:55
                                                                                  6       A.       Not besides some of the things that were            11:26:57
                                                                                  7    said in the conversation.                                       11:27:00
                                                                                  8       Q.       Okay.    Well, I will tell you what,                11:27:09
                                                                                  9    maybe -- what do you remember that he told you                  11:27:14
                                                                                  10   about what was said in the conversation other                   11:27:16
                                                                                  11   than what you've already testified to?                          11:27:19
                                                                                  12      A.       I -- I remember Will telling -- Will                11:27:21
                                                                                  13   telling me that he told the man in the red hat                  11:27:27
                                                                                  14   that -- he said something along the lines of like               11:27:30
                                                                                  15   we are kids or we are from Kentucky, we didn't                  11:27:35
                                                                                  16   steal anything.       And then I know at one point              11:27:39
                                                                                  17   Will tells the man in the red hat, well, let's                  11:27:43
                                                                                  18   just go back to Africa where all life started.                  11:27:48
                                                                                  19   And I think at one point, he tries to talk to him               11:27:52
                                                                                  20   about the land bridge theory or whatever, that                  11:27:55
                                                                                  21   that's where Native Americans even got to North                 11:27:59
                                                                                  22   America in the first place.        But that's about all         11:28:03
                                                                                  23   I recall.                                                       11:28:08
                                                                                  24               MR. SIEGEL:    Okay.   And a lot of that is         11:28:09
                                                                                  25   captured on the video.       So let's go ahead and              11:28:13


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                                                                                  1    play it through to the next pause point.                      11:28:17
                                                                                  2             MS. MEEK:     Restarting from 1:43.                  11:28:19
                                                                                  3             (Thereupon, a video recording of Exhibit             11:28:23
                                                                                  4    28 was played.)                                               11:28:23
                                                                                  5             MS. MEEK:     Paused at 2:05.                        11:28:44
                                                                                  6    BY MR. SIEGEL:                                                11:28:47
                                                                                  7       Q.    Okay.    So what's your reaction to that             11:28:47
                                                                                  8    conversation so far?                                          11:28:50
                                                                                  9             MR. McMURTRY:     Objection.    Go ahead.            11:28:51
                                                                                  10      A.    I mean, Will, and I think he knows this              11:28:54
                                                                                  11   now, was just better off not -- not bothering to              11:28:58
                                                                                  12   interact with this guy.                                       11:29:02
                                                                                  13            I don't -- my reaction is I don't really             11:29:05
                                                                                  14   see any point in having this conversation.       I            11:29:08
                                                                                  15   don't think either of them are going to come out              11:29:11
                                                                                  16   of it feeling better about themselves or feeling              11:29:15
                                                                                  17   more knowledgeable.                                           11:29:19
                                                                                  18      Q.    You heard the man in the Reds hat use                11:29:22
                                                                                  19   the F word in that last -- do you think that is               11:29:27
                                                                                  20   what Will was describing to you?                              11:29:31
                                                                                  21      A.    Yeah, I heard the man in the red hat say             11:29:33
                                                                                  22   get the fuck out of my face, which I think in                 11:29:36
                                                                                  23   some way made Will want to argue more and prove               11:29:39
                                                                                  24   his point.                                                    11:29:43
                                                                                  25            MR. SIEGEL:     Okay.   Let's -- maybe let's         11:29:44


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                                                                                  1    go back -- let's go back to 1:43 and listen to                11:29:46
                                                                                  2    that again.                                                   11:29:49
                                                                                  3               (Thereupon, a video recording of Exhibit           11:29:58
                                                                                  4    28 was played.)                                               11:29:58
                                                                                  5    BY MR. SIEGEL:                                                11:30:20
                                                                                  6       Q.      Okay.    So that is what you are talking           11:30:20
                                                                                  7    about.                                                        11:30:22
                                                                                  8               Is that -- you testified earlier about             11:30:22
                                                                                  9    Will describing to you that the guy had used the              11:30:25
                                                                                  10   F word.    Is that what you think Will was                    11:30:27
                                                                                  11   describing to you?                                            11:30:30
                                                                                  12      A.      Yeah.    Well, in this clip, he said it            11:30:31
                                                                                  13   twice so far, and I would imagine that he                     11:30:34
                                                                                  14   probably said it other times which aren't in this             11:30:37
                                                                                  15   section we're watching.                                       11:30:41
                                                                                  16      Q.      Okay.    Now, I'm going to play that               11:30:44
                                                                                  17   again.    But this time I want you to look at not             11:30:55
                                                                                  18   Will but the man you described as the -- the                  11:31:02
                                                                                  19   other man with the drum who has the white hat.                11:31:08
                                                                                  20      A.      Okay.                                              11:31:13
                                                                                  21              MR. SIEGEL:    Okay.                               11:31:14
                                                                                  22      Q.      So he's --                                         11:31:22
                                                                                  23      A.      He's got the checkered --                          11:31:24
                                                                                  24              MR. SIEGEL:    Yeah, the checkered hat.            11:31:27
                                                                                  25              THE WITNESS:    Okay.                              11:31:30


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                                                                                  1             (Thereupon, a video recording of Exhibit           11:31:30
                                                                                  2    28 was played.)                                             11:31:30
                                                                                  3    BY MR. SIEGEL:                                              11:31:50
                                                                                  4       Q.    Did you see what Will is saying when               11:31:50
                                                                                  5    he's saying there appears to be some -- some                11:31:53
                                                                                  6    communication between the man in the white hat              11:31:56
                                                                                  7    and the man in the red hat?                                 11:31:59
                                                                                  8       A.    Yes.                                               11:32:00
                                                                                  9       Q.    Did you hear any of that?                          11:32:01
                                                                                  10      A.    No.                                                11:32:02
                                                                                  11      Q.    Okay.    So did you have any idea what             11:32:03
                                                                                  12   they were saying to each other?                             11:32:06
                                                                                  13      A.    No.                                                11:32:08
                                                                                  14            MR. SIEGEL:     Okay.   Let's keep going.          11:32:11
                                                                                  15            MS. MEEK:     Restarting at 2:05.                  11:32:13
                                                                                  16            (Thereupon, a video recording of Exhibit           11:32:17
                                                                                  17   28 was played.)                                             11:32:17
                                                                                  18            MS. MEEK:     Paused at 2:20.                      11:32:30
                                                                                  19   BY MR. SIEGEL:                                              11:32:32
                                                                                  20      Q.    Okay.    And you -- it looks like you              11:32:32
                                                                                  21   motioned to Will, right?                                    11:32:35
                                                                                  22      A.    Right.                                             11:32:37
                                                                                  23      Q.    And is that -- what were you trying to             11:32:37
                                                                                  24   communicate to him?                                         11:32:40
                                                                                  25      A.    To stop talking.                                   11:32:42


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                                                                                  1       Q.      Okay.     Let's go back to Exhibit 20,                11:32:45
                                                                                  2    which is your -- the first public statement that                 11:33:10
                                                                                  3    you issued.                                                      11:33:12
                                                                                  4               Just give me a minute here.        Yeah.   Go         11:33:32
                                                                                  5    to the second page, which is NS 103, the first                   11:33:34
                                                                                  6    paragraph.                                                       11:33:39
                                                                                  7       A.      Uh-huh.                                               11:33:41
                                                                                  8       Q.      Read it to yourself for a second.                     11:33:44
                                                                                  9               MR. McMURTRY:     I'm sorry.   Can you                11:33:46
                                                                                  10   reorient me as to what you just said?          I was --          11:33:47
                                                                                  11              MR. SIEGEL:     Yes.   It's NS 103.                   11:33:52
                                                                                  12              MR. McMURTRY:     First paragraph?                    11:33:54
                                                                                  13              MR. SIEGEL:     First paragraph.                      11:33:55
                                                                                  14   BY MR. SIEGEL:                                                   11:34:05
                                                                                  15      Q.      Okay.     And Nick, I take it this                    11:34:05
                                                                                  16   paragraph refers to that interaction that we just                11:34:07
                                                                                  17   watched?                                                         11:34:10
                                                                                  18      A.      Correct.                                              11:34:11
                                                                                  19      Q.      Okay.     You refer to the man in the red             11:34:11
                                                                                  20   hat as a member of the protestor's entourage.                    11:34:17
                                                                                  21              What did you mean by a member of the                  11:34:23
                                                                                  22   protestor's entourage?                                           11:34:25
                                                                                  23      A.      In the same way I referred to the guy                 11:34:29
                                                                                  24   with the white and checkered hat as a companion                  11:34:31
                                                                                  25   of Mr. Phillips.       They followed him over to our             11:34:35


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                                                                                  1    group.                                                        11:34:38
                                                                                  2       Q.     Okay.     Did you think that everyone who           11:34:39
                                                                                  3    followed him was a companion of his?                          11:34:47
                                                                                  4       A.     I mean, yes.     I made that assumption             11:34:52
                                                                                  5    because they were over there conducting their own             11:34:56
                                                                                  6    indigenous people's rally.      I assumed some of             11:35:00
                                                                                  7    them knew each other.      And it appears afterwards          11:35:06
                                                                                  8    like they did.      And so when they followed him             11:35:09
                                                                                  9    over there, I assumed that they were all a part               11:35:12
                                                                                  10   of the same group.                                            11:35:16
                                                                                  11      Q.     Okay.     But that was an assumption,               11:35:18
                                                                                  12   right?                                                        11:35:21
                                                                                  13      A.     Right.                                              11:35:22
                                                                                  14      Q.     Okay.     Do you think that what the man in         11:35:22
                                                                                  15   the Reds hat said to Will reflects anything about             11:35:31
                                                                                  16   Nathan Phillips?                                              11:35:36
                                                                                  17      A.     In some ways.                                       11:35:40
                                                                                  18      Q.     How so?                                             11:35:48
                                                                                  19      A.     I think that in the way Nathan Phillips             11:35:49
                                                                                  20   walked up to me and then we had our encounter for             11:35:58
                                                                                  21   how many minutes, when the guy with the red hat,              11:36:03
                                                                                  22   as we are calling him, found out that he could                11:36:08
                                                                                  23   engage Will in an argument, that it kind of                   11:36:11
                                                                                  24   reflects that both of them were trying to make                11:36:20
                                                                                  25   points.                                                       11:36:23


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                                                                                  1       Q.    Okay.     Do you -- and why does the fact          11:36:26
                                                                                  2    that -- why do you attribute what you perceive to           11:36:32
                                                                                  3    be the intentions of the man in the Reds hat to             11:36:35
                                                                                  4    Nathan Phillips?                                            11:36:40
                                                                                  5       A.    No.     I'm not saying that they both had          11:36:41
                                                                                  6    the same intentions.     I'm just saying that there         11:36:43
                                                                                  7    is a common link between both of them, that I               11:36:46
                                                                                  8    believe that Nathan Phillips was -- I believe               11:36:48
                                                                                  9    that Nathan Phillips stayed in front of me                  11:36:52
                                                                                  10   intentionally; and that once that argument began            11:36:55
                                                                                  11   between Will and the man with the red hat on,               11:37:00
                                                                                  12   that the guy in the red hat kept responding to              11:37:04
                                                                                  13   Will because he was trying to make a point as               11:37:09
                                                                                  14   well, which I think is clearly expressed when he            11:37:12
                                                                                  15   tells Will that we stole their land and that he             11:37:16
                                                                                  16   needs to go back to Europe.                                 11:37:20
                                                                                  17      Q.    And do you think that Nathan Phillips              11:37:22
                                                                                  18   wanted him to make that point?                              11:37:27
                                                                                  19      A.    I have no idea.                                    11:37:28
                                                                                  20      Q.    Do you think when Will Fries yelled out            11:37:30
                                                                                  21   grab his dick and twist it that that said                   11:37:34
                                                                                  22   something about your intentions when you were               11:37:37
                                                                                  23   standing there?                                             11:37:40
                                                                                  24      A.    I don't -- I -- I don't think so.                  11:37:40
                                                                                  25      Q.    So why do you see a common link between            11:37:42


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                                                                                  1    the man in the Reds hat and Nathan Phillips but                 11:37:45
                                                                                  2    not between you and Will Fries?                                 11:37:49
                                                                                  3          A.       As I said -- as I said earlier, I'm not          11:37:51
                                                                                  4    saying that they both had -- that that -- I'm not               11:37:55
                                                                                  5    saying that Nathan Phillips' motive was the same                11:38:00
                                                                                  6    motive.        I'm just saying they both appeared to be         11:38:04
                                                                                  7    doing similar things.                                           11:38:08
                                                                                  8                   I think it would be incorrect to make            11:38:09
                                                                                  9    that same conclusion about Will and I because                   11:38:12
                                                                                  10   Will and I were behaving in two different ways.                 11:38:16
                                                                                  11                  Will was vocal and interacting with him.         11:38:20
                                                                                  12   I stood there and did or said nothing.                          11:38:23
                                                                                  13         Q.       Well, did Nathan Phillips ever say               11:38:25
                                                                                  14   anything disparaging to you?                                    11:38:29
                                                                                  15         A.       No.   But --                                     11:38:31
                                                                                  16         Q.       Or to any other -- through that                  11:38:35
                                                                                  17   encounter, did he ever say anything disparaging                 11:38:38
                                                                                  18   to you?                                                         11:38:41
                                                                                  19         A.       He didn't say anything disparaging to            11:38:41
                                                                                  20   me.        But when he was close to me, I mean, his             11:38:44
                                                                                  21   spit was getting on my face.        I was smelling his          11:38:47
                                                                                  22   breath.        It wasn't a pleasant experience.                 11:38:51
                                                                                  23                  I think that his words -- he doesn't             11:38:53
                                                                                  24   have to speak to -- for it to be obvious that                   11:38:56
                                                                                  25   he's trying to do something.                                    11:39:00


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                                                                                  1       Q.    Okay.    So you perceived that he was              11:39:04
                                                                                  2    trying to do something even though he wasn't                11:39:07
                                                                                  3    articulating in words?                                      11:39:09
                                                                                  4       A.    Correct.                                           11:39:11
                                                                                  5       Q.    Okay.    I want to show you -- let's call          11:39:12
                                                                                  6    up -- again, this is one of the videos that your            11:39:21
                                                                                  7    counsel produced.    It's Exhibit 9.                        11:39:23
                                                                                  8             MR. McMURTRY:     What number video?               11:39:32
                                                                                  9             MR. SIEGEL:     It's not marked here, but          11:39:34
                                                                                  10   we -- I know we called it out before.                       11:39:36
                                                                                  11            MS. MEEK:     NS 128.                              11:39:39
                                                                                  12            MR. SIEGEL:     It's NS 128.   But we did          11:39:41
                                                                                  13   label it as one of the videos.                              11:39:44
                                                                                  14            MR. McMURTRY:     Okay.                            11:39:46
                                                                                  15            MS. MEEK:     Video 10.                            11:39:51
                                                                                  16            MR. SIEGEL:     Okay.                              11:39:54
                                                                                  17   BY MR. SIEGEL:                                              11:40:02
                                                                                  18      Q.    So I'm going to ask you, who -- just               11:40:02
                                                                                  19   watching this, looking at this screenshot, right?           11:40:04
                                                                                  20      A.    Yes.                                               11:40:08
                                                                                  21      Q.    Who do you contend is part of Phillips'            11:40:08
                                                                                  22   entourage?                                                  11:40:11
                                                                                  23      A.    I would say --                                     11:40:14
                                                                                  24      Q.    Why don't you -- yeah, let -- let Jessie           11:40:16
                                                                                  25   follow with the cursor.                                     11:40:21


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                                                                                  1       A.       Okay.    So Nathan Phillips, right?                11:40:22
                                                                                  2                MR. SIEGEL:    Right.                              11:40:25
                                                                                  3       A.       The man in the red hat that we see to              11:40:26
                                                                                  4    his left.     Just above him, the guy with the white           11:40:29
                                                                                  5    hat.                                                           11:40:33
                                                                                  6                MR. SIEGEL:    Uh-huh.                             11:40:34
                                                                                  7       A.       You can't see it from this screenshot,             11:40:34
                                                                                  8    but there is a man with a snappack that's holding              11:40:37
                                                                                  9    a professional camera.       And he has a black shirt          11:40:42
                                                                                  10   on that says Indigenous People's March.                        11:40:46
                                                                                  11      Q.       I think I know -- I believe that is him.           11:40:52
                                                                                  12   The fellow with the beard?                                     11:40:53
                                                                                  13      A.       Yes.                                               11:40:54
                                                                                  14      Q.       Okay.                                              11:40:56
                                                                                  15      A.       And then there -- there is one more                11:40:57
                                                                                  16   person who I can't see from the screenshot but is              11:41:01
                                                                                  17   wearing -- I'm unsure if he has the same                       11:41:05
                                                                                  18   Indigenous People's March black shirt on, but I                11:41:09
                                                                                  19   remember her having dream catcher earrings and                 11:41:13
                                                                                  20   her attire seemed to suggest that she -- she had               11:41:17
                                                                                  21   come from the Indigenous People's March as well.               11:41:22
                                                                                  22      Q.       Okay.    So just stop it there.                    11:41:28
                                                                                  23               There is a woman who had very short                11:41:30
                                                                                  24   hair.   Is that -- do you think that is who you                11:41:34
                                                                                  25   are talking about?                                             11:41:38


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                                                                                  1       A.       I -- I think so.                                   11:41:39
                                                                                  2       Q.       Okay.     We probably will see her at one          11:41:40
                                                                                  3    point down the road.       So we will just point her           11:41:43
                                                                                  4    out.     But I think I know who you are talking                11:41:46
                                                                                  5    about.                                                         11:41:49
                                                                                  6                Okay.    So I think those were five                11:41:50
                                                                                  7    people.     Anyone else that you contend was in                11:41:51
                                                                                  8    Nathan Phillips' entourage?                                    11:41:56
                                                                                  9       A.       I mean, there were other people that I             11:42:00
                                                                                  10   think probably came from over there, but I                     11:42:02
                                                                                  11   wouldn't say that they were specific -- it would               11:42:03
                                                                                  12   be too much of a leap at that point to say for                 11:42:05
                                                                                  13   sure.                                                          11:42:07
                                                                                  14      Q.       Do you assume that Nathan Phillips knew            11:42:07
                                                                                  15   all five of those people?                                      11:42:10
                                                                                  16      A.       I would say they were familiar with each           11:42:12
                                                                                  17   other based on the fact that they call him                     11:42:15
                                                                                  18   Grandpa or -- and Elder Nathan at some points                  11:42:20
                                                                                  19   after this thing.                                              11:42:23
                                                                                  20               I -- to me, Nathan Phillips seems like             11:42:25
                                                                                  21   somewhat of a leader in organizing their rally.                11:42:29
                                                                                  22   So I would say they know each other.                           11:42:36
                                                                                  23      Q.       Okay.    And when you say he -- Nathan             11:42:39
                                                                                  24   Phillips seems to be a leader organizing their                 11:42:45
                                                                                  25   rally, are you referring to the indigenous                     11:42:49


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                                                                                  1    people's rally that happened earlier?                         11:42:52
                                                                                  2       A.    Yes.                                                 11:42:55
                                                                                  3       Q.    Okay.    And -- okay.   Okay.   You used the         11:42:55
                                                                                  4    word conspiracy before I think or conspired.                  11:43:26
                                                                                  5       A.    Yes.                                                 11:43:31
                                                                                  6       Q.    Do you believe that all five of those                11:43:31
                                                                                  7    people conspired with Nathan Phillips in some                 11:43:33
                                                                                  8    way?                                                          11:43:37
                                                                                  9       A.    I don't know.                                        11:43:37
                                                                                  10      Q.    Okay.    Do you believe that all five of             11:43:39
                                                                                  11   them had some prior communication with Nathan                 11:43:48
                                                                                  12   Phillips about this encounter before it happened?             11:43:50
                                                                                  13      A.    I don't know.                                        11:43:53
                                                                                  14      Q.    Okay.    And in -- again, I think I can              11:43:54
                                                                                  15   just read it to you.                                          11:44:11
                                                                                  16            In the Complaint you filed in ABC's                  11:44:11
                                                                                  17   case, in paragraph 43, you -- you said he                     11:44:14
                                                                                  18   intentionally walked up to the crowd of Cov Cath              11:44:21
                                                                                  19   students; and in paragraph 44, immediately behind             11:44:23
                                                                                  20   and around Phillips were several of his own                   11:44:26
                                                                                  21   companions, right?                                            11:44:29
                                                                                  22      A.    Right.                                               11:44:31
                                                                                  23      Q.    So this is the point where he is walking             11:44:31
                                                                                  24   up to you guys.                                               11:44:33
                                                                                  25            Is it the same people you are referring              11:44:34


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                                                                                  1    to as his companions?                                         11:44:36
                                                                                  2       A.    Yes.                                                 11:44:38
                                                                                  3             MR. SIEGEL:     Okay.   And I will just note         11:44:39
                                                                                  4    for the record the same allegations are in                    11:44:47
                                                                                  5    paragraphs 43 and 44 of your Complaint against                11:44:49
                                                                                  6    CBS, 73 and 74 for NBC, 42 and 43 for The New                 11:44:52
                                                                                  7    York Times, 42 and 43 for Rolling Stone and 29                11:44:56
                                                                                  8    and 30 for Gannett.                                           11:45:00
                                                                                  9             Okay.     Let's go back to Exhibit 29,               11:45:11
                                                                                  10   which is video 3.                                             11:45:14
                                                                                  11            MS. MEEK:     Starting at 2:20.                      11:45:43
                                                                                  12            (Thereupon, a video recording of Exhibit             11:45:51
                                                                                  13   29 was played.)                                               11:45:51
                                                                                  14            MS. MEEK:     Paused at 2:37.                        11:46:01
                                                                                  15   BY MR. SIEGEL:                                                11:46:03
                                                                                  16      Q.    Okay.     So the man in the Reds hat is              11:46:03
                                                                                  17   continuing to talk to Will, right?                            11:46:06
                                                                                  18      A.    Yes.                                                 11:46:08
                                                                                  19      Q.    And did you -- at this point, did you                11:46:08
                                                                                  20   hear what they were saying?                                   11:46:11
                                                                                  21      A.    No.                                                  11:46:13
                                                                                  22      Q.    If you can recall?                                   11:46:13
                                                                                  23      A.    No.     And in this frame, I'm exiting.              11:46:14
                                                                                  24            MR. SIEGEL:     Okay.   So that's -- yeah,           11:46:20
                                                                                  25   that's -- let's go back to -- to the beginning                11:46:22


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                                                                                  1    again and get that point where you are exiting.                11:46:25
                                                                                  2                (Thereupon, a video recording of Exhibit           11:46:41
                                                                                  3    29 was played.)                                                11:46:42
                                                                                  4    BY MR. SIEGEL:                                                 11:46:50
                                                                                  5       Q.       Okay.    So we see you walking off, right,         11:46:50
                                                                                  6    towards the -- maybe the last five seconds of                  11:46:54
                                                                                  7    that, of that frame.                                           11:46:57
                                                                                  8                So -- so recognizing that you didn't               11:46:59
                                                                                  9    hear it at the time, the man in the Reds hat                   11:47:05
                                                                                  10   says:     We were here already.    We were here                11:47:09
                                                                                  11   already.     We had a demonstration here and now you           11:47:13
                                                                                  12   come here and F-ing do this.       You're being white.         11:47:16
                                                                                  13               Do you have any understanding what he              11:47:20
                                                                                  14   was talking about?                                             11:47:22
                                                                                  15      A.       I think he was saying that they had                11:47:23
                                                                                  16   scheduled their indigenous people's rally before               11:47:25
                                                                                  17   we started showing up for our busses.                          11:47:30
                                                                                  18      Q.       Okay.    And why did you move away at that         11:47:36
                                                                                  19   point?                                                         11:47:40
                                                                                  20      A.       My teacher -- one of my teachers came up           11:47:41
                                                                                  21   to me, Ms. Hagedorn, and told us that the busses               11:47:44
                                                                                  22   were here and it was time to leave, and so I                   11:47:48
                                                                                  23   exited.                                                        11:47:51
                                                                                  24      Q.       Okay.    And we have counted -- it looks           11:47:54
                                                                                  25   like the total amount of time that you were                    11:48:03


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                                                                                  1    standing in front of Nathan Phillips was about                11:48:05
                                                                                  2    six minutes.                                                  11:48:08
                                                                                  3       A.    Okay.                                                11:48:09
                                                                                  4       Q.    Does that seem correct?                              11:48:10
                                                                                  5       A.    That seems accurate.                                 11:48:12
                                                                                  6       Q.    Okay.    And so for that six minutes, you            11:48:12
                                                                                  7    didn't move from your spot, right?                            11:48:15
                                                                                  8       A.    Right.                                               11:48:16
                                                                                  9       Q.    And then you exited when Ms. Hagedorn                11:48:17
                                                                                  10   came?                                                         11:48:20
                                                                                  11      A.    Correct.                                             11:48:20
                                                                                  12            MR. SIEGEL:     Okay.   Okay.   Let's play           11:48:21
                                                                                  13   the next 17 seconds, I guess.                                 11:48:27
                                                                                  14            MS. MEEK:     Starting at 2:37.                      11:48:31
                                                                                  15            (Thereupon, a video recording of Exhibit             11:48:34
                                                                                  16   29 was played.)                                               11:48:34
                                                                                  17   BY MR. SIEGEL:                                                11:48:53
                                                                                  18      Q.    So you hear the man in the reads cap say             11:48:53
                                                                                  19   I got him man, I got him man, we are not alone?               11:48:57
                                                                                  20      A.    Yes.                                                 11:49:01
                                                                                  21      Q.    Do you have any understanding of what he             11:49:03
                                                                                  22   meant by that?                                                11:49:05
                                                                                  23      A.    Not -- not really.      At that point, maybe         11:49:07
                                                                                  24   he got Will, he beat him in the argument they                 11:49:10
                                                                                  25   were having or whatever.     I'm not sure.                    11:49:14


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                                                                                  1       Q.    Okay.    Okay.    Let's keep going.   And             11:49:23
                                                                                  2    again, I will ask you to just sort of focus on                 11:49:32
                                                                                  3    whatever communication you might be able to hear               11:49:36
                                                                                  4    from the man in the Reds hat.       Okay?                      11:49:38
                                                                                  5       A.    Okay.                                                 11:49:41
                                                                                  6             MS. MEEK:     Restarting at 2:54.                     11:49:42
                                                                                  7             (Thereupon, a video recording of Exhibit              11:49:46
                                                                                  8    29 was played.)                                                11:49:46
                                                                                  9             MS. MEEK:     Paused at 3:07.                         11:49:57
                                                                                  10   BY MR. SIEGEL:                                                 11:49:59
                                                                                  11      Q.    Okay.    So do you see it looks like the              11:49:59
                                                                                  12   man in the red hat is talking to the man in the                11:50:02
                                                                                  13   white hat?                                                     11:50:05
                                                                                  14      A.    Yes.                                                  11:50:05
                                                                                  15      Q.    Can you hear anything the man in the                  11:50:05
                                                                                  16   white hat is saying?                                           11:50:08
                                                                                  17      A.    I heard him say close your eyes at one                11:50:10
                                                                                  18   point, but I could not really make out most of                 11:50:13
                                                                                  19   what he was saying.                                            11:50:17
                                                                                  20            MR. SIEGEL:      Okay.   Let's just listen to         11:50:18
                                                                                  21   that one more time.                                            11:50:20
                                                                                  22            (Thereupon, a video recording of Exhibit              11:50:44
                                                                                  23   29 was played.)                                                11:50:45
                                                                                  24   BY MR. SIEGEL:                                                 11:50:46
                                                                                  25      Q.    The reason I ask, I thought I heard the               11:50:46


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                                                                                  1    man in the Reds hat say close your eyes.                        11:50:49
                                                                                  2       A.    I think he's saying close your eyes and                11:50:52
                                                                                  3    you will see our people.                                        11:50:55
                                                                                  4             MR. SIEGEL:    Right.                                  11:50:56
                                                                                  5       A.    And then I thought at the end I heard                  11:50:57
                                                                                  6    him repeat twice, we F-ing won, we F-ing won.         I         11:50:59
                                                                                  7    heard -- that's what I can hear.                                11:51:05
                                                                                  8       Q.    The man in the Reds hat saying that?                   11:51:06
                                                                                  9       A.    Yes.                                                   11:51:09
                                                                                  10      Q.    Yes, he says -- I think he says he won,                11:51:10
                                                                                  11   he F-ing won, right?                                            11:51:14
                                                                                  12      A.    I heard we, not he, like him --                        11:51:17
                                                                                  13            MR. SIEGEL:    Okay.    Let's just go back             11:51:21
                                                                                  14   and hear that one more time, maybe the last                     11:51:23
                                                                                  15   like -- the last seven seconds of it.                           11:51:27
                                                                                  16            (Thereupon, a video recording of Exhibit               11:51:43
                                                                                  17   29 was played.)                                                 11:51:44
                                                                                  18   BY MR. SIEGEL:                                                  11:51:47
                                                                                  19      Q.    What does that sound like?                             11:51:47
                                                                                  20      A.    It could be he -- I think -- it sounds                 11:51:49
                                                                                  21   to me like he's -- he's talking about                           11:51:53
                                                                                  22   Mr. Phillips.                                                   11:51:59
                                                                                  23      Q.    Right.    And he says he won, he F-ing                 11:51:59
                                                                                  24   won.                                                            11:52:03
                                                                                  25      A.    Right.                                                 11:52:04


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                                                                                  1       Q.     And what do you understand him to mean                11:52:05
                                                                                  2    by that, if anything?                                           11:52:08
                                                                                  3       A.     He won the apparent standoff taking                   11:52:09
                                                                                  4    place.                                                          11:52:18
                                                                                  5       Q.     Okay.    And do you have any understanding            11:52:19
                                                                                  6    of what -- withdraw that.                                       11:52:21
                                                                                  7              What do you think the man in the Reds                 11:52:23
                                                                                  8    hat was saying Nathan Phillips had won?                         11:52:25
                                                                                  9       A.     I don't know about all of -- Will, I                  11:52:30
                                                                                  10   guess, or something.                                            11:52:34
                                                                                  11             I don't -- I don't know what there was                11:52:35
                                                                                  12   to win.   I never looked at it as there was going               11:52:38
                                                                                  13   to be a winner and a loser out of this.                         11:52:42
                                                                                  14             As soon as I had the opportunity to                   11:52:46
                                                                                  15   leave and get on my bus, that's what I did.                     11:52:48
                                                                                  16             MR. SIEGEL:     Okay.   Let's keep going.   I         11:52:56
                                                                                  17   think you are going to hear what you were                       11:52:58
                                                                                  18   referring to before.                                            11:53:00
                                                                                  19             MS. MEEK:     Starting at 3:07.                       11:53:02
                                                                                  20             (Thereupon, a video recording of Exhibit              11:53:05
                                                                                  21   29 was played.)                                                 11:53:05
                                                                                  22   BY MR. SIEGEL:                                                  11:53:22
                                                                                  23      Q.     So there he goes -- you heard him say we              11:53:22
                                                                                  24   won Grandpa, we F-ing won Grandpa?                              11:53:27
                                                                                  25      A.     Right.                                                11:53:31


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                                                                                  1       Q.       Okay.    And do you have any understanding           11:53:31
                                                                                  2    of what he meant by that?                                        11:53:33
                                                                                  3                I'm going to rephrase that.      What do you         11:53:35
                                                                                  4    think he meant by that?                                          11:53:37
                                                                                  5       A.       I think that -- by this point, I think               11:53:39
                                                                                  6    that when he refers to him as Grandpa, I gather                  11:53:44
                                                                                  7    from that that these two know each other.         And by         11:53:48
                                                                                  8    the he got them, we won, or whatever, that they                  11:53:53
                                                                                  9    have me on camera or whatever and that they won                  11:53:59
                                                                                  10   or whatever because they are going to share this                 11:54:05
                                                                                  11   and, you know, edit it down and try to say what                  11:54:09
                                                                                  12   happened.                                                        11:54:15
                                                                                  13      Q.       Okay.    And do you have any -- well, do             11:54:16
                                                                                  14   you have any specific facts supporting that                      11:54:28
                                                                                  15   belief that that's what the man in the red had                   11:54:32
                                                                                  16   was referring to?                                                11:54:35
                                                                                  17      A.       No.                                                  11:54:36
                                                                                  18               MR. SIEGEL:     Okay.   Keep going.                  11:54:45
                                                                                  19               MS. MEEK:     Restarting at 3:24.                    11:54:47
                                                                                  20               (Thereupon, a video recording of Exhibit             11:54:50
                                                                                  21   29 was played.)                                                  11:54:50
                                                                                  22               MS. MEEK:     Paused at 3:33.                        11:55:00
                                                                                  23   BY MR. SIEGEL:                                                   11:55:02
                                                                                  24      Q.       Do you understand why Nathan Phillips is             11:55:02
                                                                                  25   hitting the drum in a circle like that?                          11:55:06


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                                                                                  1       A.      No.                                                 11:55:08
                                                                                  2       Q.      Okay.    No, do you have any belief about           11:55:09
                                                                                  3    why he's doing that?                                           11:55:13
                                                                                  4       A.      My best guess is that he's celebrating,             11:55:16
                                                                                  5    but I don't know.                                              11:55:19
                                                                                  6       Q.      And celebrating what?                               11:55:21
                                                                                  7       A.      Like they said, that they won.                      11:55:24
                                                                                  8       Q.      Okay.    And what do you think that Nathan          11:55:29
                                                                                  9    Phillips -- if he was celebrating, what victory                11:55:31
                                                                                  10   is it that he thought he was celebrating in your               11:55:37
                                                                                  11   view?                                                          11:55:40
                                                                                  12      A.      Over me, maybe.     But I -- whatever they          11:55:40
                                                                                  13   are taking winning to mean, I would assume that                11:55:44
                                                                                  14   he's celebrating that he won, however they view                11:55:47
                                                                                  15   winning.                                                       11:55:51
                                                                                  16      Q.      Okay.    Now, maybe go to a frame where             11:55:52
                                                                                  17   it's a little clearer.       You're -- it looks like           11:56:00
                                                                                  18   you're off to the side now, talking to a couple                11:56:03
                                                                                  19   of friends?                                                    11:56:06
                                                                                  20      A.      I'm talking to -- I'm there with Will,              11:56:06
                                                                                  21   and I'm talking to Jake Kleier.                                11:56:10
                                                                                  22      Q.      Yeah, Jake Kleier, who I admit, I keep              11:56:12
                                                                                  23   thinking looks like a high school student.       There         11:56:20
                                                                                  24   you go.                                                        11:56:22
                                                                                  25      A.      Yeah.                                               11:56:22


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                                                                                  1       Q.    So -- first of all, at that point were                 11:56:23
                                                                                  2    you listening to any of the things that were                    11:56:24
                                                                                  3    being said by the man in the red hat or --                      11:56:28
                                                                                  4       A.    No.     I only -- I mean, at one point                 11:56:32
                                                                                  5    after this, I'm going to look over at them.         But         11:56:35
                                                                                  6    I -- I was just so confused at that point, I                    11:56:38
                                                                                  7    really wasn't bothering to listen to any of the                 11:56:42
                                                                                  8    things they were saying.                                        11:56:45
                                                                                  9       Q.    Okay.     Do you remember what you were                11:56:48
                                                                                  10   discussing with Mr. Kleier and Will?                            11:56:53
                                                                                  11      A.    My best guess is I probably asked Jake                 11:56:57
                                                                                  12   Kleier what just happened.     I mean, I didn't                 11:57:01
                                                                                  13   really understand what was going on at that                     11:57:07
                                                                                  14   point, so that's probably what I asked him.                     11:57:09
                                                                                  15      Q.    Okay.     But that's a -- that's a guess.              11:57:12
                                                                                  16   You don't have a specific memory of --                          11:57:16
                                                                                  17      A.    I don't have -- I can't recall exactly.                11:57:19
                                                                                  18      Q.    Okay.     Did any of your fellow                       11:57:37
                                                                                  19   students -- before the busses came, did anyone                  11:57:38
                                                                                  20   talk to you about what had happened that day?                   11:57:42
                                                                                  21      A.    Yes.                                                   11:57:45
                                                                                  22      Q.    Who?                                                   11:57:45
                                                                                  23      A.    I don't remember specifics.        I had               11:57:45
                                                                                  24   students coming -- there wasn't a ton, maybe like               11:57:48
                                                                                  25   five or so.     But there were students from the                11:57:52


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                                                                                  1    younger grades, who I didn't necessarily know,                   11:57:54
                                                                                  2    asking me what it -- what was that all about.                    11:57:58
                                                                                  3    And I -- I generally told everyone I didn't know.                11:58:02
                                                                                  4    I don't really know what happened.                               11:58:06
                                                                                  5       Q.    Okay.     And once you left the steps of                11:58:16
                                                                                  6    the memorial, do you remember about how long it                  11:58:18
                                                                                  7    was before the busses left?                                      11:58:20
                                                                                  8       A.    I think like a couple of minutes, less                  11:58:22
                                                                                  9    than ten, and we got on them.                                    11:58:25
                                                                                  10            MR. SIEGEL:     Okay.     What time is it?              11:58:39
                                                                                  11            MR. McMURTRY:     11:58.     So we started              11:58:41
                                                                                  12   about 10:35.     So about an hour and 25 minutes so              11:58:50
                                                                                  13   far.                                                             11:58:56
                                                                                  14            MR. SIEGEL:     Why don't I -- I've got one             11:58:56
                                                                                  15   more exhibit that will sort of close out this                    11:58:58
                                                                                  16   portion, and maybe we'll just break for -- do you                11:59:01
                                                                                  17   want to do an early lunch?                                       11:59:01
                                                                                  18            MR. McMURTRY:     Sure.                                 11:59:04
                                                                                  19            MS. MEEK:     One thing, Nathan, I think                11:59:05
                                                                                  20   this may be the woman -- let's see.        We are in             11:59:07
                                                                                  21   exhibit --                                                       11:59:10
                                                                                  22            THE WITNESS:     That I named earlier.                  11:59:14
                                                                                  23            MR. SIEGEL:     What is that?                           11:59:15
                                                                                  24            MS. MEEK:     Yeah.     Exhibit -- okay.     we         11:59:16
                                                                                  25   are in Exhibit 30 now.                                           11:59:17


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                                                                                  1              THE WITNESS:     The woman that I named               11:59:19
                                                                                  2    earlier with the --                                             11:59:19
                                                                                  3              MR. McMURTRY:     Short entourage hair.               11:59:20
                                                                                  4              THE WITNESS:     Yes.                                 11:59:24
                                                                                  5    BY MR. SIEGEL:                                                  11:59:24
                                                                                  6       Q.     Oh, yes, very good point.       So that's the         11:59:24
                                                                                  7    one that Jessie -- is talking to you.        She is             11:59:25
                                                                                  8    wearing, it looks like, a black skirt with sort                 11:59:29
                                                                                  9    of white stars or something on it?                              11:59:35
                                                                                  10      A.     Yep.                                                  11:59:37
                                                                                  11      Q.     And carrying a backpack?                              11:59:37
                                                                                  12      A.     Correct.                                              11:59:39
                                                                                  13             MR. SIEGEL:     Okay.                                 11:59:40
                                                                                  14             MS. MEEK:     We are on Exhibit 30 at 3:33.           11:59:40
                                                                                  15   BY MR. SIEGEL:                                                  11:59:44
                                                                                  16      Q.     And I guess just while we are here, is                11:59:44
                                                                                  17   there anyone else you see that you think was --                 11:59:45
                                                                                  18   that you were referring to as member of Phillips'               11:59:47
                                                                                  19   entourage other than the ones you testified                     11:59:50
                                                                                  20   before?                                                         11:59:53
                                                                                  21      A.     No, no one else.                                      11:59:53
                                                                                  22             MR. SIEGEL:     Okay.    Let's go to the next         11:59:55
                                                                                  23   exhibit, which is Exhibit 30, video 11.                         11:59:57
                                                                                  24             MS. MEEK:     This is actually -- a                   12:00:00
                                                                                  25   correction for the record.        That was Exhibit 29           12:00:02


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                                                                                  1    at 3:33 we were just discussing.                              12:00:05
                                                                                  2    BY MR. SIEGEL:                                                12:00:17
                                                                                  3       Q.      And I will stop a couple times, Nick,              12:00:17
                                                                                  4    just to ask you to identify people.       But                 12:00:20
                                                                                  5    basically, this is another video of the                       12:00:21
                                                                                  6    interactions involving the man in the Reds cap                12:00:24
                                                                                  7    that is just taken from a different angle.        So          12:00:28
                                                                                  8    other than the couple of times I will stop it to              12:00:32
                                                                                  9    ask you who the people are, I just want to watch              12:00:35
                                                                                  10   it -- for you to watch it and see if you see                  12:00:37
                                                                                  11   any -- see or hear anything more than in the                  12:00:40
                                                                                  12   other video that would affect any of your                     12:00:43
                                                                                  13   answers.    Okay?                                             12:00:46
                                                                                  14      A.      Okay.                                              12:00:47
                                                                                  15              MS. MEEK:     Starting Exhibit 30 at 30            12:01:06
                                                                                  16   seconds.                                                      12:01:09
                                                                                  17              (Thereupon, a video recording of Exhibit           12:01:10
                                                                                  18   30 was played.)                                               12:01:10
                                                                                  19              MS. MEEK:     Paused at 56 seconds.                12:01:40
                                                                                  20   BY MR. SIEGEL:                                                12:01:43
                                                                                  21      Q.      Okay.    Was it 56 or 35 we were going to          12:01:43
                                                                                  22   pose -- we were going to pause here?                          12:01:54
                                                                                  23              MS. MEEK:     I have from 30 to 56.   Go           12:01:57
                                                                                  24   earlier?                                                      12:02:00
                                                                                  25              MR. SIEGEL:     This is Exhibit 30, right?         12:02:01


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                                                                                  1             MS. MEEK:     Yes.                                  12:02:03
                                                                                  2             MR. SIEGEL:     Yeah.    Try 35 quickly.            12:02:05
                                                                                  3             MS. MEEK:     35 seconds?                           12:02:09
                                                                                  4             MR. SIEGEL:     Yeah.    Yes.   That's it.          12:02:11
                                                                                  5    BY MR. SIEGEL:                                               12:02:17
                                                                                  6       Q.    Do you see the fellow in the brown hat,             12:02:17
                                                                                  7    like brown kind of beanie hat?                               12:02:21
                                                                                  8       A.    Yes.                                                12:02:24
                                                                                  9       Q.    You can actually see his phone kind of              12:02:25
                                                                                  10   facing forward.    Do you know who that is?                  12:02:28
                                                                                  11      A.    No.                                                 12:02:30
                                                                                  12            MR. SIEGEL:     Okay.                               12:02:31
                                                                                  13      A.    And just to be clear, the person I was              12:02:31
                                                                                  14   referring to earlier is the person to the -- the             12:02:33
                                                                                  15   person in the beanie is left --                              12:02:37
                                                                                  16            MR. SIEGEL:     Right.                              12:02:39
                                                                                  17      A.    -- with the backwards hat.                          12:02:39
                                                                                  18            MR. SIEGEL:     Right.    And why don't you         12:02:41
                                                                                  19   just put the cursor on that, Jessie, so it's                 12:02:42
                                                                                  20   clear for the record, on him, the fellow with the            12:02:47
                                                                                  21   beard and the backwards hat.                                 12:02:52
                                                                                  22            THE WITNESS:     No -- yes.                         12:02:55
                                                                                  23   BY MR. SIEGEL:                                               12:02:56
                                                                                  24      Q.    As -- as a member of Phillips'                      12:02:56
                                                                                  25   entourage?                                                   12:02:58


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                                                                                  1       A.    Yes.                                                12:03:00
                                                                                  2             MR. SIEGEL:    Okay.   Okay.   You can jump         12:03:00
                                                                                  3    forward to 56 now and then pause at 1:02.                    12:03:01
                                                                                  4    BY MR. SIEGEL:                                               12:03:09
                                                                                  5       Q.    Do you recognize whether the person in              12:03:09
                                                                                  6    the brown hat is a Cov Cath student?      Do you             12:03:13
                                                                                  7    know?                                                        12:03:16
                                                                                  8       A.    I would say for sure that it's not.                 12:03:16
                                                                                  9    Well, I don't know who that is, in all honesty.              12:03:18
                                                                                  10            MR. SIEGEL:    Okay.   Okay.                        12:03:23
                                                                                  11            (Thereupon, a video recording of Exhibit            12:03:25
                                                                                  12   30 was played.)                                              12:03:25
                                                                                  13   BY MR. SIEGEL:                                               12:03:52
                                                                                  14      Q.    Okay.    Is that Ms. Hagedorn at 1:02?              12:03:52
                                                                                  15      A.    Correct.                                            12:03:57
                                                                                  16            MR. SIEGEL:    Okay.   Keep going.                  12:03:58
                                                                                  17            (Thereupon, a video recording of Exhibit            12:04:02
                                                                                  18   30 was played.)                                              12:04:02
                                                                                  19   BY MR. SIEGEL:                                               12:05:21
                                                                                  20      Q.    Do you know who that is?                            12:05:21
                                                                                  21      A.    Yes.                                                12:05:24
                                                                                  22      Q.    Who is that?                                        12:05:25
                                                                                  23      A.    I think, if I'm right, his name is Trey             12:05:25
                                                                                  24   Lowery (phonetically spelled.)                               12:05:28
                                                                                  25      Q.    Okay.    And did you hear anything more             12:05:34


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                                                                                  1    about what the man in the red hat said with                    12:05:36
                                                                                  2    anyone that changes anything that you have                     12:05:39
                                                                                  3    testified about before?                                        12:05:42
                                                                                  4       A.     No.     I -- I generally heard the same              12:05:43
                                                                                  5    things I heard from the other angle.                           12:05:46
                                                                                  6       Q.     Okay.     Were you -- could you make out             12:05:48
                                                                                  7    anything about what the man in the white hat was               12:05:51
                                                                                  8    communicating?                                                 12:05:54
                                                                                  9       A.     Not really.                                          12:05:55
                                                                                  10             MR. SIEGEL:     Okay.    All right.   Let's          12:05:59
                                                                                  11   take a -- let's take a lunch break.                            12:06:01
                                                                                  12             THE VIDEOGRAPHER:       We are going off the         12:06:04
                                                                                  13   record.   The time is 12:06 p.m.                               12:06:06
                                                                                  14             (Thereupon, there was a recess taken at              12:06:12
                                                                                  15   12:06 p.m.)                                                    12:06:12
                                                                                  16             (Thereupon, the proceedings were resumed             12:50:03
                                                                                  17   at 12:50 p.m.)                                                 12:50:03
                                                                                  18             THE VIDEOGRAPHER:       We are back on the           12:50:11
                                                                                  19   record.   The time is 12:50 p.m.                               12:50:21
                                                                                  20   BY MR. SIEGEL:                                                 12:50:25
                                                                                  21      Q.     Okay.     Nick, you delivered a speech that          12:50:25
                                                                                  22   was broadcast as part of the Republican National               12:50:30
                                                                                  23   Convention, right?                                             12:50:35
                                                                                  24      A.     That is correct.                                     12:50:37
                                                                                  25      Q.     And how did you come to do that?                     12:50:38


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                                                                                  1       A.       I was contacted through Turning Point              12:50:40
                                                                                  2    USA and was notified that there was interest from              12:50:43
                                                                                  3    the Trump campaign to have me speak.        And they           12:50:49
                                                                                  4    inquired about whether or not I would be                       12:50:52
                                                                                  5    interested in doing that.                                      12:50:55
                                                                                  6       Q.       And do you remember who at Turning Point           12:50:57
                                                                                  7    contacted you?                                                 12:51:01
                                                                                  8       A.       Yes.    His name is Alex Lorusso.                  12:51:02
                                                                                  9                MR. SIEGEL:     Okay.                              12:51:08
                                                                                  10      A.       He more commonly goes on the Internet by           12:51:08
                                                                                  11   just ALX.                                                      12:51:10
                                                                                  12      Q.       Okay.    And you will excuse my ignorance.         12:51:12
                                                                                  13   But is he -- is he one of the commentators                     12:51:15
                                                                                  14   essentially of TP?                                             12:51:20
                                                                                  15      A.       Yes.    Yes.   He's -- he's -- I think his         12:51:21
                                                                                  16   official title is he is a TPUSA ambassador.                    12:51:26
                                                                                  17      Q.       Okay.    So after he contacted you, what           12:51:32
                                                                                  18   happened?     How did you actually come to agree and           12:51:34
                                                                                  19   then record that speech?                                       12:51:39
                                                                                  20      A.       If I remember it correctly, after                  12:51:42
                                                                                  21   speaking to Alex, I then spoke to Charlie, who                 12:51:45
                                                                                  22   runs Turning Point, and then --                                12:51:50
                                                                                  23      Q.       Charlie Kirk?                                      12:51:53
                                                                                  24      A.       Charlie Kirk, yes.                                 12:51:55
                                                                                  25               And then he connected me with members of           12:51:58


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                                                                                  1    the Trump campaign, who spoke to me first of --                12:52:01
                                                                                  2    the first discussion we had was organizing how                 12:52:06
                                                                                  3    was I going to get to DC, what was the schedule                12:52:11
                                                                                  4    going to look like, where was I actually going to              12:52:15
                                                                                  5    film my speech or whatever.       And we just worked           12:52:18
                                                                                  6    out all the logistics or whatever.                             12:52:21
                                                                                  7                And then from then on, I moved to                  12:52:24
                                                                                  8    actually writing my speech.       And after that, I            12:52:30
                                                                                  9    flew to DC.                                                    12:52:38
                                                                                  10      Q.       Okay.    And were you standing in front of         12:52:40
                                                                                  11   the Lincoln Memorial when you gave it or was that              12:52:42
                                                                                  12   a backdrop?                                                    12:52:45
                                                                                  13      A.       That was actually at the Lincoln                   12:52:47
                                                                                  14   Memorial.                                                      12:52:49
                                                                                  15      Q.       It was actually at Lincoln -- and who              12:52:50
                                                                                  16   were the people in the Trump campaign that you                 12:52:50
                                                                                  17   communicated with?                                             12:52:54
                                                                                  18      A.       I can remember a couple of names.    I             12:52:55
                                                                                  19   won't be able to remember all of them.                         12:53:00
                                                                                  20               I think there were about four or five.             12:53:01
                                                                                  21   I think one of them was Cliff Sims.       And another          12:53:04
                                                                                  22   one who was kind of the point person on keeping                12:53:10
                                                                                  23   my schedule and making sure I got where I needed               12:53:14
                                                                                  24   to be, his name was David Mariash.       And he kind           12:53:18
                                                                                  25   of organized my flights and things like that.                  12:53:23


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                                                                                  1              Another one that was -- that I can                12:53:28
                                                                                  2    remember, which is -- the last name I can, was              12:53:31
                                                                                  3    Jaylin Johnson.   And he wasn't necessarily                 12:53:36
                                                                                  4    connected to the actual speech itself.     But when         12:53:40
                                                                                  5    I was in DC, he helped organize for me to tour              12:53:44
                                                                                  6    the Trump campaign office and like the war room,            12:53:49
                                                                                  7    the headquarters, typically.                                12:53:54
                                                                                  8       Q.     And what was the process of coming up             12:53:57
                                                                                  9    with the substance of the speech?                           12:54:04
                                                                                  10      A.     So the -- we had a couple -- he gave me           12:54:06
                                                                                  11   the general themes for what they wanted the                 12:54:11
                                                                                  12   convention to center around.     And he offered me          12:54:18
                                                                                  13   two different approaches.                                   12:54:23
                                                                                  14             I could -- I could write the speech, how          12:54:25
                                                                                  15   I kind of wanted it to look, and then get input             12:54:29
                                                                                  16   from the speech writer on adjustments, or I could           12:54:33
                                                                                  17   tell the speech writer some of the things I                 12:54:36
                                                                                  18   wanted and let him write it.                                12:54:39
                                                                                  19             I took the initiative and wrote the               12:54:42
                                                                                  20   entire speech myself.    And then from there, we            12:54:45
                                                                                  21   made some adjustments.                                      12:54:50
                                                                                  22      Q.     And do you recall the name of the speech          12:54:52
                                                                                  23   writer?   Was it -- was it John Pastovich, or               12:54:55
                                                                                  24   something like that?                                        12:55:04
                                                                                  25      A.     Yes, John Pastovich.                              12:55:04


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                                                                                  1       Q.      Okay.    And so what was his role?                    12:55:07
                                                                                  2       A.      He played a role in helping me write the              12:55:08
                                                                                  3    speech.                                                          12:55:12
                                                                                  4               Most of the original speech that I had                12:55:13
                                                                                  5    written ended up staying in there by the finished                12:55:16
                                                                                  6    product.                                                         12:55:19
                                                                                  7       Q.      Okay.    And are there any -- do you have             12:55:21
                                                                                  8    any of the drafts of the speech that you wrote?                  12:55:24
                                                                                  9       A.      I think I do.                                         12:55:27
                                                                                  10              MR. SIEGEL:     Okay.    I think we had asked         12:55:35
                                                                                  11   for those to be produced, Todd, only because they                12:55:37
                                                                                  12   do describe the events at --                                     12:55:40
                                                                                  13              MR. McMURTRY:     Yeah, that is fine.     I           12:55:41
                                                                                  14   never thought of that.       It didn't strike me as              12:55:42
                                                                                  15   anything relevant.       But if you want us to get               12:55:45
                                                                                  16   those to you -- I don't think we've produced                     12:55:48
                                                                                  17   them.                                                            12:55:50
                                                                                  18              MR. SIEGEL:     Right.                                12:55:50
                                                                                  19              THE WITNESS:     I don't know if it's                 12:55:51
                                                                                  20   relevant to add that I think I do have several                   12:55:53
                                                                                  21   different draft copies.       But on some of them, I             12:55:56
                                                                                  22   might have wrote it and then just wrote the new                  12:55:59
                                                                                  23   draft over that.                                                 12:56:02
                                                                                  24              MR. SIEGEL:     Over it, I understand.                12:56:03
                                                                                  25              THE WITNESS:     And edited it, but --                12:56:04


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                                                                                  1             MR. SIEGEL:     Okay.                              12:56:09
                                                                                  2             THE WITNESS:     Yeah.                             12:56:09
                                                                                  3    BY MR. SIEGEL:                                              12:56:09
                                                                                  4       Q.    Okay.     And why did you agree to speak?          12:56:09
                                                                                  5       A.    Well, I think, first and foremost, when            12:56:12
                                                                                  6    the President asks for something, you know, it's            12:56:18
                                                                                  7    kind of an honor and you do it.                             12:56:20
                                                                                  8             So I was told that the President                   12:56:23
                                                                                  9    personally wanted me to speak, and I was -- I was           12:56:29
                                                                                  10   very honored by that.     So that was probably my           12:56:34
                                                                                  11   leading motivation.                                         12:56:37
                                                                                  12      Q.    Okay.     So let's -- I'm going to put the         12:56:39
                                                                                  13   speech up.     I'm just going to play about the             12:56:45
                                                                                  14   first ten seconds for you to confirm that this is           12:56:50
                                                                                  15   your speech.                                                12:56:54
                                                                                  16            THE WITNESS:     Okay.                             12:56:55
                                                                                  17            MR. SIEGEL:     This is Exhibit 31.                12:56:56
                                                                                  18            (Thereupon, a video recording of Exhibit           12:57:02
                                                                                  19   31 was played.)                                             12:57:02
                                                                                  20   BY MR. SIEGEL:                                              12:57:16
                                                                                  21      Q.    Yeah.     That's the speech you gave?              12:57:16
                                                                                  22      A.    That is my speech.                                 12:57:19
                                                                                  23      Q.    Okay.     So let's go to 58 seconds.               12:57:21
                                                                                  24            MR. McMURTRY:     Recognize the suit?              12:57:28
                                                                                  25      A.    I actually needed one.     I have had this         12:57:32


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                                                                                  1    one so long.                                                     12:57:36
                                                                                  2               MS. MEEK:     Starting at 58 seconds.                 12:57:38
                                                                                  3               (Thereupon, a video recording of Exhibit              12:57:41
                                                                                  4    31 was played.)                                                  12:57:41
                                                                                  5    BY MR. SIEGEL:                                                   12:58:01
                                                                                  6       Q.      Okay.    So you refer to Nathan Phillips              12:58:01
                                                                                  7    as a professional protestor?                                     12:58:04
                                                                                  8       A.      Correct.                                              12:58:07
                                                                                  9       Q.      Why did you call him that?                            12:58:08
                                                                                  10      A.      As I mentioned in earlier testimony,                  12:58:10
                                                                                  11   Nathan Phillips had gotten to headlines in                       12:58:13
                                                                                  12   Detroit.     And then after the -- after the                     12:58:17
                                                                                  13   standstill at the Lincoln Memorial, he then                      12:58:27
                                                                                  14   appeared at another protest in another state.          I         12:58:30
                                                                                  15   can't remember where.       I want to say California.            12:58:33
                                                                                  16   But it was clear to me that he was able to                       12:58:37
                                                                                  17   appear, appear on videos in DC, Detroit and                      12:58:45
                                                                                  18   somewhere else, and he seemed like a professional                12:58:48
                                                                                  19   protestor.                                                       12:58:52
                                                                                  20      Q.      So what does the term professional                    12:58:54
                                                                                  21   protestor mean?       Did you think that he -- does              12:58:59
                                                                                  22   that mean that he makes money off of it, doing                   12:59:02
                                                                                  23   that?                                                            12:59:06
                                                                                  24      A.      I can't -- I can't say for sure.        But I         12:59:07
                                                                                  25   would equate that phrase to he's definitely an                   12:59:10


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                                                                                  1    activist and appears at -- appears at rallies for           12:59:13
                                                                                  2    many different causes.                                      12:59:19
                                                                                  3       Q.    Okay.    How does that make him a                  12:59:20
                                                                                  4    professional protestor?     What does the word              12:59:22
                                                                                  5    professional mean as you used it?                           12:59:30
                                                                                  6       A.    He's very good at what he does.      As I          12:59:32
                                                                                  7    said before, he -- he has a habit of getting on             12:59:35
                                                                                  8    video or appearing in the headlines.                        12:59:39
                                                                                  9       Q.    Okay.    And you said you referred to              12:59:41
                                                                                  10   others with him as professional protestors in               12:59:44
                                                                                  11   your speech.                                                12:59:48
                                                                                  12      A.    Yes.                                               12:59:49
                                                                                  13      Q.    And why did you say that?                          12:59:50
                                                                                  14      A.    As I testified earlier, because I                  12:59:52
                                                                                  15   believe, when they approached me, they had --               12:59:55
                                                                                  16   that there was -- it was somehow arranged for the           13:00:00
                                                                                  17   camera to be filming before he approached me.               13:00:03
                                                                                  18      Q.    Okay.    And that's what you were                  13:00:07
                                                                                  19   referring to when you were saying others were               13:00:09
                                                                                  20   professional protestors?                                    13:00:11
                                                                                  21      A.    Yes.                                               13:00:13
                                                                                  22            MR. SIEGEL:     Okay.   Let's go to 1:47.          13:00:16
                                                                                  23            (Thereupon, a video recording of Exhibit           13:00:46
                                                                                  24   31 was played.)                                             13:00:46
                                                                                  25   BY MR. SIEGEL:                                              13:00:46


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                                                                                  1       Q.       Okay.    You call him -- and I take it               13:00:46
                                                                                  2    there you are referring to the man in the Reds                   13:00:48
                                                                                  3    hat?                                                             13:00:51
                                                                                  4       A.       Yes.                                                 13:00:51
                                                                                  5       Q.       Why did you call him one of Mr. Phillips'            13:00:52
                                                                                  6    fellow agitators?                                                13:00:55
                                                                                  7       A.       Because I believe that that's -- that is             13:00:57
                                                                                  8    a term that describes their behavior when they                   13:01:02
                                                                                  9    entered our group.                                               13:01:05
                                                                                  10      Q.       Okay.    And just explain what you mean by           13:01:07
                                                                                  11   agitator?                                                        13:01:14
                                                                                  12      A.       I mean, it's pretty agitative behavior               13:01:15
                                                                                  13   when you invade the personal space of someone 59                 13:01:23
                                                                                  14   years younger than you and make them smell your                  13:01:28
                                                                                  15   breath and have their spit on their face.                        13:01:34
                                                                                  16               In the case of the man in the Reds hat,              13:01:38
                                                                                  17   start arguing, trying to debate someone.         However         13:01:41
                                                                                  18   the age gap is between them, that difference, it                 13:01:45
                                                                                  19   seems to me they were trying to agitate us.                      13:01:50
                                                                                  20               MR. SIEGEL:     Okay.   And just go back and         13:01:54
                                                                                  21   play that one more time.         And listen carefully            13:01:56
                                                                                  22   again.                                                           13:01:59
                                                                                  23               We are at 1:47 again?                                13:02:41
                                                                                  24               MS. MEEK:     Yes.                                   13:02:45
                                                                                  25               (Thereupon, a video recording of Exhibit             13:02:47


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                                                                                  1    31 was played.)                                                    13:02:47
                                                                                  2    BY MR. SIEGEL:                                                     13:02:59
                                                                                  3          Q.       When did the man in the Reds cap ever               13:02:59
                                                                                  4    say it's all right here on the video?                              13:03:02
                                                                                  5          A.       In one of the -- in one of the video                13:03:05
                                                                                  6    angles.        I'm pretty sure that he -- he said that             13:03:08
                                                                                  7    line.                                                              13:03:12
                                                                                  8          Q.       We showed you two videos of the man --              13:03:12
                                                                                  9    angles of the man in the Reds cap.           Did you ever          13:03:16
                                                                                  10   hear him say it's all right here on video?                         13:03:19
                                                                                  11         A.       Correct.     But those two angles don't --          13:03:22
                                                                                  12   don't cover the entire situation at the memorial.                  13:03:26
                                                                                  13         Q.       Okay.    So what is the source of your              13:03:29
                                                                                  14   statement that the man in the Reds cap said,                       13:03:31
                                                                                  15   quote, it's all right here on video?                               13:03:34
                                                                                  16         A.       At one point in one of the videos, he               13:03:37
                                                                                  17   says it's all right here on video to -- I can't                    13:03:41
                                                                                  18   remember who at this point.           But that is captured         13:03:45
                                                                                  19   on camera.                                                         13:03:48
                                                                                  20         Q.       And can you describe the video that you             13:03:49
                                                                                  21   say it's captured on?                                              13:03:52
                                                                                  22         A.       Well, as I said earlier, when you were              13:03:53
                                                                                  23   showing me these videos, I can't recall which one                  13:03:57
                                                                                  24   is which video.           I mean, they are all videos to           13:04:00
                                                                                  25   me.        But I can't remember who is the author of               13:04:04


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                                                                                  1    which one.        I just know on one of the videos that              13:04:07
                                                                                  2    it is -- it takes place.                                             13:04:10
                                                                                  3          Q.       So there are like, I don't know, like                 13:04:12
                                                                                  4    whatever the number is, 18 or 19 videos that --                      13:04:15
                                                                                  5    that, you know, the parties here have stipulated                     13:04:21
                                                                                  6    to.        Is it on one of those videos?                             13:04:22
                                                                                  7          A.       I believe so.                                         13:04:25
                                                                                  8          Q.       But it's -- you contend it's on one of                13:04:26
                                                                                  9    those videos but not on the ones I've shown you?                     13:04:28
                                                                                  10         A.       Correct.                                              13:04:32
                                                                                  11                  MR. SIEGEL:     All right.                            13:04:33
                                                                                  12         A.       Or at least -- not -- maybe it is on one              13:04:33
                                                                                  13   of the videos you have shown me and we just                          13:04:36
                                                                                  14   haven't played that part.                                            13:04:40
                                                                                  15         Q.       We played the part where he said we won               13:04:42
                                                                                  16   Grandpa, right?                                                      13:04:50
                                                                                  17         A.       Correct.   I'm saying that of the videos              13:04:51
                                                                                  18   you have shown me, we haven't looked at all of                       13:04:54
                                                                                  19   them from start to finish.              I mean, we have              13:04:57
                                                                                  20   jumped around on some of them.                                       13:05:00
                                                                                  21                  MR. SIEGEL:     Okay.     So I will put a             13:05:02
                                                                                  22   pause on it for now.           Okay.     We may come back to         13:05:05
                                                                                  23   that.                                                                13:05:18
                                                                                  24                  THE WITNESS:     Okay.                                13:05:19
                                                                                  25         Q.       But other than -- other than what you                 13:05:19


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                                                                                  1    have just said, can you be any more specific                    13:05:22
                                                                                  2    about which video you say that is contained in?                 13:05:24
                                                                                  3          A.   No, I really can't.                                  13:05:27
                                                                                  4               MR. SIEGEL:    Okay.     Let's go to Exhibit         13:05:37
                                                                                  5    32.                                                             13:05:39
                                                                                  6               And this, Nick, is all -- what I'm                   13:06:32
                                                                                  7    showing you now is some of the video after you                  13:06:34
                                                                                  8    left the stairs.                                                13:06:39
                                                                                  9               THE WITNESS:    Okay.                                13:06:40
                                                                                  10              (Thereupon, a video recording of Exhibit             13:06:42
                                                                                  11   32 was played.)                                                 13:06:42
                                                                                  12   BY MR. SIEGEL:                                                  13:06:43
                                                                                  13         Q.   Is one of the guys you're -- I know that             13:06:43
                                                                                  14   is Will.    There is Mr. Kleier, right?       Who are           13:06:46
                                                                                  15   the other guys you are talking to?                              13:06:52
                                                                                  16         A.   The one in between me and Will, behind               13:06:54
                                                                                  17   me, his name is Jacks.                                          13:06:56
                                                                                  18              The other ones, I can -- I can't tell.               13:06:59
                                                                                  19   I'm looking at their backs here.                                13:07:03
                                                                                  20         Q.   The one that has C-R-I-M something on                13:07:05
                                                                                  21   it -- Crimson, maybe?                                           13:07:08
                                                                                  22         A.   Yeah.    I can't tell.                               13:07:10
                                                                                  23         Q.   And Jack Clark is -- I'm sorry.       I              13:07:12
                                                                                  24   probably have the wrong name.                                   13:07:15
                                                                                  25              Jack.    Who is the other guy you just               13:07:17


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                                                                                  1    said?                                                        13:07:19
                                                                                  2       A.    His name is Jacks, like --                          13:07:19
                                                                                  3       Q.    And which one is that?                              13:07:23
                                                                                  4       A.    In between Will and I.                              13:07:25
                                                                                  5       Q.    Behind you?                                         13:07:26
                                                                                  6       A.    Right there.                                        13:07:27
                                                                                  7       Q.    Okay.     And do you know who the guy with          13:07:28
                                                                                  8    the red, white and blue ski hat is?                          13:07:31
                                                                                  9       A.    No.     I mean, I can't tell.                       13:07:35
                                                                                  10            MR. SIEGEL:     Okay.   Okay.   Let's keep          13:07:46
                                                                                  11   going.                                                       13:07:48
                                                                                  12            (Thereupon, a video recording of Exhibit            13:08:18
                                                                                  13   32 was played.)                                              13:08:18
                                                                                  14            MS. MEEK:     I just paused at 30 seconds.          13:08:18
                                                                                  15   BY MR. SIEGEL:                                               13:08:21
                                                                                  16      Q.    Okay.     So when you were -- at the time,          13:08:21
                                                                                  17   did you hear Nathan Phillips shouting any of                 13:08:24
                                                                                  18   that?                                                        13:08:27
                                                                                  19      A.    It's possible.     I don't really remember          13:08:28
                                                                                  20   paying attention to it.                                      13:08:32
                                                                                  21      Q.    Okay.     Well, either then or watching it          13:08:36
                                                                                  22   now, do you have a view of why Mr. Phillips was              13:08:38
                                                                                  23   shouting relatives?                                          13:08:49
                                                                                  24      A.    I just assume it's because he's                     13:08:50
                                                                                  25   referring to the people he's with.       But I don't         13:08:53


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                                                                                  1    know.                                                         13:08:55
                                                                                  2       Q.      Okay.    You are assuming it's referring           13:08:56
                                                                                  3    to people -- Native Americans and any of the                  13:08:58
                                                                                  4    other people who were the --                                  13:09:01
                                                                                  5       A.      Yes.                                               13:09:05
                                                                                  6       Q.      Okay.    And he said let's make America            13:09:06
                                                                                  7    great, let's do that.                                         13:09:13
                                                                                  8               Do you have any view of what he meant by           13:09:14
                                                                                  9    that?                                                         13:09:17
                                                                                  10      A.      No.                                                13:09:17
                                                                                  11              MR. SIEGEL:     Okay.   Keep going.                13:09:22
                                                                                  12              (Thereupon, a video recording of Exhibit           13:09:27
                                                                                  13   32 was played.)                                               13:09:27
                                                                                  14              MS. MEEK:     I paused at 56 seconds.              13:09:53
                                                                                  15   BY MR. SIEGEL:                                                13:09:56
                                                                                  16      Q.      The fellow who we see in the Owensboro             13:09:56
                                                                                  17   sweatshirt, is that -- do you know what school he             13:09:59
                                                                                  18   is from?                                                      13:10:07
                                                                                  19      A.      I would assume Owensboro Catholic.                 13:10:08
                                                                                  20      Q.      Okay.    So to your knowledge was he not a         13:10:12
                                                                                  21   Covington student?                                            13:10:15
                                                                                  22      A.      Yes.                                               13:10:18
                                                                                  23      Q.      Okay.    Do you know who he is?                    13:10:19
                                                                                  24      A.      No idea.                                           13:10:21
                                                                                  25      Q.      Okay.    Do you have any reaction to what          13:10:22


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                                                                                  1    he said?                                                      13:10:25
                                                                                  2       A.      Not really.                                        13:10:25
                                                                                  3               MR. SIEGEL:     Go ahead.   Let's go to            13:10:27
                                                                                  4    Exhibit 3 again, which is video 4.        And this is         13:10:29
                                                                                  5    the Banyamyan video, some of the footage after                13:10:33
                                                                                  6    the incident was over.                                        13:10:36
                                                                                  7               MS. MEEK:     Starting at 1 hour, 18               13:11:06
                                                                                  8    minutes and 18 seconds.                                       13:11:08
                                                                                  9               (Thereupon, a video recording of Exhibit           13:11:10
                                                                                  10   3 was played.)                                                13:11:11
                                                                                  11              MS. MEEK:     Paused at 1 hour -- 1 hour,          13:11:18
                                                                                  12   18 minutes and 26 seconds.                                    13:11:20
                                                                                  13              MR. SIEGEL:     Let's go back one more             13:11:22
                                                                                  14   time.   See if you --                                         13:11:28
                                                                                  15   BY MR. SIEGEL:                                                13:11:28
                                                                                  16      Q.      Do you hear one of the BHI guys saying I           13:11:28
                                                                                  17   don't see one black person?                                   13:11:33
                                                                                  18      A.      I would assume they probably said that.            13:11:35
                                                                                  19   I will listen for it.                                         13:11:37
                                                                                  20              MR. SIEGEL:     Okay.   Let's go back and          13:11:39
                                                                                  21   listen for that.                                              13:11:41
                                                                                  22              (Thereupon, a video recording of Exhibit           13:11:43
                                                                                  23   3 was played.)                                                13:11:43
                                                                                  24   BY MR. SIEGEL:                                                13:11:47
                                                                                  25      Q.      Right.   It's not the guy who is                   13:11:47


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                                                                                  1    shouting, right?                                              13:11:50
                                                                                  2       A.      Yes.                                               13:11:51
                                                                                  3       Q.      Someone else says it.                              13:11:51
                                                                                  4               Do you recall, did you witness any of              13:11:54
                                                                                  5    that?                                                         13:11:56
                                                                                  6       A.      I don't think I did.                               13:11:56
                                                                                  7       Q.      Okay.    And now it appears that the               13:11:57
                                                                                  8    kids -- the students are all turning around to                13:11:59
                                                                                  9    try to find the African American student?                     13:12:02
                                                                                  10      A.      No.                                                13:12:08
                                                                                  11      Q.      You don't think that's what they are               13:12:09
                                                                                  12   doing?                                                        13:12:11
                                                                                  13      A.      I think that is one heck of a guess.               13:12:11
                                                                                  14      Q.      All right.     Well, tell us -- do you             13:12:13
                                                                                  15   know -- go ahead.       Tell us.                              13:12:15
                                                                                  16      A.      I don't -- I don't understand why they             13:12:15
                                                                                  17   would have to stand there and look at the Black               13:12:18
                                                                                  18   Hebrew Israelites who -- who are shouting that at             13:12:21
                                                                                  19   them.                                                         13:12:27
                                                                                  20      Q.      So he just -- the guy who said I don't             13:12:27
                                                                                  21   see one black person, right?                                  13:12:30
                                                                                  22      A.      Right.                                             13:12:33
                                                                                  23              MR. SIEGEL:     That's what he shouted.            13:12:34
                                                                                  24   Okay.    So let's keep going.                                 13:12:34
                                                                                  25              (Thereupon, a video recording of Exhibit           13:12:37


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                                                                                  1    3 was played.)                                              13:12:37
                                                                                  2              MS. MEEK:   Paused at 1:18:44.                    13:12:54
                                                                                  3    BY MR. SIEGEL:                                              13:12:58
                                                                                  4       Q.     So you hear the -- one of the BHI men             13:12:58
                                                                                  5    says you've got two N words in the crowd?                   13:13:01
                                                                                  6       A.     Yes.                                              13:13:05
                                                                                  7       Q.     And someone holds up his hands and says           13:13:05
                                                                                  8    we've got two?                                              13:13:09
                                                                                  9       A.     Yes.                                              13:13:10
                                                                                  10      Q.     Who is that, the guy who held up his              13:13:11
                                                                                  11   hand?                                                       13:13:13
                                                                                  12      A.     I don't know.   He was a grade above me.          13:13:14
                                                                                  13   I don't know his name.                                      13:13:16
                                                                                  14      Q.     What do you think of that response?               13:13:16
                                                                                  15      A.     Well, I mean, if you want my opinion              13:13:17
                                                                                  16   here, he's obviously being baited into this where           13:13:20
                                                                                  17   the guy's using words which are -- are frowned              13:13:26
                                                                                  18   upon.   And I don't -- I don't think he realizes            13:13:32
                                                                                  19   that when he is correcting the guy and he says we           13:13:37
                                                                                  20   actually have two, that when you look at this on            13:13:41
                                                                                  21   camera, you would assume that he's saying -- or             13:13:47
                                                                                  22   that people could take that as we have two, and             13:13:50
                                                                                  23   then the identification that the BHI used, I                13:13:54
                                                                                  24   think that it's a senior in high school that                13:13:58
                                                                                  25   doesn't realize what he's being baited in to                13:14:01


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                                                                                  1    saying.                                                       13:14:04
                                                                                  2       Q.     Well, whether you think he was being                13:14:04
                                                                                  3    baited or not, you understand that he's saying                13:14:07
                                                                                  4    we've got two, we've got two African Americans?               13:14:08
                                                                                  5              MR. McMURTRY:     I don't think that's what         13:14:12
                                                                                  6    he testified to.      But go ahead.                           13:14:13
                                                                                  7    BY MR. SIEGEL:                                                13:14:15
                                                                                  8       Q.     Okay.     Well, when he says we've got two,         13:14:15
                                                                                  9    what do you understand --                                     13:14:18
                                                                                  10      A.     Well --                                             13:14:18
                                                                                  11      Q.     Two what?                                           13:14:20
                                                                                  12             MR. McMURTRY:     You know, I don't know            13:14:20
                                                                                  13   what we are trying to prove here.       I think Nick          13:14:21
                                                                                  14   said he wasn't aware of any of this happening.                13:14:24
                                                                                  15             MR. SIEGEL:     I get that.   I understand          13:14:26
                                                                                  16   that.                                                         13:14:27
                                                                                  17             MR. McMURTRY:     I don't know if there is          13:14:27
                                                                                  18   a question.    If you would either read back the              13:14:28
                                                                                  19   question or ask it again.                                     13:14:31
                                                                                  20             MR. SIEGEL:     Okay.                               13:14:33
                                                                                  21   BY MR. SIEGEL:                                                13:14:34
                                                                                  22      Q.     So when the guy holds up his hand and               13:14:34
                                                                                  23   says we've got two, what do you understand the                13:14:37
                                                                                  24   two to be?                                                    13:14:40
                                                                                  25      A.     I would say probably that there was more            13:14:41


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                                                                                  1    than one African American with us.                           13:14:43
                                                                                  2       Q.    Okay.     And -- and your only view of that         13:14:48
                                                                                  3    was that the -- that the student was being baited            13:14:56
                                                                                  4    to say that?                                                 13:15:00
                                                                                  5             MR. McMURTRY:     Objection.   That's not           13:15:00
                                                                                  6    what he said.     He didn't say that was his only            13:15:03
                                                                                  7    view.                                                        13:15:05
                                                                                  8       A.    Yeah.     I think that he was --                    13:15:05
                                                                                  9             MR. McMURTRY:     I'm sorry.   We are not           13:15:07
                                                                                  10   going to go down this road of debating this word             13:15:09
                                                                                  11   to try to recancel Nick or recancel --                       13:15:13
                                                                                  12            MR. SIEGEL:     I'm not going to --                 13:15:17
                                                                                  13            MR. McMURTRY:     I mean, it's too risky            13:15:17
                                                                                  14   for you to be asking these questions.                        13:15:19
                                                                                  15            And what this kid said, we don't know.              13:15:20
                                                                                  16   What the video says exactly is open for                      13:15:22
                                                                                  17   interpretation.     I think that you're -- you're            13:15:25
                                                                                  18   asking too much.                                             13:15:27
                                                                                  19            And if you want to continue these                   13:15:28
                                                                                  20   questions, you know, I would rather take it up               13:15:30
                                                                                  21   with the judge, because I don't think they have              13:15:33
                                                                                  22   anything to do with Phase 1.                                 13:15:36
                                                                                  23            MR. SIEGEL:     Well, I think Nick does             13:15:39
                                                                                  24   make a number -- made a number of public                     13:15:40
                                                                                  25   statements about the behavior of the students.               13:15:43


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                                                                                  1    Right?   Not him, but the students in general.                     13:15:45
                                                                                  2    And I think this is relevant to that.                              13:15:49
                                                                                  3                MR. McMURTRY:     He did answer.     And you           13:15:51
                                                                                  4    mischaracterized his testimony.         And, you know --           13:15:53
                                                                                  5                MR. SIEGEL:     I will just ask a different            13:15:56
                                                                                  6    question.                                                          13:15:58
                                                                                  7    BY MR. SIEGEL:                                                     13:15:59
                                                                                  8       Q.       Do you think that was an appropriate                   13:15:59
                                                                                  9    response that that senior gave, an appropriate                     13:16:01
                                                                                  10   thing to do and gesture?                                           13:16:05
                                                                                  11      A.       As I testified before, I think that this               13:16:08
                                                                                  12   student was being baited into giving a response                    13:16:11
                                                                                  13   that sounded like he was identifying our own                       13:16:15
                                                                                  14   students, our brothers, because we are a                           13:16:18
                                                                                  15   brotherhood, as derogatory terms.                                  13:16:22
                                                                                  16               MR. SIEGEL:     Okay.   Let's keep going.              13:16:31
                                                                                  17               MS. MEEK:     Starting at 1:18:44.                     13:16:33
                                                                                  18               (Thereupon, a video recording of Exhibit               13:16:38
                                                                                  19   3 was played.)                                                     13:16:38
                                                                                  20   BY MR. SIEGEL:                                                     13:16:44
                                                                                  21      Q.       Did you hear someone shout out hell,                   13:16:44
                                                                                  22   yeah, we've got one?                                               13:16:47
                                                                                  23      A.       It seemed a little hard to hear it.         If         13:16:49
                                                                                  24   we could replay it.                                                13:16:52
                                                                                  25               MR. SIEGEL:     Sure.                                  13:16:54


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                                                                                  1             (Thereupon, a video recording of Exhibit            13:16:56
                                                                                  2    3 was played.)                                               13:16:56
                                                                                  3             MS. MEEK:     I'm back to 1:18:44.                  13:17:09
                                                                                  4    BY MR. SIEGEL:                                               13:17:18
                                                                                  5       Q.    Did you hear that, hell, yeah, we've got            13:17:18
                                                                                  6    one?                                                         13:17:23
                                                                                  7       A.    I wouldn't a hundred percent confirm                13:17:23
                                                                                  8    that, but that's what it sounds like.                        13:17:27
                                                                                  9       Q.    Okay.    And what do you think of that?             13:17:29
                                                                                  10            MR. McMURTRY:     Objection.   I think he's         13:17:31
                                                                                  11   already answered what he thinks about this.                  13:17:33
                                                                                  12            MR. SIEGEL:     I'm going to ask him                13:17:35
                                                                                  13   statements like baiting.     He testified about the          13:17:37
                                                                                  14   one --                                                       13:17:40
                                                                                  15            MR. McMURTRY:     This doesn't have                 13:17:41
                                                                                  16   anything -- I mean, I have said -- objected very             13:17:41
                                                                                  17   little, said very little.     But now you are -- you         13:17:44
                                                                                  18   know, you are trying to drag Nick in to what                 13:17:47
                                                                                  19   other people said that he didn't witness that                13:17:49
                                                                                  20   have nothing to do with Phase 1 discovery and --             13:17:52
                                                                                  21   or Phase 1 Motion For Summary Judgment.                      13:17:54
                                                                                  22            And, you know, really, you are dancing              13:17:58
                                                                                  23   around topics that are -- that are too                       13:18:02
                                                                                  24   incendiary, really, to even be spoken about by               13:18:04
                                                                                  25   anybody in this room or anybody on this feed.                13:18:08


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                                                                                  1    And anything that we say about anything like this               13:18:12
                                                                                  2    is going to put us all at risk.                                 13:18:14
                                                                                  3                And so, you know, I just don't think                13:18:16
                                                                                  4    it's appropriate to continue to ask these                       13:18:18
                                                                                  5    questions.     What do you think about what somebody            13:18:20
                                                                                  6    said that you didn't hear three years ago in                    13:18:22
                                                                                  7    hindsight sitting here today is totally                         13:18:25
                                                                                  8    inappropriate.     And, you know, I just think it's             13:18:29
                                                                                  9    in bad faith to -- not bad faith, but a bad                     13:18:31
                                                                                  10   decision to ask these questions in this context.                13:18:34
                                                                                  11               So I would ask you to go -- take on a               13:18:37
                                                                                  12   new line of questioning.                                        13:18:39
                                                                                  13               MR. SIEGEL:     I think it's perfectly              13:18:41
                                                                                  14   appropriate.     This -- this relates to the                    13:18:43
                                                                                  15   behavior of the students who were there.                        13:18:46
                                                                                  16               MR. McMURTRY:     How does that have                13:18:48
                                                                                  17   anything to do with Nick's behavior?                            13:18:49
                                                                                  18               MR. SIEGEL:     Well, Nick spoke about the          13:18:51
                                                                                  19   students.     Nick spoke about --                               13:18:53
                                                                                  20               MR. McMURTRY:     It has nothing do with            13:18:55
                                                                                  21   the lawsuit.     I don't want to debate you on this.            13:18:58
                                                                                  22               We -- you know, I don't have to say how             13:19:02
                                                                                  23   I really feel about all this.        I'm sure you know.         13:19:04
                                                                                  24               But, you know, you are putting Nick in              13:19:08
                                                                                  25   danger, and you are revictimizing him.                          13:19:10


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                                                                                  1             This is going to come out, and he is                 13:19:14
                                                                                  2    going to be revictimized by this.      And I think it         13:19:16
                                                                                  3    is irresponsible to, especially when we are                   13:19:21
                                                                                  4    dealing with these pejoratives, to have him even              13:19:22
                                                                                  5    commenting on them.                                           13:19:26
                                                                                  6             THE WITNESS:     If I can add, in my public          13:19:27
                                                                                  7    statement, I said, and I quote:      I cannot speak           13:19:30
                                                                                  8    for everyone, only for myself.                                13:19:32
                                                                                  9             In my own experience, I haven't seen                 13:19:34
                                                                                  10   anything except people be respected of all races              13:19:37
                                                                                  11   and cultures, which is line by line from the                  13:19:40
                                                                                  12   second page.                                                  13:19:48
                                                                                  13   BY MR. SIEGEL:                                                13:19:49
                                                                                  14      Q.    You said I didn't -- you also said I did             13:19:49
                                                                                  15   not witness or hear any students chant build that             13:19:51
                                                                                  16   wall or anything hateful or racist at any time.               13:19:54
                                                                                  17      A.    Correct.                                             13:19:57
                                                                                  18            MR. SIEGEL:     Right.   And so I think I'm          13:19:59
                                                                                  19   entitled to explore whether you --                            13:20:00
                                                                                  20            MR. McMURTRY:     He said he didn't see              13:20:03
                                                                                  21   anything or hear anything.                                    13:20:05
                                                                                  22            MR. SIEGEL:     I understand that.   And I'm         13:20:06
                                                                                  23   not suggesting that you did.      But to the extent           13:20:08
                                                                                  24   that that statement could be understood to mean               13:20:10
                                                                                  25   that you don't believe that anything hateful or               13:20:13


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                                                                                  1    racist happened, I think I'm entitled to explore             13:20:17
                                                                                  2    that.                                                        13:20:20
                                                                                  3               THE WITNESS:    I mean, I -- what -- what         13:20:20
                                                                                  4    I'm telling you now, and what I have said then,              13:20:22
                                                                                  5    is I can't speak for everyone.      I'm not saying           13:20:25
                                                                                  6    there is not a chance that maybe there is one or             13:20:28
                                                                                  7    more people at Cov Cath that were out of line on             13:20:30
                                                                                  8    this day or maybe another day.      But I can only           13:20:33
                                                                                  9    speak for my own actions and what I witnessed.               13:20:38
                                                                                  10              And at this point, I did not see any of           13:20:42
                                                                                  11   this, just like I didn't hear any of the other               13:20:45
                                                                                  12   things.    And then you are asking me to comment on          13:20:48
                                                                                  13   how I feel about things that I didn't see and                13:20:51
                                                                                  14   witness.    So I just -- I don't know.                       13:20:55
                                                                                  15              MR. McMURTRY:    May I just add one               13:21:04
                                                                                  16   comment?    Thank you.                                       13:21:05
                                                                                  17              I'm concerned, as well, that due to the           13:21:05
                                                                                  18   nature of the questioning surrounding this                   13:21:08
                                                                                  19   particular term, that anything is insufficient.              13:21:10
                                                                                  20   There is no sufficient answer that will not                  13:21:13
                                                                                  21   result in -- in a risk of further cancellation,              13:21:16
                                                                                  22   condemnation.                                                13:21:20
                                                                                  23              And, you know, the way -- the way people          13:21:21
                                                                                  24   organize in our society today, you know, all of              13:21:25
                                                                                  25   this could be taken out of context and used very             13:21:28


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                                                                                  1    aggressively.     And I just think it's not a good                13:21:31
                                                                                  2    idea to -- to be asking --                                        13:21:34
                                                                                  3                MR. SIEGEL:     Todd, I have given you a              13:21:36
                                                                                  4    lot of leeway here for a speaking objection.                      13:21:40
                                                                                  5                MR. McMURTRY:     No, I appreciate that.              13:21:41
                                                                                  6    Thank you.     It's not a speaking objection.       I'm           13:21:42
                                                                                  7    just stating my concerns.                                         13:21:44
                                                                                  8                MR. SIEGEL:     Okay.    But I don't think            13:21:45
                                                                                  9    that's a basis to object to a line of -- I'm                      13:21:46
                                                                                  10   sorry -- not to object.        I am not going to --               13:21:49
                                                                                  11   I'll never tell you you can't object, but I don't                 13:21:50
                                                                                  12   think that is a basis for my not asking some of                   13:21:54
                                                                                  13   these questions.                                                  13:21:57
                                                                                  14               I understand your view about it, but I                13:21:58
                                                                                  15   think that they are appropriate questions to ask.                 13:22:00
                                                                                  16               MR. McMURTRY:     Well, I think he's                  13:22:02
                                                                                  17   answered them, so . . .                                           13:22:03
                                                                                  18               MR. SIEGEL:     He hasn't answered all of             13:22:06
                                                                                  19   them.   He answered the first one.                                13:22:08
                                                                                  20               MR. McMURTRY:     I think he just answered            13:22:09
                                                                                  21   your second one, too.        So let's ask a new                   13:22:11
                                                                                  22   question.                                                         13:22:13
                                                                                  23               MR. SIEGEL:     Well, no.    I said a student         13:22:14
                                                                                  24   yelled out hell, yeah, we got one.          And I said            13:22:17
                                                                                  25   what do you think of that.          That's when you came          13:22:19


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                                                                                  1    in.                                                            13:22:21
                                                                                  2                MR. McMURTRY:     I don't think what he            13:22:21
                                                                                  3    thinks -- objection.        Go ahead and answer the            13:22:22
                                                                                  4    question.                                                      13:22:25
                                                                                  5          A.    Okay.    To me, in my opinion, and I have          13:22:25
                                                                                  6    not witnessed any of this, I would say that the                13:22:30
                                                                                  7    phrase hell, yeah, we got one, was probably a                  13:22:36
                                                                                  8    defense of one of the students of Cov Cath, given              13:22:41
                                                                                  9    that earlier in the day, that one of these                     13:22:47
                                                                                  10   students was told that his organs would have --                13:22:50
                                                                                  11   were going to be harvested by the white members                13:22:53
                                                                                  12   of our school.                                                 13:22:56
                                                                                  13               I take that to be in defense of the                13:22:57
                                                                                  14   student of color at Cov Cath, that he was saying,              13:23:02
                                                                                  15   yes, we've got one, like he is one of ours, he is              13:23:08
                                                                                  16   one of -- he is a Colonel, a student of Covington              13:23:12
                                                                                  17   Catholic.                                                      13:23:17
                                                                                  18               I think at the same time, these kids,              13:23:18
                                                                                  19   which we are, we are all kids, none of us know                 13:23:21
                                                                                  20   the way the world works, quite frankly, didn't                 13:23:24
                                                                                  21   realize that when -- when they were trying to                  13:23:28
                                                                                  22   defend that student, that the foul language used               13:23:30
                                                                                  23   in the question could make it seem as if                       13:23:33
                                                                                  24   something else -- or that they were -- they were               13:23:36
                                                                                  25   responding to the question asked.                              13:23:40


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                                                                                  1             MR. SIEGEL:     Okay.   Let's go to the next         13:23:43
                                                                                  2    few seconds.                                                  13:23:50
                                                                                  3             MS. MEEK:     Continuing at 1:18:52.                 13:23:51
                                                                                  4             (Thereupon, a video recording of Exhibit             13:23:56
                                                                                  5    3 was played.)                                                13:23:56
                                                                                  6             MS. MEEK:     Pausing two seconds later.             13:23:58
                                                                                  7    BY MR. SIEGEL:                                                13:24:00
                                                                                  8       Q.    So now does it appear that the -- that               13:24:00
                                                                                  9    Beau -- we are talking about Beau here, right --              13:24:03
                                                                                  10   has kind of been brought to the front of the                  13:24:06
                                                                                  11   crowd by the other students?                                  13:24:08
                                                                                  12      A.    No.                                                  13:24:09
                                                                                  13      Q.    You do not think that's what happened?               13:24:09
                                                                                  14      A.    You cannot prove that from this video,               13:24:12
                                                                                  15   where the angle was at a completely different                 13:24:15
                                                                                  16   view and then suddenly pans over to see Beau.                 13:24:18
                                                                                  17            We can't tell if Beau was already there              13:24:21
                                                                                  18   before the camera turns over or whether he chose              13:24:23
                                                                                  19   to move to the front of the crowd to show up in               13:24:27
                                                                                  20   front of them of his own will or, you know, they              13:24:30
                                                                                  21   asked Beau to come up or anything like that.                  13:24:34
                                                                                  22            So I would say that this videotaping is              13:24:36
                                                                                  23   inconclusive on why Beau is where he is.                      13:24:42
                                                                                  24            MR. SIEGEL:     Okay.   Let's keep going.            13:24:45
                                                                                  25            (Thereupon, a video recording of Exhibit             13:24:51


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                                                                                  1    3 was played.)                                              13:24:51
                                                                                  2    BY MR. SIEGEL:                                              13:25:24
                                                                                  3       Q.    Did you hear what the -- this fellow in            13:25:24
                                                                                  4    the -- is that Cammeron?                                    13:25:26
                                                                                  5       A.    Charlie.                                           13:25:28
                                                                                  6       Q.    Or Charlie, sorry -- what he said?                 13:25:29
                                                                                  7       A.    No.                                                13:25:31
                                                                                  8             MR. SIEGEL:     Okay.   Let's just go back         13:25:33
                                                                                  9    about maybe six seconds and play it again.                  13:25:35
                                                                                  10            MS. MEEK:     Restarting at 1:19:21.               13:25:41
                                                                                  11            (Thereupon, a video recording of Exhibit           13:25:45
                                                                                  12   3 was played.)                                              13:25:45
                                                                                  13   BY MR. SIEGEL:                                              13:25:51
                                                                                  14      Q.    Okay.    Do you hear it says we've got one         13:25:51
                                                                                  15   at home but he ain't here, names something like             13:25:54
                                                                                  16   Dayron or something like that?                              13:25:59
                                                                                  17      A.    I don't know about a name, but I would             13:26:00
                                                                                  18   agree that he said we have one that isn't here.             13:26:03
                                                                                  19      Q.    Okay.    And do you -- do you recognize            13:26:06
                                                                                  20   the name that he threw out?                                 13:26:08
                                                                                  21      A.    No.                                                13:26:10
                                                                                  22      Q.    And what do you think of Charlie's                 13:26:12
                                                                                  23   response there?                                             13:26:16
                                                                                  24      A.    Again, I think that none of the -- it's            13:26:16
                                                                                  25   my same response to when they said it earlier,              13:26:20


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                                                                                  1    that they didn't realize that -- that people                 13:26:23
                                                                                  2    would take it as we have one and then fill in the            13:26:25
                                                                                  3    word that the Hebrew Israelites were using and               13:26:28
                                                                                  4    instead were saying that we have another African             13:26:33
                                                                                  5    American who is a brother of our school and --               13:26:39
                                                                                  6    it's my same response as last time, which, to be             13:26:44
                                                                                  7    honest, is only support -- supported more by the             13:26:49
                                                                                  8    horrendous display of language a couple of                   13:26:52
                                                                                  9    seconds ago that the Black Hebrew Israelites used            13:26:56
                                                                                  10   that you can then see all our students kind of               13:26:58
                                                                                  11   recoil at because it's disgusting the way they               13:27:02
                                                                                  12   described a freshman in high school.                         13:27:07
                                                                                  13      Q.    Okay.    So do you think -- and I will              13:27:09
                                                                                  14   just ask you for you, do you think that any of               13:27:14
                                                                                  15   the statements or conduct by any of the students             13:27:17
                                                                                  16   that we have seen reflects any racially                      13:27:21
                                                                                  17   derogatory attitude?                                         13:27:29
                                                                                  18            MR. McMURTRY:    Objection.   Go ahead.             13:27:31
                                                                                  19      A.    I mean, specifically in this instance --            13:27:33
                                                                                  20   I can't -- I can't really understand how any                 13:27:37
                                                                                  21   of -- or how these students would have been                  13:27:40
                                                                                  22   acting in a racially derogatory fashion when                 13:27:44
                                                                                  23   after the Black Hebrew Israelites started to                 13:27:50
                                                                                  24   berate the freshman, that many of them went up to            13:27:54
                                                                                  25   him and hugged him and said we love you.     That to         13:27:59


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                                                                                  1    me seems the very opposite of racism.                          13:28:02
                                                                                  2    BY MR. SIEGEL:                                                 13:28:06
                                                                                  3       Q.       Okay.    And just to make clear, I'm not           13:28:06
                                                                                  4    asking you about every single student in the                   13:28:09
                                                                                  5    crowd, right?       But the ones that we've -- the             13:28:12
                                                                                  6    specific things that we've seen, you know --                   13:28:17
                                                                                  7    we've got two, hell, yeah, we've got one -- we've              13:28:19
                                                                                  8    got one home, he ain't here, would your answer be              13:28:23
                                                                                  9    the same with respect to those specific --                     13:28:29
                                                                                  10      A.       Yes.                                               13:28:33
                                                                                  11               MR. SIEGEL:     Okay.   Let's keep going.          13:28:35
                                                                                  12               MS. MEEK:     Restarting at 1:19:27.               13:28:38
                                                                                  13               (Thereupon, a video recording of Exhibit           13:28:46
                                                                                  14   3 was played.)                                                 13:28:46
                                                                                  15   BY MR. SIEGEL:                                                 13:28:48
                                                                                  16      Q.       It sounds like people are shouting the             13:28:48
                                                                                  17   same name or something that I think Cammeron                   13:28:53
                                                                                  18   referred to before.        Do you recognize what they          13:28:56
                                                                                  19   are shouting?                                                  13:28:58
                                                                                  20      A.       I don't.    I don't, honestly.                     13:28:59
                                                                                  21      Q.       Okay.    Other than Beau, did you know any         13:29:00
                                                                                  22   other African American students at Covington at                13:29:04
                                                                                  23   the time?                                                      13:29:07
                                                                                  24      A.       I believe there was one in the class               13:29:08
                                                                                  25   above me, a senior.        His name was -- I think it          13:29:10


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                                                                                  1    was Mod, but I could be wrong.        I think his first         13:29:13
                                                                                  2    name was Mod.                                                   13:29:19
                                                                                  3               MR. SIEGEL:     Okay.                                13:29:22
                                                                                  4       A.      And I -- I don't remember, though, if                13:29:22
                                                                                  5    that's correct.      I think there is a chance, too,            13:29:24
                                                                                  6    he could have been on the trip, but I am not a                  13:29:26
                                                                                  7    hundred percent certain.                                        13:29:29
                                                                                  8               MR. SIEGEL:     Okay.   Let's keep going.            13:29:31
                                                                                  9               MS. MEEK:     Restarting at 1:19:34.                 13:29:34
                                                                                  10              (Thereupon, a video recording of Exhibit             13:29:39
                                                                                  11   3 was played.)                                                  13:29:39
                                                                                  12              MS. MEEK:     Paused at 1:20.                        13:30:07
                                                                                  13              MR. SIEGEL:     Yeah, just go a frame                13:30:10
                                                                                  14   back -- a couple frames back so we can see who                  13:30:12
                                                                                  15   that person is.                                                 13:30:15
                                                                                  16   BY MR. SIEGEL:                                                  13:30:19
                                                                                  17      Q.      Yeah, the person holding the water                   13:30:19
                                                                                  18   bottle, which he then holds out, do you recognize               13:30:21
                                                                                  19   who that is?                                                    13:30:24
                                                                                  20      A.      No.                                                  13:30:25
                                                                                  21      Q.      Okay.    So, Nick, can -- just sort of               13:30:40
                                                                                  22   walk me through -- I think the last time we left,               13:30:41
                                                                                  23   it was a little bit after the incident.        You are          13:30:44
                                                                                  24   chatting with Mr. Kleier and a few of your                      13:30:46
                                                                                  25   friends.    What happened between that time and the             13:30:50


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                                                                                  1    time you got on the bus?                                        13:30:54
                                                                                  2       A.       Well, after I walked away --                        13:31:00
                                                                                  3                MR. SIEGEL:     Right.                              13:31:02
                                                                                  4       A.       -- I never -- I never -- to the best of             13:31:03
                                                                                  5    my recollection, I never came back over.         Every          13:31:07
                                                                                  6    time I moved further away, I never took a -- I                  13:31:11
                                                                                  7    don't know, I will just say this, retraced my                   13:31:14
                                                                                  8    steps backwards towards where everything                        13:31:17
                                                                                  9    happened.                                                       13:31:19
                                                                                  10               So at this point, I don't know where I              13:31:20
                                                                                  11   am, but I am not within earshot at the volume                   13:31:24
                                                                                  12   that everyone is talking about.         I wouldn't have         13:31:30
                                                                                  13   heard this.                                                     13:31:33
                                                                                  14      Q.       No, okay.     And I'm actually moving on            13:31:34
                                                                                  15   from this.     I'm not -- I'm just asking you to                13:31:36
                                                                                  16   sort of -- just the facts of what -- what -- just               13:31:39
                                                                                  17   tell your best memory of you come down from the                 13:31:45
                                                                                  18   steps, you were chatting with Mr. Kleier and I                  13:31:49
                                                                                  19   think a few of your friends.         And eventually you         13:31:53
                                                                                  20   get on the bus, right?                                          13:31:56
                                                                                  21      A.       Uh-huh.                                             13:31:58
                                                                                  22      Q.       Do you remember what happened in that               13:31:59
                                                                                  23   time?                                                           13:32:00
                                                                                  24      A.       I would have -- if you are looking at               13:32:01
                                                                                  25   the memorial, I would have been off to the left                 13:32:03


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                                                                                  1    side.     And I spent most of that time interacting               13:32:06
                                                                                  2    with various people from my school until the bus                  13:32:09
                                                                                  3    came and I got on it.                                             13:32:13
                                                                                  4                MR. SIEGEL:    Okay.                                  13:32:16
                                                                                  5       A.       All I basically did was have con -- many              13:32:16
                                                                                  6    conversations with a lot of people.                               13:32:23
                                                                                  7       Q.       Did you talk to any of the chaperones                 13:32:25
                                                                                  8    about what had happened?                                          13:32:32
                                                                                  9       A.       I talked to Coach Kleier, or Jake                     13:32:33
                                                                                  10   Kleier.     And then later when we left the memorial              13:32:38
                                                                                  11   and went to the national mall in DC, like the                     13:32:41
                                                                                  12   shopping mall, not the monument mall, I spoke                     13:32:47
                                                                                  13   again with Kleier and Matthew Hansman.                            13:32:51
                                                                                  14      Q.       And -- and do you recall anything about               13:32:56
                                                                                  15   the conversation with them?                                       13:32:57
                                                                                  16      A.       All three of us looked at each other,                 13:32:58
                                                                                  17   kind of laughed, and we were like what just                       13:33:01
                                                                                  18   happened.     Because none of us could really piece               13:33:04
                                                                                  19   together what had just occurred.                                  13:33:07
                                                                                  20      Q.       Okay.    You mentioned before that your               13:33:09
                                                                                  21   phone died.     When did it -- when did you -- so                 13:33:15
                                                                                  22   when was the first time you could use it?                         13:33:21
                                                                                  23      A.       I think around the time I got to the                  13:33:25
                                                                                  24   actual shopping mall or maybe on the bus, I tried                 13:33:31
                                                                                  25   turning it back on again.          Because sometimes when         13:33:36


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                                                                                  1    it dies halfway through, you can get it to come               13:33:39
                                                                                  2    back on.                                                      13:33:42
                                                                                  3               MR. SIEGEL:     Right.                             13:33:42
                                                                                  4       A.      So I first -- I think it was once I                13:33:43
                                                                                  5    boarded the bus to go to the shopping mall, I --              13:33:47
                                                                                  6    I was able to use my phone again.                             13:33:51
                                                                                  7       Q.      Got it.     Explain to me, to go to the            13:33:53
                                                                                  8    shopping mall, what's the shopping mall?                      13:33:58
                                                                                  9       A.      The national shopping mall in DC, the              13:34:00
                                                                                  10   one that's like four or five stories.       And we            13:34:03
                                                                                  11   went there to eat, get some food before we left               13:34:08
                                                                                  12   DC, and then also kind of as one last stop to                 13:34:11
                                                                                  13   walk around and look at stuff and then leave.                 13:34:15
                                                                                  14      Q.      Oh, okay.     So first, you went to that           13:34:19
                                                                                  15   mall, had dinner, I guess?                                    13:34:24
                                                                                  16      A.      Yes.                                               13:34:26
                                                                                  17      Q.      And then you got back on the busses to             13:34:27
                                                                                  18   go home?                                                      13:34:31
                                                                                  19      A.      Correct.                                           13:34:32
                                                                                  20      Q.      And about -- do you recall about when              13:34:32
                                                                                  21   you got home?                                                 13:34:35
                                                                                  22      A.      I got home at around 7 -- 6:50, 7 in the           13:34:36
                                                                                  23   morning.                                                      13:34:44
                                                                                  24      Q.      Okay.     Let's go to -- and I'm not going         13:34:44
                                                                                  25   to ask any questions about the substance of this              13:35:10


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                                                                                  1    because I think it's really for Phase 2, but just              13:35:12
                                                                                  2    to sort of help with the timeline so we know.                  13:35:13
                                                                                  3               When did you first learn that this                  13:35:17
                                                                                  4    incident was out there in some way on social                   13:35:21
                                                                                  5    media or wherever?                                             13:35:26
                                                                                  6       A.      Somewhere -- somewhere between 2 and                13:35:27
                                                                                  7    3 a.m., on the bus back, I got woken up, and                   13:35:30
                                                                                  8    people had found it trending on Twitter.                       13:35:34
                                                                                  9               MR. SIEGEL:    Okay.   Let's go to -- I             13:35:42
                                                                                  10   think I skipped it the last time, but we will                  13:35:44
                                                                                  11   still mark it as Exhibit 8.       And Exhibit 8 is DOC         13:35:47
                                                                                  12   1 and 2.    It's an e-mail that was produced by the            13:36:20
                                                                                  13   diocese.                                                       13:36:24
                                                                                  14      A.      Okay.                                               13:36:25
                                                                                  15      Q.      And is it -- I take it that the FR                  13:36:26
                                                                                  16   Schomaker is for father?                                       13:36:33
                                                                                  17      A.      Yes.                                                13:36:36
                                                                                  18      Q.      Who is Father Schomaker?                            13:36:36
                                                                                  19      A.      He -- I think he was the vicar general              13:36:39
                                                                                  20   at the diocese number two, which is the second in              13:36:43
                                                                                  21   command, basically.                                            13:36:47
                                                                                  22      Q.      Okay.    And did you know him?                      13:36:48
                                                                                  23      A.      I didn't know him personally.     I had             13:36:53
                                                                                  24   seen him a handful of times when the bishop would              13:36:56
                                                                                  25   visit the school or when I would attend church                 13:37:03


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                                                                                  1    and the bishop was presiding.                                  13:37:06
                                                                                  2       Q.       Okay.    And who prepared the words of             13:37:08
                                                                                  3    this e-mail?                                                   13:37:13
                                                                                  4       A.       I believe, to the best of my knowledge,            13:37:13
                                                                                  5    that this was done by Scott Jennings.                          13:37:18
                                                                                  6       Q.       Okay.    And did you review it before it           13:37:25
                                                                                  7    was sent?                                                      13:37:27
                                                                                  8       A.       I believe I did.                                   13:37:28
                                                                                  9       Q.       Okay.    So did you approve what it said?          13:37:30
                                                                                  10      A.       Yes.                                               13:37:34
                                                                                  11      Q.       And did you -- did you actually send it?           13:37:35
                                                                                  12   I mean, it says from Nicholas Sandmann, but did                13:37:40
                                                                                  13   you actually send the e-mail from your account to              13:37:44
                                                                                  14   Father Schomaker?                                              13:37:47
                                                                                  15      A.       I think I did.     I can't remember.               13:37:49
                                                                                  16               MR. SIEGEL:    Okay.   Maybe let's just            13:37:54
                                                                                  17   show him Exhibit 33 now.                                       13:37:59
                                                                                  18   BY MR. SIEGEL:                                                 13:38:19
                                                                                  19      Q.       And I'll -- Exhibit 33 are a series of             13:38:19
                                                                                  20   three e-mails that were produced by RunSwitch in               13:38:21
                                                                                  21   response to a subpoena to them.                                13:38:26
                                                                                  22      A.       Yes.                                               13:38:28
                                                                                  23      Q.       And they appear to me to be -- a lot of            13:38:31
                                                                                  24   the text seems to be similar to the e-mail you                 13:38:38
                                                                                  25   eventually sent.                                               13:38:41


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                                                                                  1                Are these drafts in one form or another?            13:38:43
                                                                                  2       A.       I would not have the knowledge of                   13:38:47
                                                                                  3    whether or not these -- well, in the subject, it                13:38:50
                                                                                  4    does say draft statement.                                       13:38:54
                                                                                  5                MR. SIEGEL:    Right.                               13:38:55
                                                                                  6       A.       So, yes, I would assume they are drafts.            13:38:56
                                                                                  7       Q.       So in what -- and I understand.         The         13:38:59
                                                                                  8    first e-mail is to your dad, right?         That is Ted         13:39:08
                                                                                  9    Sandmann?                                                       13:39:14
                                                                                  10      A.       Correct.                                            13:39:14
                                                                                  11      Q.       The second e-mail is to -- the second               13:39:15
                                                                                  12   e-mail is also to your dad.         And the third               13:39:17
                                                                                  13   e-mail, which is January 22nd, 2019, at 1 a.m.,                 13:39:20
                                                                                  14   is to Todd McMurtry and a couple of other people,               13:39:24
                                                                                  15   I believe, at RunSwitch, Gary Gerdemann and Steve               13:39:24
                                                                                  16   Bryant.                                                         13:39:32
                                                                                  17               Did you -- did you see any of these?                13:39:33
                                                                                  18      A.       I think I did.                                      13:39:34
                                                                                  19      Q.       Okay.    A couple of them -- and, for               13:39:35
                                                                                  20   example, if you go on one of them, the one that                 13:39:42
                                                                                  21   is to Todd, Mr. McMurtry says statement from Nick               13:39:44
                                                                                  22   Sandmann?                                                       13:39:49
                                                                                  23      A.       Yes.                                                13:39:50
                                                                                  24      Q.       Do you know, was this originally                    13:39:51
                                                                                  25   drafted, at least potentially, as another public                13:39:56


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                                                                                  1    statement?                                                     13:39:59
                                                                                  2       A.       No.     I believe this was -- this was a           13:39:59
                                                                                  3    statement that was going to be sent to the                     13:40:04
                                                                                  4    diocese.     This was not prepared to be publicly              13:40:06
                                                                                  5    released.                                                      13:40:15
                                                                                  6       Q.       And why did you want to communicate this           13:40:16
                                                                                  7    to the diocese?                                                13:40:17
                                                                                  8       A.       Actually -- Okay.       Let me rephrase.           13:40:20
                                                                                  9                MR. SIEGEL:     Sure.                              13:40:23
                                                                                  10      A.       Because this will make more sense.                 13:40:23
                                                                                  11               I think we told the diocese that we were           13:40:25
                                                                                  12   going to release this statement in an effort to                13:40:28
                                                                                  13   help ease emotions around the country and --                   13:40:34
                                                                                  14   yeah.                                                          13:40:41
                                                                                  15      Q.       Okay.     But I take it in the end, you            13:40:43
                                                                                  16   didn't release it, at least as a public                        13:40:45
                                                                                  17   statement?                                                     13:40:48
                                                                                  18      A.       Correct.                                           13:40:48
                                                                                  19      Q.       And why was that?                                  13:40:49
                                                                                  20      A.       Because the diocese threatened us and              13:40:50
                                                                                  21   told us that there would be consequences if we                 13:40:55
                                                                                  22   released it.                                                   13:40:57
                                                                                  23      Q.       Okay.     What did they -- did they tell           13:40:59
                                                                                  24   you what the consequences would be?                            13:41:03
                                                                                  25      A.       No.     We had a phone call with my                13:41:05


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                                                                                  1    principal.    He was working very closely with the                   13:41:08
                                                                                  2    bishop.    And he told my mom, please, please just                   13:41:12
                                                                                  3    don't release that statement and bear with us,                       13:41:16
                                                                                  4    trust me, it will not be good for you if you                         13:41:20
                                                                                  5    release it, is the gist of what he said.                             13:41:23
                                                                                  6       Q.      Okay.    And so, how did you ultimately --                13:41:26
                                                                                  7    ultimately, you sent this as an e-mail, right, to                    13:41:41
                                                                                  8    Father Schomaker?                                                    13:41:46
                                                                                  9       A.      Right.     We proposed it to them.        We were         13:41:47
                                                                                  10   trying to even give them a heads-up on what we --                    13:41:49
                                                                                  11   what we were thinking about sending out.                             13:41:53
                                                                                  12      Q.      Okay.    So -- so was the purpose to --                   13:41:56
                                                                                  13   and I see it says the subject, proposal -- so                        13:41:58
                                                                                  14   sort of say, Father, this is what we are                             13:42:00
                                                                                  15   proposing or thinking about releasing?                               13:42:03
                                                                                  16      A.      Yes.                                                      13:42:05
                                                                                  17      Q.      For him to review it?                                     13:42:05
                                                                                  18      A.      Correct.                                                  13:42:07
                                                                                  19      Q.      Okay.    So let's look at the first page,                 13:42:08
                                                                                  20   which is DOC 1, which is I can't help but                            13:42:12
                                                                                  21   think --                                                             13:42:21
                                                                                  22              MR. McMURTRY:     Exhibit 8?                              13:42:22
                                                                                  23              MR. SIEGEL:     I'm sorry.     What?                      13:42:24
                                                                                  24              MR. McMURTRY:     Exhibit 8?                              13:42:25
                                                                                  25              MR. SIEGEL:     Exhibit 8, yes.        It's the           13:42:28


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                                                                                  1    page marked DOC 1.                                           13:42:29
                                                                                  2    BY MR. SIEGEL:                                               13:42:30
                                                                                  3       Q.     Go down to -- I guess it's the next to             13:42:30
                                                                                  4    last paragraph, the one that says I can't help.              13:42:33
                                                                                  5    Why don't you just read that to yourself for a               13:42:36
                                                                                  6    second?                                                      13:42:39
                                                                                  7              THE WITNESS:    Okay.                              13:42:51
                                                                                  8       Q.     Okay.    And then I'm going to ask you to          13:42:52
                                                                                  9    go to DOC 2, where it says -- read through the               13:42:55
                                                                                  10   paragraph that says -- including the paragraph               13:43:05
                                                                                  11   that starts so I have made a proposal to the                 13:43:07
                                                                                  12   bishop.                                                      13:43:11
                                                                                  13             THE WITNESS:    Okay.                              13:43:12
                                                                                  14      Q.     Okay.    So in the paragraph that says I           13:43:33
                                                                                  15   have made a proposal to the bishop and Principal             13:43:35
                                                                                  16   Roe, you say we need to discuss and learn from               13:43:37
                                                                                  17   people about many things, the first one is race              13:43:40
                                                                                  18   issues.                                                      13:43:50
                                                                                  19             What did you think there was the need to           13:43:51
                                                                                  20   discuss and learn about race issues?                         13:43:53
                                                                                  21      A.     Well, I think clearly from the video,              13:43:55
                                                                                  22   the Black Hebrew Israelites and members in Nathan            13:43:58
                                                                                  23   Phillips' group, such as the man in the red cap,             13:44:02
                                                                                  24   were angry at us at different points and made                13:44:07
                                                                                  25   generalizations about what white people have                 13:44:10


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                                                                                  1    done.                                                        13:44:14
                                                                                  2             So that's -- it seems that there was --             13:44:15
                                                                                  3    there seemed to be, on the part of both some                 13:44:19
                                                                                  4    people associated with Phillips and the Black                13:44:22
                                                                                  5    Hebrew Israelites, there seemed to be some                   13:44:25
                                                                                  6    apparent race tensions that they were bringing               13:44:30
                                                                                  7    into the situation.                                          13:44:34
                                                                                  8       Q.    Did you think that you -- and by mean --            13:44:40
                                                                                  9    well, you can answer both, you personally --                 13:44:46
                                                                                  10   strike that.     I will ask it first that way.               13:44:52
                                                                                  11            Did you think that you needed to discuss            13:44:55
                                                                                  12   and learn from people about race issues?                     13:44:57
                                                                                  13      A.    I think it's always helpful to learn new            13:44:59
                                                                                  14   things, especially, you know -- I would say race             13:45:03
                                                                                  15   is an important topic.     And whether or not we             13:45:08
                                                                                  16   would learn things that I agree or disagree with             13:45:14
                                                                                  17   is kind of irrelevant because it would be more               13:45:18
                                                                                  18   knowledge.     And while I could have disagreed with         13:45:21
                                                                                  19   the Black Hebrew Israelites and how they look at             13:45:25
                                                                                  20   race, I would have at least been knowledgeable of            13:45:28
                                                                                  21   what they were talking about.                                13:45:33
                                                                                  22      Q.    Okay.     Did you think that -- who is the          13:45:35
                                                                                  23   we that you referred to?     I mean, it looks                13:45:37
                                                                                  24   like -- you talk about -- you say:     I think Cov           13:45:40
                                                                                  25   Cath should hold a day-long town meeting and a               13:45:44


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                                                                                  1    series of workshops with students, parents and              13:45:46
                                                                                  2    other people to discuss all that has happened and           13:45:46
                                                                                  3    how we can learn from it.                                   13:45:49
                                                                                  4             Right?                                             13:45:50
                                                                                  5       A.    Right.                                             13:45:51
                                                                                  6       Q.    Use this moment to be better men and               13:45:51
                                                                                  7    better Christians.                                          13:45:54
                                                                                  8             So is the we the students, parents and             13:45:55
                                                                                  9    other people?     Is that who you are referring to?         13:45:58
                                                                                  10      A.    Yes.                                               13:46:00
                                                                                  11      Q.    Okay.     So did you think that the                13:46:00
                                                                                  12   students, parents and other people, that there              13:46:02
                                                                                  13   was anything about this event that could educate            13:46:05
                                                                                  14   them in some way about race issues?                         13:46:13
                                                                                  15      A.    I mean, it's the same answer I had                 13:46:15
                                                                                  16   before, that, you know, it would -- it would be             13:46:18
                                                                                  17   an opportunity for everyone to have a little more           13:46:21
                                                                                  18   knowledge, which can't hurt.                                13:46:25
                                                                                  19      Q.    Okay.     Did you think that there was a           13:46:26
                                                                                  20   need -- did you think that there was anything --            13:46:29
                                                                                  21   any need to explore your own attitudes about                13:46:33
                                                                                  22   race?                                                       13:46:40
                                                                                  23            MR. McMURTRY:     Objection.                       13:46:40
                                                                                  24      A.    I don't believe that I have any unfair             13:46:42
                                                                                  25   attitude about race.     So I would say no.                 13:46:45


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                                                                                  1    BY MR. SIEGEL:                                                   13:46:48
                                                                                  2          Q.   Okay.    And is the answer the same for               13:46:48
                                                                                  3    the students, parents and other people you were                  13:46:51
                                                                                  4    referring to?                                                    13:46:54
                                                                                  5          A.   I'm not sure.     I mean . . .                        13:46:54
                                                                                  6          Q.   Okay.    Towards the end you say -- you               13:47:00
                                                                                  7    also refer to how to understand people from                      13:47:07
                                                                                  8    different cultures.                                              13:47:10
                                                                                  9          A.   Right.                                                13:47:12
                                                                                  10         Q.   What did you think there was to -- why                13:47:12
                                                                                  11   did you include that in the list?                                13:47:15
                                                                                  12         A.   Well, as I had said, when -- when Nathan              13:47:17
                                                                                  13   Phillips approached me, and something I will                     13:47:21
                                                                                  14   honestly admit is I didn't know what the purpose                 13:47:26
                                                                                  15   of the drum was.      He claims it was a prayer.     And         13:47:29
                                                                                  16   it could have been helpful to know that                          13:47:37
                                                                                  17   beforehand.     So certain -- certain things like                13:47:39
                                                                                  18   that, things that I am not familiar with, it                     13:47:43
                                                                                  19   never hurts to learn.                                            13:47:46
                                                                                  20              MR. SIEGEL:     Okay.    Let's go to Exhibit          13:47:49
                                                                                  21   34.                                                              13:48:03
                                                                                  22              MR. McMURTRY:     34.                                 13:48:19
                                                                                  23              MR. SIEGEL:     Take a moment to read it,             13:48:39
                                                                                  24   Nick.                                                            13:48:41
                                                                                  25              THE WITNESS:     Okay.                                13:48:41


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                                                                                  1    BY MR. SIEGEL:                                                      13:49:14
                                                                                  2       Q.       Do you know what this e-mail is?                        13:49:14
                                                                                  3       A.       It's an e-mail from my dad to Father                    13:49:16
                                                                                  4    Schomaker.                                                          13:49:19
                                                                                  5       Q.       Right.     Yes.    Okay.   Do you -- have you           13:49:23
                                                                                  6    ever seen it before?                                                13:49:24
                                                                                  7       A.       Yes.                                                    13:49:25
                                                                                  8       Q.       When did you see it?                                    13:49:26
                                                                                  9       A.       I think before it was sent -- or after.                 13:49:27
                                                                                  10      Q.       Okay.     And so can you explain what the               13:49:31
                                                                                  11   context of this e-mail is?                                          13:49:35
                                                                                  12      A.       This is kind of like an introduction                    13:49:36
                                                                                  13   before the e-mail is sent -- was sent to Father                     13:49:41
                                                                                  14   Dan with the actual proposal, which is why the                      13:49:46
                                                                                  15   first sentence says:          Please see below what I               13:49:51
                                                                                  16   think the bishop's response would be to the next                    13:49:54
                                                                                  17   proposal.                                                           13:49:58
                                                                                  18      Q.       Okay.     So is this -- is this essentially             13:49:59
                                                                                  19   a proposal for what the bishop should do in                         13:50:02
                                                                                  20   response to your statement?                                         13:50:08
                                                                                  21      A.       I think there's a correction that needs                 13:50:09
                                                                                  22   to be made.        It was -- I had sent the proposal.               13:50:12
                                                                                  23   They responded.        They responded negatively.       And         13:50:16
                                                                                  24   this is an e-mail from my dad trying to get them                    13:50:20
                                                                                  25   to think twice about rejecting my idea.                             13:50:24


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                                                                                  1       Q.       Okay.    And your dad writes:     Hello,           13:50:27
                                                                                  2    Father Dan, please see below what I think the                  13:50:39
                                                                                  3    bishop's response should be to Nick's proposal.                13:50:43
                                                                                  4                Right?                                             13:50:45
                                                                                  5                Please review and let us know your                 13:50:46
                                                                                  6    thoughts.                                                      13:50:48
                                                                                  7                So is the -- and then the e-mail -- the            13:50:50
                                                                                  8    rest of it is written like in the first person,                13:50:55
                                                                                  9    right?   I began to gain lots of information --                13:50:58
                                                                                  10      A.       Right.                                             13:51:02
                                                                                  11      Q.       So was this essentially a suggestion               13:51:03
                                                                                  12   that your dad was making for what he thought the               13:51:05
                                                                                  13   bishop should say or the bishop should issue in                13:51:08
                                                                                  14   response to your proposal?                                     13:51:14
                                                                                  15      A.       I believe so.                                      13:51:16
                                                                                  16               MR. SIEGEL:     Okay.                              13:51:24
                                                                                  17      A.       But I -- to me, that is what it says.              13:51:24
                                                                                  18   But I'm really not the person to ask.                          13:51:26
                                                                                  19      Q.       And I get that.     And I -- so -- so --           13:51:29
                                                                                  20   and -- and for that reason, I'm -- there is just               13:51:32
                                                                                  21   one thing I want to ask you about.                             13:51:35
                                                                                  22               If you go down to the third paragraph,             13:51:37
                                                                                  23   the one that says -- starts, my heart was full                 13:51:41
                                                                                  24   today, and it -- about the second sentence from                13:51:47
                                                                                  25   the bottom says:       I was uncomfortable.                    13:51:51


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                                                                                  1                Do you see that one?     I was                      13:51:53
                                                                                  2    uncomfortable with what I saw all around?                       13:51:55
                                                                                  3       A.       Yes.                                                13:51:58
                                                                                  4       Q.       Including some of the behavior from our             13:51:58
                                                                                  5    students.     I understand there are explanations               13:52:00
                                                                                  6    for this behavior, but I want our kids to know                  13:52:04
                                                                                  7    how things can be perceived even if you don't                   13:52:06
                                                                                  8    mean any disrespect?                                            13:52:10
                                                                                  9       A.       Sure.                                               13:52:11
                                                                                  10      Q.       Do you have any understanding of why                13:52:12
                                                                                  11   your dad proposed that the bishop say that?                     13:52:14
                                                                                  12      A.       I think my dad -- excuse me.     I think my         13:52:17
                                                                                  13   dad inserted that sentence that the bishop was                  13:52:22
                                                                                  14   uncomfortable at our behavior not as an admission               13:52:27
                                                                                  15   that our behavior was something to be                           13:52:32
                                                                                  16   uncomfortable about but because the diocese had                 13:52:35
                                                                                  17   already released a statement saying that we went                13:52:40
                                                                                  18   against the church's teachings on the dignity of                13:52:44
                                                                                  19   a human person.        So it would have been awkward            13:52:50
                                                                                  20   for the bishop to be like, I thought the                        13:52:54
                                                                                  21   students' behavior was fine, because that would                 13:52:56
                                                                                  22   be a complete flip-flop on what they had rushed                 13:52:59
                                                                                  23   to put out.        So I think that sentence is in there         13:53:03
                                                                                  24   to kind of give him an option to tone it down and               13:53:06
                                                                                  25   walk it back a little bit.                                      13:53:09


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                                                                                  1       Q.    Okay.    And so the -- that -- did your            13:53:11
                                                                                  2    dad ever express to you that he was uncomfortable           13:53:20
                                                                                  3    with some of the behavior from the students?                13:53:24
                                                                                  4       A.    He has only ever expressed the opposite,           13:53:28
                                                                                  5    that my behavior was well within what it should             13:53:33
                                                                                  6    have been.                                                  13:53:36
                                                                                  7       Q.    And just to be clear, I'm not asking you           13:53:37
                                                                                  8    about -- I'm not now going to ask you about your            13:53:39
                                                                                  9    father's view of your behavior.    Did he ever say          13:53:44
                                                                                  10   he was uncomfortable with the behavior of any of            13:53:47
                                                                                  11   the other students?                                         13:53:50
                                                                                  12      A.    I don't believe he ever has.                       13:53:51
                                                                                  13      Q.    Okay.    Let's go back to Exhibit 20,              13:53:53
                                                                                  14   which is your first public statement.                       13:54:15
                                                                                  15            And, Nick, who -- who prepared -- tell             13:54:30
                                                                                  16   us about the process of drafting this statement.            13:54:31
                                                                                  17      A.    This statement was done in -- together             13:54:35
                                                                                  18   with RunSwitch, specifically Scott Jennings.                13:54:43
                                                                                  19            MR. SIEGEL:    Uh-huh.                             13:54:48
                                                                                  20      A.    But the process where he was on the                13:54:50
                                                                                  21   phone, over the phone -- and -- but I -- I spoke            13:54:52
                                                                                  22   into the phone as he typed in.    Pretty much all           13:54:59
                                                                                  23   he did was type what I said and just made sure              13:55:05
                                                                                  24   the grammar and everything was correct so that it           13:55:09
                                                                                  25   looked clean and official.    But, I mean, he               13:55:14


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                                                                                  1    basically just wrote what I said for the most                  13:55:19
                                                                                  2    part.                                                          13:55:21
                                                                                  3       Q.       Okay.    Did your parents have any                 13:55:23
                                                                                  4    involvement in -- in the --                                    13:55:28
                                                                                  5       A.       My parents were in the room, but they              13:55:31
                                                                                  6    didn't have much of anything to really add                     13:55:34
                                                                                  7    because they were not in DC for the March For                  13:55:39
                                                                                  8    Life.                                                          13:55:52
                                                                                  9       Q.       So if we go down to the second page,               13:55:53
                                                                                  10   which is NS 103, the person that says:       I cannot          13:56:00
                                                                                  11   speak for everyone, only for myself, but I can                 13:56:14
                                                                                  12   tell you my experience with Covington Catholic is              13:56:17
                                                                                  13   that students are respectful of all races and                  13:56:19
                                                                                  14   cultures.     We also support everyone's right to              13:56:22
                                                                                  15   free speech.                                                   13:56:25
                                                                                  16               Then you say:    I'm not going to comment          13:56:27
                                                                                  17   on the words or account of Mr. Phillips, as I                  13:56:29
                                                                                  18   don't know him and would not presume to know what              13:56:31
                                                                                  19   is in his heart or mind.                                       13:56:34
                                                                                  20               Why did you say that?                              13:56:37
                                                                                  21      A.       I think just at that point, I still was            13:56:39
                                                                                  22   unaware of Mr. Phillips' intentions and hadn't                 13:56:48
                                                                                  23   seen his comments on what he was trying to do.                 13:56:52
                                                                                  24      Q.       And when did you see those?                        13:56:58
                                                                                  25      A.       I guess on the days after this, where --           13:57:02


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                                                                                  1    I don't have the count on how many interviews he                13:57:06
                                                                                  2    did, but it was probably seven or eight.                        13:57:09
                                                                                  3       Q.     Okay.    And you write:     Nor am I going to         13:57:12
                                                                                  4    comment further on the other protestors, since I                13:57:30
                                                                                  5    don't know their hearts or minds either.                        13:57:33
                                                                                  6              Do you think you now know what is in                  13:57:35
                                                                                  7    their hearts and minds, or what's not in their                  13:57:38
                                                                                  8    hearts or minds?                                                13:57:40
                                                                                  9              MR. McMURTRY:     Objection.                          13:57:40
                                                                                  10      A.     Oh, yes.                                              13:57:41
                                                                                  11   BY MR. SIEGEL:                                                  13:57:41
                                                                                  12      Q.     Or you believe -- you perceive what you               13:57:41
                                                                                  13   think is in their hearts and minds, right?                      13:57:44
                                                                                  14      A.     Right.                                                13:57:47
                                                                                  15             MR. SIEGEL:     Okay.    Let's put on -- I'm          13:58:26
                                                                                  16   going to show you a clip from your NBC interview.               13:58:29
                                                                                  17             MS. MEEK:     Nathan, can we take a quick             13:58:35
                                                                                  18   break?                                                          13:58:37
                                                                                  19             MR. SIEGEL:     What?                                 13:58:38
                                                                                  20             MS. MEEK:     Can we take a quick break?              13:58:39
                                                                                  21             MR. SIEGEL:     Sure.                                 13:58:42
                                                                                  22             MR. McMURTRY:     He is used to me asking             13:58:42
                                                                                  23   for a break.                                                    13:58:44
                                                                                  24             THE VIDEOGRAPHER:       We are going off the          13:58:44
                                                                                  25   record.   The time is 1:58 p.m.                                 13:58:46


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                                                                                  1              (Thereupon, there was a recess taken at            13:58:50
                                                                                  2    1:58 p.m.)                                                   13:58:50
                                                                                  3              (Thereupon, the proceedings were resumed           14:14:35
                                                                                  4    at 2:15 p.m.)                                                14:14:35
                                                                                  5              THE VIDEOGRAPHER:    We are back on the            14:14:37
                                                                                  6    record.   The time is now 2:15 p.m.                          14:14:59
                                                                                  7    BY MR. SIEGEL:                                               14:15:04
                                                                                  8       Q.     Okay.    So, Nick, I think that your --            14:15:04
                                                                                  9    your interview with Savannah Guthrie was                     14:15:08
                                                                                  10   broadcast on January 23rd.     When did you actually         14:15:12
                                                                                  11   do it?                                                       14:15:18
                                                                                  12      A.     Let's see.    That would have been, I'm            14:15:21
                                                                                  13   guessing, maybe the 22nd.     The timeline is a              14:15:28
                                                                                  14   little -- a little out of order in my head, but I            14:15:34
                                                                                  15   was -- I think it was the 22nd because it would              14:15:38
                                                                                  16   have been immediately put up the next day.                   14:15:44
                                                                                  17      Q.     Right.    And -- and where was the                 14:15:46
                                                                                  18   interview conducted?                                         14:15:49
                                                                                  19      A.     In a hotel in northern Kentucky.                   14:15:50
                                                                                  20      Q.     Okay.    And do you recall roughly what            14:15:54
                                                                                  21   part of the day it was on the 22nd?                          14:15:56
                                                                                  22      A.     I think it was early -- or somewhere in            14:15:59
                                                                                  23   between breakfast and lunch, like in the first               14:16:06
                                                                                  24   half of the day.                                             14:16:09
                                                                                  25      Q.     Okay.    So your recollection is you did           14:16:09


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                                                                                  1    the interview the first half of the day, and then             14:16:11
                                                                                  2    it was the next day it was on television.      Is             14:16:15
                                                                                  3    that right?                                                   14:16:18
                                                                                  4       A.     Yes.    Actually -- see, now, it could              14:16:18
                                                                                  5    have been in -- it could have been in the                     14:16:20
                                                                                  6    afternoon, too.     I think -- I don't know.                  14:16:23
                                                                                  7              MR. SIEGEL:     Okay.                               14:16:26
                                                                                  8       A.     I know it was daytime.                              14:16:26
                                                                                  9       Q.     I'm sure that's a -- that's a fact that             14:16:32
                                                                                  10   could be established easily.                                  14:16:35
                                                                                  11             So -- okay.     So let's put a clip up from         14:16:39
                                                                                  12   that interview.                                               14:16:43
                                                                                  13             MS. MEEK:     This is Exhibit 5 starting at         14:16:48
                                                                                  14   20 minutes and 8 seconds.                                     14:16:51
                                                                                  15             (Thereupon, a video recording of Exhibit            14:16:55
                                                                                  16   5 was played.)                                                14:16:55
                                                                                  17   BY MR. SIEGEL:                                                14:17:44
                                                                                  18      Q.     Okay.    So -- so you did this interview a          14:17:44
                                                                                  19   couple of days after that public statement was                14:17:48
                                                                                  20   issued, right?     But by that point, had you seen            14:17:51
                                                                                  21   some of the interviews that Mr. Phillips had                  14:17:56
                                                                                  22   done?                                                         14:18:01
                                                                                  23      A.     I had seen bits and pieces.     I honestly          14:18:01
                                                                                  24   did -- I tried to stay away from it as much as I              14:18:07
                                                                                  25   could.   And a lot of the -- I mean, kind of no               14:18:12


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                                                                                  1    matter what, I was in a way glued to the TV,                   14:18:18
                                                                                  2    watching what was being said about me.       But most          14:18:22
                                                                                  3    of what I watched was coverage done by like news               14:18:25
                                                                                  4    anchors, and I didn't see too much of what he                  14:18:29
                                                                                  5    actually said.                                                 14:18:32
                                                                                  6       Q.       Okay.    So is it your testimony that              14:18:33
                                                                                  7    whenever this was, morning or afternoon of                     14:18:36
                                                                                  8    January 22nd, you were not aware of what                       14:18:38
                                                                                  9    Mr. Phillips had said publicly about the                       14:18:43
                                                                                  10   incident?                                                      14:18:46
                                                                                  11      A.       I -- the only thing I knew was bits and            14:18:46
                                                                                  12   pieces.     I had not listened to every word he                14:18:50
                                                                                  13   said.                                                          14:18:53
                                                                                  14      Q.       Okay.    So do you still agree with the            14:18:54
                                                                                  15   sentiments that you expressed in the interview?                14:19:05
                                                                                  16      A.       No.                                                14:19:08
                                                                                  17      Q.       And when did you no longer feel that               14:19:09
                                                                                  18   way?                                                           14:19:12
                                                                                  19      A.       As soon as the information came out.               14:19:14
                                                                                  20   Like in the video I thanked him for his military               14:19:18
                                                                                  21   service.     But he was dishonorably discharged.               14:19:22
                                                                                  22   And I then found content on the Internet that --               14:19:31
                                                                                  23   where he falsely claims that he was actually in                14:19:34
                                                                                  24   Vietnam in the country.       And I have family                14:19:38
                                                                                  25   members that actually served during that war; and              14:19:43


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                                                                                  1    meanwhile, he sat in the States, went AWOL, and             14:19:46
                                                                                  2    then lied and said that he actually fought.                 14:19:52
                                                                                  3             Furthermore than that, he gave                     14:19:57
                                                                                  4    interviews in which he constantly contradicts               14:20:00
                                                                                  5    himself on things like he wants me expelled, that           14:20:05
                                                                                  6    he doesn't think I should be punished, he might             14:20:10
                                                                                  7    want me suspended.    He was very here and there on         14:20:13
                                                                                  8    what he thought should happen to me.                        14:20:17
                                                                                  9             He made up a false claim that I was                14:20:20
                                                                                  10   trying to steal his narrative of the events that            14:20:22
                                                                                  11   actually happened, basically calling me                     14:20:26
                                                                                  12   untruthful.    And he also was not consistent on            14:20:29
                                                                                  13   what he was trying to do.                                   14:20:42
                                                                                  14            At one point, he claims that he was                14:20:44
                                                                                  15   trying to stop a fight between us and the Black             14:20:46
                                                                                  16   Hebrew Israelites.    And then at a different               14:20:49
                                                                                  17   point, he claims that he was actually trying to             14:20:53
                                                                                  18   do a prayer that went up to the Lincoln Memorial,           14:20:56
                                                                                  19   which kind of contradicts itself on which one was           14:21:01
                                                                                  20   he actually doing, was he trying to stop a fight            14:21:05
                                                                                  21   or was he trying to have this journeying prayer             14:21:09
                                                                                  22   up to the Lincoln Memorial?                                 14:21:16
                                                                                  23            Everything that he said, he just turned            14:21:19
                                                                                  24   out to not be a very truthful person.     And he            14:21:24
                                                                                  25   does not have my respect.                                   14:21:30


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                                                                                  1       Q.      Okay.    And your testimony is that you            14:21:32
                                                                                  2    came to learn all of that after your interview                14:21:37
                                                                                  3    with Ms. Guthrie?                                             14:21:40
                                                                                  4               MR. McMURTRY:     Objection.                       14:21:41
                                                                                  5       A.      That's correct.     I -- the more -- more          14:21:42
                                                                                  6    of what I got, I gained a lot of that knowledge               14:21:47
                                                                                  7    during the summer when I worked in my counsel's               14:21:51
                                                                                  8    office.    I reviewed those videos.                           14:21:57
                                                                                  9    BY MR. SIEGEL:                                                14:22:03
                                                                                  10      Q.      Okay.    At that point, you had already            14:22:03
                                                                                  11   filed lawsuits, right?                                        14:22:08
                                                                                  12      A.      Correct.                                           14:22:11
                                                                                  13      Q.      Okay.    So are you saying you didn't have         14:22:13
                                                                                  14   that knowledge at the time you filed both -- the              14:22:16
                                                                                  15   lawsuits were filed on your behalf?                           14:22:19
                                                                                  16      A.      No, I did.    I'm saying that that's kind          14:22:20
                                                                                  17   of the timeline I most accurately dived into all              14:22:25
                                                                                  18   of this.    But I -- I listened to more of what he            14:22:29
                                                                                  19   had to say after this interview.                              14:22:32
                                                                                  20      Q.      Okay.    You testified that Mr. Phillips           14:22:34
                                                                                  21   was dishonorably discharged?                                  14:22:39
                                                                                  22      A.      Yes.                                               14:22:44
                                                                                  23      Q.      What's the basis of that?                          14:22:44
                                                                                  24      A.      I think there are records that say that            14:22:48
                                                                                  25   he went AWOL and he was dishonorably discharged.              14:22:50


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                                                                                  1       Q.    Okay.     So what record are you aware of             14:22:55
                                                                                  2    that said he was dishonorably discharged?                      14:22:57
                                                                                  3       A.    I don't know the name of the record.        I         14:23:01
                                                                                  4    can't cite that specifically, but I am pretty                  14:23:03
                                                                                  5    sure that that did happen.                                     14:23:08
                                                                                  6       Q.    And where did you see that?                           14:23:09
                                                                                  7       A.    I saw it somewhere online that said that              14:23:13
                                                                                  8    he was a refrigerator mechanic and that he never               14:23:16
                                                                                  9    left the United States, went AWOL, and then was                14:23:21
                                                                                  10   discharged dishonorably.                                       14:23:24
                                                                                  11      Q.    Okay.     But you are not sure what the               14:23:27
                                                                                  12   source is of that that you saw on line?                        14:23:29
                                                                                  13      A.    No.     I believe that in part it came from           14:23:33
                                                                                  14   a veteran that specializes in calling people out               14:23:36
                                                                                  15   for stolen valor; although, I could be wrong                   14:23:40
                                                                                  16   about that.    That's where I seem to remember it              14:23:47
                                                                                  17   coming from.                                                   14:23:51
                                                                                  18      Q.    And other than that, is there any other               14:23:52
                                                                                  19   information that you have of the basis of saying               14:23:54
                                                                                  20   that Mr. Phillips was dishonorably discharged?                 14:23:57
                                                                                  21      A.    I think when it was discovered, there                 14:24:00
                                                                                  22   might -- may have been some other sources, people              14:24:04
                                                                                  23   that do the same sort of thing or people that                  14:24:06
                                                                                  24   researched it themselves and corroborated it.                  14:24:08
                                                                                  25      Q.    And where, what sources are you talking               14:24:12


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                                                                                  1    about?                                                       14:24:16
                                                                                  2       A.     Again, I can't specifically remember the           14:24:16
                                                                                  3    names of these people.     This was two years ago.           14:24:18
                                                                                  4       Q.     Has anybody ever provided you directly             14:24:21
                                                                                  5    with that information?                                       14:24:24
                                                                                  6       A.     It's -- I believe now that that                    14:24:26
                                                                                  7    information has been found available publicly                14:24:30
                                                                                  8    online.                                                      14:24:33
                                                                                  9       Q.     I understand that.    But what I'm saying,         14:24:34
                                                                                  10   and setting aside what the information may or may            14:24:37
                                                                                  11   not contain, but other than accessing it,                    14:24:40
                                                                                  12   accessing whatever sources were online, has                  14:24:43
                                                                                  13   anyone ever directly communicated with you to                14:24:48
                                                                                  14   provide you any information about Mr. Phillips'              14:24:50
                                                                                  15   military service?                                            14:24:53
                                                                                  16      A.     No.                                                14:24:54
                                                                                  17      Q.     Okay.    You testified that Mr. Phillips           14:24:56
                                                                                  18   at one point accused you of trying to steal his              14:25:00
                                                                                  19   narrative?                                                   14:25:04
                                                                                  20      A.     Yes.                                               14:25:05
                                                                                  21      Q.     What are you referring to?                         14:25:05
                                                                                  22      A.     In one of his television interviews, he            14:25:07
                                                                                  23   remarked that I was trying to steal his narrative            14:25:12
                                                                                  24   of when I -- when I claim that I was trying to               14:25:17
                                                                                  25   keep the situation as toned down as possible and             14:25:23


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                                                                                  1    calm.                                                        14:25:27
                                                                                  2       Q.     Okay.    And you referred to what you said         14:25:28
                                                                                  3    are statements by Mr. Phillips to the effect that            14:25:37
                                                                                  4    he was trying to stop a fight or a potential                 14:25:40
                                                                                  5    fight?                                                       14:25:43
                                                                                  6       A.     Right.                                             14:25:43
                                                                                  7       Q.     And statements or a statement about                14:25:44
                                                                                  8    finishing a prayer?                                          14:25:47
                                                                                  9       A.     Right.                                             14:25:48
                                                                                  10      Q.     Do you know where he made -- are there a           14:25:48
                                                                                  11   specific interview or source that you have in                14:25:57
                                                                                  12   your mind when you are saying that?                          14:25:59
                                                                                  13      A.     I know that in separate interviews that            14:26:01
                                                                                  14   he claims that he was trying to interrupt a fight            14:26:04
                                                                                  15   that he saw about to break out between us and the            14:26:09
                                                                                  16   Black Hebrew Israelites.     And then in a different         14:26:12
                                                                                  17   interview, he claims that he was trying to get up            14:26:16
                                                                                  18   to the top of the Lincoln Memorial to finish his             14:26:20
                                                                                  19   prayer.   He gives two different reasons for why             14:26:23
                                                                                  20   he was doing what he was doing.                              14:26:29
                                                                                  21      Q.     Okay.    And do you have any understanding         14:26:30
                                                                                  22   that Mr. Phillips says, in substance, that                   14:26:33
                                                                                  23   initially he approached the students in order to             14:26:37
                                                                                  24   diffuse the situation; and then at that point,               14:26:40
                                                                                  25   he, you know, once he got there, decided that he             14:26:46


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                                                                                  1    wanted to exit and go to the Lincoln Memorial?                   14:26:51
                                                                                  2       A.     I mean, I don't think that we are really               14:26:55
                                                                                  3    here to debate what he was doing.      But in my                 14:26:59
                                                                                  4    mind --                                                          14:27:03
                                                                                  5       Q.     I'm not debating what he was doing.        I'm         14:27:03
                                                                                  6    just -- what he said, your understanding of what                 14:27:06
                                                                                  7    he was saying.                                                   14:27:09
                                                                                  8       A.     In my mind, he began playing the drum                  14:27:10
                                                                                  9    before he got there, and so then -- and again, I                 14:27:14
                                                                                  10   don't really have any understanding of how                       14:27:17
                                                                                  11   prayers and drums, how that -- that works.         But           14:27:20
                                                                                  12   to me, if his -- his drum and his chanting were a                14:27:25
                                                                                  13   prayer, then he started that before he got to us.                14:27:30
                                                                                  14   So he was either praying on his way there and                    14:27:33
                                                                                  15   when he was there and trying to get up to the                    14:27:37
                                                                                  16   Lincoln Memorial or he was trying to stop a                      14:27:40
                                                                                  17   fight, at least in the way I look at it.                         14:27:43
                                                                                  18      Q.     Okay.    You said that you saw something               14:27:45
                                                                                  19   online of Mr. Phillips saying to the effect of                   14:28:01
                                                                                  20   that he had served in Vietnam?                                   14:28:06
                                                                                  21      A.     Yes.                                                   14:28:08
                                                                                  22      Q.     What are you referring to?                             14:28:08
                                                                                  23      A.     There was a video on I believe YouTube                 14:28:10
                                                                                  24   where Mr. Phillips describes what it was like                    14:28:13
                                                                                  25   when he got off the plane returning home from                    14:28:18


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                                                                                  1    Vietnam and that a woman spit on him, which I do               14:28:22
                                                                                  2    not think is factually correct.                                14:28:28
                                                                                  3                I don't think he has ever been to                  14:28:30
                                                                                  4    Vietnam, and yet claims that he returned and was               14:28:32
                                                                                  5    treated -- treated meanly and demeaningly by                   14:28:42
                                                                                  6    anti-war protestors.                                           14:28:46
                                                                                  7       Q.       Okay.    And so do you -- you believe -- I         14:28:49
                                                                                  8    assume you don't know what happened back in the                14:28:52
                                                                                  9    1970s.   But do you disbelieve him when he makes               14:28:55
                                                                                  10   the statement attributed to a woman spit on him?               14:29:01
                                                                                  11   Do you disbelieve that?                                        14:29:05
                                                                                  12      A.       I mean, I guess it's possible that he's            14:29:06
                                                                                  13   been spit on in his life.       But based off the              14:29:09
                                                                                  14   sources that have claimed that he has never left               14:29:13
                                                                                  15   the country during his time in the military, I                 14:29:16
                                                                                  16   don't see how it was possible that these specific              14:29:20
                                                                                  17   chain of events, where he got off a plane, was                 14:29:24
                                                                                  18   confronted by protestors and spit on, is                       14:29:28
                                                                                  19   accurate.                                                      14:29:31
                                                                                  20      Q.       Okay.    Is there anything else about              14:29:31
                                                                                  21   Nathan Phillips' past -- and by past, I mean                   14:29:34
                                                                                  22   anything that happened before January 18th, 2019,              14:29:38
                                                                                  23   right, that you -- and that you haven't already                14:29:42
                                                                                  24   discussed -- that you think speaks to his                      14:29:47
                                                                                  25   credibility?                                                   14:29:50


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                                                                                  1       A.    Not off the top of my head, no.    I can't         14:29:53
                                                                                  2    think of anything else.                                     14:29:57
                                                                                  3       Q.    Okay.    And other than what you testified         14:29:58
                                                                                  4    to-since the event, and other than what you                 14:30:08
                                                                                  5    testified to, is there -- strike that question.             14:30:15
                                                                                  6             Is there -- do you have any                        14:30:21
                                                                                  7    information -- and I'm not talking about like               14:30:21
                                                                                  8    interviews he gave about this incident.    Okay?            14:30:24
                                                                                  9    We've already talked about that.    But other than          14:30:27
                                                                                  10   that, do you have any information about anything            14:30:30
                                                                                  11   Nathan Phillips has been up to since the incident           14:30:36
                                                                                  12   and the coverage of the incident?                           14:30:40
                                                                                  13      A.    Since I testified earlier, there -- and            14:30:42
                                                                                  14   it's actually -- the video is my pinned tweet on            14:30:47
                                                                                  15   my Twitter account that shows Nathan Phillips at            14:30:52
                                                                                  16   a rally somewhere and a girl goes up to him and             14:30:57
                                                                                  17   asks him about Cov Cath and what he did and he              14:31:00
                                                                                  18   proceeds to basically run away.                             14:31:05
                                                                                  19      Q.    And what is -- what is the significance            14:31:11
                                                                                  20   of that to you?                                             14:31:15
                                                                                  21      A.    Well, I don't think it speaks to his               14:31:17
                                                                                  22   veracity for truthfulness or -- like we were                14:31:23
                                                                                  23   talking about earlier.    But the significance of           14:31:26
                                                                                  24   it to me, and why it is pinned to the top of my             14:31:31
                                                                                  25   Twitter account, is because just in the same way,           14:31:36


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                                                                                  1    I was unsuspecting and surprised when I had a                     14:31:40
                                                                                  2    number of cameras put on me, I was able to act in                 14:31:44
                                                                                  3    a way that I believe was appropriate.            And I            14:31:50
                                                                                  4    believe that Nathan Phillips had a role in those                  14:31:54
                                                                                  5    cameras, or at least his supporters had a role in                 14:31:58
                                                                                  6    placing those on me, before he even came up to                    14:32:03
                                                                                  7    me.        But when Nathan Phillips unexpectedly has a            14:32:06
                                                                                  8    camera pointed on him, when he -- when he is not                  14:32:12
                                                                                  9    prepared for it, he darts away.                                   14:32:16
                                                                                  10         Q.       Okay.    And other than your pinned tweet          14:32:18
                                                                                  11   of that, is there anything else that you have                     14:32:24
                                                                                  12   learned about Mr. Phillips' conduct since the                     14:32:29
                                                                                  13   incident?                                                         14:32:34
                                                                                  14         A.       I -- I am not aware of any of his                  14:32:34
                                                                                  15   actions besides that.                                             14:32:38
                                                                                  16         Q.       And -- and you -- is there anything you            14:32:40
                                                                                  17   have learned about any of the other people who                    14:32:47
                                                                                  18   were present behind Mr. Phillips who were not                     14:32:50
                                                                                  19   students?                                                         14:32:54
                                                                                  20         A.       Not that I can recall.                             14:32:55
                                                                                  21                  MR. SIEGEL:    Okay.   Okay.   Let's do            14:33:03
                                                                                  22   Exhibit 38, which is video 13.           This is a video          14:33:06
                                                                                  23   that was produced by your counsel -- video 13 on                  14:33:13
                                                                                  24   the stip, and it was produced by your counsel as                  14:33:17
                                                                                  25   NS 1804.                                                          14:33:21


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                                                                                  1             (Thereupon, a video recording of Exhibit            14:33:53
                                                                                  2    38 was played.)                                              14:33:53
                                                                                  3    BY MR. SIEGEL:                                               14:34:15
                                                                                  4       Q.    Okay.     Do you know who shot the video?           14:34:15
                                                                                  5       A.    No.                                                 14:34:19
                                                                                  6       Q.    Do you know who the woman talking is?               14:34:19
                                                                                  7       A.    No.                                                 14:34:22
                                                                                  8       Q.    She says the way the students were                  14:34:26
                                                                                  9    acting was disrespectful, right?                             14:34:32
                                                                                  10      A.    Right.                                              14:34:35
                                                                                  11      Q.    Without --                                          14:34:38
                                                                                  12            MR. McMURTRY:     We are not going to go            14:34:39
                                                                                  13   back over this.                                              14:34:41
                                                                                  14   BY MR. SIEGEL:                                               14:34:42
                                                                                  15      Q.    You don't agree with what she says,                 14:34:42
                                                                                  16   right?                                                       14:34:46
                                                                                  17      A.    Right.                                              14:34:46
                                                                                  18      Q.    Do you think her -- do you have any                 14:34:47
                                                                                  19   reason to believe that she's not expressing what             14:34:49
                                                                                  20   her genuine opinion about it is?                             14:34:51
                                                                                  21      A.    No.     That could be her genuine opinion.          14:34:54
                                                                                  22      Q.    Okay.     Is there anything -- for purposes         14:34:57
                                                                                  23   of this case, is there anything about that video             14:35:00
                                                                                  24   that has any significance to you?                            14:35:03
                                                                                  25      A.    At the current moment, there's no                   14:35:08


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                                                                                  1    significance that I recognize.                               14:35:10
                                                                                  2       Q.    Okay.     Is there anything else that she           14:35:13
                                                                                  3    said that you have any reaction to?                          14:35:17
                                                                                  4       A.    I mean, I disagree with her statement               14:35:19
                                                                                  5    before that.     I think it damages her credibility.         14:35:23
                                                                                  6       Q.    What are you referring to?                          14:35:28
                                                                                  7       A.    When she said this is why people hate               14:35:30
                                                                                  8    white people.                                                14:35:33
                                                                                  9       Q.    Okay.     Let's go to Exhibit 39, which is          14:35:34
                                                                                  10   video 13 on the stip, which was produced as NS               14:35:46
                                                                                  11   1735.                                                        14:35:51
                                                                                  12            (Thereupon, a video recording of Exhibit            14:35:56
                                                                                  13   39 was played.)                                              14:35:57
                                                                                  14   BY MR. SIEGEL:                                               14:36:21
                                                                                  15      Q.    Do you know who shot that video?                    14:36:21
                                                                                  16      A.    Yes.                                                14:36:24
                                                                                  17      Q.    And who shot it?                                    14:36:24
                                                                                  18      A.    Will.                                               14:36:26
                                                                                  19      Q.    Right.     And how did you get it?                  14:36:26
                                                                                  20      A.    I think Will turned the video in.                   14:36:30
                                                                                  21      Q.    Do you mean like to your counsel or                 14:36:35
                                                                                  22   something like that?                                         14:36:37
                                                                                  23      A.    Yes, or I got it from Will over text.               14:36:38
                                                                                  24   But Will initially had it, right.                            14:36:42
                                                                                  25      Q.    And just for -- as it relates to this               14:36:45


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                                                                                  1    case, what do you -- do you think the video shows              14:36:48
                                                                                  2    anything?                                                      14:36:52
                                                                                  3       A.       I think it covers the same things that             14:36:54
                                                                                  4    we have seen in the other angles.                              14:36:57
                                                                                  5                MR. SIEGEL:     Okay.                              14:36:59
                                                                                  6       A.       There's not much besides that.                     14:37:01
                                                                                  7       Q.       Okay.     So there is nothing else                 14:37:03
                                                                                  8    particular about this video that you think shows               14:37:06
                                                                                  9    anything about the case?                                       14:37:10
                                                                                  10      A.       Correct.                                           14:37:11
                                                                                  11      Q.       You -- towards the beginning of the                14:37:14
                                                                                  12   deposition, in connection with the slogan Make                 14:37:19
                                                                                  13   America Great Again, right -- remember, I asked                14:37:27
                                                                                  14   you some questions about when did you think                    14:37:30
                                                                                  15   America functioned more according to the values                14:37:33
                                                                                  16   that you believe in.        I think you said World War         14:37:36
                                                                                  17   II was kind of your biggest example, and then you              14:37:41
                                                                                  18   said before Jimmy Carter?                                      14:37:45
                                                                                  19      A.       Right.                                             14:37:48
                                                                                  20      Q.       Let's just go back to, say, the 1940s,             14:37:49
                                                                                  21   right?                                                         14:37:54
                                                                                  22      A.       Right.                                             14:37:54
                                                                                  23      Q.       Do you have any knowledge about how                14:37:54
                                                                                  24   Native Americans were treated in the 1940s?                    14:37:57
                                                                                  25      A.       Yes.     If you notice, this is why I              14:38:00


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                                                                                  1    responded to there's always about a time in                 14:38:03
                                                                                  2    America where things weren't exactly perfect.               14:38:06
                                                                                  3             I'm aware of the social rights, civil              14:38:10
                                                                                  4    rights climate at the time of the '40s.     I was           14:38:14
                                                                                  5    speaking more to America's ability to come                  14:38:17
                                                                                  6    together and fight evil, such as Nazi Germany.              14:38:22
                                                                                  7             I acknowledge that up until the '60s,              14:38:28
                                                                                  8    and even after, African Americans have not always           14:38:32
                                                                                  9    been treated fairly, nor have Native Americans.             14:38:35
                                                                                  10   And I was using that example more to point                  14:38:38
                                                                                  11   towards a time where there was more national                14:38:42
                                                                                  12   unity than there usually is.                                14:38:45
                                                                                  13      Q.    Okay.    In your view, have civil rights           14:38:48
                                                                                  14   or -- I will use both of your examples.     Right?          14:39:31
                                                                                  15            Have civil rights for Native Americans             14:39:39
                                                                                  16   improved since say the time of Jimmy Carter,                14:39:41
                                                                                  17   which is what, the late '70s?                               14:39:46
                                                                                  18      A.    I would -- I would assume.                         14:39:49
                                                                                  19      Q.    So, and what about the same question for           14:39:51
                                                                                  20   African Americans?                                          14:39:54
                                                                                  21      A.    Yes.                                               14:39:58
                                                                                  22      Q.    So -- okay.    When you reached out to             14:39:59
                                                                                  23   Charlie Kirk and Kyle Kashuv, what -- what was              14:40:18
                                                                                  24   the purpose of your reaching out to them?                   14:40:26
                                                                                  25            In other words, what were you hoping               14:40:29


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                                                                                  1    they might do?                                              14:40:30
                                                                                  2       A.    I was hoping that with their                       14:40:31
                                                                                  3    connections, that they could -- and honestly, I             14:40:33
                                                                                  4    didn't have any knowledge about how to help                 14:40:38
                                                                                  5    myself at that point, and I was hoping that in              14:40:42
                                                                                  6    their dealing with students and their                       14:40:46
                                                                                  7    understanding of the climate of America, since              14:40:49
                                                                                  8    they deal with culture and politics a lot, that             14:40:54
                                                                                  9    they could point me in the right direction.                 14:41:00
                                                                                  10      Q.    Okay.    And I think you mentioned that            14:41:02
                                                                                  11   there came a point when you started working with            14:41:08
                                                                                  12   Scott Jennings?                                             14:41:11
                                                                                  13      A.    Yes.                                               14:41:12
                                                                                  14      Q.    How did that happen?                               14:41:13
                                                                                  15      A.    I believe it was through my mom that one           14:41:15
                                                                                  16   of her friends was -- one of her friends' husband           14:41:24
                                                                                  17   was a lawyer and knew who Scott was and knew that           14:41:31
                                                                                  18   he did good work and connected us through that              14:41:35
                                                                                  19   way.                                                        14:41:40
                                                                                  20            I could be wrong, though.    I didn't -- I         14:41:40
                                                                                  21   wasn't a part of the search for Scott.    And I             14:41:43
                                                                                  22   think by the time I had finally met, my parents,            14:41:46
                                                                                  23   when things nationally were elevating as far as             14:41:51
                                                                                  24   news coverage goes, they had already found Scott            14:41:55
                                                                                  25   before I had talked to him.                                 14:41:59


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                                                                                  1          Q.       And I think you testified before that               14:42:03
                                                                                  2    you had a phone call with Scott about the                          14:42:06
                                                                                  3    statement, right?                                                  14:42:08
                                                                                  4          A.       Right.                                              14:42:09
                                                                                  5          Q.       Did you -- before you had the phone call            14:42:10
                                                                                  6    about the statement, had you communicated with                     14:42:23
                                                                                  7    him directly?                                                      14:42:25
                                                                                  8          A.       No.     That was my first time meeting              14:42:26
                                                                                  9    Scott, over the phone.                                             14:42:28
                                                                                  10         Q.       Okay.     So up to that point, your parents         14:42:29
                                                                                  11   handled the communications with him?                               14:42:32
                                                                                  12         A.       Right.     And at that point, I don't --            14:42:35
                                                                                  13   I -- it would be better to ask them if they had                    14:42:37
                                                                                  14   even communicated to Scott at that point.                          14:42:40
                                                                                  15         Q.       Okay.     So you don't know whether they            14:42:42
                                                                                  16   had?                                                               14:42:44
                                                                                  17         A.       Right.                                              14:42:45
                                                                                  18         Q.       All right.     And did you communicate with         14:42:45
                                                                                  19   Scott after the -- you know, the conversation or                   14:42:49
                                                                                  20   conversations you had concerning the January 20th                  14:42:53
                                                                                  21   statement?                                                         14:43:00
                                                                                  22         A.       Yes.     He was in charge of organizing the         14:43:00
                                                                                  23   interview with Savannah Guthrie and helping us                     14:43:04
                                                                                  24   deal with the diocese, as we have already looked                   14:43:09
                                                                                  25   at.        So I began to end up talking to Scott semi-             14:43:16


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                                                                                  1    regularly.                                                         14:43:22
                                                                                  2          Q.       How long did that continue?                         14:43:24
                                                                                  3          A.       I would say until the press around the              14:43:27
                                                                                  4    situation started to die down, which I really                      14:43:39
                                                                                  5    can't define what die down is.            And then                 14:43:41
                                                                                  6    eventually it was more of my counsel that I spoke                  14:43:45
                                                                                  7    to.        And then we filed lawsuits.                             14:43:48
                                                                                  8          Q.       Okay.    And how did you prepare for the            14:43:53
                                                                                  9    NBC interview?                                                     14:43:57
                                                                                  10         A.       Before the interview, Scott told me                 14:44:05
                                                                                  11   these are the kind of questions that they are                      14:44:07
                                                                                  12   going to ask you, just think about how you want                    14:44:09
                                                                                  13   to respond.        And I said okay.                                14:44:12
                                                                                  14                  I read the piece of paper that he had               14:44:18
                                                                                  15   given me that had some questions he thought                        14:44:20
                                                                                  16   Savannah would ask me.           And then I -- I did the           14:44:24
                                                                                  17   interview.                                                         14:44:29
                                                                                  18                  MR. SIEGEL:     Okay.   And do we have that         14:44:30
                                                                                  19   -- I thought we had that piece of paper as an                      14:44:40
                                                                                  20   exhibit.                                                           14:44:43
                                                                                  21                  MS. MEEK:     I'm not sure that we do.   We         14:44:52
                                                                                  22   could go off if you want.                                          14:44:54
                                                                                  23                  MR. SIEGEL:     It's Exhibit 36.                    14:44:58
                                                                                  24   BY MR. SIEGEL:                                                     14:45:26
                                                                                  25         Q.       Exhibit 36, again, is an e-mail and                 14:45:26


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                                                                                  1    attachment that has been produced by RunSwitch.                    14:45:29
                                                                                  2    Do you recognize this, Nick?                                       14:45:32
                                                                                  3          A.       Yes.                                                14:45:35
                                                                                  4          Q.       What is this?                                       14:45:35
                                                                                  5          A.       This is something that Scott gave me                14:45:36
                                                                                  6    before the interview.                                              14:45:42
                                                                                  7          Q.       Okay.    And was there anything -- was              14:45:43
                                                                                  8    there anything else other than this that he gave                   14:45:49
                                                                                  9    you?                                                               14:45:52
                                                                                  10         A.       Not that I can recall.                              14:45:52
                                                                                  11                  MR. SIEGEL:     Okay.   Let's go to Exhibit         14:46:00
                                                                                  12   41.        This is Exhibit 30 --                                   14:46:02
                                                                                  13                  MR. McMURTRY:     This is also confidential         14:46:30
                                                                                  14   subject to the protective order.                                   14:46:32
                                                                                  15                  MR. SIEGEL:     Sure.   Yes.                        14:46:36
                                                                                  16                  (The following portion from Page 427,               14:46:36
                                                                                  17   Line 19 to Page 463, Line 16 was designated                        14:46:36
                                                                                  18   Confidential and is bound separately.)                             14:46:36
                                                                                  19   BY MR. SIEGEL:                                                     14:46:36
                                                                                  20         Q.       Exhibit 41 is Bates stamped NS 803 and              14:46:36
                                                                                  21   804.        And again, these are texts that you had --             14:46:41
                                                                                  22   or received, Nick?                                                 14:46:46
                                                                                  23         A.       Correct.                                            14:46:48
                                                                                  24         Q.       So, it looks like on 803, text 1935, you            14:46:53
                                                                                  25   text a group of your friends, we made it.                          14:47:00


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                                                                                  1               Will Clark texts, protect your water                14:47:06
                                                                                  2    protectors, with an emoji I'm not sure I can make              14:47:10
                                                                                  3    out.                                                           14:47:14
                                                                                  4               And on 804 at 1997, you respond, sacred             14:47:19
                                                                                  5    P-I-P-E-E-E.       What was that?                              14:47:26
                                                                                  6       A.      Pipe.                                               14:47:34
                                                                                  7       Q.      Sacred pipe?                                        14:47:35
                                                                                  8       A.      Yes.                                                14:47:36
                                                                                  9       Q.      So is that a misspelling?                           14:47:36
                                                                                  10      A.      Or just an -- I think what I was doing              14:47:39
                                                                                  11   was exaggerating it, like elongating the E.                    14:47:42
                                                                                  12      Q.      Got it.     So what -- what does that mean?         14:47:47
                                                                                  13   What does this text exchange mean?                             14:47:50
                                                                                  14      A.      I'm not sure.     I think I was                     14:47:55
                                                                                  15   referencing -- I was referencing, I guess, the                 14:47:57
                                                                                  16   sacred pipe from Native American culture.                      14:48:05
                                                                                  17      Q.      And what was the point you were making              14:48:10
                                                                                  18   by doing that?                                                 14:48:12
                                                                                  19      A.      It was intended to be humorous.                     14:48:13
                                                                                  20      Q.      And what was the humor?                             14:48:18
                                                                                  21      A.      The humor was in the text before.     Will          14:48:22
                                                                                  22   Clark said water protectors, and I assumed that                14:48:30
                                                                                  23   also had something to do with Native American                  14:48:34
                                                                                  24   culture.    I don't know if it does or it doesn't.             14:48:37
                                                                                  25   And so I responded with another thing that has to              14:48:40


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                                                                                  1    do with Native American culture.                             14:48:46
                                                                                  2       Q.     And why did you consider that humorous?            14:48:50
                                                                                  3       A.     Just because it related to what had                14:49:08
                                                                                  4    happened the day before.                                     14:49:14
                                                                                  5       Q.     Okay.    And again, what was funny about           14:49:15
                                                                                  6    it to you?                                                   14:49:19
                                                                                  7       A.     As I said, just that it was -- that it             14:49:20
                                                                                  8    was in relation to something he had said.     And            14:49:24
                                                                                  9    obviously, this is connected to the same culture             14:49:28
                                                                                  10   of Mr. Phillips and what had happened the day                14:49:33
                                                                                  11   before.                                                      14:49:36
                                                                                  12      Q.     And why was that funny to you?                     14:49:36
                                                                                  13             MR. McMURTRY:    I think he's answered             14:49:39
                                                                                  14   that question.     But just try to answer.                   14:49:40
                                                                                  15      A.     I believe I have -- I'm saying that it             14:49:43
                                                                                  16   was funny because I was referencing something the            14:49:46
                                                                                  17   day before.                                                  14:49:50
                                                                                  18             It's kind of dark and cynical humor.               14:49:51
                                                                                  19   Because at this point, I'm convinced that more               14:49:55
                                                                                  20   than half the country hates me.     And if I don't           14:49:58
                                                                                  21   find some way to make light of the situation, I              14:50:01
                                                                                  22   don't know how I'm going to deal with it.                    14:50:04
                                                                                  23   BY MR. SIEGEL:                                               14:50:06
                                                                                  24      Q.     And just what do you understand a sacred           14:50:06
                                                                                  25   pipe to be?                                                  14:50:10


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                                                                                  1       A.    To be honest, I really don't know,                 14:50:12
                                                                                  2    besides that it exists.                                     14:50:14
                                                                                  3       Q.    When did you -- or when did your                   14:50:16
                                                                                  4    parents -- strike that.    I'm going to try to make         14:50:24
                                                                                  5    the timeline clear.                                         14:50:30
                                                                                  6             So you returned from Washington DC in              14:50:32
                                                                                  7    the morning, early in the morning of January                14:50:35
                                                                                  8    19th?                                                       14:50:38
                                                                                  9       A.    Right.                                             14:50:39
                                                                                  10      Q.    And the public statement was issued a              14:50:44
                                                                                  11   day later?                                                  14:50:46
                                                                                  12      A.    Right.                                             14:50:47
                                                                                  13      Q.    When did you -- at what point did you or           14:50:48
                                                                                  14   your parents retain Mr. McMurtry?                           14:50:53
                                                                                  15      A.    I believe it was on the day the                    14:51:03
                                                                                  16   statement was drafted, the day after.                       14:51:05
                                                                                  17      Q.    So the day you got home?                           14:51:07
                                                                                  18      A.    Correct.                                           14:51:09
                                                                                  19      Q.    I'm sorry.    Either the day the statement         14:51:09
                                                                                  20   was drafted or the day after it was drafted?                14:51:12
                                                                                  21      A.    The day -- the same day the statement              14:51:14
                                                                                  22   was drafted.                                                14:51:17
                                                                                  23      Q.    Okay.    So did they -- to your knowledge,         14:51:17
                                                                                  24   did they retain Scott Jennings first and then               14:51:20
                                                                                  25   subsequently retain Mr. McMurtry?                           14:51:25


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                                                                                  1       A.       I believe so.                                      14:51:31
                                                                                  2       Q.       At the -- at the time of this incident,            14:51:33
                                                                                  3    you said you had an iPhone 6, right?                           14:51:38
                                                                                  4       A.       Right.                                             14:51:42
                                                                                  5       Q.       And what other electronic devices did              14:51:42
                                                                                  6    you use at that time?                                          14:51:45
                                                                                  7       A.       I used some kind of Microsoft Surface              14:51:47
                                                                                  8    tablet that I was required to use for school, and              14:51:54
                                                                                  9    I -- I had a -- a computer at home, an actual                  14:52:05
                                                                                  10   tower computer, that I had built freshman year.                14:52:10
                                                                                  11               I can't remember at that point if I even           14:52:16
                                                                                  12   used it still.       I don't think I did.                      14:52:20
                                                                                  13               I think that's the only -- the only                14:52:28
                                                                                  14   three devices that I really had.                               14:52:30
                                                                                  15      Q.       Okay.    And by tower, do you mean what            14:52:33
                                                                                  16   they call a desktop, the old fashioned --                      14:52:35
                                                                                  17      A.       Yes, like you -- you could -- it was not           14:52:38
                                                                                  18   portable.                                                      14:52:42
                                                                                  19      Q.       Okay.    And did you use -- what did you           14:52:42
                                                                                  20   use the Microsoft Surface device for?                          14:52:46
                                                                                  21      A.       Mostly for school.    I would also use it          14:52:51
                                                                                  22   to browse the Internet when I had something                    14:52:59
                                                                                  23   random I needed to look up, or I used it to check              14:53:05
                                                                                  24   my e-mail accounts.                                            14:53:09
                                                                                  25      Q.       Okay.    And when did you last have that           14:53:10


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                                                                                  1    Microsoft Surface device?                                       14:53:16
                                                                                  2       A.    I think I had it until senior year.                    14:53:18
                                                                                  3             Cov Cath, I think, has a space issue on                14:53:25
                                                                                  4    their servers, deleted our e-mails, which was I                 14:53:30
                                                                                  5    think what I needed to sign in to it.     But also              14:53:35
                                                                                  6    just the quality of it, by -- I think I had had                 14:53:39
                                                                                  7    it since -- I forget which year I got it.     I                 14:53:46
                                                                                  8    think it was freshman year.     I had had it all                14:53:49
                                                                                  9    four years of high school.     And by senior year,              14:53:53
                                                                                  10   four years of a cheap Microsoft school version                  14:53:56
                                                                                  11   tablet, the thing basically did not work, and so                14:54:00
                                                                                  12   I discarded it.                                                 14:54:04
                                                                                  13      Q.    Did you use that device to communicate                 14:54:05
                                                                                  14   in any way about this incident?                                 14:54:07
                                                                                  15      A.    I don't believe so.     And with the one               14:54:12
                                                                                  16   e-mail account that I would have written an                     14:54:18
                                                                                  17   e-mail off of, it was not my school account.        And         14:54:20
                                                                                  18   we have searched everything in that account, to                 14:54:24
                                                                                  19   the best of my knowledge, and in good faith I                   14:54:28
                                                                                  20   don't believe I ever wrote anything on my school                14:54:33
                                                                                  21   account, and I have no access to it anymore.                    14:54:36
                                                                                  22      Q.    And it was the school account that you                 14:54:39
                                                                                  23   said was deleted by the school?                                 14:54:42
                                                                                  24      A.    Yes.                                                   14:54:44
                                                                                  25      Q.    And what is the -- is it a Gmail account               14:54:44


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                                                                                  1    that you used personally?                                      14:54:50
                                                                                  2       A.    For the school account?                               14:54:51
                                                                                  3       Q.    No, for your own personal.                            14:54:53
                                                                                  4       A.    Correct.     It is my first and last name             14:54:56
                                                                                  5    combined with a 24 at the end and then Gmail.com.              14:55:01
                                                                                  6       Q.    And since January 19th, 2019, have you                14:55:06
                                                                                  7    had any other e-mail accounts?                                 14:55:10
                                                                                  8       A.    Since then, I have had -- I had a -- one              14:55:13
                                                                                  9    before that, that I made in grade school to be                 14:55:17
                                                                                  10   able to sign up for websites and games and stuff               14:55:23
                                                                                  11   back when I was a kid.     That was just a random              14:55:26
                                                                                  12   assortment of letters and numbers.     And I                   14:55:29
                                                                                  13   realized that as I was getting older I probably                14:55:32
                                                                                  14   needed something that looked more put-together                 14:55:36
                                                                                  15   and professional.     So I mean, it still exists.    I         14:55:39
                                                                                  16   have never used it for anything related to this.               14:55:42
                                                                                  17            We have already searched it just in case              14:55:45
                                                                                  18   somehow I did.    But that, that e-mail account,               14:55:47
                                                                                  19   along with my now university e-mail account, are               14:55:53
                                                                                  20   the only two accounts I really ever use.                       14:55:56
                                                                                  21      Q.    Okay.      So you have, I take it, some               14:55:58
                                                                                  22   kind of like .edu account at the university?                   14:56:01
                                                                                  23      A.    Correct.                                              14:56:07
                                                                                  24      Q.    And have you used that account to                     14:56:07
                                                                                  25   communicate about this incident?                               14:56:09


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                                                                                  1       A.     Not about the incident specifically.               14:56:11
                                                                                  2              At one point, someone e-mailed my                  14:56:13
                                                                                  3    university account inquiring.     It was just some           14:56:16
                                                                                  4    random person.     And they e-mailed me, inquiring           14:56:22
                                                                                  5    about why I fired Lynwood, to which I responded              14:56:27
                                                                                  6    to, but I don't think it really falls in the                 14:56:32
                                                                                  7    actual incident itself.                                      14:56:36
                                                                                  8       Q.     Okay.    And did you, in responding to             14:56:37
                                                                                  9    discovery in this case, did you search your edu              14:56:38
                                                                                  10   e-mail account?                                              14:56:44
                                                                                  11      A.     Yes.                                               14:56:45
                                                                                  12      Q.     Okay.    And both for your Gmail account           14:56:45
                                                                                  13   and your edu account, how did you conduct that               14:56:47
                                                                                  14   search?                                                      14:56:51
                                                                                  15      A.     We used a number of keywords that would            14:56:51
                                                                                  16   relate to the incident, such as March For Life,              14:56:56
                                                                                  17   pro-life, Phillips, my name.                                 14:57:03
                                                                                  18             We -- we spelled them both accurately.             14:57:06
                                                                                  19   We tried spelling Phillips inaccurately just in              14:57:10
                                                                                  20   case there was a spelling error.                             14:57:14
                                                                                  21             I think for my Gmail account we actually           14:57:17
                                                                                  22   scrolled all the way through it manually looking             14:57:22
                                                                                  23   for anything that might be related to it.                    14:57:24
                                                                                  24             As far as my school account goes, again,           14:57:26
                                                                                  25   there's really never been anything related to the            14:57:29


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                                                                                  1    case on there.       And so I identified that one              14:57:32
                                                                                  2    thing, and I think we did try popular search                   14:57:37
                                                                                  3    words that might produce something, and I don't                14:57:42
                                                                                  4    think we found anything.                                       14:57:45
                                                                                  5       Q.       Okay.    And your iPhone, you said you had         14:57:46
                                                                                  6    the iPhone 6 in January of 2019, right?                        14:57:50
                                                                                  7       A.       Correct.                                           14:57:54
                                                                                  8       Q.       How long did that last for?                        14:57:55
                                                                                  9       A.       I think it lasted until my birthday the            14:57:57
                                                                                  10   next year, or until Christmas.       It was either a           14:58:04
                                                                                  11   birthday or a Christmas I got a new phone.                     14:58:08
                                                                                  12      Q.       And so would that be either your                   14:58:11
                                                                                  13   seventeenth birthday or the Christmas after your               14:58:15
                                                                                  14   seventeenth birthday?                                          14:58:18
                                                                                  15      A.       I think so.    Either from January --              14:58:19
                                                                                  16   either that immediate Christmas or that                        14:58:21
                                                                                  17   seventeenth birthday.                                          14:58:26
                                                                                  18      Q.       Okay.    And what happened to the                  14:58:27
                                                                                  19   information that was contained on your -- the                  14:58:32
                                                                                  20   data that was contained on your iPhone 6?                      14:58:35
                                                                                  21      A.       In a short time period, after the March            14:58:38
                                                                                  22   For Life incident happened, we had the phone                   14:58:42
                                                                                  23   forensically imaged to get all the data that we                14:58:47
                                                                                  24   have now.     And I still have kept the phone itself           14:58:50
                                                                                  25   and left it in my room and preserved it.                       14:58:55


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                                                                                  1              I haven't gone on there and touched                14:58:58
                                                                                  2    anything on it.     It just kind of sits there dead.         14:59:01
                                                                                  3    And when I need it, I hand it back over.                     14:59:04
                                                                                  4       Q.     Okay.    And how did you search for                14:59:08
                                                                                  5    information -- how did you search the data that              14:59:13
                                                                                  6    was taken from that phone?                                   14:59:20
                                                                                  7       A.     Like the information we have here?                 14:59:21
                                                                                  8              MR. SIEGEL:    Yes.                                14:59:24
                                                                                  9       A.     I was not a part of the process in which           14:59:24
                                                                                  10   this all got produced.                                       14:59:26
                                                                                  11             We tried, just in case, on my current              14:59:30
                                                                                  12   phone, to search iMessage with the same key words            14:59:33
                                                                                  13   to see if we could find anything.     And we also            14:59:41
                                                                                  14   tried to find the same text messages on this                 14:59:45
                                                                                  15   phone.   But my -- and we couldn't at first                  14:59:48
                                                                                  16   through word search, so I tried manually                     14:59:50
                                                                                  17   scrolling back two and a half years, and the                 14:59:53
                                                                                  18   phone would not let me scroll back that far.                 14:59:56
                                                                                  19             So anything that we have from around               15:00:01
                                                                                  20   then will be on my older phone.                              15:00:02
                                                                                  21      Q.     Okay.    And I'm not sure I fully                  15:00:05
                                                                                  22   understood you.                                              15:00:10
                                                                                  23             Do you know how the data that -- you               15:00:12
                                                                                  24   said the older phone was forensically imaged,                15:00:16
                                                                                  25   right?                                                       15:00:20


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                                                                                  1       A.     Right.                                                 15:00:20
                                                                                  2       Q.     Back in 2019.                                          15:00:20
                                                                                  3              Do you know how that data was searched                 15:00:22
                                                                                  4    to produce the information that your counsel                     15:00:24
                                                                                  5    produced to us?                                                  15:00:30
                                                                                  6       A.     I did not play a part in searching and                 15:00:31
                                                                                  7    collecting the data.      I assume that that would               15:00:36
                                                                                  8    have been -- it would have been more techno --                   15:00:41
                                                                                  9    techno -- technologically advanced than I know.                  15:00:45
                                                                                  10   So I did not play a part in that.                                15:00:51
                                                                                  11      Q.     Okay.    And so you had the Microsoft                  15:00:53
                                                                                  12   Surface device through your senior year.      What               15:00:56
                                                                                  13   did you use after that?                                          15:01:01
                                                                                  14      A.     Currently, now, I have a newer phone.        I         15:01:04
                                                                                  15   have a Mac computer.      And this summer I recently             15:01:09
                                                                                  16   got back into the idea of building computers.                    15:01:16
                                                                                  17   And I have built a new computer just in the past                 15:01:20
                                                                                  18   two months.                                                      15:01:25
                                                                                  19      Q.     How did you learn how to do that?                      15:01:27
                                                                                  20      A.     I watched videos online.                               15:01:29
                                                                                  21      Q.     So you've had the Mac since your senior                15:01:33
                                                                                  22   year.   And do you still have the same phone that                15:01:38
                                                                                  23   you got when were you 17?                                        15:01:40
                                                                                  24      A.     Correct.                                               15:01:43
                                                                                  25      Q.     And the phone that you got since you                   15:01:44


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                                                                                  1    were -- whenever the point you got it when you                 15:01:51
                                                                                  2    were seventeen, do you know how that was                       15:01:53
                                                                                  3    searched?     Did you search that for -- in                    15:01:55
                                                                                  4    connection with the discovery in this case?                    15:01:57
                                                                                  5       A.       Yes.    And I believe it was searched in           15:01:59
                                                                                  6    the same way that my e-mail was searched with                  15:02:02
                                                                                  7    keywords.                                                      15:02:05
                                                                                  8       Q.       Okay.    And have you used your laptop,            15:02:10
                                                                                  9    your Mac, to communicate about this incident?                  15:02:14
                                                                                  10      A.       The only time I would have communicated            15:02:20
                                                                                  11   it -- with it was when I wrote the e-mail.        The          15:02:23
                                                                                  12   Mac has the same e-mail accounts that's on it.                 15:02:28
                                                                                  13               MR. SIEGEL:     Right.                             15:02:33
                                                                                  14      A.       There is nothing stored on the Mac that            15:02:33
                                                                                  15   wouldn't be accessible from the other devices.                 15:02:36
                                                                                  16               I had something to add.                            15:02:45
                                                                                  17               Oh, my current phone, I think, was also            15:02:46
                                                                                  18   forensically imaged, I believe, in the same way.               15:02:49
                                                                                  19   So both of those have been stored.                             15:02:53
                                                                                  20               MR. McMURTRY:     And the old phone was            15:02:56
                                                                                  21   reimaged up until its final dying day.                         15:02:57
                                                                                  22               MR. SIEGEL:     Okay.                              15:03:02
                                                                                  23   BY MR. SIEGEL:                                                 15:03:03
                                                                                  24      Q.       And like from some of the material that            15:03:03
                                                                                  25   you produced, that you sometimes used social                   15:03:08


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                                                                                  1    media to message, right?                                     15:03:12
                                                                                  2       A.    Right.                                              15:03:14
                                                                                  3       Q.    Send and receive messages.                          15:03:15
                                                                                  4             So starting -- going back to January of             15:03:22
                                                                                  5    2019, have you used Instagram for that purpose?              15:03:24
                                                                                  6       A.    Yes.                                                15:03:28
                                                                                  7       Q.    And did you search whatever Instagram               15:03:29
                                                                                  8    history there may be in connection with                      15:03:34
                                                                                  9    responding to discovery in this case?                        15:03:36
                                                                                  10      A.    We looked through all of the -- we -- we            15:03:38
                                                                                  11   looked through all of the Instagram direct                   15:03:42
                                                                                  12   messages available.     The problem is, is that              15:03:46
                                                                                  13   after the incident, I had thousands of --                    15:03:50
                                                                                  14   Instagram wouldn't even display the number.       It         15:03:54
                                                                                  15   just said 999 plus of people that had DMed me                15:03:58
                                                                                  16   about the incident, most of them obviously                   15:04:04
                                                                                  17   negative, and I never -- there was no way of                 15:04:08
                                                                                  18   looking at or responding to all of them, not that            15:04:12
                                                                                  19   I even wanted to.     And Instagram now I think has          15:04:14
                                                                                  20   automatically deleted those.                                 15:04:20
                                                                                  21            Those are -- I don't -- I don't know of             15:04:23
                                                                                  22   any way to repossess those.                                  15:04:26
                                                                                  23      Q.    Do you know when Instagram automatically            15:04:29
                                                                                  24   deleted them?                                                15:04:33
                                                                                  25      A.    I do -- I do not.                                   15:04:35


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                                                                                  1       Q.      Was it -- just going back to the --                15:04:37
                                                                                  2    let's say the week after the event, when you                  15:04:42
                                                                                  3    started receiving those messages, about how long              15:04:45
                                                                                  4    after that was it that you noticed they were                  15:04:49
                                                                                  5    deleted?                                                      15:04:51
                                                                                  6       A.      I would say they were probably present             15:04:52
                                                                                  7    for a couple of months and then started to delete             15:04:55
                                                                                  8    by themselves.                                                15:04:59
                                                                                  9               It's also important to add that if now,            15:05:00
                                                                                  10   like say today, if someone were to DM me that had             15:05:06
                                                                                  11   DMed me in the past, and that conversation was                15:05:11
                                                                                  12   deleted, if I scroll up, I can see the message                15:05:15
                                                                                  13   that they sent me originally.                                 15:05:18
                                                                                  14              So if people decide to remessage me, I             15:05:21
                                                                                  15   can see the history which had the initial one.                15:05:29
                                                                                  16   But if they don't message me, as far as I know,               15:05:31
                                                                                  17   there's no way for me to get that.                            15:05:34
                                                                                  18      Q.      Okay.    And did you at some point search          15:05:36
                                                                                  19   your DM messages in connection with responding to             15:05:48
                                                                                  20   discovery?                                                    15:05:51
                                                                                  21      A.      Yes.                                               15:05:52
                                                                                  22      Q.      And when did you do that?                          15:05:52
                                                                                  23      A.      We -- I believe we did that in -- I want           15:05:53
                                                                                  24   to say late August, before I went to school.                  15:05:57
                                                                                  25   During the month of August.                                   15:06:03


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                                                                                  1       Q.    Okay.    Before that, had you done                  15:06:04
                                                                                  2    anything to preserve any of the messages that                15:06:07
                                                                                  3    were on Instagram?                                           15:06:11
                                                                                  4       A.    To be honest, I was unaware of how to               15:06:14
                                                                                  5    preserve them.                                               15:06:18
                                                                                  6             Now I think that the only way to be able            15:06:24
                                                                                  7    to do that would have been to manually one by one            15:06:27
                                                                                  8    accept every single message request so it went               15:06:31
                                                                                  9    into my inbox and not as a request.     Because              15:06:34
                                                                                  10   Instagram does not delete messages you have --               15:06:37
                                                                                  11   conversations that you have accepted.       And that         15:06:42
                                                                                  12   would have required me back right after the                  15:06:45
                                                                                  13   incident had happened to -- I can't even give you            15:06:49
                                                                                  14   the number.    But you know, thousands on                    15:06:54
                                                                                  15   thousands, I would have had to sit there and                 15:06:58
                                                                                  16   accept, accept, accept, which seems quite                    15:07:00
                                                                                  17   burdensome to me.                                            15:07:03
                                                                                  18      Q.    Okay.    Who -- who were you -- and I               15:07:05
                                                                                  19   assume that your testimony is you got a lot of               15:07:11
                                                                                  20   things that were sent to you on Instagram by                 15:07:14
                                                                                  21   people you didn't know, right, who sent them to              15:07:18
                                                                                  22   you?                                                         15:07:21
                                                                                  23      A.    Right.                                              15:07:21
                                                                                  24      Q.    So at that time, who were you -- who                15:07:22
                                                                                  25   did -- who did you use Instagram to communicate              15:07:25


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                                                                                  1    with?                                                         15:07:29
                                                                                  2       A.     Most -- I would say that there -- if you            15:07:30
                                                                                  3    look at my Instagram direct messages, there will              15:07:35
                                                                                  4    be a lot of names.      But I think most of them are          15:07:41
                                                                                  5    usually one-offs or people I had only talked to a             15:07:44
                                                                                  6    couple of times.      I think I used Instagram mainly         15:07:49
                                                                                  7    to communicate with my closest friends.                       15:07:53
                                                                                  8       Q.     Okay.     And do you believe that you --            15:07:56
                                                                                  9    did you have communications with your closest                 15:07:58
                                                                                  10   friends about this incident on Instagram prior to             15:08:01
                                                                                  11   the point where Instagram deleted messages?                   15:08:05
                                                                                  12      A.     I cannot recall if we ever discussed it             15:08:11
                                                                                  13   on Instagram since we also had a group message.               15:08:14
                                                                                  14      Q.     Okay.     So you either -- you just -- you          15:08:22
                                                                                  15   can't recall one way or the other?                            15:08:24
                                                                                  16      A.     Yes.     And I -- I can say for a fact that         15:08:26
                                                                                  17   on Instagram, my -- my group message does not                 15:08:29
                                                                                  18   contain all of the members of the text group                  15:08:35
                                                                                  19   chat.   So I believe that we probably did not say             15:08:38
                                                                                  20   anything in there.      Because not all of us were            15:08:44
                                                                                  21   included in it.      But to the best of my knowledge,         15:08:46
                                                                                  22   I don't know if we ever did or didn't.                        15:08:51
                                                                                  23      Q.     Okay.     And we know you have a Twitter            15:08:53
                                                                                  24   feed, right?                                                  15:09:05
                                                                                  25      A.     Right.                                              15:09:06


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                                                                                  1       Q.    So other than Instagram and other than             15:09:07
                                                                                  2    Twitter, are there any other -- well, let me go             15:09:17
                                                                                  3    back.                                                       15:09:19
                                                                                  4             So you produced a few Twitter direct               15:09:19
                                                                                  5    messages, right?                                            15:09:23
                                                                                  6       A.    Right.                                             15:09:23
                                                                                  7       Q.    Are all of your Twitter direct messages            15:09:24
                                                                                  8    going back to 2019 still accessible?                        15:09:26
                                                                                  9       A.    All of the ones that -- in the same way            15:09:30
                                                                                  10   as Instagram, all of the ones that are accepted             15:09:32
                                                                                  11   conversations.                                              15:09:38
                                                                                  12      Q.    Okay.     So were there -- was there a             15:09:38
                                                                                  13   point where your -- there were messages deleted             15:09:40
                                                                                  14   from your Twitter account, direct messages, I               15:09:44
                                                                                  15   mean?                                                       15:09:47
                                                                                  16      A.    I have never -- I don't believe I -- to            15:09:47
                                                                                  17   the best of my knowledge, I don't believe I have            15:09:51
                                                                                  18   ever deleted a direct message.                              15:09:53
                                                                                  19      Q.    Do you know if Twitter has ever deleted            15:09:55
                                                                                  20   any of your direct messages?                                15:09:57
                                                                                  21      A.    Not actual conversations.     I believe in         15:09:59
                                                                                  22   the same way Instagram does, if it's a request,             15:10:01
                                                                                  23   and after a certain period of time, if you don't            15:10:04
                                                                                  24   accept it, the app thinks clearly you are not               15:10:08
                                                                                  25   interested in this and they -- they remove it.              15:10:13


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                                                                                  1       Q.       When was the first time that you looked            15:10:16
                                                                                  2    at your Twitter direct messages to see if there                15:10:18
                                                                                  3    was any information that might be responsive for               15:10:21
                                                                                  4    this case?                                                     15:10:28
                                                                                  5       A.       I believe it would have also been in               15:10:30
                                                                                  6    August, during discovery.                                      15:10:33
                                                                                  7       Q.       Okay.    And who did you use Twitter to            15:10:34
                                                                                  8    communicate with by direct message?                            15:10:38
                                                                                  9       A.       Twitter direct messages, I mainly use              15:10:40
                                                                                  10   more to connect with people that I didn't                      15:10:46
                                                                                  11   necessarily know, such as Charlie, Kyle, Ben                   15:10:48
                                                                                  12   Shapiro, people like that.       I'm trying to think           15:10:55
                                                                                  13   who else.     My -- my Twitter direct messages, I'm            15:11:01
                                                                                  14   not as much active on that as I am on Instagram.               15:11:05
                                                                                  15      Q.       So, for example, the DMs to Charlie Kirk           15:11:10
                                                                                  16   and Kyle Kashuv, when did you go back and find                 15:11:15
                                                                                  17   those?                                                         15:11:21
                                                                                  18      A.       I mean, I -- obviously, I knew they                15:11:23
                                                                                  19   existed before August.       But during information            15:11:27
                                                                                  20   sharing in discovery in August is when we                      15:11:32
                                                                                  21   captured those and obviously sent them.                        15:11:34
                                                                                  22      Q.       And did you go back and search your                15:11:39
                                                                                  23   DMs --                                                         15:11:42
                                                                                  24      A.       Yes.                                               15:11:43
                                                                                  25      Q.       -- to see if they contained -- and how             15:11:43


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                                                                                  1    did you do that?                                                   15:11:47
                                                                                  2       A.       I can't recall.     I'm not sure exactly               15:11:47
                                                                                  3    how we went through my DMs.           I think that Twitter         15:11:52
                                                                                  4    doesn't allow you to search.           So I'm pretty sure          15:11:58
                                                                                  5    me and my counsel went through manually and                        15:12:03
                                                                                  6    looked at all the DMs we could.           And there were           15:12:07
                                                                                  7    certain people that I knew I didn't talk about                     15:12:11
                                                                                  8    the situation with.       So we crossed them off the               15:12:15
                                                                                  9    list.   But, yeah.                                                 15:12:18
                                                                                  10               MR. McMURTRY:     I can help.     We have all          15:12:20
                                                                                  11   the log-in information.        We searched every single            15:12:22
                                                                                  12   message.                                                           15:12:25
                                                                                  13               MR. SIEGEL:     Okay.                                  15:12:25
                                                                                  14               MR. McMURTRY:     And also, I don't know               15:12:26
                                                                                  15   that you are clear.       It doesn't seem to me that               15:12:27
                                                                                  16   you have understood the point that Instagram only                  15:12:30
                                                                                  17   deleted messages to which he didn't accept a                       15:12:34
                                                                                  18   response.     That is the way I'm perceiving your                  15:12:37
                                                                                  19   questions, but I don't think that is what he                       15:12:40
                                                                                  20   said.                                                              15:12:42
                                                                                  21               MR. SIEGEL:     Okay.     And I object to              15:12:43
                                                                                  22   testifying for him.                                                15:12:46
                                                                                  23               MR. McMURTRY:     I'm not.     I'm just -- you         15:12:47
                                                                                  24   missed his point.     You were asking questions that               15:12:49
                                                                                  25   were improperly premised.           And I was just trying          15:12:51


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                                                                                  1    to let you know --                                                 15:12:54
                                                                                  2             MR. SIEGEL:     Okay.   Same request.                     15:12:55
                                                                                  3             MR. McMURTRY:     -- so that we didn't                    15:12:55
                                                                                  4    later misinterpret it.                                             15:12:57
                                                                                  5    BY MR. SIEGEL:                                                     15:13:00
                                                                                  6       Q.    The -- so we have covered Instagram.           We         15:13:00
                                                                                  7    have covered Twitter.     Are there any other                      15:13:03
                                                                                  8    mediums of social media that you use to                            15:13:06
                                                                                  9    communicate with people?                                           15:13:09
                                                                                  10      A.    Yes.                                                      15:13:09
                                                                                  11      Q.    What is that?                                             15:13:10
                                                                                  12      A.    I have a Snapchat account.                                15:13:10
                                                                                  13      Q.    Okay.    And what do you use Snapchat for,                15:13:13
                                                                                  14   going back to 2019?                                                15:13:17
                                                                                  15      A.    Just to conversate with people I know.                    15:13:19
                                                                                  16      Q.    Okay.    And did you search Snapchat?                     15:13:23
                                                                                  17      A.    I don't believe so.                                       15:13:27
                                                                                  18      Q.    And why is that?                                          15:13:31
                                                                                  19      A.    Well, my understanding was, and I'm not                   15:13:33
                                                                                  20   sure if you are aware of it, but Snapchat                          15:13:38
                                                                                  21   automatically deletes things after 24 hours.           And         15:13:42
                                                                                  22   so I believe any picture, Snap things I would                      15:13:48
                                                                                  23   have sent to people, I have no way of obtaining.                   15:13:54
                                                                                  24      Q.    Okay.    We have covered Instagram.      We               15:13:56
                                                                                  25   have covered Twitter.     We have covered Snapchat.                15:14:06


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                                                                                  1                Do you believe that you used Snapchat to           15:14:11
                                                                                  2    communicate with people about this incident?                   15:14:14
                                                                                  3       A.       I believe so.    And -- and my honest              15:14:16
                                                                                  4    testimony, there may be some group chats where                 15:14:21
                                                                                  5    things are manually saved, that after this, I can              15:14:24
                                                                                  6    recheck just to make sure that there isn't any                 15:14:29
                                                                                  7    stone that is unturned.                                        15:14:33
                                                                                  8       Q.       Okay.    Well, we will ask you to do that.         15:14:34
                                                                                  9                So we have done Instagram, Twitter,                15:14:38
                                                                                  10   Snapchat.     Any other social media mediums?                  15:14:41
                                                                                  11      A.       Yes, but none used to communicate with             15:14:45
                                                                                  12   people.     Just in general.                                   15:14:47
                                                                                  13      Q.       What do you mean by that?                          15:14:49
                                                                                  14      A.       I have a social -- I'm on a social media           15:14:50
                                                                                  15   platform where you only post pictures.       You don't         15:14:55
                                                                                  16   actually really interact with other people.                    15:14:59
                                                                                  17      Q.       And which one is that?                             15:15:01
                                                                                  18      A.       It's called VSCO.                                  15:15:03
                                                                                  19      Q.       Any other social media medium you use to           15:15:05
                                                                                  20   communicate?                                                   15:15:10
                                                                                  21      A.       No, not that I can remember.                       15:15:11
                                                                                  22      Q.       I'm dating myself, but do you have a               15:15:15
                                                                                  23   Facebook account?                                              15:15:19
                                                                                  24      A.       I did, but I deleted it.                           15:15:20
                                                                                  25      Q.       And why did you delete it?                         15:15:22


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                                                                                  1       A.      Because I had -- there were pictures of              15:15:23
                                                                                  2    me on there from when I was -- I think I was                    15:15:26
                                                                                  3    younger, like in eighth grade that people -- they               15:15:31
                                                                                  4    obviously had found my Facebook and were using it               15:15:36
                                                                                  5    too.    I don't know.      I just didn't like seeing a          15:15:39
                                                                                  6    12 or 11-year-old me out there being used by                    15:15:44
                                                                                  7    strangers.       So I deleted it.                               15:15:49
                                                                                  8       Q.      When did you delete it?                              15:15:51
                                                                                  9       A.      I think in a week or a month after, very             15:15:53
                                                                                  10   shortly after.                                                  15:15:58
                                                                                  11      Q.      Okay.     And had you posted anything to             15:15:59
                                                                                  12   Facebook about this event?                                      15:16:02
                                                                                  13      A.      No.     No.   It was just the previous               15:16:04
                                                                                  14   content that I had that was being used.        It made          15:16:08
                                                                                  15   me uncomfortable.                                               15:16:11
                                                                                  16      Q.      Did you ever use Facebook messenger?                 15:16:13
                                                                                  17      A.      I don't believe I ever did.                          15:16:18
                                                                                  18      Q.      Did you ever use WhatsApp?                           15:16:21
                                                                                  19      A.      I'm not sure.      I -- I think I -- there           15:16:31
                                                                                  20   is a chance that I have.        I don't, to the best of         15:16:33
                                                                                  21   my knowledge, ever communicate about anything                   15:16:36
                                                                                  22   related to this, in my honest answer.                           15:16:40
                                                                                  23      Q.      Okay.     And if you have some thought that          15:16:44
                                                                                  24   you might have used it, what do you think you                   15:16:45
                                                                                  25   used it for?                                                    15:16:48


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                                                                                  1       A.       I honestly can't say.    I -- I don't                15:16:49
                                                                                  2    know.   It's hard to remember in the past two and                15:16:52
                                                                                  3    a half, almost three years if I have ever used an                15:16:56
                                                                                  4    app once.     I don't know.                                      15:17:01
                                                                                  5       Q.       Any other social media apps or media                 15:17:04
                                                                                  6    that you have used to communicate?                               15:17:08
                                                                                  7       A.       Not that I can remember.                             15:17:12
                                                                                  8       Q.       Okay.    In your responses to -- in your             15:17:14
                                                                                  9    written response to the discovery requests in                    15:17:31
                                                                                  10   this case, you listed Will Fries and Sam Paley as                15:17:33
                                                                                  11   people who you thought had videotaped the                        15:17:36
                                                                                  12   incident.                                                        15:17:38
                                                                                  13               Now, we've already covered Will.      And is         15:17:39
                                                                                  14   that the only videotape that to your knowledge                   15:17:41
                                                                                  15   Will took?                                                       15:17:43
                                                                                  16      A.       To my knowledge, yes.                                15:17:44
                                                                                  17      Q.       And what about Sam Paley?                            15:17:45
                                                                                  18      A.       I believe he took a short video similar              15:17:49
                                                                                  19   to Will.     To the best of my knowledge, I think                15:17:53
                                                                                  20   Sam put it on his Snapchat story, which only                     15:17:55
                                                                                  21   lasts for 24 hours.       I am not sure if Sam still             15:18:00
                                                                                  22   has access to that video.       He may or he may not.            15:18:08
                                                                                  23   But to best of my knowledge, I remember him                      15:18:14
                                                                                  24   posting a video.                                                 15:18:16
                                                                                  25      Q.       Okay.    And do you -- did you ever                  15:18:17


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                                                                                  1    receive or capture that video?                              15:18:20
                                                                                  2       A.    To the best of my knowledge, I don't               15:18:21
                                                                                  3    think I have a copy of it.                                  15:18:23
                                                                                  4       Q.    Okay.    And in what is called your                15:18:24
                                                                                  5    initial disclosures, you listed four people as              15:18:31
                                                                                  6    persons likely to have knowledge about the                  15:18:35
                                                                                  7    incident that you might use in your case.      And          15:18:37
                                                                                  8    those were Barbara Hagedorn, Will Fries, John               15:18:48
                                                                                  9    Lawrie and Joe Kiely?                                       15:18:54
                                                                                  10      A.    Correct.                                           15:18:55
                                                                                  11      Q.    So I'm just going to go through each one           15:18:56
                                                                                  12   and ask you the same questions.                             15:18:59
                                                                                  13            So for Barbara Hagedorn, who is she?               15:19:01
                                                                                  14   She's a chaperone, right?                                   15:19:05
                                                                                  15      A.    Yes.                                               15:19:08
                                                                                  16      Q.    She was a chaperone?                               15:19:08
                                                                                  17      A.    She was also a teacher at Cov Cath.                15:19:09
                                                                                  18      Q.    Okay.    And why did you list her?                 15:19:12
                                                                                  19      A.    She was responsible for coming in at the           15:19:13
                                                                                  20   end of the confrontation and announcing, excuse             15:19:17
                                                                                  21   me, that the busses were present, which allowed             15:19:22
                                                                                  22   me to leave.                                                15:19:26
                                                                                  23            She also was in -- close to Phillips and           15:19:27
                                                                                  24   other people after I left and she could have                15:19:33
                                                                                  25   knowledge of basically what was going on once I             15:19:38


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                                                                                  1    had left, kind of an eyewitness.                            15:19:41
                                                                                  2       Q.    Have you ever talked to Ms. Hagedorn               15:19:45
                                                                                  3    about the incident?                                         15:19:47
                                                                                  4       A.    I don't believe I ever have since.                 15:19:49
                                                                                  5    Maybe -- maybe we had conversations once or twice           15:19:53
                                                                                  6    during the end of the school year that year, but            15:19:59
                                                                                  7    I cannot recall what we would have talked about.            15:20:03
                                                                                  8       Q.    Okay.    And why did you list Will Fries?          15:20:06
                                                                                  9       A.    I listed Will because of Will's --                 15:20:13
                                                                                  10   Will's vantage point, and where he stood on any             15:20:17
                                                                                  11   higher-up step would have been able to observe a            15:20:20
                                                                                  12   lot of the movements of people going on, as well            15:20:24
                                                                                  13   as his knowledge of my signal to him when he got            15:20:27
                                                                                  14   in the argument with the guy in the red hat.     He         15:20:36
                                                                                  15   seemed to be knowledgeable on a lot of different            15:20:40
                                                                                  16   parts of this.                                              15:20:44
                                                                                  17      Q.    And have you ever -- have you talked to            15:20:45
                                                                                  18   Will about being a witness in this case                     15:20:51
                                                                                  19   potentially?                                                15:20:55
                                                                                  20      A.    I mean, Will has been my roommate in               15:20:56
                                                                                  21   college for two years now.                                  15:21:00
                                                                                  22            MR. SIEGEL:    Okay.                               15:21:02
                                                                                  23      A.    I mean, I think -- and Will also did               15:21:02
                                                                                  24   mock trial.    I think Will is very aware that he           15:21:07
                                                                                  25   could have to testify as a eyewitness in this               15:21:12


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                                                                                  1    case.                                                           15:21:19
                                                                                  2       Q.       Okay.     Have you ever discussed with Will         15:21:19
                                                                                  3    about him doing a deposition or providing an                    15:21:22
                                                                                  4    affidavit or anything like that?                                15:21:25
                                                                                  5       A.       Well, I did tell Will I think a day                 15:21:27
                                                                                  6    before his subpoena came in the mail that he was                15:21:31
                                                                                  7    probably going to be called and, you know, forced               15:21:34
                                                                                  8    to discuss what he saw.                                         15:21:38
                                                                                  9       Q.       Okay.     And have you ever talked to him           15:21:41
                                                                                  10   about voluntarily providing you with any kind of                15:21:45
                                                                                  11   sworn testimony, whether it's oral or written, in               15:21:48
                                                                                  12   support of your case?                                           15:21:53
                                                                                  13      A.       Do you mean asking him to testify just              15:21:54
                                                                                  14   as something that would help me?                                15:21:58
                                                                                  15               MR. SIEGEL:     Yes.                                15:22:01
                                                                                  16      A.       Do you mean by that, like are you asking            15:22:02
                                                                                  17   if I asked him to dishonestly testify or are you                15:22:05
                                                                                  18   saying like help me in a way that -- like, you                  15:22:10
                                                                                  19   know, dishonestly?                                              15:22:14
                                                                                  20      Q.       No, no.     I'm not asking the substance of         15:22:15
                                                                                  21   his testimony, Nick.        Really, it's just a factual         15:22:18
                                                                                  22   question.                                                       15:22:22
                                                                                  23               THE WITNESS:     Okay.                              15:22:23
                                                                                  24      Q.       Have you ever -- you know, have you ever            15:22:23
                                                                                  25   asked him to either -- have you ever asked him to               15:22:25


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                                                                                  1    be a witness if the case went to trial, for                   15:22:31
                                                                                  2    example?                                                      15:22:33
                                                                                  3       A.      I think I have definitely mentioned to             15:22:33
                                                                                  4    him that it would probably be nice for him to                 15:22:37
                                                                                  5    testify.    I don't believe I've ever formally                15:22:40
                                                                                  6    asked him to agree to testifying.      I -- I don't           15:22:44
                                                                                  7    think we have ever agreed on that.                            15:22:50
                                                                                  8               MR. SIEGEL:    Okay.                               15:22:52
                                                                                  9       A.      At this point, he probably would, but              15:22:53
                                                                                  10   we -- I haven't asked him, if this goes to court,             15:22:56
                                                                                  11   can we agree right now you will?                              15:23:00
                                                                                  12      Q.      Okay.    And I take it you haven't asked           15:23:03
                                                                                  13   him if he would provide you with some kind of,                15:23:07
                                                                                  14   you know, written statement or sworn statement or             15:23:10
                                                                                  15   something like that?                                          15:23:13
                                                                                  16      A.      No.                                                15:23:13
                                                                                  17      Q.      Oral testimony?                                    15:23:14
                                                                                  18      A.      No.                                                15:23:15
                                                                                  19      Q.      John Lawrie, why did you list him?                 15:23:15
                                                                                  20      A.      I listed John because, as you can see,             15:23:19
                                                                                  21   John is seen when Mr. Phillips approaches us.                 15:23:23
                                                                                  22   And he turns around and kind of tries to                      15:23:30
                                                                                  23   videotape him.      And then John has a way of being          15:23:36
                                                                                  24   there at first but then is in a different                     15:23:39
                                                                                  25   location when Mr. Phillips is closer to me.      So           15:23:41


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                                                                                  1    it seems to me that John had moved around and                  15:23:44
                                                                                  2    would have observed what happened from multiple                15:23:47
                                                                                  3    different areas and would be knowledgeable in                  15:23:51
                                                                                  4    kind of how people moved and what happened.                    15:23:55
                                                                                  5       Q.       Have you talked with John after the                15:23:57
                                                                                  6    incident about what happened?                                  15:24:00
                                                                                  7       A.       I talked to John after John received a             15:24:01
                                                                                  8    subpoena and basically explained to him that he                15:24:05
                                                                                  9    could be forced to testify based on his presence.              15:24:11
                                                                                  10      Q.       And did you have any discussion with him           15:24:15
                                                                                  11   about what -- if he were going to testify, what                15:24:18
                                                                                  12   he would say?                                                  15:24:22
                                                                                  13      A.       No.                                                15:24:23
                                                                                  14      Q.       Okay.    And the subpoena was recent,              15:24:23
                                                                                  15   right?     It was for documents or materials?                  15:24:26
                                                                                  16      A.       Right.                                             15:24:29
                                                                                  17      Q.       Okay.    Other than communicating with him         15:24:30
                                                                                  18   when he received the subpoena, have you had any                15:24:36
                                                                                  19   discussion with him about him possibly being a                 15:24:39
                                                                                  20   witness?                                                       15:24:42
                                                                                  21      A.       I don't believe I ever have to the best            15:24:43
                                                                                  22   of my knowledge.                                               15:24:46
                                                                                  23      Q.       Okay.    And same questions for Joe Kiely,         15:24:47
                                                                                  24   why did you list him?                                          15:24:52
                                                                                  25      A.       I listed Joe again because of his                  15:24:54


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                                                                                  1    position in the crowd when Phillips goes to the                15:24:57
                                                                                  2    left.     Joe is one of the people right there.                15:25:01
                                                                                  3                I also listed Joe because he was                   15:25:06
                                                                                  4    important in the immediate aftermath.       He wrote a         15:25:08
                                                                                  5    letter and sent it to the local news station                   15:25:12
                                                                                  6    basically defending me.       And he seemed to have            15:25:17
                                                                                  7    kind of that experience that no one else in the                15:25:24
                                                                                  8    group had.                                                     15:25:27
                                                                                  9       Q.       Okay.    And have you spoken to Joe about          15:25:28
                                                                                  10   the incident since it happened?                                15:25:43
                                                                                  11      A.       I mean, Joe and I have definitely                  15:25:44
                                                                                  12   discussed it since that day since we were both                 15:25:46
                                                                                  13   present, since when it happened.                               15:25:49
                                                                                  14               Joe actually sat next to me on the bus             15:25:52
                                                                                  15   when we were returning and was involved in waking              15:25:55
                                                                                  16   me up and showing me what was being said about me              15:25:58
                                                                                  17   online.                                                        15:26:02
                                                                                  18      Q.       Okay.    I'm not going to ask you to walk          15:26:03
                                                                                  19   through that phase by phase.       It's probably for           15:26:14
                                                                                  20   the next phase, if there is one.                               15:26:17
                                                                                  21               But to the best of your recollection,              15:26:28
                                                                                  22   what has Joe communicated to you about the                     15:26:30
                                                                                  23   incident?                                                      15:26:32
                                                                                  24      A.       I believe Joe has only ever told me                15:26:33
                                                                                  25   things that he has seen from his point of view.                15:26:36


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                                                                                  1               I mean, if we have ever talked about it,           15:26:38
                                                                                  2    we have talked about what we both saw and things              15:26:41
                                                                                  3    like that.                                                    15:26:45
                                                                                  4       Q.      And what has he -- what did he tell you            15:26:45
                                                                                  5    that he saw?                                                  15:26:49
                                                                                  6       A.      I mean, I cannot recall specifically               15:26:49
                                                                                  7    what we -- what he saw.      It was not a main                15:26:52
                                                                                  8    priority and something I would have focused on.               15:26:59
                                                                                  9    It was not committing to memory what Joe saw.                 15:27:02
                                                                                  10      Q.      Okay.    And have you ever had any                 15:27:08
                                                                                  11   conversation with Joe Kiely about him being a                 15:27:10
                                                                                  12   witness?                                                      15:27:15
                                                                                  13      A.      To the best of my knowledge, I'm not --            15:27:16
                                                                                  14   I am leaning towards I don't think I ever have                15:27:18
                                                                                  15   talked to Joe about him being a witness.                      15:27:21
                                                                                  16      Q.      Okay.    And for all of these people,              15:27:24
                                                                                  17   Barbara Hagedorn, Will Fries, John Lawrie and Joe             15:27:28
                                                                                  18   Kiely, other than any information your counsel                15:27:33
                                                                                  19   may have told you, do you have any knowledge that             15:27:35
                                                                                  20   anyone has communicated with them about                       15:27:37
                                                                                  21   essentially being a witness in the case?                      15:27:40
                                                                                  22      A.      Again, I cannot recall any time where I            15:27:44
                                                                                  23   specifically asked any -- any one of them to                  15:27:47
                                                                                  24   commit to being a witness.                                    15:27:49
                                                                                  25              I'm not saying that -- like with Joe,              15:27:52


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                                                                                  1    for example, I'm not saying that I might have not              15:27:55
                                                                                  2    mentioned to him that he could end up being one.               15:28:00
                                                                                  3    But in my mind, no one has set in stone agreeing               15:28:06
                                                                                  4    to being a witness at this point.                              15:28:14
                                                                                  5       Q.     Okay.    You may have answered my next               15:28:15
                                                                                  6    question, which was, other than these four                     15:28:18
                                                                                  7    people, is there anyone else that you have                     15:28:20
                                                                                  8    communicated with about potentially being a                    15:28:22
                                                                                  9    witness in this case?                                          15:28:25
                                                                                  10      A.     I -- to the best of my knowledge, I                  15:28:26
                                                                                  11   don't think so.                                                15:28:29
                                                                                  12      Q.     Okay.    Do you know if anyone -- there is           15:28:29
                                                                                  13   anyone that your parents have communicated with                15:28:31
                                                                                  14   about potentially being a witness in this case,                15:28:35
                                                                                  15   either of your parents?                                        15:28:38
                                                                                  16      A.     To the best of my knowledge, I don't                 15:28:38
                                                                                  17   know who they would have talked to about that.                 15:28:40
                                                                                  18             MR. McMURTRY:     I thin we are at about             15:28:43
                                                                                  19   ten hours.   You may want to check.         Can we ask         15:28:45
                                                                                  20   the court reporter to tell us where we are?                    15:28:48
                                                                                  21             MR. SIEGEL:     Sure.    Hello?                      15:28:51
                                                                                  22             MR. McMURTRY:     Hello?                             15:28:52
                                                                                  23             THE VIDEOGRAPHER:       We are going off the         15:29:07
                                                                                  24   record.   The time is 3:29 p.m.                                15:29:08
                                                                                  25             (Thereupon, there was a recess taken at              15:29:12


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                                                                                  1    3:29 p.m.)                                                      15:29:12
                                                                                  2                (Thereupon, the proceedings were resumed            15:45:04
                                                                                  3    at 3:45 p.m.)                                                   15:45:04
                                                                                  4                THE VIDEOGRAPHER:    We are back on the             15:45:08
                                                                                  5    record.     The time is 3:45 p.m.                               15:45:10
                                                                                  6    BY MR. SIEGEL:                                                  15:45:14
                                                                                  7       Q.       Okay.    We will send these to the court            15:45:14
                                                                                  8    reporter.     But I just showed Nick what we will               15:45:18
                                                                                  9    mark as Exhibit 43 and 44.                                      15:45:21
                                                                                  10               I think 44 -- 43, Nick, is your                     15:45:25
                                                                                  11   responses to Interrogatories that are in front of               15:45:27
                                                                                  12   you, and 44 are the Interrogatories that were                   15:45:29
                                                                                  13   sent that's in front of Todd.                                   15:45:31
                                                                                  14               And so this is pretty simple, Nick.       I         15:45:38
                                                                                  15   think if you -- there are a bunch of pictures on                15:45:43
                                                                                  16   the back of 44.       Go to the first picture.                  15:45:47
                                                                                  17      A.       Okay.                                               15:45:53
                                                                                  18      Q.       And if you -- and then look at the list             15:45:54
                                                                                  19   that you have open to you?                                      15:45:55
                                                                                  20      A.       Right.                                              15:45:57
                                                                                  21      Q.       So you have listed, in your answers,                15:45:57
                                                                                  22   Number 1 is Joe Kiely.       Is the fellow with the             15:46:04
                                                                                  23   number 1 on the first picture there, is that Joe                15:46:12
                                                                                  24   Kiely?                                                          15:46:16
                                                                                  25      A.       Oh.                                                 15:46:16


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                                                                                  1              MR. McMURTRY:        Talking about this guy?             15:46:18
                                                                                  2              MR. SIEGEL:        Yes.                                  15:46:20
                                                                                  3       A.     This does not necessarily match up with                  15:46:21
                                                                                  4    what I had submitted.         Because it --                        15:46:24
                                                                                  5              MR. SIEGEL:        That's what we received.              15:46:31
                                                                                  6              MR. McMURTRY:        I know we had to -- you             15:46:32
                                                                                  7    basically asked us to redo it.           I know we did it          15:46:34
                                                                                  8    twice.                                                             15:46:41
                                                                                  9              MR. SIEGEL:        And this may be -- this may           15:46:41
                                                                                  10   get to the second one, which I was wondering                       15:46:44
                                                                                  11   about that.      Because I thought you might have                  15:46:46
                                                                                  12   identified him as somebody else.                                   15:46:48
                                                                                  13   BY MR. SIEGEL:                                                     15:46:49
                                                                                  14      Q.     Do you see number 6, Nick, on the                        15:46:49
                                                                                  15   Interrogatories?         The first page also with John             15:46:52
                                                                                  16   Lawrie?   Says believed to be labeled Exhibit 33                   15:46:56
                                                                                  17   in Exhibit A.      And then you go to 33.                          15:47:00
                                                                                  18      A.     Yes.     No.     Okay.    These -- I -- I have a         15:47:03
                                                                                  19   list where I labeled these as what they are.                       15:47:08
                                                                                  20   This is all out of order.                                          15:47:11
                                                                                  21             MR. SIEGEL:        So we may just need to redo           15:47:15
                                                                                  22   it, but --                                                         15:47:18
                                                                                  23             MR. McMURTRY:        I don't know if this is             15:47:19
                                                                                  24   the first or second effort.           I redid it and sent          15:47:20
                                                                                  25   it and said, is this the way you want it?                          15:47:23


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                                                                                  1              THE WITNESS:     I believe there is a                15:47:26
                                                                                  2    different list that has more names on it or it's               15:47:27
                                                                                  3    done a little differently.                                     15:47:30
                                                                                  4              MR. McMURTRY:     Can we go off the record?          15:47:31
                                                                                  5    I can check with Will.                                         15:47:34
                                                                                  6              MR. SIEGEL:     Sure.    Okay.   And I will          15:47:36
                                                                                  7    check, too.                                                    15:47:37
                                                                                  8              THE VIDEOGRAPHER:       We are going off the         15:47:39
                                                                                  9    record.   The time is 3:47 p.m.                                15:47:40
                                                                                  10             (Thereupon, there was a recess taken at              15:47:45
                                                                                  11   3:47 p.m.)                                                     15:47:45
                                                                                  12             (Thereupon, the proceedings were resumed             15:57:08
                                                                                  13   at 3:57 p.m.)                                                  15:57:08
                                                                                  14             THE VIDEOGRAPHER:       We are back on the           15:57:08
                                                                                  15   record.   The time is 3:57 p.m.                                15:57:09
                                                                                  16   BY MR. SIEGEL:                                                 15:57:13
                                                                                  17      Q.     Okay.    So we took Exhibit 43, which was            15:57:13
                                                                                  18   the most recent response to the Interrogatories                15:57:19
                                                                                  19   that Todd correctly pointed out they were served.              15:57:22
                                                                                  20             So looking first at John Lawrie, on page             15:57:27
                                                                                  21   5 of that, he's identified as Number 33.                       15:57:33
                                                                                  22             And if you look at the first picture,                15:57:36
                                                                                  23   Nick, that is on the -- attached to the                        15:57:38
                                                                                  24   Interrogatories.     Is that right, 33?                        15:57:42
                                                                                  25      A.     That is not right.                                   15:57:51


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                                                                                  1       Q.      Is that Henry Bennett?                               15:57:51
                                                                                  2       A.      Correct.     But in some of these,                   15:57:53
                                                                                  3    there's -- there's the same number for multiples.               15:57:55
                                                                                  4       Q.      Okay.    So you think -- you think there             15:57:59
                                                                                  5    may be another 33?                                              15:58:02
                                                                                  6       A.      Yes.    I think that's possible.      Let me         15:58:03
                                                                                  7    find John Lawrie and --                                         15:58:06
                                                                                  8       Q.      You know what, Nick, if you see John                 15:58:07
                                                                                  9    Lawrie, whatever he's numbered, you can just                    15:58:11
                                                                                  10   point him out to us also.                                       15:58:14
                                                                                  11      A.      Okay.    I do not --                                 15:58:16
                                                                                  12              MR. McMURTRY:     Who is 33?     I'm sorry.          15:58:28
                                                                                  13              THE WITNESS:     33 is Henry Bennett,                15:58:30
                                                                                  14   according -- or in this picture.          I'm not --            15:58:32
                                                                                  15              MR. McMURTRY:     Let's just wait until he           15:58:49
                                                                                  16   asks you a question.                                            15:58:50
                                                                                  17              I'm sorry.     Are you waiting for us to             15:58:53
                                                                                  18   respond?                                                        15:58:56
                                                                                  19              MR. SIEGEL:     Yeah.   Is he looking                15:58:56
                                                                                  20   through the pictures to try to see if he can                    15:58:58
                                                                                  21   identify John Lawrie, if he's not 33.                           15:59:00
                                                                                  22              THE WITNESS:     Yes.                                15:59:05
                                                                                  23              MR. SIEGEL:     And actually, to save you            15:59:06
                                                                                  24   time, Nick, you identified 115 as the person you                15:59:07
                                                                                  25   believed was Joe Kiely.                                         15:59:10


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                                                                                  1               Do you want to check that, too?        That is         15:59:12
                                                                                  2    like third from the back.                                         15:59:15
                                                                                  3               MR. McMURTRY:     No, sorry.                           15:59:36
                                                                                  4               THE WITNESS:     Joe Kiely, 115?                       15:59:36
                                                                                  5               MR. SIEGEL:     Uh-huh.                                15:59:36
                                                                                  6               THE WITNESS:     Yes.                                  15:59:36
                                                                                  7    BY MR. SIEGEL:                                                    15:59:36
                                                                                  8       Q.      Okay.    You believe that is Joe Kiely?                15:59:36
                                                                                  9       A.      Correct.                                               15:59:38
                                                                                  10      Q.      In the red -- I'm sorry.        It's a black           15:59:38
                                                                                  11   ski hat?                                                          15:59:42
                                                                                  12      A.      Yes.                                                   15:59:42
                                                                                  13      Q.      Okay.    And then do you see John Lawrie               15:59:43
                                                                                  14   in any of the photos?                                             15:59:48
                                                                                  15      A.      Currently, no.                                         16:00:24
                                                                                  16              MS. MEEK:     Is he wearing a green                    16:00:37
                                                                                  17   sweatshirt?                                                       16:00:39
                                                                                  18              THE WITNESS:     Yes.                                  16:00:41
                                                                                  19              MS. MEEK:     I think I found him on the               16:00:41
                                                                                  20   video, if this helps.                                             16:00:43
                                                                                  21              THE WITNESS:     Yes.     I'm aware there              16:00:45
                                                                                  22   is -- I know what he looks like.          I just --               16:00:46
                                                                                  23              MR. SIEGEL:     Which video is that?                   16:00:49
                                                                                  24              MS. MEEK:     We could use that                        16:00:51
                                                                                  25   alternatively.      This is Exhibit 15, which is                  16:00:53


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                                                                                  1    video 2.     I will share it and put it up.                        16:00:58
                                                                                  2                MR. SIEGEL:     Yeah.    Why don't you just            16:01:00
                                                                                  3    put up a screenshot, and maybe that will take                      16:01:02
                                                                                  4    care of it.                                                        16:01:07
                                                                                  5                MS. MEEK:     I'm putting up Exhibit 16 at             16:01:21
                                                                                  6    14 seconds.                                                        16:01:24
                                                                                  7                THE WITNESS:     I cannot locate him.                  16:01:31
                                                                                  8    BY MR. SIEGEL:                                                     16:01:33
                                                                                  9       Q.       Is that John Lawrie?                                   16:01:33
                                                                                  10      A.       Yes, that is.                                          16:01:35
                                                                                  11      Q.       The one in the green hoodie is John                    16:01:36
                                                                                  12   Lawrie?                                                            16:01:40
                                                                                  13      A.       Yes, correct.                                          16:01:40
                                                                                  14               MR. SIEGEL:     Okay.                                  16:01:41
                                                                                  15      A.       I just don't see him in here.        I'm not           16:01:41
                                                                                  16   sure how it got onto 33.                                           16:01:43
                                                                                  17                (This concludes the Confidential                      16:01:45
                                                                                  18   portion.)                                                          16:01:45
                                                                                  19               MR. SIEGEL:     All right.     We are done.            16:01:45
                                                                                  20               MR. McMURTRY:     That's it.     Okay.   Thank         16:01:47
                                                                                  21   you.                                                               16:01:49
                                                                                  22               These are our copies of this?                          16:01:49
                                                                                  23               THE VIDEOGRAPHER:       Are there no other             16:01:52
                                                                                  24   questions?                                                         16:01:53
                                                                                  25               MR. McMURTRY:     I have no questions.                 16:01:54


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                                                                                  1              MR. SIEGEL:     No.                                    16:01:56
                                                                                  2              THE VIDEOGRAPHER:        All right.    Just a          16:02:01
                                                                                  3    moment, please.                                                  16:02:02
                                                                                  4              We are going off the record.          The time         16:02:04
                                                                                  5    is 4:02 p.m.    This concludes the deposition.                   16:02:09
                                                                                  6              THE REPORTER:     Counsel, could I get copy            16:02:13
                                                                                  7    orders?                                                          16:02:16
                                                                                  8              MR. McMURTRY:     Todd McMurtry would like             16:02:17
                                                                                  9    a copy.                                                          16:02:19
                                                                                  10             THE VIDEOGRAPHER:        Mr. McMurtry, would           16:02:20
                                                                                  11   you like a copy of the video as well, please, or                 16:02:23
                                                                                  12   sir?                                                             16:02:26
                                                                                  13             MR. McMURTRY:     Yes.                                 16:02:27
                                                                                  14             THE VIDEOGRAPHER:        Thank you.                    16:02:27
                                                                                  15             AV TECH LOILER:        Mr. Siegel, would you           16:02:31
                                                                                  16   like the exhibits attached to the transcript?                    16:02:33
                                                                                  17             MR. SIEGEL:     Yes.                                   16:02:37
                                                                                  18             MR. McMURTRY:     I would like exhibits                16:02:41
                                                                                  19   attached to the transcript, too, the copy.                       16:02:43
                                                                                  20             THE REPORTER:     So I hear no other orders            16:02:55
                                                                                  21   from counsel.                                                    16:02:57
                                                                                  22             MR. FORD:     Darren Ford, NBC and New York            16:03:01
                                                                                  23   Times, a pdf with exhibits and e tran.                           16:03:03
                                                                                  24             UNIDENTIFIED SPEAKER:        And Rolling               16:03:06
                                                                                  25   Stone would like a copy, too.                                    16:03:07


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                                                                                  1              MS. KRISHNAN:     So would ABC, Dianna.              16:03:18
                                                                                  2    ABC, Nathan Siegel and Meenu Krishnan would like               16:03:23
                                                                                  3    a copy.                                                        16:03:24
                                                                                  4              MR. SHOOK:     This is Kevin Shook.                  16:03:25
                                                                                  5    Rolling Stone would like a copy, too.                          16:03:26
                                                                                  6              MS. SPEARS:     This is Natalie Spears, and          16:03:35
                                                                                  7    CBS Defendants would also like a copy.                         16:03:37
                                                                                  8              THE REPORTER:     Okay.   Does that conclude         16:03:41
                                                                                  9    the orders?                                                    16:03:48
                                                                                  10             (Thereupon, there was a discussion off               16:08:02
                                                                                  11   the record.)                                                   16:08:02
                                                                                  12             MR. GRYGIEL:     We want the same as                 16:08:02
                                                                                  13   everyone else.    Mike Abate and myself would like             16:08:05
                                                                                  14   a copy.                                                        16:08:06
                                                                                  15   (Off the record at 4:05 p.m.)
                                                                                  16
                                                                                  17
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                                                                                  1             CERTIFICATE OF SHORTHAND REPORTER
                                                                                  2                        NOTARY PUBLIC
                                                                                  3             I, Dianna C. Kilgalen, the officer
                                                                                  4    before whom the foregoing deposition was
                                                                                  5    taken, do hereby certify that the foregoing
                                                                                  6    transcript is a true and correct record of
                                                                                  7    the testimony given; that said testimony was
                                                                                  8    taken by me stenographically and thereafter
                                                                                  9    reduced to typewriting under my direction;
                                                                                  10   that reading and signing was not requested;
                                                                                  11   and that I am neither counsel for, related
                                                                                  12   to, nor employed by any of the parties to
                                                                                  13   this case and have no interest, financial or
                                                                                  14   otherwise, in its outcome.
                                                                                  15            IN WITNESS WHEREOF, I have hereunto
                                                                                  16   set my hand and affixed my notarial seal this
                                                                                  17   23rd day of September, 2021.
                                                                                  18            My commission expires June 28th,
                                                                                  19   2025.
                                                                                  20
                                                                                  21
                                                                                  22   _______________________________________
                                                                                  23   NOTARY PUBLIC
                                                                                  24   IN AND FOR THE STATE OF MARYLAND
                                                                                  25   COUNTY OF HARFORD


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